Case 23-11131-TMH   Doc 805-2   Filed 12/01/23   Page 1 of 179




                     EXHIBIT A
                   Case 23-11131-TMH   Doc 805-2   Filed 12/01/23    Page 2 of 179


                                                                     10100 Santa Monica Blvd.
                                                                     13th Floor
                                                                     Los Angeles, CA 90067




Amyris Inc.                                                          October 31, 2023
Amyris                                                               Invoice 135121
Doris Choi
                                                                     Client 03703.00004
5885 Hollis Street ste. 100
Emeryville, CA 94608


RE: Postpetition



            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2023

                FEES                                                $3,102,586.75
                EXPENSES                                             $140,123.28
                TOTAL CURRENT CHARGES                               $3,242,710.03

                BALANCE FORWARD                                     $3,556,790.28
                TOTAL BALANCE DUE                                   $6,799,500.31
                 Case 23-11131-TMH    Doc 805-2   Filed 12/01/23     Page 3 of 179


Pachulski Stang Ziehl & Jones LLP                                             Page: 2
Amyris Inc.                                                                   Invoice 135121
Client 03703.00004                                                            October 31, 2023


Summary of Services by Professional
ID       Name                          Title                         Rate    Hours           Amount
AJK      Kornfeld, Alan J.             Partner                1,675.00      213.00       $356,775.00
AJK      Kornfeld, Alan J.             Partner                     837.50    10.70         $8,961.25
DG       Grassgreen, Debra I.          Partner                1,550.00      166.90       $258,695.00
DG       Grassgreen, Debra I.          Partner                     775.00    11.00         $8,525.00
GIG      Glazer, Gabriel I.            Partner                1,325.00       68.30        $90,497.50
GIG      Glazer, Gabriel I.            Partner                       0.00     0.00               $0.00
HCK      Kevane, Henry C.              Partner                1,550.00      136.00       $210,800.00
IAWN     Nasatir, Iain A.W.            Partner                1,395.00        6.30         $8,788.50
IDK      Kharasch, Ira D.              Partner                1,645.00        4.00         $6,580.00
IMP      Pachulski, Isaac M.           Partner                1,995.00       16.30        $32,518.50
JEO      O'Neill, James E.             Partner                1,275.00      135.60       $172,890.00
JEO      O'Neill, James E.             Partner                       0.00     0.00               $0.00
JHD      Davidson, Jeffrey H.          Partner                1,895.00        2.50         $4,737.50
JHR      Rosell, Jason H.              Partner                     995.00    97.20        $96,714.00
KHB      Brown, Kenneth H.             Partner                1,525.00        5.10         $7,777.50
LFC      Cantor, Linda F.              Partner                1,450.00       48.00        $69,600.00
MBL      Litvak, Maxim B.              Partner                1,445.00        5.50         $7,947.50
MSP      Pagay, Malhar S.              Partner                1,295.00      188.80       $244,496.00
NLH      Hong, Nina L.                 Partner                1,075.00       99.70       $107,177.50
RMP      Pachulski, Richard M.         Partner                1,895.00      157.30       $298,083.50
RMP      Pachulski, Richard M.         Partner                     947.50    11.70        $11,085.75
SWG      Golden, Steven W.             Partner                     895.00   191.70       $171,571.50
SWG      Golden, Steven W.             Partner                       0.00     0.00               $0.00
ZMB      Bomrind, Zev M.               Partner                1,295.00        2.60         $3,367.00
BEL      Levine, Beth E.               Counsel                1,095.00       46.00        $50,370.00
BEL      Levine, Beth E.               Counsel                     547.50     2.10         $1,149.75
CHM      Mackle, Cia H.                Counsel                     925.00    20.20        $18,685.00
CRR      Robinson, Colin R.            Counsel                1,095.00       29.90        $32,740.50
                  Case 23-11131-TMH   Doc 805-2    Filed 12/01/23     Page 4 of 179


Pachulski Stang Ziehl & Jones LLP                                              Page: 3
Amyris Inc.                                                                    Invoice 135121
Client 03703.00004                                                             October 31, 2023


Summary of Services by Professional
ID       Name                          Title                          Rate    Hours           Amount
EG       Gray, Erin                    Counsel                 1,095.00       14.90        $16,315.50
GFB      Brandt, Gina F.               Counsel                 1,050.00       29.10        $30,555.00
GNB      Brown, Gillian N.             Counsel                      975.00   120.40       $117,390.00
HDH      Hochman, Harry D.             Counsel                 1,350.00       21.70        $29,295.00
JE       Elkin, Judith                 Counsel                 1,450.00      133.00       $192,850.00
JJK      Kim, Jonathan J.              Counsel                 1,175.00       35.80        $42,065.00
MM       Manning , Miriam              Counsel                      925.00    14.10        $13,042.50
RJG      Gruber, Richard J.            Counsel                 1,525.00        8.10        $12,352.50
TCF      Flanagan, Tavi C.             Counsel                 1,075.00       90.90        $97,717.50
WLR      Ramseyer, William L.          Counsel                      975.00   111.90       $109,102.50
ECO      Corma, Edward A.              Associate                    725.00    58.20        $42,195.00
CAK      Knotts, Cheryl A.             Paralegal                    495.00     0.60           $297.00
IDD      Densmore, Ian D.              Paralegal                    545.00     3.10         $1,689.50
KKY      Yee, Karina K.                Paralegal                    545.00     3.50         $1,907.50
LHP      Petras, Lisa                  Paralegal                    545.00    74.60        $40,657.00
PEC      Cuniff, Patricia E.           Paralegal                    545.00     2.10         $1,144.50
PJJ      Jeffries, Patricia J.         Paralegal                    545.00   111.80        $60,931.00
LAF      Forrester, Leslie A.          Library                      595.00    10.30         $6,128.50
ARP      Paul, Andrea R.               Case Management              425.00    13.60         $5,780.00
                                       Assistant

CJB      Bouzoukis, Charles J.         Case Management              425.00     1.50           $637.50
                                       Assistant

                                                               2,535.60                 $3,102,586.75
                 Case 23-11131-TMH             Doc 805-2   Filed 12/01/23   Page 5 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 4
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


Summary of Services by Task Code
Task Code       Description                                                   Hours                   Amount
AA              Asset Analysis and Recovery                                    29.90               $30,805.50
AC              Avoidance Action Analysis                                       0.70                  $918.50
AD              Asset Disposition                                              69.30               $75,801.00
AP              Appeals                                                         3.70                $5,103.00
BL              Bankruptcy Litigation                                         815.50              $935,816.00
CA              Case Administration                                           123.90              $113,652.00
CG              Corporate Governance                                           13.40               $23,264.50
CO              Claims Administration and Objections                          116.90              $165,679.50
CP              PSZJ Compensation                                              15.70               $11,253.00
CPO             Other Professional Compensation                                10.10                $7,771.50
EC              Contract and Lease Matters                                    243.60              $315,067.00
FF              Financial Filings                                               2.10                $2,239.50
FN              Financing/Cash Collateral/Cash Management                     423.60              $537,860.00
GC              General Creditors' Committee                                    4.40                $5,493.00
HE              Hearings                                                        4.40                $3,990.00
IC              Insurance Coverage                                              6.60                $9,171.00
LN              Litigation (Non-Bankruptcy)                                     4.80                $3,200.00
MC              Meetings of and Communications with Creditors                   7.10                $7,897.50
NT              Non-Working Travel                                             35.50               $29,721.75
OP              Operations                                                      6.70                $7,643.50
PD              Plan and Disclosure Statement                                 364.50              $502,494.50
RP              PSZJ Retention                                                  9.00               $11,805.00
RPO             Other Professional Retention                                  207.40              $274,105.50
SL              Stay Litigation                                                 7.30                $5,921.50
TR              Travel                                                          9.50               $15,912.50
                                                                            2,535.60            $3,102,586.75
                  Case 23-11131-TMH     Doc 805-2   Filed 12/01/23   Page 6 of 179


Pachulski Stang Ziehl & Jones LLP                                             Page: 5
Amyris Inc.                                                                   Invoice 135121
Client 03703.00004                                                            October 31, 2023


Summary of Expenses
Description                                                                                  Amount
Air Fare                                                                                   $8,252.39
Auto Travel Expense                                                                        $3,235.06
Bloomberg                                                                                    $237.70
Working Meals                                                                              $2,531.13
Delivery/Courier Service                                                                   $2,235.12
Federal Express                                                                              $296.33
Hotel Expense                                                                             $11,304.40
Lexis/Nexis- Legal Research                                                                $1,594.23
Litigation Support Vendors                                                                $80,287.43
Pacer - Court Research                                                                     $1,917.10
Reproduction Expense - @0.10 per page                                                      $5,058.70
Travel Expense                                                                                   $46.00
Transcript                                                                                $23,127.69
                                                                                         $140,123.28
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 7 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 6
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023



                                                                                Hours      Rate        Amount

Asset Analysis and Recovery
10/01/2023 JHR       AA      Conference call with Foris re: Brazil due           1.10    995.00      $1,094.50
                             diligence trip

10/01/2023 RMP       AA      Prepare for and participate on Brazil-related       1.60   1,895.00     $3,032.00
                             presentation, including review of presentation.

10/02/2023 JHR       AA      Conference call with Novvi parties re:              0.50    995.00        $497.50
                             restructuring

10/09/2023 RMP       AA      Review Brazil analysis.                             0.30   1,895.00       $568.50
10/10/2023 HCK       AA      Memos to / from J. Rosell and K. Novotny re         0.20   1,550.00       $310.00
                             GIV term sheet and consumer brands.

10/18/2023 JHR       AA      Analyze Novvi transaction documents and             0.50    995.00        $497.50
                             related correspondence with client
10/23/2023 JHR       AA      Analyze Novvi transaction documents.                0.60    995.00        $597.00
10/24/2023 JHR       AA      Analyze Novvi transaction documents                 0.30    995.00        $298.50
10/24/2023 JHR       AA      Conference call with Novvi re: transaction          1.00    995.00        $995.00
                             documents
10/25/2023 DG        AA      Call with J. Rosell, K. Novotny, P. Gund re:        0.50   1,550.00       $775.00
                             NOVVI transactions and license.
10/25/2023 JHR       AA      Conference call with client and D. Grassgreen       0.60    995.00        $597.00
                             re: Novvi transaction issues
10/26/2023 ECO       AA      E-mails with Jason Rosell/Holly O'Neil re           0.30    725.00        $217.50
                             discussion of Novvi/next steps.
10/26/2023 ECO       AA      Conference call with Jason Rosell and Holly         0.50    725.00        $362.50
                             O'Neil/Foley & Lardner re discussion of issues
                             with Novvi and strategy going forward.

10/26/2023 ECO       AA      Review followup e-mails/documents from              0.40    725.00        $290.00
                             Jason Rosell re Novvi issues.

10/26/2023 JHR       AA      Conference call with Novvi re: transaction          0.50    995.00        $497.50
                             documents
10/26/2023 JHR       AA      Analyze Novvi LLC agreement                         0.90    995.00        $895.50
10/27/2023 ECO       AA      E-mails with Jason Rosell/Holly O'Neil re           0.90    725.00        $652.50
                             Novvi issues/prepare notes for motions.
10/27/2023 ECO       AA      Conference call with Jason Rosell/Foley team        0.20    725.00        $145.00
                             re update on Novvi and next steps.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23   Page 8 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 7
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                                                              Hours      Rate        Amount
10/27/2023 ECO       AA      Telephone conference with Jason Rosell re         0.20    725.00        $145.00
                             discussion of Novvi/information for motions
                             to be prepared.
10/27/2023 JHR       AA      Call with Chuck re: Novvi transaction             0.20    995.00        $199.00
10/27/2023 JHR       AA      Conference call with Novvi and E. Corma re:       0.50    995.00        $497.50
                             transaction documents
10/29/2023 ECO       AA      Review correspondence and documents re            0.50    725.00        $362.50
                             Novvi transactions/information for motions.
10/29/2023 ECO       AA      Preparation of motion to authorize Novvi          1.80    725.00      $1,305.00
                             consent.
10/29/2023 ECO       AA      Legal research re authority to authorize          0.40    725.00        $290.00
                             actions with respect to Novvi.
10/29/2023 ECO       AA      Prepare motion to seal re Novvi motion.           1.10    725.00        $797.50
10/29/2023 ECO       AA      Prepare motion to shorten time re motion to       0.80    725.00        $580.00
                             authorize Novvi consent and motion to seal.
10/29/2023 ECO       AA      Prepare e-mail to James O'Neill and Jason         0.10    725.00            $72.50
                             Rosell re Novvi motions.
10/30/2023 ECO       AA      Make additional revisions to Novvi motions.       0.60    725.00        $435.00
10/30/2023 ECO       AA      Review e-mail/comments from James O'Neill         0.10    725.00            $72.50
                             re Novvi motions.

10/30/2023 ECO       AA      Review and revise motion to shorten time          0.30    725.00        $217.50
                             (Novvi).

10/30/2023 ECO       AA      Review comments from Jason Rosell re Novvi        0.10    725.00            $72.50
                             motions.

10/30/2023 ECO       AA      Review and revise motion to seal re Novvi         0.20    725.00        $145.00
                             motion.

10/30/2023 ECO       AA      Prepare e-mail to Jason Rosell/James O'Neill      0.10    725.00            $72.50
                             re updates to Motion to Seal and Motion to
                             Shorten.
10/30/2023 ECO       AA      Review additional comments from Jason             0.20    725.00        $145.00
                             Rosell/revise motion to seal and circulate.
10/30/2023 ECO       AA      E-mails with Jason Rosell/James O'Neill re        0.10    725.00            $72.50
                             final preparations for filing Novvi motions.

10/30/2023 ECO       AA      E-mails with Chuck Kraft/Jason Rosell re          0.10    725.00            $72.50
                             information for motions/declaration.
                 Case 23-11131-TMH          Doc 805-2      Filed 12/01/23   Page 9 of 179


Pachulski Stang Ziehl & Jones LLP                                                    Page: 8
Amyris Inc.                                                                          Invoice 135121
Client 03703.00004                                                                   October 31, 2023


                                                                             Hours      Rate        Amount
10/30/2023 ECO       AA      Review and revise motion to shorten per          0.10    725.00            $72.50
                             information received from Chuck Kraft.

10/30/2023 ECO       AA      Calls with committee counsel re Novvi            0.20    725.00        $145.00
                             motions/request to shorten time.

10/30/2023 ECO       AA      Review and reply to Jason Rosell e-mail re       0.10    725.00            $72.50
                             update on motion to shorten/committee
                             comments.
10/30/2023 ECO       AA      E-mails with Jason Rosell/James O'Neill re       0.10    725.00            $72.50
                             finalizing motions re Novvi.
10/30/2023 ECO       AA      Make revisions to motion to authorize/motion     0.40    725.00        $290.00
                             to seal/motion to shorten and circulate.
10/30/2023 ECO       AA      E-mails with James O'Neill re finalizing         0.90    725.00        $652.50
                             motions/coordinate filing.
10/30/2023 JEO       AA      Review and comment on JV Consent motion          2.00   1,275.00     $2,550.00
                             and related motion to shorten and motion to
                             seal
10/30/2023 JEO       AA      Finalize JV Consent Motion and related           2.80   1,275.00     $3,570.00
                             motion to seal and motion to shorten
10/30/2023 JHR       AA      Revise motion to approve Novvi consent           1.10    995.00      $1,094.50
10/30/2023 JHR       AA      Revise Novvi pleadings                           1.30    995.00      $1,293.50
10/30/2023 JHR       AA      Revise Novvi pleadings                           0.30    995.00        $298.50
10/30/2023 JHR       AA      Review draft motion to approve Novvi             0.30    995.00        $298.50
                             transaction.
10/30/2023 JHR       AA      Final review of Novvi pleadings.                 0.30    995.00        $298.50
10/31/2023 DG        AA      Review title report and attachments (.6);        0.70   1,550.00     $1,085.00
                             correspond with J. Dulberg re: same (.1).
10/31/2023 JEO       AA      Review entered order on motion to shorten        0.50   1,275.00       $637.50
                             time for JV COnsent Motion and arrange for
                             notice

10/31/2023 JHR       AA      Review Novvi filed pleadings, order              0.50    995.00        $497.50
                             shortening time, and related correspondence
                             with client and Novvi
                                                                             29.90               $30,805.50
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23   Page 10 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 9
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount

Avoidance Action Analysis
10/02/2023 JHR       AC      Conference call with PwC re: preference            0.30    995.00        $298.50
                             analysis

10/05/2023 DG        AC      Call with PWC re: preference analysis.             0.40   1,550.00       $620.00
                                                                                0.70                  $918.50

Asset Disposition
10/01/2023 RJG       AD      Exchange messages with S. Golden regarding         0.20   1,525.00       $305.00
                             coordination about stalking horse review
                             process.
10/02/2023 SWG       AD      Receive and respond to email from counsel to       0.30    895.00        $268.50
                             potential bidder on Costa Brazil
10/05/2023 MBL       AD      Emails with team and Intrepid re sale issues.      0.20   1,445.00       $289.00
10/06/2023 JHR       AD      Attend sale call with Costa                        0.60    995.00        $597.00
10/06/2023 LAF       AD      Legal research re: White & Case bid                3.30    595.00      $1,963.50
                             procedures.
10/06/2023 RJG       AD      Attend Onda sale auction.                          0.60   1,525.00       $915.00
10/06/2023 RJG       AD      Revise LT Bill of Sale and Agreement and           1.10   1,525.00     $1,677.50
                             exchange messages with S. Golden email
                             same.

10/06/2023 RJG       AD      “All hands call" with Francisco Costa team         0.60   1,525.00       $915.00
                             regarding issues in proposed Costa Brazil
                             transaction and related sale process.
10/06/2023 RJG       AD      Message to S. Golden regarding issue in            0.20   1,525.00       $305.00
                             overbidder's agreement.
10/06/2023 RMP       AD      Review bidding issues and e-mails re same.         0.40   1,895.00       $758.00
10/06/2023 RMP       AD      Telephone conference with Goldstein re asset       0.40   1,895.00       $758.00
                             sale issues.
10/06/2023 SWG       AD      Draft and send email to counsel to Ad Hoc          0.20    895.00        $179.00
                             Group re: bid procedures.

10/06/2023 SWG       AD      Participate in call with counsel to Francisco      0.60    895.00        $537.00
                             Costa.

10/06/2023 SWG       AD      Call with Intrepid and P. Gund re: follow up       0.30    895.00        $268.50
                             on Costa Brazil

10/06/2023 SWG       AD      Attend ONDA beauty auction                         0.50    895.00        $447.50
                Case 23-11131-TMH            Doc 805-2        Filed 12/01/23       Page 11 of 179


Pachulski Stang Ziehl & Jones LLP                                                            Page: 10
Amyris Inc.                                                                                  Invoice 135121
Client 03703.00004                                                                           October 31, 2023


                                                                                     Hours      Rate        Amount
10/06/2023 SWG       AD      Participate in sale call with Debtors'                   0.80    895.00        $716.00
                             professional team

10/07/2023 SWG       AD      Update documents after Onda auction                      0.50    895.00        $447.50
10/08/2023 MBL       AD      Emails with team re sale status.                         0.10   1,445.00       $144.50
10/08/2023 RJG       AD      Exchange messages with S. Golden regarding               0.30   1,525.00       $457.50
                             sale process coordination.

10/09/2023 ECO       AD      E-mails with Steven Golden re bid procedures             0.10    725.00            $72.50
                             issues.

10/09/2023 ECO       AD      Review information re bid procedures in prior            2.20    725.00      $1,595.00
                             cases/prepare chart summarizing relevant
                             terms.
10/09/2023 ECO       AD      Prepare e-mail to Steven Golden re                       0.10    725.00            $72.50
                             information on bid procedures.
10/09/2023 HCK       AD      Conference call with S. Golden, J. Rosell, Z.            0.60   1,550.00       $930.00
                             Bomrind and M. Litvak re sale process / form
                             APA and schedules.

10/09/2023 JHR       AD      Conference call with PSZJ sale team re: sale             0.60    995.00        $597.00
                             update
10/09/2023 MBL       AD      Call with team re sale and APA status.                   0.60   1,445.00       $867.00
10/09/2023 RJG       AD      Message to S. Golden regarding coordination              0.20   1,525.00       $305.00
                             of response to stalking horse bids.
10/09/2023 RJG       AD      Attend team call regarding handling of                   0.40   1,525.00       $610.00
                             stalking horse bids.
10/09/2023 SWG       AD      Edit bid procedures.                                     0.10    895.00            $89.50
10/09/2023 SWG       AD      Review and edit form of Sale Order                       0.90    895.00        $805.50
10/09/2023 ZMB       AD      Video call with S. Golden et al re status of             0.60   1,295.00       $777.00
                             asset sales, timeline, and related legal issues.
10/10/2023 HCK       AD      Memos to / from S. Golden re sale IOIs and               0.40   1,550.00       $620.00
                             other documents and review same.
10/10/2023 JEO       AD      Review revised order and Certification of                0.30   1,275.00       $382.50
                             Counsel Regarding Sale of Non-Operating
                             Brand (ONDA Beauty)

10/10/2023 JHR       AD      Review Costa Brazil APA.                                 0.40    995.00        $398.00
10/10/2023 KKY       AD      File (.1) and prepare for filing (.1) certification      0.20    545.00        $109.00
                             of counsel re ONDA sale order
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23   Page 12 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 11
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/10/2023 KKY       AD      Upload order (.1) and prepare for uploading        0.20    545.00        $109.00
                             same (.1) re ONDA sale order

10/10/2023 MBL       AD      Misc. sale-related emails with team.               0.10   1,445.00       $144.50
10/10/2023 SWG       AD      Review and edit Bid Procedures and                 0.70    895.00        $626.50
                             Contract/Lease Procedures per comments
                             from various constituents
10/10/2023 SWG       AD      Draft email to client re: Costa Brazil sale.       0.20    895.00        $179.00
10/10/2023 SWG       AD      Call with D. Hoehne re: bid procedures order.      0.50    895.00        $447.50
10/10/2023 SWG       AD      Attention to bid procedures, including             2.10    895.00      $1,879.50
                             research re: anticipated objection from UCC
10/10/2023 SWG       AD      Call with counsel to potential purchaser of        0.40    895.00        $358.00
                             Costa Brazil
10/10/2023 SWG       AD      Participate in sale process call with C.           0.50    895.00        $447.50
                             Comstock and P. Gund.
10/10/2023 SWG       AD      Review and edit Costa Brazil APA.                  1.20    895.00      $1,074.00
10/10/2023 SWG       AD      Respond to email from internal counsel re:         0.30    895.00        $268.50
                             Costa Brazil sale issues.
10/10/2023 ZMB       AD      Review stalking horse APA and related              0.30   1,295.00       $388.50
                             materials re debtor
10/11/2023 JEO       AD      Review entered Order Approving the Sale of         0.30   1,275.00       $382.50
                             Non-Operating Brand (Onda Beauty)

10/11/2023 RJG       AD      Review draft Asset Purchase Agreement for          0.40   1,525.00       $610.00
                             Costa Brazil.

10/12/2023 DG        AD      Review Committee Response re: Bid                  0.30   1,550.00       $465.00
                             Procedures.

10/12/2023 ECO       AD      Telephone conference with Steven Golden re         0.10    725.00            $72.50
                             bid procedures issue/information to be
                             reviewed.
10/12/2023 ECO       AD      Review cases and orders with court-approved        2.20    725.00      $1,595.00
                             bidding procedures.
10/12/2023 ECO       AD      Continue to review cases/bidding procedures        1.70    725.00      $1,232.50
                             in prior cases and compile relevant cases.
10/12/2023 ECO       AD      Prepare e-mail to Steven Golden re                 0.10    725.00            $72.50
                             information/cases relating to bidding
                             procedures.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 13 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 12
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/12/2023 LHP       AD      Begin draft reply in support of motion re bid       0.50    545.00        $272.50
                             procedures for sale of brand assets and email
                             communications re same.
10/12/2023 PJJ       AD      Review/revise reply in support of bid               0.20    545.00        $109.00
                             procedures.
10/12/2023 RMP       AD      Review OCC's objection to DIP and to Bid            0.30   1,895.00       $568.50
                             Procedures.
10/12/2023 SWG       AD      Call with counsel to Costa.                         0.30    895.00        $268.50
10/12/2023 SWG       AD      Call with Committee counsel re: Costa               0.30    895.00        $268.50
                             transaction.
10/12/2023 SWG       AD      Draft and send email response to Costa Brazil       0.20    895.00        $179.00
                             potential purchaser counsel
10/12/2023 SWG       AD      Call with client re: Costa Brazil process.          0.60    895.00        $537.00
10/13/2023 LHP       AD      Work on reply in support of bid procedures          0.20    545.00        $109.00
                             motion and email communication re same.
10/13/2023 RMP       AD      Conference call with S. Golden and Intrepid re      0.60   1,895.00     $1,137.00
                             sales issues.
10/13/2023 SWG       AD      Edit and send draft Bill of Sale re: Costa          0.30    895.00        $268.50
                             Brazil.

10/13/2023 SWG       AD      Call with L. Beers and C. Comstock re: sale         0.60    895.00        $537.00
                             process matters.

10/13/2023 SWG       AD      Call with R. Pachulski, P. Gund, S. Fleming,        0.60    895.00        $537.00
                             and Intrepid team re: sale process and
                             diligence matters.
10/14/2023 DG        AD      Correspond with P. Gund, Lorie Beers and S.         0.30   1,550.00       $465.00
                             Golden re: diligence requests.
10/14/2023 RMP       AD      Telephone conference with Gund re sale              0.40   1,895.00       $758.00
                             issues.
10/15/2023 RJG       AD      Review and respond to revised Bill of Sale          0.60   1,525.00       $915.00
                             and Assumption Agreement from buyer.
10/16/2023 HCK       AD      Numerous memos to / from S. Golden, et al. re       0.10   1,550.00       $155.00
                             auction planning.

10/16/2023 HCK       AD      Review consumer brands IOIs, bid procedures         1.60   1,550.00     $2,480.00
                             and form APA re sale process and auction
                             preparation.
10/16/2023 JHR       AD      Review docketed bid procedures order                0.40    995.00        $398.00
                 Case 23-11131-TMH          Doc 805-2           Filed 12/01/23   Page 14 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 13
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/16/2023 JHR       AD      Review correspondence re: Costa Brazil sale.           0.30    995.00        $298.50
10/16/2023 PJJ       AD      Prepare sale procedures documents for                  0.50    545.00        $272.50
                             service.

10/16/2023 RJG       AD      Review revised Bill of Sale and Agreement for          0.30   1,525.00       $457.50
                             Costa Brazil and exchange messages with S.
                             Golden regarding same.
10/16/2023 RJG       AD      Work with S. Golden on Costa Brazil Bill of            0.30   1,525.00       $457.50
                             Sale and Agreement.
10/16/2023 SWG       AD      Draft COC re: entry of Bid Procedures Order.           0.20    895.00        $179.00
10/16/2023 SWG       AD      Review edits to and further edit Costa Brazil          0.80    895.00        $716.00
                             bill of sale.
10/16/2023 SWG       AD      Call with L. Beers, J. O'Neill,                        0.00    895.00              N/C
10/16/2023 SWG       AD      Call with J. O'Neill, L. Beers, and N. Stanford        0.30    895.00        $268.50
                             re: auction logistics.
10/16/2023 SWG       AD      Draft and send email to counsel to Costa               0.20    895.00        $179.00
                             Brazil purchaser.
10/16/2023 SWG       AD      Review and edit Costa Brazil transaction               0.40    895.00        $358.00
                             documents.
10/17/2023 HCK       AD      Further review / analyze IOIs and other                0.50   1,550.00       $775.00
                             customer brand sale documents.

10/17/2023 JHR       AD      Attend weekly sale update call                         0.60    995.00        $597.00
10/17/2023 RJG       AD      Join weekly sale call (partial).                       0.30   1,525.00       $457.50
10/17/2023 RJG       AD      Review final Costa Brazil sale documents and           0.30   1,525.00       $457.50
                             exchange messages about them with S.
                             Golden.
10/17/2023 SWG       AD      Participate in call with Francisco Costa               0.40    895.00        $358.00
                             counsel re: deal documents
10/17/2023 SWG       AD      Call with S. Fleming re: disposition of                0.30    895.00        $268.50
                             Interfaces.
10/17/2023 SWG       AD      Participate in weekly sale process call with           0.60    895.00        $537.00
                             Debtors' professionals.
10/17/2023 SWG       AD      Draft notice of Costa Brazil sale                      0.10    895.00            $89.50
10/18/2023 DG        AD      Call with L. Beers, S. Golden, P. Gund, D.             0.60   1,550.00       $930.00
                             Choi and R. Pachulski re: contract issues in
                             connection with sale process.
                 Case 23-11131-TMH          Doc 805-2      Filed 12/01/23      Page 15 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 14
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/18/2023 JEO       AD      Review and finalize Notice of Non-Operating          0.50   1,275.00       $637.50
                             Brand Sale (Costa Brazil)

10/18/2023 PJJ       AD      Prepare Costa Brazil sale notice for service         0.70    545.00        $381.50
                             and filing (.5); efile (.2).

10/18/2023 RJG       AD      Exchange messages with S. Golden regarding           0.20   1,525.00       $305.00
                             stalking horse designation process.

10/19/2023 HCK       AD      Further review consumer brand documents re           1.20   1,550.00     $1,860.00
                             bid deadline, form APA and auction design.

10/19/2023 RJG       AD      Join team call regarding stalking horse              0.60   1,525.00       $915.00
                             designation process.
10/19/2023 SWG       AD      Stalking horse preparation call.                     0.70    895.00        $626.50
10/19/2023 ZMB       AD      Video call with bankers and PSZJ team re             0.70   1,295.00       $906.50
                             auction process and status and next steps.
10/20/2023 ECO       AD      E-mails with Steven Golden re abandonment            0.20    725.00        $145.00
                             of inventory.
10/20/2023 ECO       AD      Review correspondence and documentation re           0.90    725.00        $652.50
                             Costa Brazil inventory/warehouse lien.
10/20/2023 ECO       AD      Preparation of motion to abandon Costa Brazil        3.20    725.00      $2,320.00
                             inventory.
10/20/2023 ECO       AD      Prepare e-mail to Steven Golden forwarding           0.10    725.00            $72.50
                             motion to abandon.
10/20/2023 HCK       AD      Work on consumer brands sale forms/auction           0.40   1,550.00       $620.00
                             preparation.
10/20/2023 SWG       AD      Draft and send email to client and professional      0.30    895.00        $268.50
                             team re: process for APA schedules
10/20/2023 SWG       AD      Review and edit Costa Brazil inventory               0.50    895.00        $447.50
                             abandonment motion

10/23/2023 RJG       AD      Review form of Asset Purchase Agreement for          0.30   1,525.00       $457.50
                             operating brands in preparation for stalking
                             horse process.
10/24/2023 HCK       AD      Memos to / from S. Golden re sale status and         0.10   1,550.00       $155.00
                             update call.
10/25/2023 DG        AD      Call with Intrepid team, R. Pachulski, P. Gund       0.70   1,550.00     $1,085.00
                             and S. Golden re: stalking horse next steps.
10/25/2023 HCK       AD      Memos to / from S. Golden, et al. re sale            0.10   1,550.00       $155.00
                             update.
                Case 23-11131-TMH           Doc 805-2         Filed 12/01/23    Page 16 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 15
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/25/2023 JHR       AD      Conference call with Intrepid re: stalking            0.70    995.00        $696.50
                             horse bids

10/25/2023 RJG       AD      Join team call regarding stalking horse update.       0.70   1,525.00     $1,067.50
10/25/2023 RJG       AD      Exchange messages with S. Golden regarding            0.20   1,525.00       $305.00
                             status of stalking horse process.

10/25/2023 RMP       AD      Conference call with Intrepid team re stalking        0.30   1,895.00       $568.50
                             horse issues.

10/25/2023 RMP       AD      Conference call with PSZJ team re stalking            0.70   1,895.00     $1,326.50
                             horse issues.

10/25/2023 SWG       AD      Call re: stalking horse bids with Debtors'            0.70    895.00        $626.50
                             professional team.
10/25/2023 SWG       AD      Call with Intrepid team re: stalking horse bids.      0.30    895.00        $268.50
10/25/2023 ZMB       AD      Call w bankers, S. Golden et al re bids               0.70   1,295.00       $906.50
                             received and go-forward strategy for auction
                             process.
10/26/2023 JHR       AD      Conference call with Foris re: sale update            1.00    995.00        $995.00
10/26/2023 RMP       AD      Attend PSZJ sale update conference call.              0.80   1,895.00     $1,516.00
10/26/2023 SWG       AD      Call with D. Hoehne re: stalking horse bids           0.40    895.00        $358.00
                             and sale process.
10/27/2023 JHR       AD      Analyze bids received to date.                        0.40    995.00        $398.00
10/27/2023 RMP       AD      Telephone conference with Committee                   0.40   1,895.00       $758.00
                             counsel re sale issues and review notice re
                             same.
10/27/2023 SWG       AD      Draft notice of extended sale dates                   0.60    895.00        $537.00
10/27/2023 SWG       AD      Call with L. Beers re: sale process and               0.20    895.00        $179.00
                             deadlines.
10/27/2023 SWG       AD      Call with A. Nicas re: bid process and                0.40    895.00        $358.00
                             deadlines.
10/27/2023 SWG       AD      Call with D. Grassgreen re: bid deadlines.            0.20    895.00        $179.00
10/27/2023 SWG       AD      Call with L. Beers re: sale timeline                  0.20    895.00        $179.00
10/28/2023 JHR       AD      Review draft notice of revised sale dates.            0.10    995.00            $99.50
10/28/2023 RMP       AD      Conference call with UCC professionals re             1.00   1,895.00     $1,895.00
                             sale issues.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23    Page 17 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 16
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/28/2023 SWG       AD      Pre-call with L. Beers re: call with UCC re         0.30    895.00        $268.50
                             sale

10/28/2023 SWG       AD      Call with UCC professionals re: sale timeline.      1.00    895.00        $895.00
10/30/2023 MBL       AD      Emails with team re sale status and timing.         0.10   1,445.00       $144.50
10/31/2023 RJG       AD      Attend sale update call.                            0.30   1,525.00       $457.50
10/31/2023 SWG       AD      Participate in weekly sale check-in call.           0.30    895.00        $268.50
10/31/2023 ZMB       AD      Status meeting w S. Golden, et al.                  0.30   1,295.00       $388.50
                                                                                69.30               $75,801.00

Appeals
10/30/2023 HCK       AP      Review Lavvan NOA from final DIP order.             0.10   1,550.00       $155.00
10/30/2023 RMP       AP      Telephone conferences with D. Grassgreen            0.40   1,895.00       $758.00
                             and M. Goldstein re Lavvan notice of appeal
                             issues.
10/31/2023 HCK       AP      Memos to/from J. Lathrop et al. re Lavvan           0.40   1,550.00       $620.00
                             appeal and response/mediation.
10/31/2023 JEO       AP      Review appeal documents and procedures for          1.20   1,275.00     $1,530.00
                             appeal.
10/31/2023 JEO       AP      Review appeal documents and procedures for          0.80   1,275.00     $1,020.00
                             appeal.
10/31/2023 JEO       AP      Review status of Lavvan appeal                      0.80   1,275.00     $1,020.00
                                                                                 3.70                $5,103.00

Bankruptcy Litigation
10/01/2023 JEO       BL      Prepare for 10/4 hearing                            2.00   1,275.00     $2,550.00
10/02/2023 GNB       BL      (Partial) Attend PSZJ team call regarding           0.30    975.00        $292.50
                             strategy and deadlines as it pertains to
                             Committee Rule 2004 requests.

10/02/2023 JEO       BL      Prepare for 10/4 hearing                            2.00   1,275.00     $2,550.00
10/02/2023 JEO       BL      Work on amended agenda for 10/4 hearing             0.80   1,275.00     $1,020.00
10/02/2023 JEO       BL      Draft trial subpoena for Michael Gaul               0.50   1,275.00       $637.50
10/02/2023 JEO       BL      Review notice of zoom hearing on Motion to          0.60   1,275.00       $765.00
                             Quash
                 Case 23-11131-TMH         Doc 805-2      Filed 12/01/23     Page 18 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 17
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/03/2023 GNB       BL      Email with S. Golden regarding review and          0.10    975.00            $97.50
                             production of documents responsive to
                             Committee Rule 2004 requests.
10/03/2023 GNB       BL      Read email from S. Hershey requesting meet         0.10    975.00            $97.50
                             and confer on Committee Rule 2004 requests;
                             Review S. Golden email regarding same;
                             Email PSZJ team regarding same.
10/03/2023 JEO       BL      Review hearing transcript from 10/3 motion to      0.40   1,275.00       $510.00
                             quash
10/04/2023 GNB       BL      Video conference with PSZJ document review         0.90    975.00        $877.50
                             team regarding Committee Rule 2004 requests
                             (.8); prepare for same (.1.)

10/04/2023 GNB       BL      Review debtors' documents in connection with       1.80    975.00      $1,755.00
                             Committee Rule 2004 requests.

10/04/2023 GNB       BL      Review S. Golden email response to S.              0.10    975.00            $97.50
                             Hershey regarding Committee Rule 2004
                             requests; email with S. Golden regarding
                             Committee Rule 2004 requests process; email
                             O. Wright regarding same.
10/04/2023 HCK       BL      Review Givaudan Rule 2004 document                 0.20   1,550.00       $310.00
                             request.
10/04/2023 JHR       BL      Analyze Givaudan 2004 motion                       0.50    995.00        $497.50
10/04/2023 NLH       BL      Video conference with PSZJ Doc review team.        0.80   1,075.00       $860.00
10/04/2023 NLH       BL      Review of documents responsive to                  3.90   1,075.00     $4,192.50
                             Committee Rule 2004 requests.
10/04/2023 PJJ       BL      Prepare second production set for OCUC.            2.50    545.00      $1,362.50
10/04/2023 SWG       BL      Review and draft response to S. Hershey 2004       0.70    895.00        $626.50
                             discovery email.
10/04/2023 WLR       BL      Video conference call with PSZJ team               0.80    975.00        $780.00
                             regarding document review for Committee
                             Bankruptcy Rule 2004 request.

10/04/2023 WLR       BL      Review of documents responsive to                  6.60    975.00      $6,435.00
                             Committee Rule 2004 requests.
10/05/2023 DG        BL      Review S. Golden and S. Hershey                    0.20   1,550.00       $310.00
                             correspondence re: UCC discovery (0.1);
                             correspond with S. Golden re: KTBS
                             investigation (.1).
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 19 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 18
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/05/2023 GNB       BL      Edit S. Golden email response to S. Hershey           0.10    975.00            $97.50
                             meet and confer request; email S. Golden
                             regarding additional search terms for ESI
                             potentially responsive to Committee Rule
                             2004 document requests.

10/05/2023 GNB       BL      Review debtors' documents in connection with          0.40    975.00        $390.00
                             Committee Rule 2004 requests.
10/05/2023 GNB       BL      Call with S. Golden and P. Jeffries regarding         0.30    975.00        $292.50
                             Committee Rule 2004 requests.
10/05/2023 GNB       BL      Video conference with O. Wright and S.                0.60    975.00        $585.00
                             Golden regarding Committee Rule 2004
                             requests.

10/05/2023 GNB       BL      Call with S. Golden regarding follow up to            0.20    975.00        $195.00
                             call with O. Wright.

10/05/2023 JEO       BL      Emails with S. Golden re hearing dates for            0.80   1,275.00     $1,020.00
                             Amyris

10/05/2023 NLH       BL      Review of documents responsive to                     4.30   1,075.00     $4,622.50
                             Committee Rule 2004 requests.

10/05/2023 PJJ       BL      Telephone conference with S. Golden and G.            0.40    545.00        $218.00
                             Brown regarding OCUC 2004.
10/05/2023 PJJ       BL      Review OCUC correspondence regarding                  0.20    545.00        $109.00
                             2004 (.1); respond thereto (.1).
10/05/2023 SWG       BL      Video conference with O. Wright and G.                0.60    895.00        $537.00
                             Brown re: Committee 2004 requests
10/05/2023 SWG       BL      Call with G. Brown re: follow up to call with         0.20    895.00        $179.00
                             O. Wright
10/05/2023 SWG       BL      Prepare common interest agreement with                0.60    895.00        $537.00
                             Committee.
10/05/2023 SWG       BL      Participate in litigation call with G. Brown and      0.30    895.00        $268.50
                             P. Jeffries
10/05/2023 WLR       BL      Review of documents responsive to                     5.30    975.00      $5,167.50
                             Committee Rule 2004 requests.
10/06/2023 AJK       BL      Analysis of UCC discovery requests.                   1.20   1,675.00     $2,010.00
10/06/2023 AJK       BL      Meet and confer with UCC counsel and Foris            0.90   1,675.00     $1,507.50
                             counsel re UCC Rule 2004.
10/06/2023 AJK       BL      Further call with PSZJ team re discovery.             0.40   1,675.00       $670.00
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23   Page 20 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 19
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/06/2023 AJK       BL      Draft e-mails re discovery (internal).             0.40   1,675.00       $670.00
10/06/2023 GNB       BL      Email D. Grassgreen and A. Kornfeld                0.20    975.00        $195.00
                             regarding Committee Rule 2004.

10/06/2023 GNB       BL      Emails O. Wright regarding Committee Rule          0.30    975.00        $292.50
                             2004 requests.

10/06/2023 GNB       BL      Emails PSZJ team regarding Committee Rule          0.40    975.00        $390.00
                             2004 production.

10/06/2023 GNB       BL      Review documents in connection with                0.40    975.00        $390.00
                             Committee Rule 2004 requests.

10/06/2023 GNB       BL      Video conference with PSZJ, White & Case,          1.20    975.00      $1,170.00
                             and Goodwin Proctor regarding Committee
                             Rule 2004 requests (.9); Follow-up conference
                             with PSZJ team regarding same (.3).

10/06/2023 GNB       BL      Email with K. Matevich regarding Committee         0.10    975.00            $97.50
                             Rule 2004.

10/06/2023 GNB       BL      Call with O. Wright and S. West (KL                0.20    975.00        $195.00
                             Discovery) regarding Committee Rule 2004
                             requests (.1); Email PSZJ team regarding
                             same (.1).

10/06/2023 HCK       BL      Memos to / from K. Notovny and C. Johnson          0.50   1,550.00       $775.00
                             re GIV Rule 2004 document request.
10/06/2023 NLH       BL      Review of documents responsive to                  4.10   1,075.00     $4,407.50
                             Committee Rule 2004 requests.
10/06/2023 PJJ       BL      Prepare document production Volume 2 to            0.80    545.00        $436.00
                             OCUC.
10/06/2023 PJJ       BL      Conference call with PSZJ, KTBS, W&C               0.90    545.00        $490.50
                             regarding 2004 meet and confer.
10/06/2023 PJJ       BL      Follow-up call with G. Brown, A. Kornfeld          0.40    545.00        $218.00
                             and S. Golden regarding OCUC 2004.
10/06/2023 PJJ       BL      Prepare document production No. 3 to OCUC.         0.70    545.00        $381.50
10/06/2023 PJJ       BL      Attend call with KLD, Oksana and G. Brown          0.20    545.00        $109.00
                             regarding OCUC.
10/06/2023 PJJ       BL      Claw back production Volume 002 (.3); re-          1.30    545.00        $708.50
                             work and re-produce (1.0).
10/06/2023 PJJ       BL      Produce document production Volume 3.              1.10    545.00        $599.50
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23      Page 21 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 20
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/06/2023 SWG       BL      Review documents for production to                    4.80    895.00      $4,296.00
                             Committee.

10/06/2023 SWG       BL      Meet and confer with UCC and Foris.                   0.90    895.00        $805.50
10/06/2023 WLR       BL      Review of documents responsive to                    11.00    975.00     $10,725.00
                             Committee Rule 2004 requests.

10/07/2023 AJK       BL      Work on interrogatory responses.                      1.60   1,675.00     $2,680.00
10/07/2023 GNB       BL      Review documents in connection with                   1.10    975.00      $1,072.50
                             Committee Rule 2004 requests.

10/07/2023 NLH       BL      Review of documents responsive to                     3.40   1,075.00     $3,655.00
                             Committee Rule 2004 requests.

10/07/2023 WLR       BL      Review of documents responsive to                     5.30    975.00      $5,167.50
                             Committee Rule 2004 requests.
10/08/2023 AJK       BL      Call with R. Pachulski, D. Grassgreen, S.             0.80   1,675.00     $1,340.00
                             Golden re litigation strategy.
10/08/2023 DG        BL      Call with A. Kornfeld, R. Pachulski and S.            0.70   1,550.00     $1,085.00
                             Golden re: committee discovery requests.
10/08/2023 GNB       BL      Review documents in connection with                   0.40    975.00        $390.00
                             Committee Rule 2004 requests.
10/08/2023 JEO       BL      Emails with Golden and A. Kornfeld                    0.60   1,275.00       $765.00
                             regarding expert retention
10/08/2023 NLH       BL      Review of documents responsive to                     3.60   1,075.00     $3,870.00
                             Committee Rule 2004 requests.
10/08/2023 RMP       BL      Conference call with A. Kornfeld , D.                 0.70   1,895.00     $1,326.50
                             Grassgreen and S. Golden re discovery issues.
10/08/2023 SWG       BL      Participate in call with R. Pachulski, A.             0.80    895.00        $716.00
                             Kornfeld , and D. Grassgreen re: Committee
                             litigation matters.
10/08/2023 SWG       BL      Call with S. Hershey re: litigation matters.          0.40    895.00        $358.00
10/08/2023 SWG       BL      Participate in call (partial) with R. Pachulski,      0.30    895.00        $268.50
                             D. Grassgreen, and Foris' counsel re: litigation
10/08/2023 TCF       BL      Review and analysis of discovery issues (UCC          0.50   1,075.00       $537.50
                             Rule 2004).
10/08/2023 WLR       BL      Review of documents responsive to                     7.80    975.00      $7,605.00
                             Committee Rule 2004 requests.
10/09/2023 AJK       BL      Review and analyze OCC discovery requests.            0.50   1,675.00       $837.50
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23     Page 22 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 21
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/09/2023 AJK       BL      Zoom re discovery with S. Golden and T.             1.00   1,675.00     $1,675.00
                             Flanagan.

10/09/2023 AJK       BL      Work on document production.                        1.70   1,675.00     $2,847.50
10/09/2023 AJK       BL      Work on interrogatory responses.                    2.80   1,675.00     $4,690.00
10/09/2023 GIG       BL      Exchange emails with D. Grassgreen re               0.10   1,325.00       $132.50
                             Lavvan claims and liens.

10/09/2023 GNB       BL      Emails PSZJ document review team regarding          0.10    975.00            $97.50
                             redactions and availability going forward.

10/09/2023 GNB       BL      Review documents in connection with                 0.10    975.00            $97.50
                             Committee Rule 2004 requests.

10/09/2023 GNB       BL      Call with client, P. Jeffries and KL Discovery      0.30    975.00        $292.50
                             regarding ESI collection from Amyris email
                             server for Committee Rule 2004 requests.
10/09/2023 GNB       BL      Call with P. Jeffries regarding Committee Rule      0.20    975.00        $195.00
                             2004 document request ESI issues.
10/09/2023 HCK       BL      Memos to / from J. Rosell and J. Weber re           0.20   1,550.00       $310.00
                             GIV Rule 2004 continuance.
10/09/2023 HCK       BL      Memos to / from M. Goldstein re Lavvan              0.10   1,550.00       $155.00
                             follow-up.

10/09/2023 HCK       BL      Memos to / from D. Grassgreen re Lavvan             0.10   1,550.00       $155.00
                             analysis.

10/09/2023 JEO       BL      Participate in WIP call                             0.60   1,275.00       $765.00
10/09/2023 JEO       BL      Follow up discussion with S. Golden and A.          0.60   1,275.00       $765.00
                             Kornfeld regarding expert retention

10/09/2023 JEO       BL      Review status of pending matters                    1.00   1,275.00     $1,275.00
10/09/2023 JHR       BL      Correspondence with PSZJ team re: open              0.40    995.00        $398.00
                             DSM litigation issues

10/09/2023 JHR       BL      Analyze DSM draft objection to 2004 motion.         0.50    995.00        $497.50
10/09/2023 PJJ       BL      Process Gund email for OCUC 2004                    0.20    545.00        $109.00
                             production.
10/09/2023 PJJ       BL      Work on document production logs.                   0.50    545.00        $272.50
10/09/2023 PJJ       BL      Telephone conference with KLDiscovery,              0.30    545.00        $163.50
                             Amyris and G. Brown.
10/09/2023 PJJ       BL      Follow-up call with G. Brown regarding              0.20    545.00        $109.00
                             OCUC 2004.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23   Page 23 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 22
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                                                              Hours      Rate        Amount
10/09/2023 RMP       BL      Review ID issues and telephone conference         0.70   1,895.00     $1,326.50
                             with F. Reiss re same.

10/09/2023 SWG       BL      Work on responses to UCC interrogatories.         0.60    895.00        $537.00
10/09/2023 SWG       BL      Call with A. Kornfeld and T. Flanagan re:         0.90    895.00        $805.50
                             ROG responses.

10/09/2023 SWG       BL      Work on responses to UCC interrogatories          0.40    895.00        $358.00
10/09/2023 SWG       BL      Respond to comprehensive list of questions        0.40    895.00        $358.00
                             from UCC re: lien challenge.

10/09/2023 TCF       BL      Review and analysis of interrogatories (UCC       0.60   1,075.00       $645.00
                             Rule 2004).

10/09/2023 TCF       BL      Conference with A. Kornfeld and S. Golden         1.00   1,075.00     $1,075.00
                             regarding responses to discovery (UCC Rule
                             2004).
10/09/2023 TCF       BL      Work on responses to discovery (UCC Rule          4.60   1,075.00     $4,945.00
                             2004).
10/09/2023 WLR       BL      Review of documents responsive to                 5.00    975.00      $4,875.00
                             Committee Rule 2004 requests.
10/10/2023 AJK       BL      Work on interrogatory responses (review of        3.30   1,675.00     $5,527.50
                             source documents).

10/10/2023 GNB       BL      Emails client and KL Discovery regarding          0.10    975.00            $97.50
                             email collection from Amyris email server.

10/10/2023 GNB       BL      Review documents in connection with               0.80    975.00        $780.00
                             Committee Rule 2004 requests.

10/10/2023 GNB       BL      Email with Hayes Hyde regarding ESI; email        0.10    975.00            $97.50
                             with PSZJ team regarding same.

10/10/2023 GNB       BL      Revise common interest agreement among            0.80    975.00        $780.00
                             debtors, F. Reiss, and Committee.
10/10/2023 GNB       BL      Call with A. Kornfeld regarding Rule 2004         0.20    975.00        $195.00
                             discovery status in preparation for hearing
                             tomorrow.
10/10/2023 HCK       BL      Memos to / from D. Grassgreen and M.              0.20   1,550.00       $310.00
                             Goldstein re Lavvan security interest and
                             intercreditor litigation.
10/10/2023 HCK       BL      Follow-up re Lavvan litigation matters            0.10   1,550.00       $155.00
10/10/2023 JEO       BL      Prepare for 10/11 hearing                         0.90   1,275.00     $1,147.50
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23     Page 24 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 23
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/10/2023 JEO       BL      Emails with Court re hearing dates                  0.80   1,275.00     $1,020.00
10/10/2023 JEO       BL      Email with UST regarding hearing dates              0.40   1,275.00       $510.00
10/10/2023 JEO       BL      Email with PSZJ team rehearing dates                0.30   1,275.00       $382.50
10/10/2023 PJJ       BL      Telephone conference with A. Kornfeld               0.30    545.00        $163.50
                             regarding OCUC 2004 (.2); follow up with S.
                             Golden (.1).
10/10/2023 PJJ       BL      Detailed email to A. Kornfeld regarding             2.50    545.00      $1,362.50
                             OCUC document productions to date.
10/10/2023 PJJ       BL      Prepare document production Volume 4.               0.50    545.00        $272.50
10/10/2023 SWG       BL      Attention to UCC interrogatories.                   0.30    895.00        $268.50
10/10/2023 WLR       BL      Review of documents responsive to                   3.90    975.00      $3,802.50
                             Committee Rule 2004 requests.
10/11/2023 AJK       BL      Review analysis of discovery timeline.              0.60   1,675.00     $1,005.00
10/11/2023 AJK       BL      Call with R. Pachulski and D. Grassgreen re         0.40   1,675.00       $670.00
                             strategy in connection with litigation.
10/11/2023 AJK       BL      Work on common interest agreement.                  0.60   1,675.00     $1,005.00
10/11/2023 AJK       BL      Work on interrogatory responses.                    3.70   1,675.00     $6,197.50
10/11/2023 AJK       BL      Begin review of investigatory materials.            4.50   1,675.00     $7,537.50
10/11/2023 GNB       BL      Draft detailed email for A. Kornfeld regarding      1.30    975.00      $1,267.50
                             Rule 2004 discovery status in preparation for
                             today's hearing.

10/11/2023 GNB       BL      Email D. Grassgreen and A. Kornfeld                 0.10    975.00            $97.50
                             regarding information sources for ESI
                             potentially responsive to Committee Rule
                             2004 requests.

10/11/2023 GNB       BL      Review documents in connection with                 0.20    975.00        $195.00
                             Committee Rule 2004 requests.

10/11/2023 GNB       BL      Emails M. Dicte and A. Rios regarding email         0.20    975.00        $195.00
                             searches for Committee Rule 2004 requests.
10/11/2023 GNB       BL      Revise common interest and confidentiality          0.30    975.00        $292.50
                             agreement per O. Wright (.1); email and call
                             with A. Kornfeld regarding same, email with
                             S. Golden regarding same, and email to KTBS
                             and White & Case regarding same (.1); review
                             S. Kidder email regarding same and email
                             with A. Kornfeld regarding same (.1).
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23    Page 25 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 24
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                                                              Hours      Rate        Amount
10/11/2023 GNB       BL      Email with PSZJ team regarding Rule 2004          0.20    975.00        $195.00
                             discovery.

10/11/2023 GNB       BL      Email client and KL Discovery regarding           0.20    975.00        $195.00
                             email collection from Amyris server.

10/11/2023 JEO       BL      Review and finalize Statement in Connection       0.60   1,275.00       $765.00
                             with the Motion of Givaudan SA for an Order
                             Directing the Production of Documents
10/11/2023 JEO       BL      Email with Doris Choi re D&O Policy               0.30   1,275.00       $382.50
10/11/2023 JHR       BL      Draft joinder to DSM objection to Givaudan        0.50    995.00        $497.50
                             2004 motion.
10/11/2023 JHR       BL      Revise statement concerning Givaudan 2004         0.20    995.00        $199.00
                             motion.
10/11/2023 NLH       BL      Review of documents responsive to                 3.50   1,075.00     $3,762.50
                             Committee Rule 2004 requests.
10/11/2023 RMP       BL      Telephone conference with D. Grassgreen and       0.40   1,895.00       $758.00
                             review common interest agreement.
10/11/2023 RMP       BL      Review interview notes and telephone              2.30   1,895.00     $4,358.50
                             conference with A. Kornfeld re same.

10/11/2023 TCF       BL      Work on responses to discovery (UCC Rule          5.80   1,075.00     $6,235.00
                             2004).

10/11/2023 WLR       BL      Review of documents responsive to                10.50    975.00     $10,237.50
                             Committee Rule 2004 requests.

10/12/2023 AJK       BL      Review interview notes.                           4.30   1,675.00     $7,202.50
10/12/2023 AJK       BL      Work on document production.                      4.50   1,675.00     $7,537.50
10/12/2023 AJK       BL      Work on statement in response to UCC              2.40   1,675.00     $4,020.00
                             submission.

10/12/2023 DG        BL      Comment on draft responses to                     0.30   1,550.00       $465.00
                             Interrogatories.
10/12/2023 GNB       BL      Revise common interest agreement with             0.30    975.00        $292.50
                             Committee.
10/12/2023 GNB       BL      Review documents in connection with               0.60    975.00        $585.00
                             Committee Rule 2004 requests.
10/12/2023 GNB       BL      Read Committee statement re proposed final        0.20    975.00        $195.00
                             order authorizing DIP financing, relating to
                             Committee Rule 2004 discovery.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23     Page 26 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 25
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/12/2023 GNB       BL      Call with A. Kornfeld and S. Golden                 0.30    975.00        $292.50
                             regarding Committee statement re proposed
                             final order authorizing DIP financing (.2);
                             email with PSZJ team regarding same (.1).
10/12/2023 GNB       BL      Draft response to Committee statement               2.80    975.00      $2,730.00
                             regarding proposed final order authorizing
                             DIP financing, relating to Committee Rule
                             2004 discovery.
10/12/2023 NLH       BL      Review of documents responsive to                   2.20   1,075.00     $2,365.00
                             Committee Rule 2004 requests.
10/12/2023 PJJ       BL      Prepare document production #5.                     0.40    545.00        $218.00
10/12/2023 SWG       BL      Call with client re: common interest                0.30    895.00        $268.50
                             agreement

10/12/2023 TCF       BL      Work on responses to discovery (UCC Rule            4.50   1,075.00     $4,837.50
                             2004).

10/12/2023 WLR       BL      Review of documents responsive to                   3.50    975.00      $3,412.50
                             Committee Rule 2004 requests.

10/13/2023 AJK       BL      Work on response to UCC statement.                  2.30   1,675.00     $3,852.50
10/13/2023 AJK       BL      Review and analysis of investigatory                4.70   1,675.00     $7,872.50
                             materials.

10/13/2023 AJK       BL      Work on document production.                        3.10   1,675.00     $5,192.50
10/13/2023 DG        BL      Review filing by Committee re: challenge            0.40   1,550.00       $620.00
                             period and discovery (0.3); review and
                             respond to email from D. Stern re: same (0.1).
10/13/2023 GNB       BL      Review PSZJ team emails regarding common            0.10    975.00            $97.50
                             interest agreement in connection with
                             Committee Rule 2004 requests.

10/13/2023 GNB       BL      Revise response to Committee statement              0.60    975.00        $585.00
                             regarding proposed final order authorizing
                             DIP financing, relating to Committee Rule
                             2004 discovery.

10/13/2023 GNB       BL      Prepare for call with A. Rios (Fenwick)             0.30    975.00        $292.50
                             regarding email searches in connection with
                             Committee Rule 2004 requests.
10/13/2023 GNB       BL      Email with PSZJ team regarding email                0.70    975.00        $682.50
                             collection, searches, and review in connection
                             with Committee Rule 2004 requests.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 27 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 26
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/13/2023 GNB       BL      Call with A. Kornfeld and T. Flanagan               0.10    975.00            $97.50
                             regarding email review relating to Committee
                             Rule 2004 requests.
10/13/2023 GNB       BL      Email with KL Discovery re Amyris email             0.60    975.00        $585.00
                             collection, including preparation of detailed
                             instructions on searches in connection with
                             Committee Rule 2004 requests.
10/13/2023 GNB       BL      Review documents in connection with                 0.10    975.00            $97.50
                             Committee Rule 2004 requests.
10/13/2023 GNB       BL      Call with A. Rios (Fenwick) regarding email         0.30    975.00        $292.50
                             searches for Committee Rule 2004 document
                             review.

10/13/2023 GNB       BL      Call with S. Golden regarding Committee             0.40    975.00        $390.00
                             Rule 2004 discovery.

10/13/2023 GNB       BL      Email with PSZJ and Fenwick teams                   0.80    975.00        $780.00
                             regarding emails for review in connection with
                             Rule 2004 requests, including detailed
                             instructions.

10/13/2023 JHR       BL      Correspondence with DSM and Committee re:           0.40    995.00        $398.00
                             open DSM issues.

10/13/2023 LHP       BL      Work on agenda for hearing on October 18            6.00    545.00      $3,270.00
                             and email communications re same.

10/13/2023 NLH       BL      Review of documents responsive to                   1.70   1,075.00     $1,827.50
                             Committee Rule 2004 requests.

10/13/2023 PJJ       BL      Continue work on OCUC document                      1.00    545.00        $545.00
                             production Volume 5.
10/13/2023 PJJ       BL      Telephone conference with Everlaw regarding         0.20    545.00        $109.00
                             pst file uploads.
10/13/2023 RMP       BL      Review and consider Lavvan next steps and           0.60   1,895.00     $1,137.00
                             telephone conference with A. Kornfeld and
                             MG re same.

10/13/2023 RMP       BL      Telephone conferences with A. Kornfeld and          0.60   1,895.00     $1,137.00
                             D. Grassgreen re investigation.

10/13/2023 SWG       BL      Call with G. Brown re: e-discovery                  0.40    895.00        $358.00
10/13/2023 TCF       BL      Draft response to Committee's statement             5.60   1,075.00     $6,020.00
                             regarding discovery issues.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 28 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 27
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/13/2023 WLR       BL      Review of documents responsive to                  0.60    975.00        $585.00
                             Committee Rule 2004 requests.

10/14/2023 AJK       BL      Work on statement in response to UCC.              0.80   1,675.00     $1,340.00
10/14/2023 AJK       BL      Analysis of investigatory materials.               3.60   1,675.00     $6,030.00
10/14/2023 AJK       BL      Work on interrogatory responses.                   2.30   1,675.00     $3,852.50
10/14/2023 AJK       BL      Work on document production.                       1.20   1,675.00     $2,010.00
10/14/2023 EG        BL      Committee 2004 Requests (team call to              1.40   1,095.00     $1,533.00
                             discuss email review)

10/14/2023 GFB       BL      Committee 2004: Participate on video call          1.40   1,050.00     $1,470.00
                             with document review team regarding review
                             issues, background information, production
                             protocols and issues related thereto.

10/14/2023 GNB       BL      (Committee Rule 2004) Prepare documents            1.70    975.00      $1,657.50
                             and talking points for PSZJ email review team
                             meeting.
10/14/2023 GNB       BL      (Committee Rule 2004) Call with B. Romero          0.10    975.00            $97.50
                             (KL Discovery) re Amyris email server
                             collection, processing, and searches.

10/14/2023 GNB       BL      (Committee Rule 2004) Attend PSZJ email            1.40    975.00      $1,365.00
                             review team meeting.

10/14/2023 GNB       BL      (Committee Rule 2004) Review debtors'              4.30    975.00      $4,192.50
                             documents and emails.

10/14/2023 GNB       BL      (Committee Rule 2004) Email with B.                0.10    975.00            $97.50
                             Romero regarding emails from KL Discovery.
10/14/2023 GNB       BL      (Committee Rule 2004) Review and suggest           0.10    975.00            $97.50
                             edit to revised response to Commitee's
                             statement on proposed DIP financing order.
10/14/2023 LFC       BL      Video conference with document review team         1.40   1,450.00     $2,030.00
                             concerning discovery requests and document
                             production review.
10/14/2023 MM        BL      (Committee Rule 2004) Video conference with        1.40    925.00      $1,295.00
                             document review team to discuss review
                             project.
10/14/2023 NLH       BL      Committee Rule 2004 - Video conference with        1.40   1,075.00     $1,505.00
                             PSZJ Doc Review team re email review.

10/14/2023 NLH       BL      Review of documents responsive to                  6.80   1,075.00     $7,310.00
                             Committee Rule 2004 requests.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23   Page 29 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 28
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/14/2023 TCF       BL      Conference with PSZJ document review team          1.40   1,075.00     $1,505.00
                             regarding document review (UCC Rule 2004).

10/14/2023 WLR       BL      Video conference regarding email review            1.40    975.00      $1,365.00
                             regarding review of documents responsive to
                             Committee Rule 2004 requests.
10/14/2023 WLR       BL      Review emails potentially responsive to            1.00    975.00        $975.00
                             Committee Rule 2004 requests.
10/15/2023 AJK       BL      Analyze interview notes.                           5.30   1,675.00     $8,877.50
10/15/2023 AJK       BL      Work on interrogatory responses.                   2.20   1,675.00     $3,685.00
10/15/2023 DG        BL      Call with Richard Pachulski re: Committee          0.70   1,550.00     $1,085.00
                             information requests (0.4); call with A.
                             Kornfeld re: same (0.3).

10/15/2023 DG        BL      Review Foris Entities' Reply to limited            1.10   1,550.00     $1,705.00
                             objection filed by Ad Hoc Bondholders (0.3);
                             review and revise Debtor's statement in
                             response to Committee and in response to
                             Bondholders re: DIP Order (0.5); confer with
                             A. Kornfeld re: same (0.3).
10/15/2023 EG        BL      Committee 2004 Request (review background          0.50   1,095.00       $547.50
                             information for email review)

10/15/2023 GFB       BL      Review emails potentially responsive to            4.60   1,050.00     $4,830.00
                             Committee Rule 2004.

10/15/2023 GFB       BL      Review background material in connection           0.70   1,050.00       $735.00
                             with document review.

10/15/2023 GNB       BL      (Committee Rule 2004) Review debtors'              8.50    975.00      $8,287.50
                             documents and emails.

10/15/2023 GNB       BL      (Committee Rule 2004) Call with A. Kornfeld        0.40    975.00        $390.00
                             regarding email review privilege issues.
10/15/2023 GNB       BL      (Committee Rule 2004) Email with B.                0.10    975.00            $97.50
                             Romero regarding emails from Amyris/KL
                             Discovery; email PSZJ team regarding
                             proposal concerning same.
10/15/2023 LFC       BL      Review documents for production.                   2.00   1,450.00     $2,900.00
10/15/2023 LFC       BL      Further review documents for production.           4.30   1,450.00     $6,235.00
10/15/2023 MSP       BL      Email exchange with D. Grassgreen, G.              0.10   1,295.00       $129.50
                             Glazer, et al. regarding Lavvan litigation.
                Case 23-11131-TMH           Doc 805-2        Filed 12/01/23    Page 30 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 29
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/15/2023 MSP       BL      Attention to review and analysis of Lavvan           1.80   1,295.00     $2,331.00
                             claim and lien matters; email exchange with
                             D. Grassgreen, G. Glazer, et al. regarding
                             same (.10).
10/15/2023 NLH       BL      Review of documents responsive to                    7.40   1,075.00     $7,955.00
                             Committee Rule 2004 requests.
10/15/2023 RMP       BL      Conference call with D. Grassgreen re                0.40   1,895.00       $758.00
                             committee information requests.

10/15/2023 TCF       BL      Document review (UCC Rule 2004).                     3.40   1,075.00     $3,655.00
10/15/2023 TCF       BL      Work on discovery reponses (UCC Rule                 1.30   1,075.00     $1,397.50
                             2004).

10/15/2023 WLR       BL      Review emails potentially responsive to             10.40    975.00     $10,140.00
                             Committee Rule 2004 requests.

10/16/2023 AJK       BL      Work on interrogatory responses.                     2.60   1,675.00     $4,355.00
10/16/2023 AJK       BL      Zoom (internal) re litigation issues (partial).      0.70   1,675.00     $1,172.50
10/16/2023 AJK       BL      Attention to discovery strategy and plan.            2.30   1,675.00     $3,852.50
10/16/2023 DG        BL      Call with R. Pachulski, S. Golden and A.             0.50   1,550.00       $775.00
                             Kornfeld re: discovery and litigation issues.

10/16/2023 DG        BL      Call with F. Reiss, KTBSLaw; A. Kornfeld; P.         0.70   1,550.00     $1,085.00
                             Gund re: independent director report.
10/16/2023 EG        BL      Committee 2004 (email review)                        4.00   1,095.00     $4,380.00
10/16/2023 EG        BL      Committee 2004 (team zoom meeting re:                1.10   1,095.00     $1,204.50
                             email review).
10/16/2023 GFB       BL      Review emails potentially responsive to              3.70   1,050.00     $3,885.00
                             Committee's Rule 2004.
10/16/2023 GFB       BL      Participate on conference call with document         1.10   1,050.00     $1,155.00
                             review team.
10/16/2023 GIG       BL      Review Lavvan research collaboration and             1.90   1,325.00     $2,517.50
                             license agreement.
10/16/2023 GIG       BL      Review Lavvan security agreement.                    1.20   1,325.00     $1,590.00
10/16/2023 GNB       BL      (Committee Rule 2004) Review debtors'                4.70    975.00      $4,582.50
                             documents and emails.
10/16/2023 GNB       BL      (Committee Rule 2004) Video conference with          1.20    975.00      $1,170.00
                             email review team (1.1 hrs); prepare to lead
                             same (.1).
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23      Page 31 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 30
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/16/2023 GNB       BL      (Committee Rule 2004) Edit response to                 0.20    975.00        $195.00
                             Committee's statement regarding Proposed
                             DIP Financing Order.
10/16/2023 HCK       BL      Review Lavvan security agreement and RCLA              1.30   1,550.00     $2,015.00
                             re scope of lien and valuation and review A.
                             Shyjan memos.
10/16/2023 KKY       BL      Review and revise 10/16/23 agenda                      0.30    545.00        $163.50
10/16/2023 KKY       BL      File (.1) and prepare for filing and service (.2)      0.30    545.00        $163.50
                             10/16/23 agenda

10/16/2023 KKY       BL      Email to claims agent re service of 10/16/23           0.10    545.00            $54.50
                             agenda

10/16/2023 LFC       BL      Further review documents for rule 2004                 1.50   1,450.00     $2,175.00
                             production

10/16/2023 LFC       BL      Review documents to be produced.                       4.00   1,450.00     $5,800.00
10/16/2023 LFC       BL      Video conference with document review team             1.10   1,450.00     $1,595.00
                             regarding document review issues.

10/16/2023 LHP       BL      Work on amended agenda for hearing on                  2.20    545.00      $1,199.00
                             October 18, 2023 and email communications
                             regarding same.
10/16/2023 NLH       BL      Review of documents responsive to                      8.90   1,075.00     $9,567.50
                             Committee Rule 2004 requests.
10/16/2023 PJJ       BL      Process email document production to                   1.00    545.00        $545.00
                             Everlaw.

10/16/2023 PJJ       BL      Prepare OCUC Volume 6 document                         2.00    545.00      $1,090.00
                             production.

10/16/2023 RMP       BL      Review and respond to e-mail re MoLo                   0.50   1,895.00       $947.50
                             representing AHG and discovery re same.

10/16/2023 RMP       BL      Participate on PSZJ conference call re                 0.70   1,895.00     $1,326.50
                             Committee discovery issues.

10/16/2023 SWG       BL      Call with D. Grassgreen re: committee                  0.20    895.00        $179.00
                             discovery matters.
10/16/2023 SWG       BL      Review UCC comments to Stipulated                      0.20    895.00        $179.00
                             Protective Order and incorporate same.
10/16/2023 SWG       BL      Call with D. Grassgreen and A. Kornfeld re:            0.20    895.00        $179.00
                             committee discovery matters
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 32 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 31
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/16/2023 SWG       BL      Respond to email from PSZJ document review         0.30    895.00        $268.50
                             team re: privilege issues.

10/16/2023 SWG       BL      Edit response to Committee filing re:              0.60    895.00        $537.00
                             discovery

10/16/2023 SWG       BL      Update Protective Order and send same to           0.20    895.00        $179.00
                             case constituents

10/16/2023 SWG       BL      Participate in call with PSZJ review team re:      1.10    895.00        $984.50
                             document review.

10/16/2023 SWG       BL      Participate in call with R. Pachulski, D.          0.70    895.00        $626.50
                             Grassgreen, and A. Kornfeld re: Committee
                             discovery issues.
10/16/2023 TCF       BL      Document review (UCC Rule 2004).                   5.60   1,075.00     $6,020.00
10/16/2023 TCF       BL      Work on discovery responses (UCC Rule              0.80   1,075.00       $860.00
                             2004).
10/16/2023 WLR       BL      Review emails potentially responsive to            8.30    975.00      $8,092.50
                             Committee Rule 2004 requests.
10/17/2023 AJK       BL      Review documents in connection with UCC            3.30   1,675.00     $5,527.50
                             production.

10/17/2023 AJK       BL      Further review of documents in connection          2.70   1,675.00     $4,522.50
                             with production.

10/17/2023 DG        BL      Correspond with S. Golden re: NDA with             0.10   1,550.00       $155.00
                             Bondholders.

10/17/2023 DG        BL      Emails with S. Golden and A. Kornfeld re:          0.10   1,550.00       $155.00
                             discovery statement.

10/17/2023 DG        BL      Several emails with G. Glazier re: Lavvan          0.20   1,550.00       $310.00
                             Claims and Liens.
10/17/2023 DG        BL      Emails to and from S. Golden re: NDAs.             0.20   1,550.00       $310.00
10/17/2023 EG        BL      Committee 2004 Request (email review)              0.50   1,095.00       $547.50
10/17/2023 EG        BL      Committee 2004 (email review)                      1.50   1,095.00     $1,642.50
10/17/2023 GFB       BL      Review emails potentially responsive to            4.20   1,050.00     $4,410.00
                             Committee's Rule 2004.
10/17/2023 GIG       BL      Review Amyris statement of defense and             1.40   1,325.00     $1,855.00
                             counterclaim (Lavvan).
10/17/2023 GIG       BL      Exchange emails with D. Grassgreen, M.             0.20   1,325.00       $265.00
                             Pagay re Lavvan federal complaint.
                 Case 23-11131-TMH         Doc 805-2         Filed 12/01/23   Page 33 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 32
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/17/2023 GIG       BL      Review Lavvan complaint re patent                   0.70   1,325.00       $927.50
                             infringement.

10/17/2023 GNB       BL      (Committee Rule 2004) Review debtors'               5.10    975.00      $4,972.50
                             documents and emails.

10/17/2023 HCK       BL      Memos to / from Committee counsel re entry          0.10   1,550.00       $155.00
                             of final DIP order.

10/17/2023 JEO       BL      Review and finalize Debtors' Responses and          0.60   1,275.00       $765.00
                             Objections to Committees Interrogatories

10/17/2023 KKY       BL      Draft notice of service re requests for             0.40    545.00        $218.00
                             production of documents to Committee and
                             Jefferies
10/17/2023 LFC       BL      Review documents on Everlaw for Rule 2004           3.20   1,450.00     $4,640.00
                             production
10/17/2023 LFC       BL      Further review documents on Everlaw for             5.10   1,450.00     $7,395.00
                             2004 production
10/17/2023 NLH       BL      Review of documents responsive to                   9.10   1,075.00     $9,782.50
                             Committee Rule 2004 requests.

10/17/2023 PJJ       BL      Telephone conference with Everlaw regarding         0.20    545.00        $109.00
                             discovery status.

10/17/2023 PJJ       BL      Upload additional materials to Everlaw.             0.20    545.00        $109.00
10/17/2023 PJJ       BL      Reload Everlaw discovery.                           0.20    545.00        $109.00
10/17/2023 PJJ       BL      Process additional discovery.                       0.30    545.00        $163.50
10/17/2023 PJJ       BL      Draft CNO regarding DSM motion to seal.             0.20    545.00        $109.00
10/17/2023 PJJ       BL      Telephone conference with G. Brown                  0.20    545.00        $109.00
                             regarding document production 7.

10/17/2023 PJJ       BL      Prepare document production volume 7.               0.80    545.00        $436.00
10/17/2023 SWG       BL      Update pleading in response to Committee            0.20    895.00        $179.00
                             statements re: discovery

10/17/2023 WLR       BL      Review emails potentially responsive to             9.90    975.00      $9,652.50
                             Committee Rule 2004 requests.
10/18/2023 AJK       BL      Zoom with Goodwin re litigation issues.             1.50   1,675.00     $2,512.50
10/18/2023 AJK       BL      Review of documents.                                2.60   1,675.00     $4,355.00
10/18/2023 DG        BL      Call with Goodwin Proctor litigation team and       2.00   1,550.00     $3,100.00
                             PSZJ litigation team re: plan litigation,
                             document requests and related matters.
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23     Page 34 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 33
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/18/2023 EG        BL      Committee 2004 (email review)                         1.00   1,095.00     $1,095.00
10/18/2023 EG        BL      Committee 2004 (email review)                         1.00   1,095.00     $1,095.00
10/18/2023 EG        BL      Committee 2004 (email review)                         1.50   1,095.00     $1,642.50
10/18/2023 GFB       BL      Review emails potentially responsive to               6.30   1,050.00     $6,615.00
                             Committee's Rule 2004.

10/18/2023 GNB       BL      (Committee Rule 2004) Review debtors'                 3.30    975.00      $3,217.50
                             documents and emails.

10/18/2023 GNB       BL      (Committee Rule 2004) Email with B.                   0.10    975.00            $97.50
                             Romero regarding collection and searches of
                             Amyris emails and attachments.
10/18/2023 GNB       BL      (Committee Rule 2004) Call with B. Romero             0.10    975.00            $97.50
                             regarding Discovery over inclusiveness in
                             searches of Amyris emails and attachments.

10/18/2023 GNB       BL      (Ad Hoc Noteholders' Rule 2004) Emails S.             0.10    975.00            $97.50
                             Golden regarding Rule 2004 requests.

10/18/2023 JEO       BL      Review committee question regarding                   0.80   1,275.00     $1,020.00
                             discovery

10/18/2023 JEO       BL      Review and finalize Certification of Counsel          0.90   1,275.00     $1,147.50
                             Regarding Order Approving Stipulated
                             Confidentiality Agreement and Protective
                             Order

10/18/2023 JHR       BL      Review ad hoc discovery request.                      0.30    995.00        $298.50
10/18/2023 KKY       BL      Draft (.2) and prepare for filing (.2) notice of      0.40    545.00        $218.00
                             service re responses to UCC interrogatories
10/18/2023 LFC       BL      Review documents to be produced in response           5.30   1,450.00     $7,685.00
                             to Rule 2004 examination order.
10/18/2023 MM        BL      Review Rule 2004 documents for production             3.50    925.00      $3,237.50
                             (3.3); review and draft emails to document
                             review team regarding designation issues (.2)
10/18/2023 NLH       BL      Review of documents responsive to                     8.60   1,075.00     $9,245.00
                             Committee Rule 2004.

10/18/2023 PJJ       BL      Email from and to W&C regarding metadata              0.10    545.00            $54.50
                             filed for Volume 7.

10/18/2023 PJJ       BL      Review document production Volume 7                   0.30    545.00        $163.50
                             regarding W&C inquiry.
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 35 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 34
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/18/2023 PJJ       BL      Telephone conference with G. Brown                  0.20    545.00        $109.00
                             regarding document production 8.

10/18/2023 PJJ       BL      Process document production Volume 7.               1.00    545.00        $545.00
10/18/2023 PJJ       BL      Prepare document productions 1-7 for service        0.30    545.00        $163.50
                             to Goodwin.

10/18/2023 RMP       BL      Participate on conference call with PSZJ and        2.00   1,895.00     $3,790.00
                             Goodwin re discovery issues.

10/18/2023 RMP       BL      Review MoLo Lamken notice and telephone             0.70   1,895.00     $1,326.50
                             conference with A. Kornfeld re same.

10/18/2023 SWG       BL      Finalize Stipulated Protective Order and            0.70    895.00        $626.50
                             related filings
10/18/2023 SWG       BL      Participate in call various discovery matters       2.00    895.00      $1,790.00
                             with PSZJ and Goodwin teams.
10/18/2023 WLR       BL      Review emails potentially responsive to             9.50    975.00      $9,262.50
                             Committee Rule 2004 requests.
10/19/2023 AJK       BL      Analysis of ad hoc discovery.                       0.80   1,675.00     $1,340.00
10/19/2023 AJK       BL      Call with D. Stern.                                 0.30   1,675.00       $502.50
10/19/2023 AJK       BL      Call with S. Hershey re litigation issues.          0.20   1,675.00       $335.00
10/19/2023 AJK       BL      Review documents.                                   3.80   1,675.00     $6,365.00
10/19/2023 BEL       BL      Review Ad Hoc's discovery requests.                 0.40   1,095.00       $438.00
10/19/2023 DG        BL      Finalize supplemental Bondholder NDA.               0.30   1,550.00       $465.00
10/19/2023 DG        BL      Multiple correspondence with G. Brown and           0.20   1,550.00       $310.00
                             review attachments re: discovery responses.
10/19/2023 DG        BL      Correspond with S. Margolis re: Language of         0.30   1,550.00       $465.00
                             NDA; review draft.
10/19/2023 DG        BL      Review discovery requests to Foris.                 0.80   1,550.00     $1,240.00
10/19/2023 EG        BL      Committee 2004 (email review)                       0.80   1,095.00       $876.00
10/19/2023 GFB       BL      Review emails potentially responsive to             1.30   1,050.00     $1,365.00
                             Committee's Rule 2004.
10/19/2023 GNB       BL      (Committee Rule 2004) Review debtors'               4.10    975.00      $3,997.50
                             documents and emails.
10/19/2023 GNB       BL      (Rule 2004 requests) Draft email to M. Dicte        0.10    975.00            $97.50
                             (Fenwick) regarding potentially responsive
                             electronically stored information.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23       Page 36 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 35
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/19/2023 GNB       BL      (Bondholders' Rule 2004 document requests)             0.10    975.00            $97.50
                             Read document requests.

10/19/2023 GNB       BL      (Rule 2004 discovery) Begin preparing for              0.10    975.00            $97.50
                             conference tomorrow with PSZJ document
                             review team.
10/19/2023 JEO       BL      Review entered order on protective stipulation         0.30   1,275.00       $382.50
10/19/2023 JEO       BL      Review request for indemnification from                0.80   1,275.00     $1,020.00
                             former employee
10/19/2023 KHB       BL      Confer with D. Grassgreen re internal report           1.70   1,525.00     $2,592.50
                             and privilege issues (.2); analyze authorities re
                             same (1.5).

10/19/2023 LFC       BL      Review documents to be produced in response            3.50   1,450.00     $5,075.00
                             to 2004 examination order

10/19/2023 LFC       BL      Telephone call with Gillian N. Brown                   0.30   1,450.00       $435.00
                             regarding document review

10/19/2023 MM        BL      Review Rule 2004 documents (1.9)                       1.90    925.00      $1,757.50
10/19/2023 MM        BL      Review Rule 2004 documents (2.2); call with            2.80    925.00      $2,590.00
                             document review team regarding review
                             process and strategies (.6)
10/19/2023 MSP       BL      Work on Lavvan claim and lien issues (1.0);            1.10   1,295.00     $1,424.50
                             email exchange with G. Glazer, D. Grassgreen
                             regarding same (.10).
10/19/2023 PJJ       BL      Process additional discovery from KLD.                 0.30    545.00        $163.50
10/19/2023 PJJ       BL      Prepare note production.                               0.30    545.00        $163.50
10/19/2023 PJJ       BL      Work on document production #9.                        0.80    545.00        $436.00
10/19/2023 RMP       BL      Review AHG discovery to Foris and telephone            0.40   1,895.00       $758.00
                             conference with MG re same.
10/19/2023 SWG       BL      Call with counsel to DSM-Firmenich re:                 0.30    895.00        $268.50
                             discovery questions.
10/19/2023 SWG       BL      Call with A. Kornfeld re: discovery with               0.40    895.00        $358.00
                             AHG
10/19/2023 SWG       BL      Review and annotate Ad Hoc Noteholder                  1.90    895.00      $1,700.50
                             Group's 2004 requests.
10/19/2023 TCF       BL      Document review (UCC Rule 2004).                       3.60   1,075.00     $3,870.00
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 37 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 36
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/19/2023 TCF       BL      Conference with G. Brown regarding                 0.20   1,075.00       $215.00
                             document review matters (UCC Rule 2004 )

10/19/2023 WLR       BL      Review emails potentially responsive to            1.30    975.00      $1,267.50
                             Committee Rule 2004 requests.

10/20/2023 AJK       BL      Call with M. Tuchin, D. Choi, F. Reiss, R.         1.80   1,675.00     $3,015.00
                             Pachulski and D. Grassgreen re litigation
                             issues.
10/20/2023 BEL       BL      Meet and confer regarding meeting with             1.20   1,095.00     $1,314.00
                             counsel for Ad Hocs regarding discovery
                             requests.

10/20/2023 BEL       BL      Review proposed discovery requests.                0.10   1,095.00       $109.50
10/20/2023 CHM       BL      Review and reply to S. Golden email re             0.10    925.00            $92.50
                             document review.

10/20/2023 DG        BL      Meet and Confer with AHG.                          0.50   1,550.00       $775.00
10/20/2023 DG        BL      Call with M. Dicke and G. Brown re:                0.40   1,550.00       $620.00
                             discovery issues.

10/20/2023 DG        BL      Review and analyze report and attachment           3.00   1,550.00     $4,650.00
                             (1.7); call with KTBS, F. Reiss; R. Pachulski
                             and A. Kornfeld re: same (1.3).
10/20/2023 DG        BL      Correspond with H. Kevane re: Amyris               0.10   1,550.00       $155.00
                             litigation
10/20/2023 EG        BL      2004 Committee Email (team zoom meeting)           0.60   1,095.00       $657.00
10/20/2023 EG        BL      2004 Committee Email (review emails)               1.00   1,095.00     $1,095.00
10/20/2023 GFB       BL      Review emails potentially responsive to            1.30   1,050.00     $1,365.00
                             Committee's Rule 2004.

10/20/2023 GNB       BL      (Committee Rule 2004) Review email from S.         0.10    975.00            $97.50
                             Hershey regarding redactions to debtors'
                             documents and emails; email S. Hershey
                             regarding same; read email from M. Dicke
                             (Fenwick) and email D. Grassgreen regarding
                             same.
10/20/2023 GNB       BL      (Committee Rule 2004) Review debtors'              1.70    975.00      $1,657.50
                             documents and emails.
10/20/2023 GNB       BL      (Committee Rule 2004) Call with D.                 0.10    975.00            $97.50
                             Grassgreen and S. Golden regarding debtors'
                             documents and emails.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 38 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 37
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/20/2023 GNB       BL      (Bondholders Rule 2004) Multiple calls               0.70    975.00        $682.50
                             regarding Bondholders' document requests.

10/20/2023 GNB       BL      (Bondholders Rule 2004) Attend video                 1.20    975.00      $1,170.00
                             conference meet and confer with PSZJ and
                             regarding Bondholders' document requests.
10/20/2023 GNB       BL      (Bondholders Rule 2004) Revise notes from            0.10    975.00            $97.50
                             meet and confer with PSZJ and regarding
                             Bondholders' document requests.

10/20/2023 GNB       BL      (Committee Rule 2004) Lead document                  0.60    975.00        $585.00
                             review team video conference.

10/20/2023 GNB       BL      (Bondholders Rule 2004) Prepare email to KL          0.20    975.00        $195.00
                             Discovery regarding additional searches of
                             emails and attachments.
10/20/2023 GNB       BL      (Rule 2004 document requests) Emails PSZJ            0.20    975.00        $195.00
                             regarding scope of discovery requests, internal
                             meeting tomorrow regarding strategy.

10/20/2023 LFC       BL      Review documents to be produced in response          1.50   1,450.00     $2,175.00
                             to 2004 examination order

10/20/2023 LFC       BL      Team zoom call to discuss 2004 document              0.60   1,450.00       $870.00
                             production review matters
10/20/2023 NLH       BL      Video conference with PSZJ team to discuss           0.60   1,075.00       $645.00
                             document review.
10/20/2023 NLH       BL      Review of documents responsive to                    8.30   1,075.00     $8,922.50
                             Committee Rule 2004 requests.
10/20/2023 PJJ       BL      Telephone conference with A. Kornfeld and            0.20    545.00        $109.00
                             T. Flanagan regarding deposition prep.
10/20/2023 RMP       BL      Prepare for and participate in AHG meet and          1.30   1,895.00     $2,463.50
                             confer.
10/20/2023 RMP       BL      Telephone conferences with FR re report and          1.30   1,895.00     $2,463.50
                             then conference call with KTBS re report.
10/20/2023 RMP       BL      Telephone conference with A. Kornfeld and            0.60   1,895.00     $1,137.00
                             D. Grassgreen re report.
10/20/2023 RMP       BL      Review portions of report and analyze same.          1.80   1,895.00     $3,411.00
10/20/2023 SWG       BL      Draft response to email from S. Hershey re:          0.30    895.00        $268.50
                             ROGs
10/20/2023 SWG       BL      Research re: Rule 2004 discovery                     0.60    895.00        $537.00
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 39 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 38
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/20/2023 SWG       BL      Call with G. Brown re: meet and confer with          0.30    895.00        $268.50
                             AHG.

10/20/2023 SWG       BL      Call with D. Grassgreen re: meet and confer          0.30    895.00        $268.50
                             with AHG.

10/20/2023 SWG       BL      Participate in meet and confer with counsel to       1.30    895.00      $1,163.50
                             Ad Hoc Group

10/20/2023 SWG       BL      Review and refine search terms after meet and        0.60    895.00        $537.00
                             confer with AHG

10/20/2023 SWG       BL      Call with Foris' counsel re: meet and confer         0.50    895.00        $447.50
                             and discovery productions
10/20/2023 SWG       BL      Draft comprehensive email to PSZJ team re:           0.90    895.00        $805.50
                             Committee/AHG discovery
10/20/2023 TCF       BL      Document review (UCC Rule 2004).                     2.80   1,075.00     $3,010.00
10/20/2023 WLR       BL      Review emails potentially responsive to              0.70    975.00        $682.50
                             Committee Rule 2004 requests.
10/21/2023 AJK       BL      Review KTBS report.                                  1.60   1,675.00     $2,680.00
10/21/2023 CHM       BL      Confer with G. Brown re document review.             0.20    925.00        $185.00
10/21/2023 DG        BL      Conference call with S. Golden, G. Brown, A.         4.80   1,550.00     $7,440.00
                             Kornfeld and R. Pachulski re: litigation and
                             discovery (1.5); call with D. Choi re: same
                             (.3); review KTBS summary and attachments
                             in detail (3).
10/21/2023 DG        BL      Call with K. Brown re: privilege research (.3);      0.40   1,550.00       $620.00
                             correspond with Ed Corma re: same (.1).

10/21/2023 ECO       BL      E-mails with Debra Grassgreen re research            0.10    725.00            $72.50
                             issue.

10/21/2023 ECO       BL      Telephone conference with Kenneth Brown re           0.10    725.00            $72.50
                             background/issues for research.

10/21/2023 ECO       BL      Review correspondence/documents re                   0.80    725.00        $580.00
                             privilege issue.

10/21/2023 GNB       BL      (Committee Rule 2004) Review debtors'                1.90    975.00      $1,852.50
                             documents and emails.
10/21/2023 GNB       BL      (Rule 2004 requests) Call with PSZJ team re          1.30    975.00      $1,267.50
                             strategy and document productions to
                             Committee from Ad Hoc Bondholders
                             requests.
                Case 23-11131-TMH           Doc 805-2        Filed 12/01/23      Page 40 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 39
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/21/2023 GNB       BL      (Rule 2004 discovery) Emails with PSZJ team            0.30    975.00        $292.50
                             regarding workflow, strategy, and review.

10/21/2023 GNB       BL      (Rule 2004 discovery) Call with A. Kornfeld            0.20    975.00        $195.00
                             regarding approach.

10/21/2023 GNB       BL      (Rule 2004 discovery) Call with O. Wright              0.40    975.00        $390.00
                             and S. Golden regarding issues with
                             Committee's and Ad Hoc Bondholders'
                             document requests and document review.

10/21/2023 GNB       BL      (Rule 2004 discovery) Call with S. Golden              0.60    975.00        $585.00
                             regarding approach on document review and
                             litigation strategy.
10/21/2023 JHR       BL      Analyze independent director report.                   1.10    995.00      $1,094.50
10/21/2023 KHB       BL      Confer with D. Grassgreen re analysis of               0.40   1,525.00       $610.00
                             internal report disclosure issues (.2); confer
                             with E. Corma re same (.2).

10/21/2023 LFC       BL      Review documents to be produced in response            2.40   1,450.00     $3,480.00
                             to 2004 examination order

10/21/2023 LFC       BL      Further review documents to be produced in             2.30   1,450.00     $3,335.00
                             response to 2004 examination order

10/21/2023 MM        BL      Review Rule 2004 documents for privilege               1.40    925.00      $1,295.00
                             and trademark issues (1.2); draft emails to G.
                             Brandt regarding privilege concerns (.1) draft
                             email to G. Brown regarding privilege
                             concerns (.1)
10/21/2023 NLH       BL      Review of documents responsive to                      7.60   1,075.00     $8,170.00
                             Committee Rule 2004 requests.
10/21/2023 RMP       BL      Prepare for and participate on litigation              1.40   1,895.00     $2,653.00
                             discussion conference call.
10/21/2023 RMP       BL      Review summary of litigation call.                     0.10   1,895.00       $189.50
10/21/2023 SWG       BL      Participate in call with PSZJ team re: litigation      1.10    895.00        $984.50
                             strategy.
10/21/2023 SWG       BL      Call with G. Brown re: litigation and                  0.60    895.00        $537.00
                             discovery matters

10/21/2023 TCF       BL      Document review (UCC Rule 2004).                       1.20   1,075.00     $1,290.00
10/21/2023 WLR       BL      Review emails potentially responsive to                3.80    975.00      $3,705.00
                             Committee Rule 2004 requests.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23   Page 41 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 40
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/22/2023 AJK       BL      Call with M. Dicke, R. Pachulski, D.               1.40   1,675.00     $2,345.00
                             Grassgreen and D. Choi re litigation issues.

10/22/2023 DG        BL      Call with K. Brown re: privilege issues.           0.50   1,550.00       $775.00
10/22/2023 DG        BL      Call with D. Choi re: discovery issues (.3);       0.50   1,550.00       $775.00
                             call with A. Kornfeld and R. Pachulski re:
                             same (.2).
10/22/2023 ECO       BL      Conduct legal research re attorney-client          1.10    725.00        $797.50
                             privilege issues.
10/22/2023 GFB       BL      Review emails potentially responsive to            2.40   1,050.00     $2,520.00
                             Committee's Rule 2004.
10/22/2023 GNB       BL      (Committee Rule 2004) Review debtors'              2.40    975.00      $2,340.00
                             emails.
10/22/2023 GNB       BL      (Committee Rule 2004) Email with C.                0.20    975.00        $195.00
                             Wischusen (Gordon Rees) regarding document
                             review.

10/22/2023 HCK       BL      Memos to/from D. Grassgreen re discovery           0.20   1,550.00       $310.00
                             issues and investigation report.
10/22/2023 KHB       BL      Review internal report (1.3); analyze              3.00   1,525.00     $4,575.00
                             authorities re privilege and work product
                             issues (1.5); confer with D. Grassgreen re
                             same (.2).
10/22/2023 LFC       BL      Review documents to be produced in response        4.50   1,450.00     $6,525.00
                             to 2004 examination order
10/22/2023 LFC       BL      Further review documents to be produced in         2.40   1,450.00     $3,480.00
                             response to 2004 examination order
10/22/2023 MM        BL      Review Rule 2004 documents for privilege           2.20    925.00      $2,035.00
                             and responsiveness (2); draft emails to G.
                             Brown regarding search results (.2)

10/22/2023 NLH       BL      Review of documents responsive to                  7.70   1,075.00     $8,277.50
                             Committee Rule 2004 requests.

10/22/2023 TCF       BL      Document review (UCC Rule 2004).                   1.40   1,075.00     $1,505.00
10/22/2023 WLR       BL      Review emails potentially responsive to            3.10    975.00      $3,022.50
                             Committee Rule 2004 requests.

10/23/2023 CHM       BL      Attend document review call.                       1.30    925.00      $1,202.50
10/23/2023 CHM       BL      Confer with S. Golden and G. Brown re              0.50    925.00        $462.50
                             document review logistics.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23     Page 42 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 41
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/23/2023 DG        BL      Email with G. Brown re: Gordon Rees                  1.60   1,550.00     $2,480.00
                             document review (.3); kickoff discovery call
                             (partial attendance) (.9) followup call with G.
                             Brown and S. Golden (.3); review further
                             emails from G. Brown re: discovery status
                             (.1).
10/23/2023 DG        BL      Call with I. Pachulski, G. Glazer; M. Pagay          1.60   1,550.00     $2,480.00
                             and R. Pachulski re: Lavvan strategy.
10/23/2023 DG        BL      Call with Sam Hershey re: common interest            0.20   1,550.00       $310.00
                             documents.
10/23/2023 ECO       BL      Continue research/analysis of case law re            1.80    725.00      $1,305.00
                             attorney-client privilege issues.

10/23/2023 GFB       BL      Review emails potentially responsive to              2.10   1,050.00     $2,205.00
                             Committee's Rule 2004.

10/23/2023 GNB       BL      (Committee Rule 2004) Coordinate production          0.60    975.00        $585.00
                             of debtors' emails and professional eyes' only
                             report to Committee.
10/23/2023 GNB       BL      (Committee Rule 2004) Oversee review of              7.50    975.00      $7,312.50
                             debtors' emails, including answering questions
                             from reviewers.

10/23/2023 GNB       BL      (Rule 2004 requests) Multiple calls with S.          0.70    975.00        $682.50
                             Golden regarding document review.

10/23/2023 GNB       BL      (Rule 2004 requests) Prepare documents and           1.70    975.00      $1,657.50
                             presentation for kickoff meeting with Gordon
                             Rees today for document review.
10/23/2023 GNB       BL      (Committee Rule 2004) Present at kickoff             1.50    975.00      $1,462.50
                             meeting with Gordon Rees regarding
                             document review.

10/23/2023 GNB       BL      (Committee Rule 2004) Call with E. Gray              0.10    975.00            $97.50
                             regarding document review.
10/23/2023 GNB       BL      (Committee Rule 2004) Call with C. Mackle            0.20    975.00        $195.00
                             regarding document review.
10/23/2023 GNB       BL      (Committee Rule 2004) Call with D.                   0.40    975.00        $390.00
                             Grassgreen (partial) and S. Golden regarding
                             document review.
10/23/2023 GNB       BL      (Committee Rule 2004) Call with M. Manning           0.20    975.00        $195.00
                             regarding document review.
                 Case 23-11131-TMH         Doc 805-2      Filed 12/01/23     Page 43 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 42
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/23/2023 GNB       BL      (Committee Rule 2004) Call with C.                 0.50    975.00        $487.50
                             Wischusen (Gordon Rees) regarding document
                             review.
10/23/2023 GNB       BL      Call with A. Kornfeld regarding document           0.30    975.00        $292.50
                             review.
10/23/2023 HCK       BL      Review independent director investigation          0.60   1,550.00       $930.00
                             report and various memos re discovery plan.
10/23/2023 LFC       BL      Review documents to be produced in response        2.60   1,450.00     $3,770.00
                             to 2004 examination order.
10/23/2023 MM        BL      Emails with G. Brown regarding privileged          0.90    925.00        $832.50
                             document review (.2); review Rule 2004
                             documents for privileged material (.7)

10/23/2023 MSP       BL      Meeting with G. Brown, C. Wischusen, et al.        1.60   1,295.00     $2,072.00
                             regarding document review introduction;
                             email exchange with S. Golden, G. Brown, et
                             al. regarding same (.10).

10/23/2023 NLH       BL      Review of documents responsive to                  5.80   1,075.00     $6,235.00
                             Committee Rule 2004 requests.

10/23/2023 PJJ       BL      Upload Foris document production #2.               0.20    545.00        $109.00
10/23/2023 PJJ       BL      Prepare outgoing document production log.          1.50    545.00        $817.50
10/23/2023 PJJ       BL      Telephone conference with G. Brown                 0.20    545.00        $109.00
                             regarding production status.
10/23/2023 PJJ       BL      Prepare restricted KTBS document production        0.30    545.00        $163.50
                             #8.
10/23/2023 PJJ       BL      Prepare OCUC document production volume            0.50    545.00        $272.50
                             10.
10/23/2023 RMP       BL      Participate on conference call with PSZJ team      1.60   1,895.00     $3,032.00
                             re Lavvan issues.
10/23/2023 RMP       BL      Telephone conference with M. Tuchin re             0.20   1,895.00       $379.00
                             Independent Director Report.
10/23/2023 RMP       BL      Telephone conference with F. Reiss re              0.20   1,895.00       $379.00
                             Independent Director Report.
10/23/2023 RMP       BL      Review e-mail responses to AHG and respond         0.30   1,895.00       $568.50
                             to same.
10/23/2023 SWG       BL      Call with G. Brown (and partially with D.          0.50    895.00        $447.50
                             Grassgreen) re: document discovery and
                             review.
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23    Page 44 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 43
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/23/2023 SWG       BL      Draft memorandum to document review team            1.50    895.00      $1,342.50
                             re: investigation.

10/23/2023 SWG       BL      Review documents for production to the              3.00    895.00      $2,685.00
                             Committee

10/23/2023 SWG       BL      Call with G. Brown re: document review              0.20    895.00        $179.00
10/23/2023 SWG       BL      Participate in call with Gordon Rees team re:       1.50    895.00      $1,342.50
                             document review kick-off.

10/23/2023 SWG       BL      Call with G. Brown re: discovery matters.           0.60    895.00        $537.00
10/23/2023 TCF       BL      Document review (UCC Rule 2004).                    1.50   1,075.00     $1,612.50
10/23/2023 TCF       BL      Work on discovery matters and responses             0.50   1,075.00       $537.50
                             (UCC Rule 2004).

10/23/2023 WLR       BL      Review emails potentially responsive to             1.50    975.00      $1,462.50
                             Committee Rule 2004 requests.
10/24/2023 AJK       BL      Work on discovery issues (document review).         3.50   1,675.00     $5,862.50
10/24/2023 CHM       BL      Attend document review call.                        0.60    925.00        $555.00
10/24/2023 CHM       BL      Emails with G. Brown and C. Wischusen re            0.20    925.00        $185.00
                             document review.
10/24/2023 CHM       BL      Email G. Brown re document review.                  0.10    925.00            $92.50
10/24/2023 DG        BL      Call with S. Golden re: litigation and              0.50   1,550.00       $775.00
                             depositions (.3); review and respond to emails
                             between Golden and committee counsel re:
                             same (.2).
10/24/2023 ECO       BL      Review and analysis of case law on privilege        2.10    725.00      $1,522.50
                             issues.
10/24/2023 ECO       BL      Prepare notes for privilege research memo.          1.20    725.00        $870.00
10/24/2023 GNB       BL      (Committee Rule 2004) Oversee review of             5.40    975.00      $5,265.00
                             debtors' emails, including answering questions
                             from reviewers.

10/24/2023 GNB       BL      (Committee Rule 2004) Call with T. Flanagan         0.20    975.00        $195.00
                             regarding discovery plan.

10/24/2023 GNB       BL      (Committee Rule 2004) Call with C.                  0.30    975.00        $292.50
                             Wischusen regarding document review.

10/24/2023 GNB       BL      (Committee Rule 2004) Video conference with         0.60    975.00        $585.00
                             PSZJ and GRSM regarding document review
                             (.5); prepare for same (.1).
                 Case 23-11131-TMH          Doc 805-2      Filed 12/01/23     Page 45 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 44
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/24/2023 JHR       BL      Call with A. Kornfeld re: expert witnesses          0.20    995.00        $199.00
10/24/2023 LAF       BL      Legal research re: Sample complaints to             0.80    595.00        $476.00
                             determine validity of lien.

10/24/2023 PJJ       BL      Update OCUC document production log.                0.80    545.00        $436.00
10/24/2023 RMP       BL      Review and respond to e-mails re discovery          0.60   1,895.00     $1,137.00
                             issues.

10/24/2023 RMP       BL      Review additional discovery e-mails and             0.60   1,895.00     $1,137.00
                             telephone conferences with A. Kornfeld and
                             S. Golden re same.
10/24/2023 RMP       BL      Review 2004 motion and e-mails re same and          0.40   1,895.00       $758.00
                             respond thereto.
10/24/2023 SWG       BL      Draft litigation WIP list.                          0.40    895.00        $358.00
10/24/2023 SWG       BL      Continued document review, including                2.40    895.00      $2,148.00
                             inbound and outbound discovery.
10/24/2023 SWG       BL      Begin drafting Confirmation Discovery Order.        1.00    895.00        $895.00
10/24/2023 SWG       BL      Calls (multiple) with S. Hershey re:                0.40    895.00        $358.00
                             depositions.
10/24/2023 SWG       BL      Participate in call with document review team       0.60    895.00        $537.00
10/24/2023 SWG       BL      Draft and send emails to client re: Committee       0.20    895.00        $179.00
                             challenge-related depositions.
10/24/2023 WLR       BL      Review emails potentially responsive to             0.70    975.00        $682.50
                             Committee Rule 2004 requests.

10/25/2023 AJK       BL      Video conference re MTD issues.                     1.00   1,675.00     $1,675.00
10/25/2023 AJK       BL      Work on discovery issues.                           2.70   1,675.00     $4,522.50
10/25/2023 DG        BL      Review memo on privilege.                           0.70   1,550.00     $1,085.00
10/25/2023 DG        BL      Review Foris Lenders objection to motion for        0.30   1,550.00       $465.00
                             order shortening time on 2004 Motion by AH
                             Bondholder Group.
10/25/2023 ECO       BL      Preparation of memo discussing privilege            1.80    725.00      $1,305.00
                             issues and case law.
10/25/2023 ECO       BL      Prepare e-mail to Debra Grassgreen/Kenneth          0.10    725.00            $72.50
                             Brown re research on privilege issues.
10/25/2023 GNB       BL      (Committee Rule 2004) Oversee review of             6.90    975.00      $6,727.50
                             debtors' emails, including answering questions
                             from reviewers.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 46 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 45
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/25/2023 GNB       BL      Multiple calls with S. Golden regarding             1.90    975.00      $1,852.50
                             discovery and litigation strategy.

10/25/2023 GNB       BL      (Committee Rule 2004) Call with C. Mackle           0.30    975.00        $292.50
                             regarding document review.

10/25/2023 HCK       BL      Further review Reiss independent director           0.40   1,550.00       $620.00
                             report.

10/25/2023 JEO       BL      Review adversary complaint filed by Lavvan          0.80   1,275.00     $1,020.00
                             against Foris

10/25/2023 JEO       BL      Review Foris Objection to ad hoc 2004               0.30   1,275.00       $382.50
                             motion
10/25/2023 JHR       BL      Analyze ad hoc group offer and related              0.50    995.00        $497.50
                             correspondence with PSZJ
10/25/2023 MSP       BL      Meeting with D. Grassgreen, A. Kornfeld, S.         1.00   1,295.00     $1,295.00
                             Golden, et al. regarding litigation open items
                             and work in process.
10/25/2023 MSP       BL      Attention to Lavvan claim and lien issues,          2.50   1,295.00     $3,237.50
                             commencement of litigation; email exchange
                             with S. Golden, R. Pachulski, et al. regarding
                             same (.10).
10/25/2023 PJJ       BL      Analyze emails from and to G. Brown, C.             0.40    545.00        $218.00
                             Mackle and S. Golden regarding KLD data
                             sets.
10/25/2023 RMP       BL      Review and respond to e-mails re F. Reiss and       0.50   1,895.00       $947.50
                             report.
10/25/2023 RMP       BL      Review Lavvan issues and telephone                  0.60   1,895.00     $1,137.00
                             conferences with D. Grassgreen and review e-
                             mails re same.

10/25/2023 RMP       BL      Review objection to 2004 notice to Foris.           0.30   1,895.00       $568.50
10/25/2023 SWG       BL      Call with A. Nicas re: discovery matters            0.20    895.00        $179.00
10/25/2023 SWG       BL      Continued second-pass document review.              0.30    895.00        $268.50
10/25/2023 SWG       BL      Continue drafting and editing Amyris                2.00    895.00      $1,790.00
                             Confirmation Protocol Order

10/25/2023 SWG       BL      Call with PSZJ and Goodwin teams re: plan           0.80    895.00        $716.00
                             discovery schedule.

10/25/2023 SWG       BL      Call with D. Grassgreen re: litigation              0.20    895.00        $179.00
                             questions.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23    Page 47 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 46
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/25/2023 SWG       BL      Call with G. Brown re: litigation strategy and      2.00    895.00      $1,790.00
                             path forward.

10/25/2023 SWG       BL      Participate in daily call with review team.         0.50    895.00        $447.50
10/26/2023 AJK       BL      Call with PSZJ team re litigation issues.           1.00   1,675.00     $1,675.00
10/26/2023 AJK       BL      Review Lavvan complaint.                            0.80   1,675.00     $1,340.00
10/26/2023 AJK       BL      Review documents.                                   0.70   1,675.00     $1,172.50
10/26/2023 DG        BL      Review Amyris lien challenge complaint.             0.80   1,550.00     $1,240.00
10/26/2023 DG        BL      Call with Litigation Team (PSZJ Internal) re:       1.00   1,550.00     $1,550.00
                             Litigation WIP List.

10/26/2023 DG        BL      Review files re: PWC engagement (.3); emails        0.40   1,550.00       $620.00
                             with G. Brown re: same (.1).

10/26/2023 GIG       BL      Review emails from S. Golden, D. Grassgreen         0.20   1,325.00       $265.00
                             re Lavvan complaint.

10/26/2023 GIG       BL      Review Lavvan complaint against foris.              1.00   1,325.00     $1,325.00
10/26/2023 GNB       BL      (Committee Rule 2004) Oversee review of             1.60    975.00      $1,560.00
                             debtors' emails, including answering questions
                             from reviewers.
10/26/2023 GNB       BL      Call with S. Golden regarding litigation            0.20    975.00        $195.00
                             strategy on Rule 2004 and Plan-related
                             discovery.

10/26/2023 GNB       BL      (Partial) Attend PSZJ team call regarding           0.80    975.00        $780.00
                             litigation issues.
10/26/2023 GNB       BL      Two strategy calls with S. Golden regarding         0.40    975.00        $390.00
                             all litigation matters.
10/26/2023 GNB       BL      Call with C. Mackle regarding document              0.40    975.00        $390.00
                             review streamlining.
10/26/2023 HCK       BL      Memos to/from S. Golden re Lavvan/Foris             0.50   1,550.00       $775.00
                             complaint and review same.
10/26/2023 JEO       BL      Review Lavvan v. Fortis adversary proceeding        0.40   1,275.00       $510.00
10/26/2023 JEO       BL      Review entered order on motion to shorten           0.20   1,275.00       $255.00
                             time on JC consent motion
10/26/2023 JHR       BL      Analyze Ad Hoc Group 2004 motion and                0.50    995.00        $497.50
                             related pleadings.
10/26/2023 JHR       BL      Analyze Lavvan adversary complaint.                 1.10    995.00      $1,094.50
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23   Page 48 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 47
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/26/2023 PJJ       BL      Attend internal litigation WIP call.               1.00    545.00        $545.00
10/26/2023 RMP       BL      Attend PSZJ litigation WIP call.                   1.00   1,895.00     $1,895.00
10/26/2023 RMP       BL      Review and analyze Lavvan complaint.               0.70   1,895.00     $1,326.50
10/26/2023 SWG       BL      Update Plan Discovery Protocols Order and          0.20    895.00        $179.00
                             send same to PSZJ and Goodwin teams.

10/26/2023 SWG       BL      Continued second pass document review              4.50    895.00      $4,027.50
10/26/2023 SWG       BL      Call with S. Hershey re: discovery scheduling      0.30    895.00        $268.50
                             matters.

10/26/2023 SWG       BL      Call with PSZJ team re: litigation WIP             1.00    895.00        $895.00
10/26/2023 SWG       BL      Draft form of RFP to Members of Ad Hoc             0.90    895.00        $805.50
                             Group.

10/26/2023 SWG       BL      Participate in daily touchpoint call with          0.40    895.00        $358.00
                             document review team

10/27/2023 DG        BL      Correspond with G. Brown re: discovery             0.10   1,550.00       $155.00
                             issues.
10/27/2023 DG        BL      Emails with G. Brown re: privilege questions.      0.30   1,550.00       $465.00
10/27/2023 GNB       BL      (Committee Rule 2004) Call with O. Wright          0.10    975.00            $97.50
                             regarding document review privilege and work
                             product issues.
10/27/2023 GNB       BL      (Committee Rule 2004) Multiple calls with C.       0.20    975.00        $195.00
                             Wischusen regarding document review.
10/27/2023 GNB       BL      (Committee Rule 2004) Email with PSZJ team         0.20    975.00        $195.00
                             re privilege and work product issues.

10/27/2023 HCK       BL      Memos to / from S. Golden, et al. re Foris /       0.10   1,550.00       $155.00
                             AMRS common interest agenda.

10/27/2023 JEO       BL      Review critical dates and pending matters          0.60   1,275.00       $765.00
10/27/2023 PJJ       BL      Analyze email from OCUC regarding                  0.80    545.00        $436.00
                             comments to removal extension, rejection
                             extension and 4th omnibus rejection motions
                             (.3); update orders accordingly (.5).

10/27/2023 RMP       BL      Review 2004 notice and telephone                   0.60   1,895.00     $1,137.00
                             conferences with A. Kornfeld and S. Golden
                             re same.
10/27/2023 SWG       BL      Continued second pass document review.             2.00    895.00      $1,790.00
10/27/2023 SWG       BL      Draft Plan discovery protocols motion              1.10    895.00        $984.50
                Case 23-11131-TMH          Doc 805-2          Filed 12/01/23   Page 49 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 48
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/28/2023 CHM       BL      Review documents re 2004 requests and                3.60    925.00      $3,330.00
                             coordinate with G. Brown and Gordon Rees
                             team re document review.
10/28/2023 DG        BL      Correspond with A. Kornfeld re: engagement           0.10   1,550.00       $155.00
                             of valuation expert.
10/28/2023 GNB       BL      (Rule 2004 discovery) Email with PSZJ                0.20    975.00        $195.00
                             regarding document review issues.
10/29/2023 CHM       BL      Attend discovery call and continue review of         1.60    925.00      $1,480.00
                             documents and management of production.
10/29/2023 GNB       BL      (Committee Rule 2004) Call with PSZJ and             0.40    975.00        $390.00
                             GRSM regarding document review.
10/29/2023 GNB       BL      (Committee Rule 2004) Email with C. Mackle           0.10    975.00            $97.50
                             and C. Wischusen regarding document review.
10/29/2023 JHR       BL      Analyze draft JVN settlement agreement               0.20    995.00        $199.00
10/29/2023 SWG       BL      Participate in touch point call with GR review       0.30    895.00        $268.50
                             team.
10/30/2023 AJK       BL      Attention to discovery issues.                       0.40   1,675.00       $670.00
10/30/2023 AJK       BL      Deposition scheduling e-mails.                       0.20   1,675.00       $335.00
10/30/2023 CHM       BL      Attend standing call and update database.            0.50    925.00        $462.50
10/30/2023 CHM       BL      Review of documents and batches and manage           3.40    925.00      $3,145.00
                             document review.

10/30/2023 GNB       BL      (Committee Rule 2004) Email with PSZJ team           0.30    975.00        $292.50
                             and with GRSM team regarding document
                             review and production.
10/30/2023 GNB       BL      (Rule 2004 requests) Email O. Wright                 0.10    975.00            $97.50
                             regarding electronically stored information.
10/30/2023 GNB       BL      (Committee Rule 2004) Coordinate document            2.50    975.00      $2,437.50
                             review, including updating assignment
                             batches.

10/30/2023 GNB       BL      Call with PSZJ and GRSM regarding                    0.70    975.00        $682.50
                             document review (.4) follow-up call with
                             GRSM regarding same (.3).
10/30/2023 JEO       BL      Review pending matters and critical dates.           1.20   1,275.00     $1,530.00
10/30/2023 LHP       BL      Draft notices of 2004 requests and email             1.00    545.00        $545.00
                             communications regarding same.
                Case 23-11131-TMH          Doc 805-2          Filed 12/01/23   Page 50 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 49
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/30/2023 RMP       BL      Review notice of 2004 for AHG members and            0.40   1,895.00       $758.00
                             conference wit S. Golden re service.

10/30/2023 RMP       BL      Review Committee e-mail re investigation and         0.30   1,895.00       $568.50
                             telephone conference with D. Grassgreen re
                             same.
10/30/2023 SWG       BL      Update litigation WIP list                           0.20    895.00        $179.00
10/30/2023 SWG       BL      Continued second-pass document review.               1.20    895.00      $1,074.00
10/31/2023 AJK       BL      Analysis of ad hoc discovery issues.                 0.60   1,675.00     $1,005.00
10/31/2023 AJK       BL      Call with S. Golden re ad hoc issues.                0.20   1,675.00       $335.00
10/31/2023 AJK       BL      Call with ad hoc counsel re discovery.               0.30   1,675.00       $502.50
10/31/2023 AJK       BL      Attention to discovery issues.                       0.60   1,675.00     $1,005.00
10/31/2023 CHM       BL      Review documents and run productions re              5.50    925.00      $5,087.50
                             2004 requests.
10/31/2023 CHM       BL      Review of documents and assist in managing           1.80    925.00      $1,665.00
                             review.
10/31/2023 CHM       BL      Telephone conference with G. Brown re                0.30    925.00        $277.50
                             document production.
10/31/2023 CHM       BL      Standing call re document production.                0.40    925.00        $370.00
10/31/2023 CHM       BL      Follow up call with G. Brown re document             0.10    925.00            $92.50
                             production.
10/31/2023 DG        BL      Call with D. Choi and A. Kornfeld re:                0.20   1,550.00       $310.00
                             Valuation Expert.
10/31/2023 DG        BL      Review correspondence with S. Golden and             0.10   1,550.00       $155.00
                             counsel for AHNG re: discovery and meet and
                             confer.
10/31/2023 DG        BL      Correspond with G. Brown re: update on               0.20   1,550.00       $310.00
                             document discovery.
10/31/2023 DG        BL      Review correspondence and attachments re:            0.50   1,550.00       $775.00
                             pandemic relief payments.
10/31/2023 GNB       BL      (Committee Rule 2004) Coordinate document            4.30    975.00      $4,192.50
                             review and production.
10/31/2023 GNB       BL      (Committee Rule 2004) Multiple telephone             0.50    975.00        $487.50
                             conferences with C. Mackle regarding
                             document productions.
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23     Page 51 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 50
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/31/2023 GNB       BL      (Rule 2004 to Bondholders) Meet and confer         0.20    975.00        $195.00
                             by phone with PSZJ and J. Ellis (Mololamken)
                             regarding PSZJ discovery on Ad Hoc Group
                             of bondholders.
10/31/2023 GNB       BL      (Committee Rule 2004) Call with PSZJ and           0.60    975.00        $585.00
                             GRSM regarding document review (.4);
                             follow-up call with C. C. Mackle regarding
                             same and re document production set 12 (.1);
                             email GRSM regarding document review
                             protocol updates (.1).
10/31/2023 JEO       BL      Review and finalize Notice of Hearing re (A)       0.70   1,275.00       $892.50
                             Debtors' Motion for the Entry of an Order (I)
                             Authorizing Debtors to Execute Written
                             Consent of the Board of Managers of Novvi
                             LLC and (II) Granting Related Relief and (B)
                             Debtors' Motion for Entry of an Order
                             Authorizing Debtors to File Under Seal
                             Certain Information Related to the Debtors'
                             Motion for the Entry of an Order (I)
                             Authorizing Debtors to Execute Written
                             Consent of the Board of Managers of Novvi
                             LLC and (II) Granting Related Relief

10/31/2023 RMP       BL      Telephone conferences with D. Grassgreen           0.40   1,895.00       $758.00
                             and A. Kornfeld re challenge period.

10/31/2023 RMP       BL      Review Lavvan appeal and telephone                 0.60   1,895.00     $1,137.00
                             conferences with D. Grassgreen, A. Kornfeld
                             and MG re next steps.
10/31/2023 SWG       BL      Update and transmit Confirmation Discovery         0.20    895.00        $179.00
                             Motion.
10/31/2023 SWG       BL      Begin drafting AHG Member 2004 Motion.             2.20    895.00      $1,969.00
10/31/2023 SWG       BL      Review responsive email from J. Ellis and          0.50    895.00        $447.50
                             draft and send response to same re: 2004
                             discovery of members of Ad Hoc Group.

10/31/2023 SWG       BL      Continue second-level document review.             0.40    895.00        $358.00
10/31/2023 SWG       BL      Participate in meet and confer with Ad Hoc         0.20    895.00        $179.00
                             Group.
10/31/2023 SWG       BL      Call with A. Kornfeld re: AHG discovery,           0.20    895.00        $179.00
                                                                              815.50              $935,816.00
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 52 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 51
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount

Case Administration
10/02/2023 ARP       CA      Manage data/files                                   4.20    425.00      $1,785.00
10/02/2023 JE        CA      Participate in WIP call.                            0.50   1,450.00       $725.00
10/02/2023 JHR       CA      Attend PSZJ WIP call                                0.50    995.00        $497.50
10/02/2023 JJK       CA      PSZJ team call on case issues                       0.30   1,175.00       $352.50
10/02/2023 LHP       CA      Attend WIP meeting                                  0.50    545.00        $272.50
10/02/2023 MSP       CA      Internal meeting regarding work-in-process,         0.50   1,295.00       $647.50
                             action items.

10/02/2023 PJJ       CA      WIP call.                                           0.50    545.00        $272.50
10/02/2023 SWG       CA      Participate in internal WIP call.                   0.50    895.00        $447.50
10/03/2023 ARP       CA      Manage data/files                                   0.30    425.00        $127.50
10/03/2023 PJJ       CA      WIP call.                                           0.50    545.00        $272.50
10/04/2023 PJJ       CA      Update WIP, critical dates memo, calendar           0.50    545.00        $272.50
                             entries and reminders, and circulate.

10/05/2023 BEL       CA      WIP Zoom meeting.                                   0.60   1,095.00       $657.00
10/05/2023 DG        CA      Correspond with S. Golden re: work in               0.20   1,550.00       $310.00
                             process, open workstreams and related cash
                             administrative matters.
10/05/2023 DG        CA      Weekly PSZJ Work in Process call.                   0.60   1,550.00       $930.00
10/05/2023 GIG       CA      Internal WIP call.                                  0.60   1,325.00       $795.00
10/05/2023 GNB       CA      Call with PSZJ team regarding status of case.       0.60    975.00        $585.00
10/05/2023 HCK       CA      Memos to / from D. Grassgreen, et al. re            0.30   1,550.00       $465.00
                             staffing / WIP assignments.
10/05/2023 HCK       CA      All-hands conference call with S. Golden, D.        0.70   1,550.00     $1,085.00
                             Grassgreen, et al. re WIP tasks and deadlines.
10/05/2023 JE        CA      Participate in WIP call.                            1.20   1,450.00     $1,740.00
10/05/2023 JEO       CA      Attend PSZJ WIP Call                                0.50   1,275.00       $637.50
10/05/2023 LHP       CA      Attend meeting re WIP.                              0.60    545.00        $327.00
10/05/2023 LHP       CA      Continued work on agenda for hearing on             2.40    545.00      $1,308.00
                             November 6 and email communications
                             regarding same.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 53 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 52
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/05/2023 MSP       CA      Internal meeting regarding work-in-process,           1.20   1,295.00     $1,554.00
                             action items.

10/05/2023 PJJ       CA      Update WIP, critical dates memo, calendar             0.50    545.00        $272.50
                             entries and reminders, and circulate.

10/05/2023 PJJ       CA      Attend WIP call.                                      0.60    545.00        $327.00
10/05/2023 SWG       CA      Call with J. O'Neill re: case status and update.      0.40    895.00        $358.00
10/05/2023 SWG       CA      Attend to case administration and WIP                 0.80    895.00        $716.00
                             matters.

10/05/2023 SWG       CA      Participate in internal WIP call.                     0.60    895.00        $537.00
10/06/2023 SWG       CA      Call with D. Hoehne re: case administration           0.70    895.00        $626.50
                             matters.

10/08/2023 DG        CA      Call with Debtor and Foris professionals and          1.30   1,550.00     $2,015.00
                             clients re: open case and plan issues.
10/09/2023 DG        CA      Weekly PSZJ WIP Call (partial).                       0.70   1,550.00     $1,085.00
10/09/2023 JE        CA      Participate in WIP call.                              0.60   1,450.00       $870.00
10/09/2023 JHR       CA      Attend weekly PSZJ WIP call                           0.60    995.00        $597.00
10/09/2023 JJK       CA      PSZJ team call on case issues.                        0.60   1,175.00       $705.00
10/09/2023 LHP       CA      Attend meeting re WIP.                                0.60    545.00        $327.00
10/09/2023 MSP       CA      Internal meeting regarding work-in-process,           0.60   1,295.00       $777.00
                             action items.
10/09/2023 PJJ       CA      Update WIP, critical dates memo, calendar             0.60    545.00        $327.00
                             entries and reminders, and circulate.
10/09/2023 PJJ       CA      Attend WIP call.                                      0.60    545.00        $327.00
10/09/2023 RMP       CA      Review WIP.                                           0.10   1,895.00       $189.50
10/09/2023 SWG       CA      Participate in weekly PSZJ WIP call.                  0.60    895.00        $537.00
10/10/2023 CAK       CA      Assist in preparation for 10/11/23 hearing            0.60    495.00        $297.00
10/10/2023 DG        CA      Call with Company side advisors and clients           0.70   1,550.00     $1,085.00
                             re: various critical workstreams (partial).
10/10/2023 JHR       CA      Weekly debtor professional WIP call.                  0.60    995.00        $597.00
10/10/2023 PJJ       CA      Update critical dates memo, calendar entries          0.20    545.00        $109.00
                             and reminders, and circulate.
10/10/2023 PJJ       CA      Update WIP and circulate.                             0.20    545.00        $109.00
                 Case 23-11131-TMH          Doc 805-2      Filed 12/01/23      Page 54 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 53
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/10/2023 RMP       CA      Participate on debtors' WIP call.                    1.00   1,895.00     $1,895.00
10/10/2023 SWG       CA      Participate in WIP call with Debtors' advisors.      1.00    895.00        $895.00
10/11/2023 LHP       CA      Update critical dates memo and email                 0.60    545.00        $327.00
                             communications.

10/11/2023 LHP       CA      Update WIP and email communications.                 0.40    545.00        $218.00
10/11/2023 LHP       CA      Begin preparation of agenda for hearing on           1.30    545.00        $708.50
                             October 18, 2023.

10/11/2023 PJJ       CA      Register parties for upcoming hearings.              0.40    545.00        $218.00
10/12/2023 PJJ       CA      Update WIP, critical dates memo, calendar            0.20    545.00        $109.00
                             entries and reminders, and circulate.

10/13/2023 JEO       CA      Check on status of pending matters and review        0.90   1,275.00     $1,147.50
                             and provide comments on hearing agenda for
                             10/18 hearing
10/13/2023 JHR       CA      Call with D. Grassgreen re: status update.           0.30    995.00        $298.50
10/13/2023 MBL       CA      Misc. case emails with client and team.              0.10   1,445.00       $144.50
10/13/2023 PJJ       CA      Update WIP, critical dates memo, calendar            1.00    545.00        $545.00
                             entries and reminders, and circulate.
10/13/2023 PJJ       CA      Review agenda for hearing.                           0.40    545.00        $218.00
10/14/2023 HCK       CA      Review accumulated memos re case updates /           0.40   1,550.00       $620.00
                             WIP.
10/16/2023 AJK       CA      WIP call (partial).                                  0.60   1,675.00     $1,005.00
10/16/2023 ARP       CA      Manage data/files                                    2.00    425.00        $850.00
10/16/2023 ARP       CA      Manage data/files                                    2.20    425.00        $935.00
10/16/2023 DG        CA      Amyris weekly work-in-process call with              1.00   1,550.00     $1,550.00
                             PSZJ team.
10/16/2023 ECO       CA      Conference call with Steven Golden/PSZJ              0.70    725.00        $507.50
                             team re status of cases and tasks needed going
                             forward.
10/16/2023 JE        CA      Participate in WIP meeting.                          0.70   1,450.00     $1,015.00
10/16/2023 JEO       CA      Review and finalize agenda for 10/18 hearing         0.90   1,275.00     $1,147.50
10/16/2023 JEO       CA      Participate in WIP call with PSZJ team               0.60   1,275.00       $765.00
10/16/2023 JEO       CA      Review and comment on draft of amended               0.40   1,275.00       $510.00
                             agenda for 10/18 hearing
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 55 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 54
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/16/2023 JHR       CA      Attend weekly PSZJ WIP call                          0.50    995.00        $497.50
10/16/2023 LHP       CA      Attend meeting regarding WIP.                        0.70    545.00        $381.50
10/16/2023 LHP       CA      Review recent court filings for critical dates,      2.30    545.00      $1,253.50
                             update critical dates memo, and email
                             communications regarding same.
10/16/2023 MBL       CA      Misc. case emails with client and team; confer       0.20   1,445.00       $289.00
                             with H. Kevane re status.
10/16/2023 MSP       CA      Internal meeting regarding work-in-process,          0.70   1,295.00       $906.50
                             action items.
10/16/2023 PJJ       CA      Revise agenda (.2); prepare for and file (.3).       0.50    545.00        $272.50
10/16/2023 PJJ       CA      Attend WIP call.                                     0.70    545.00        $381.50
10/16/2023 RMP       CA      Participate in weekly PSZJ conference call.          0.70   1,895.00     $1,326.50
10/16/2023 SWG       CA      Participate in weekly PSZJ WIP call.                 0.70    895.00        $626.50
10/16/2023 SWG       CA      Call with counsel to former CLO re:                  0.20    895.00        $179.00
                             indemnification
10/17/2023 JEO       CA      Review and provide comments on amended               0.60   1,275.00       $765.00
                             agenda for 10/18 hearing
10/17/2023 JEO       CA      Review status of matters and work on agenda          0.80   1,275.00     $1,020.00
                             canceling 10/18 hearing
10/17/2023 JEO       CA      Review status of matters scheduled for 10/18         0.90   1,275.00     $1,147.50
                             hearing and update the court on status
10/17/2023 JHR       CA      Attend debtor professional WIP call                  0.60    995.00        $597.00
10/17/2023 LHP       CA      Review recent court filings for critical dates,      1.50    545.00        $817.50
                             update critical dates memo, and email
                             communications regarding same.
10/17/2023 LHP       CA      Work on amended agenda cancelling and                2.80    545.00      $1,526.00
                             rescheduling hearings set for October 18, 2023
                             enter agenda into court record, and email
                             communications regarding same.
10/17/2023 LHP       CA      Prepare CNO on motion to seal for filing and         0.80    545.00        $436.00
                             enter into court record, present order to court
                             for consideration, and email communications
                             regarding same.
10/17/2023 PJJ       CA      Review/revise Amended Agenda.                        0.20    545.00        $109.00
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 56 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 55
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/17/2023 PJJ       CA      Review critical dates memo, calendar entries         0.60    545.00        $327.00
                             and reminders and revise.

10/17/2023 PJJ       CA      Draft October 25th agenda.                           0.30    545.00        $163.50
10/17/2023 RMP       CA      Prepare for and participate on Debtor WIP            0.50   1,895.00       $947.50
                             call.

10/17/2023 SWG       CA      Participate in Debtors' professional WIP call        0.50    895.00        $447.50
10/17/2023 SWG       CA      Call with D. Grassgreen re: case admin               0.40    895.00        $358.00
                             matters

10/18/2023 DG        CA      Weekly call with Lender professionals and            1.00   1,550.00     $1,550.00
                             Amyris professionals re: various general case
                             issues.
10/18/2023 JHR       CA      Attend weekly Debtor / Lender WIP call               1.00    995.00        $995.00
10/18/2023 LHP       CA      Review recent court filings for critical dates,      2.80    545.00      $1,526.00
                             update critical dates memo, and email
                             communications regarding same.

10/18/2023 LHP       CA      Work on agenda for hearing scheduled on              0.80    545.00        $436.00
                             October 25 and email communication
                             regarding same.
10/18/2023 LHP       CA      Begin preparation of witness/exhibit list for        0.30    545.00        $163.50
                             hearing on October 25 and email
                             communication regarding same.

10/18/2023 PJJ       CA      Enter appearances for October 25 hearing.            0.40    545.00        $218.00
10/18/2023 PJJ       CA      Review/revise critical dates memo, calendar          0.50    545.00        $272.50
                             entries and reminders, and circulate.
10/18/2023 PJJ       CA      Review October 25 W/E lists (.1); review             0.30    545.00        $163.50
                             agenda for October 25.
10/18/2023 SWG       CA      Participate in weekly call with DIP Lender           1.00    895.00        $895.00
                             professionals
10/18/2023 SWG       CA      Participate in weekly call with lenders'             0.00    895.00            N/C
                             professionals.
10/19/2023 ARP       CA      Manage data/files                                    4.40    425.00      $1,870.00
10/19/2023 DG        CA      Weekly call with Foris Representatives, Foris        1.00   1,550.00     $1,550.00
                             counsel, Debtor professional and client reps
                             re: general case issues.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 57 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 56
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/19/2023 JEO       CA      Hearing prepare for 10/25 hearing on Jefferies      0.80   1,275.00     $1,020.00
                             retention; review agenda draft and provide
                             comments and review and circulate witness
                             list
10/19/2023 LHP       CA      Email communications regarding draft agenda         0.20    545.00        $109.00
                             and witness/exhibit list for October 25
                             hearing.
10/19/2023 SWG       CA      Participate in weekly call with DIP Lender.         1.70    895.00      $1,521.50
10/20/2023 PJJ       CA      Update critical dates memo, calendar entries        0.40    545.00        $218.00
                             and reminders, and circulate.
10/23/2023 DG        CA      Work in Process call with entire PSZJ team          1.00   1,550.00     $1,550.00
10/23/2023 JEO       CA      Review and finalize agenda canceling hearing        0.90   1,275.00     $1,147.50
                             for 10/25
10/23/2023 JHR       CA      Attend weekly PSZJ WIP call                         1.00    995.00        $995.00
10/23/2023 JHR       CA      Review critical dates memorandum.                   0.10    995.00            $99.50
10/23/2023 LHP       CA      Email communications regarding hearing              1.10    545.00        $599.50
                             agenda (.1); attend meeting regarding WIP
                             (1.0).

10/23/2023 MSP       CA      Internal meeting regarding work-in-process          1.00   1,295.00     $1,295.00
                             and open items.

10/23/2023 MSP       CA      Email exchange with M. Mitnick, S. Golden,          0.10   1,295.00       $129.50
                             et al. regarding November 6 hearing.

10/23/2023 PJJ       CA      Update WIP, critical dates memo, calendar           0.50    545.00        $272.50
                             entries and reminders, and circulate.
10/23/2023 PJJ       CA      Attend WIP call.                                    1.00    545.00        $545.00
10/23/2023 PJJ       CA      Revise agenda (.1); prepare and file (.2).          0.30    545.00        $163.50
10/23/2023 RMP       CA      Prepare for and participate on team WIP call.       1.00   1,895.00     $1,895.00
10/23/2023 SWG       CA      Participate in weekly internal WIP call.            1.00    895.00        $895.00
10/24/2023 RMP       CA      Prepare for and participate on debtor               1.40   1,895.00     $2,653.00
                             professional conference call.
10/24/2023 SWG       CA      Call with D. Grassgreen re: case status and         0.30    895.00        $268.50
                             litigation matters
10/24/2023 SWG       CA      Participate in weekly professional call with        1.00    895.00        $895.00
                             Debtors' professionals.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 58 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 57
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/24/2023 SWG       CA      Call with D. Grassgreen re: case admin               0.40    895.00        $358.00
                             matters

10/24/2023 SWG       CA      Draft response to employee FAQ re: filing of         0.20    895.00        $179.00
                             claims.

10/25/2023 MSP       CA      Meeting with lender professionals regarding          1.00   1,295.00     $1,295.00
                             case status.

10/25/2023 PJJ       CA      Update WIP, critical dates memo, calendar            0.60    545.00        $327.00
                             entries and reminders, and circulate.

10/25/2023 SWG       CA      Draft response to employee FAQ                       0.20    895.00        $179.00
10/26/2023 DG        CA      Call with D.Choi, Debtor advisors including          1.00   1,550.00     $1,550.00
                             PWC and Intrepid teams, P. Gund and PSZJ
                             team re: Plan, Sale and Litigation in advance
                             of call with Lender Professionals.

10/26/2023 DG        CA      Call with all Debtor professionals and all           1.00   1,550.00     $1,550.00
                             Lender professionals re: Plan, sale and
                             litigation issues.
10/26/2023 PJJ       CA      Update WIP, critical dates memo, calendar            0.30    545.00        $163.50
                             entries and reminders, and circulate.
10/26/2023 RMP       CA      Attend PSZJ/Goodwin update call.                     1.10   1,895.00     $2,084.50
10/26/2023 SWG       CA      Call with S. Fleming re: case admin matters.         0.50    895.00        $447.50
10/26/2023 SWG       CA      Participate in touch point call with                 0.80    895.00        $716.00
                             professional team and D. Choi in advance of
                             call with DIP Lenders.
10/26/2023 SWG       CA      Participate in touch base call with Debtors'         1.00    895.00        $895.00
                             and DIP Lenders' professionals.
10/27/2023 SWG       CA      Call with P. Gund re: various case admin             0.30    895.00        $268.50
                             matters
10/28/2023 SWG       CA      Participate in call with DIP Lender re: general      1.60    895.00      $1,432.00
                             case matters.
10/29/2023 LHP       CA      Review recent court filings, update critical         2.50    545.00      $1,362.50
                             dates memo, and email communications
                             regarding same (1.8); update WIP (.7).

10/30/2023 GNB       CA      Attend PSZJ work-in-progress call.                   0.70    975.00        $682.50
10/30/2023 JEO       CA      Participate in PSZJ WIP call                         0.60   1,275.00       $765.00
10/30/2023 JEO       CA      Review status of matters scheduled for 11/6          0.50   1,275.00       $637.50
                             hearing
                Case 23-11131-TMH           Doc 805-2        Filed 12/01/23     Page 59 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 58
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/30/2023 JHR       CA      Attend PSZJ WIP call                                  0.80    995.00        $796.00
10/30/2023 JHR       CA      Revise WIP list                                       0.50    995.00        $497.50
10/30/2023 LHP       CA      Attend meeting regarding WIP.                         0.70    545.00        $381.50
10/30/2023 LHP       CA      Work on agenda for hearing on November 6              2.40    545.00      $1,308.00
                             and email communications regarding same.

10/30/2023 MSP       CA      Internal meeting regarding work-in-process,           0.70   1,295.00       $906.50
                             action items, etc.

10/30/2023 RMP       CA      Participate on weekly PSZJ WIP conference             0.70   1,895.00     $1,326.50
                             call.

10/30/2023 SWG       CA      Participate in weekly WIP call with PSZJ              0.70    895.00        $626.50
                             team.

10/31/2023 ARP       CA      Manage data/files                                     0.50    425.00        $212.50
10/31/2023 DG        CA      Weekly work-in-process call with Pachulski            0.80   1,550.00     $1,240.00
                             team and other Debtor professionals and
                             client.
10/31/2023 JHR       CA      Attend weekly debtor WIP call.                        1.00    995.00        $995.00
10/31/2023 KKY       CA      Draft (.3), file (.1) and prepare for filing and      0.60    545.00        $327.00
                             service (.2) notice of hearing re motion to
                             authorize written consent of Novii Board and
                             motion to seal same
10/31/2023 KKY       CA      Email to claims agent re service of notice of         0.10    545.00            $54.50
                             hearing re motion to authorize written consent
                             of Novii Board and motion to seal same

10/31/2023 LHP       CA      Review recent court filings, update critical          1.50    545.00        $817.50
                             dates memo, update WIP, and email
                             communications regarding same.
10/31/2023 LHP       CA      Continued work on agenda for hearing on               2.40    545.00      $1,308.00
                             November 6 and email communications
                             regarding same.

10/31/2023 RMP       CA      Prepare for and participate on Debtors' WIP           1.00   1,895.00     $1,895.00
                             call.
10/31/2023 SWG       CA      Participate in Debtors' professional WIP call.        1.00    895.00        $895.00
                                                                                 123.90              $113,652.00

Corporate Governance
10/05/2023 DG        CG      Board Call.                                           1.50   1,550.00     $2,325.00
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23   Page 60 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 59
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/05/2023 RMP       CG      Prepare for and attend RC call.                    1.20   1,895.00     $2,274.00
10/10/2023 SWG       CG      Review and edit 8-K                                0.20    895.00        $179.00
10/11/2023 RMP       CG      Review board materials.                            1.30   1,895.00     $2,463.50
10/12/2023 DG        CG      Attend Board Meeting.                              1.70   1,550.00     $2,635.00
10/12/2023 RMP       CG      Prepare for and participate on board               2.10   1,895.00     $3,979.50
                             conference call.

10/18/2023 RMP       CG      Review and analyze RC meeting materials.           0.90   1,895.00     $1,705.50
10/19/2023 DG        CG      Restructuring Committee Meeting.                   1.50   1,550.00     $2,325.00
10/19/2023 RMP       CG      Prepare for and attend RC meeting.                 1.60   1,895.00     $3,032.00
10/20/2023 SWG       CG      Review draft board minutes                         0.10    895.00            $89.50
10/23/2023 DG        CG      Attend Board Meeting.                              0.60   1,550.00       $930.00
10/23/2023 RMP       CG      Prepare for and participate on board               0.70   1,895.00     $1,326.50
                             conference call.

                                                                               13.40               $23,264.50

Claims Administration and Objections
10/10/2023 LHP       CO      Draft CNO re bar date motion and email             0.80    545.00        $436.00
                             communication.

10/11/2023 LHP       CO      Prepare CNO on bar date motion for filing and      0.70    545.00        $381.50
                             email communications.

10/11/2023 PJJ       CO      Review/revise CNO regarding bar date               0.30    545.00        $163.50
                             motion.
10/11/2023 PJJ       CO      Prepare bar date order for filing,                 0.60    545.00        $327.00
10/12/2023 JEO       CO      Review status of bar date motion and approve       0.40   1,275.00       $510.00
                             certificate of no objection for filing.
10/12/2023 LHP       CO      Prepare and file CNO on bar date motion,           1.70    545.00        $926.50
                             present order to court for consideration, and
                             email communications re same.
10/12/2023 PJJ       CO      Review CNO regarding bar date motion.              0.20    545.00        $109.00
10/13/2023 JEO       CO      Work on bar date noticing and coordinate with      2.80   1,275.00     $3,570.00
                             Stretto

10/13/2023 PJJ       CO      Prepare bar date notice for service.               0.50    545.00        $272.50
                Case 23-11131-TMH           Doc 805-2      Filed 12/01/23     Page 61 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 60
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/16/2023 DG        CO      Call with M. Pagay, G. Glazier and H. Kevane        1.10   1,550.00     $1,705.00
                             re: Lavvan claims.

10/16/2023 GIG       CO      Call with D. Grassgreen and M. Pagay re             1.10   1,325.00     $1,457.50
                             Lavvan claim disputes.

10/16/2023 GIG       CO      Exchange multiple emails with D. Grassgreen         0.30   1,325.00       $397.50
                             re Lavvan security interests.

10/16/2023 GIG       CO      Research re liens and perfection                    1.60   1,325.00     $2,120.00
10/16/2023 GIG       CO      Prepare summary of Lavvan collateral                1.10   1,325.00     $1,457.50
                             agreements.

10/16/2023 GIG       CO      Exchange emails with P. Jeffries re Lavvan          0.10   1,325.00       $132.50
                             security interests and financing statements.
10/16/2023 GIG       CO      Exchange emails with J. Davidson re liens           0.20   1,325.00       $265.00
                             (Lavvan).
10/16/2023 JEO       CO      Review and approve bar date notice for              0.60   1,275.00       $765.00
                             publication
10/16/2023 JHD       CO      Correspondence from G. Glazer re analysis of        0.20   1,895.00       $379.00
                             lien.
10/16/2023 JHD       CO      Research re lien continuation and perfection.       0.40   1,895.00       $758.00
10/16/2023 JHD       CO      Prepare correspondence to G. Glazer re              0.20   1,895.00       $379.00
                             analysis of lien; correspondence from G.
                             Glazer re same.

10/16/2023 MSP       CO      Meeting with D. Grassgreen, A. Kornfeld, G.         1.20   1,295.00     $1,554.00
                             Glazer regarding next steps regarding Lavvan
                             claim; email exchange with A. Kornfeld, G.
                             Glazer, et al. regarding same (.10).

10/16/2023 MSP       CO      Review documents regarding background on            1.90   1,295.00     $2,460.50
                             Lavvan claim and lien; email exchange with
                             G. Glazer, P. Jeffries regarding same (.10).
10/17/2023 GIG       CO      Review Lavvan subordination agreement.              0.50   1,325.00       $662.50
10/17/2023 GIG       CO      Prepare summary of Lavvan lien analysis.            1.20   1,325.00     $1,590.00
10/17/2023 LAF       CO      Legal research re: Sample estimation motions.       0.50    595.00        $297.50
10/17/2023 MSP       CO      Review Lavvan claim and litigation                  3.80   1,295.00     $4,921.00
                             information; email exchange with G. Glazer,
                             O. Wright, D. Grassgreen, et al regarding same
                             (.20).
                Case 23-11131-TMH           Doc 805-2      Filed 12/01/23      Page 62 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 61
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/18/2023 DG        CO      Review (overview) SDNY complaint re:                 0.60   1,550.00       $930.00
                             Lavvan claims (.5) and emails with O. Wright
                             re: same (.1).
10/18/2023 GIG       CO      Research re (Lavvan).                                3.60   1,325.00     $4,770.00
10/18/2023 GIG       CO      Prepare summary of research                          0.60   1,325.00       $795.00
10/18/2023 MSP       CO      Attention to Lavvan claim and lien issues;           0.90   1,295.00     $1,165.50
                             email exchange with G. Glazer, D.
                             Grassgreen, et al. regarding same (.10).
10/19/2023 JHD       CO      Correspondence from G. Glazer re analysis of         0.80   1,895.00     $1,516.00
                             security agreement (.2); research re same (.4);
                             prepare correspondence to G. Glazer re same
                             (.2).
10/19/2023 JHD       CO      Multiple additional emails with G. Glazer re         0.40   1,895.00       $758.00
                             analysis of secured claim issues.

10/20/2023 DG        CO      Review and respond to emails from G. Glazier         0.20   1,550.00       $310.00
                             re: Lavvan security analysis.

10/20/2023 GIG       CO      Research re scope of secured obligations             4.40   1,325.00     $5,830.00
                             (Lavvan).

10/20/2023 GIG       CO      Exchange emails with M. Pagay re Lavvan              0.40   1,325.00       $530.00
                             claim objection issues.

10/20/2023 GIG       CO      Call with I. Pachulski re Lavvan claim matters       0.80   1,325.00     $1,060.00
10/20/2023 GIG       CO      Call with J. Davidson re Lavvan security             0.50   1,325.00       $662.50
                             interests.
10/20/2023 GIG       CO      Exchange emails with D. Grassgreen re                0.10   1,325.00       $132.50
                             Lavvan security interests.
10/20/2023 GIG       CO      Review email from P. Jeffries re Lavvan              0.10   1,325.00       $132.50
                             research and license agreement.
10/20/2023 IMP       CO      Draft e-mail to G. Glazer re Lavvan.                 0.10   1,995.00       $199.50
10/20/2023 IMP       CO      Telephone conference with G. Glazer re issues        0.80   1,995.00     $1,596.00
                             and strategy re Lavvan.
10/20/2023 JHD       CO      Telephone conference with G. Glazer re               0.50   1,895.00       $947.50
                             analysis of issues concerning secured claim.
10/20/2023 MSP       CO      Review Lavvan claim and litigation                   3.90   1,295.00     $5,050.50
                             information and analysis of same (3.7); email
                             exchange with G. Glazer, O. Wright, D.
                             Grassgreen, et al., regarding same (.20).
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23       Page 63 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 62
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/22/2023 GIG       CO      Exchange emails with D. Grassgreen, M.                 0.10   1,325.00       $132.50
                             Pagay re call re Lavvan claim objection.

10/22/2023 MSP       CO      Email exchange with G. Glazer, et al.                  0.10   1,295.00       $129.50
                             regarding discussion regarding Lavvan claim.

10/23/2023 GIG       CO      Exchange emails with D. Grassgreen re                  0.10   1,325.00       $132.50
                             Lavvan arbitration ruling.

10/23/2023 GIG       CO      Call with R. Pachulski, D. Grassgreen, I.              1.70   1,325.00     $2,252.50
                             Pachulski re Lavvan claim objections and
                             litigation.
10/23/2023 GIG       CO      Exchange emails with D. Grassgreen re                  0.30   1,325.00       $397.50
                             Lavvan security interests.
10/23/2023 IMP       CO      Prepare for call re lien and secured creditor          0.30   1,995.00       $598.50
                             related issues.
10/23/2023 IMP       CO      Extended conference call with PSZJ attorneys           1.40   1,995.00     $2,793.00
                             re lien and secured claim-related issues and
                             related plan issues.
10/23/2023 IMP       CO      Review e-mail from D. Grassgreen re follow-            0.10   1,995.00       $199.50
                             up issues.
10/23/2023 IMP       CO      Further review of documents re lien issues.            0.40   1,995.00       $798.00
10/23/2023 IMP       CO      Review e-mail from G. Glazer re analysis of            0.20   1,995.00       $399.00
                             agreements.
10/23/2023 IMP       CO      Exchange e-mails with G. Glazer re call.               0.10   1,995.00       $199.50
10/23/2023 MSP       CO      Meeting with R. Pachulski, I. Pachulski, D.            1.60   1,295.00     $2,072.00
                             Grassgreen, G. Glazer regarding Lavvan
                             issues and next steps.

10/23/2023 MSP       CO      Attention to and analysis of Lavvan claim and          2.20   1,295.00     $2,849.00
                             lien issues (2.1); email exchange with A.
                             Kornfeld, G. Glazer, J. O'Neill, et al. regarding
                             same (.10).

10/24/2023 DG        CO      Call with G. Glazier, I. Pachulski, and H.             1.50   1,550.00     $2,325.00
                             Kevane re: Lavvan Secured Claim issues.

10/24/2023 GIG       CO      Exchange emails with D. Grassgreen, H.                 0.20   1,325.00       $265.00
                             Kevane re research (Lavvan).

10/24/2023 GIG       CO      Exchange emails with H. Kevane, I. Pachulski           0.10   1,325.00       $132.50
                             re Lavvan lien.

10/24/2023 GIG       CO      Research re Lavvan.                                    1.20   1,325.00     $1,590.00
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23     Page 64 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 63
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/24/2023 GIG       CO      Call with D. Grassgreen, I. Pachulski, H.            1.50   1,325.00     $1,987.50
                             Kevane re Lavvan secured claim objections.

10/24/2023 GIG       CO      Review Lavvan briefs re scope of security            0.60   1,325.00       $795.00
                             interests.

10/24/2023 GIG       CO      Review DIP hearing transcripts re scope of           0.50   1,325.00       $662.50
                             Lavvan security interests.

10/24/2023 GIG       CO      Prepare email to H. Kevane, D. Grassgreen re         0.20   1,325.00       $265.00
                             Lavvan representations re scope of security
                             interests.
10/24/2023 GIG       CO      Exchange emails with I. Pachulski re scope of        0.20   1,325.00       $265.00
                             Lavvan security interest.
10/24/2023 GIG       CO      Prepare email to H. Kevane, D. Grassgreen re         0.30   1,325.00       $397.50
                             scope of Lavvan security interests.
10/24/2023 GIG       CO      Review email from O. Wright re arbitrator            0.10   1,325.00       $132.50
                             award decision (Lavvan).
10/24/2023 GIG       CO      Prepare issues list re Lavvan claim                  0.20   1,325.00       $265.00
10/24/2023 HCK       CO      Memos to / from D. Grassgreen and G. Glazer          0.70   1,550.00     $1,085.00
                             re Lavvan security interest analysis and review
                             documents.
10/24/2023 HCK       CO      Follow-up with G. Glazer and I. Pachulski re         2.20   1,550.00     $3,410.00
                             Lavvan security interest analysis and further
                             review documents and Shearman & Sterling
                             emails.
10/24/2023 HCK       CO      Memos to / from M. Dorf re Lavvan analysis.          0.10   1,550.00       $155.00
10/24/2023 HCK       CO      Confer with J. Rosell re Lavvan security             0.10   1,550.00       $155.00
                             interest analysis.
10/24/2023 HCK       CO      Memos to / from I. Pachulski re Lavvan               0.30   1,550.00       $465.00
                             analysis and review Foris consent and waiver.
10/24/2023 HCK       CO      Further memos to / from G. Glazer and I.             0.60   1,550.00       $930.00
                             Pachulski re Lavvan claim analysis.
10/24/2023 HCK       CO      Conference call with D. Grassgreen, I.               1.50   1,550.00     $2,325.00
                             Pachulski and G. Glazer re Lavvan claim and
                             security interest.

10/24/2023 IMP       CO      Exchange e-mails re call.                            0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Review e-mail re lien issue.                         0.10   1,995.00       $199.50
                Case 23-11131-TMH           Doc 805-2        Filed 12/01/23    Page 65 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 64
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/24/2023 IMP       CO      Analyze issues re lien and draft e-mail re lien      0.20   1,995.00       $399.00
                             issue.

10/24/2023 IMP       CO      Review e-mails from H. Kevane re issues re           0.20   1,995.00       $399.00
                             Lavvan lien.

10/24/2023 IMP       CO      Review e-mail from D. Grassgreen re Lavvan           0.10   1,995.00       $199.50
                             issues.

10/24/2023 IMP       CO      Further review and analysis of RCL                   0.80   1,995.00     $1,596.00
                             Agreement relating to Lavvan lien issues.

10/24/2023 IMP       CO      Analyze issues re scope of Lavvan lien and           0.40   1,995.00       $798.00
                             draft e-mail re same.
10/24/2023 IMP       CO      Further analysis of G. Glazer e-mail re terms        0.20   1,995.00       $399.00
                             of Lavvan agreements.
10/24/2023 IMP       CO      Draft e-mail to G. Glazer re question.               0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Work on memo re issues re Lavvan lien.               0.40   1,995.00       $798.00
10/24/2023 IMP       CO      Work on memo re Lavvan lien.                         0.20   1,995.00       $399.00
10/24/2023 IMP       CO      Further work on memo.                                0.20   1,995.00       $399.00
10/24/2023 IMP       CO      Finalize memo.                                       0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Review background document re Lavvan lien.           0.20   1,995.00       $399.00
10/24/2023 IMP       CO      Review e-mail from G. Glazer re Lavvan lien.         0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Review e-mail from M. Pagay re Lavvan lien.          0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Extended conference call with PSZJ attorneys         1.50   1,995.00     $2,992.50
                             re Lavvan lien issues.
10/24/2023 IMP       CO      Review outline of Lavvan issues.                     0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Review e-mail re arbitration.                        0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Review e-mails from D. Grassgreen and M.             0.10   1,995.00       $199.50
                             Pagay re Lavvan.
10/24/2023 IMP       CO      Review e-mail from G. Glazer re research.            0.10   1,995.00       $199.50
10/24/2023 IMP       CO      Review e-mails re call re Lavvan.                    0.10   1,995.00       $199.50
10/24/2023 MSP       CO      Email exchange with D. Grassgreen, G. Glazer         0.10   1,295.00       $129.50
                             regarding Lavvan claim issues.
                Case 23-11131-TMH          Doc 805-2         Filed 12/01/23   Page 66 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 65
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/24/2023 MSP       CO      Attention to Lavvan claim and security              3.90   1,295.00     $5,050.50
                             interest issues (3.5); email exchange with H.
                             Kevane, G. Glazer, I. Pachulski, M. Dorf, et
                             al. regarding same (.40).
10/25/2023 GIG       CO      Review Lavvan license agreement.                    0.70   1,325.00       $927.50
10/25/2023 GIG       CO      Prepare email to D. Grassgreen, H. Kevane re        0.20   1,325.00       $265.00
                             Lavvan security interests.
10/25/2023 GIG       CO      Review email from H. Kevane re Lavvan               0.10   1,325.00       $132.50
                             claim .

10/25/2023 HCK       CO      Memos to / from M. Dorf, et al. re Lavvan           0.10   1,550.00       $155.00
                             analysis.

10/25/2023 HCK       CO      Review G. Glazer draft of Lavvan issues list        0.30   1,550.00       $465.00
                             and circulate revision.

10/25/2023 HCK       CO      Review G. Glazer memo re Lavvan ICC                 0.10   1,550.00       $155.00
                             decision.

10/25/2023 HCK       CO      Memos to / from G. Glazer re Lavvan                 0.10   1,550.00       $155.00
                             analysis.
10/25/2023 HCK       CO      Continue to research / analyze Lavvan RCLA          1.20   1,550.00     $1,860.00
                             claim and security agreement,
10/25/2023 HCK       CO      Continue to research / analyze Lavvan claim.        0.50   1,550.00       $775.00
10/25/2023 IMP       CO      Review revised issue outline.                       0.10   1,995.00       $199.50
10/25/2023 IMP       CO      Exchange e-mails with H. Kevane re call.            0.10   1,995.00       $199.50
10/25/2023 IMP       CO      Review e-mail from G. Glazer re Lavvan lien         0.10   1,995.00       $199.50
                             issues.
10/25/2023 MSP       CO      Attention to Lavvan claim and lien issues           1.10   1,295.00     $1,424.50
                             (1.0); email exchange with H. Kevane, G.
                             Glazer, et al. regarding same (.10).

10/26/2023 DG        CO      Review various emails from M. Dorf re:              0.40   1,550.00       $620.00
                             Lavvan agreement history.

10/26/2023 GIG       CO      Call with M. Dorf re Lavvan license and             0.80   1,325.00     $1,060.00
                             security agreements.

10/26/2023 GIG       CO      Review multiple emails from M. Dorf re              0.50   1,325.00       $662.50
                             Lavvan negotiating history.
10/26/2023 GIG       CO      Exchange multiple emails with H. Kevane,            0.40   1,325.00       $530.00
                             gibson dunn re Lavvan negotiating history.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23    Page 67 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 66
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/26/2023 GIG       CO      Review final DIP order re Lavvan challenge.         0.80   1,325.00     $1,060.00
10/26/2023 GIG       CO      Review final DIP order re Lavvan challenge.         0.00   1,325.00           N/C
10/26/2023 HCK       CO      Memos to/from D. Grassgreen et al. re Lavvan        0.10   1,550.00       $155.00
                             call today.

10/26/2023 HCK       CO      Prepare for today's call re Lavvan with M.          0.60   1,550.00       $930.00
                             Dorf, O. Wright, et al. and review files.

10/26/2023 HCK       CO      Conference call with M. Dorf, O. Wright, G.         0.80   1,550.00     $1,240.00
                             Glazer and I. Pachulski re Lavvan research.

10/26/2023 HCK       CO      Review documents from M. Dorf re Lavvan             0.30   1,550.00       $465.00
                             negotiations.

10/26/2023 HCK       CO      Follow up with D. Grassgreen re Lavvan              0.40   1,550.00       $620.00
                             discussions with M. Dorf and further research.
10/26/2023 HCK       CO      Follow up with O. Wright and K. Matevish            0.50   1,550.00       $775.00
                             (GD&C) re Lavvan research and follow up
                             with A. Kornfeld.
10/26/2023 HCK       CO      Continue to research Lavvan claims and              0.70   1,550.00     $1,085.00
                             security interest.
10/26/2023 IMP       CO      Review of Lavvan complaint and analysis of          0.50   1,995.00       $997.50
                             related issues.

10/26/2023 IMP       CO      Prepare for call re Lavvan lien issues.             0.30   1,995.00       $598.50
10/26/2023 IMP       CO      Research issues re Lavvan liens.                    0.30   1,995.00       $598.50
10/26/2023 IMP       CO      Extended conference call re Lavvan lien             0.70   1,995.00     $1,396.50
                             issues.

10/26/2023 IMP       CO      Review materials re RCL Agreement.                  0.30   1,995.00       $598.50
10/26/2023 IMP       CO      Review e-mails from H. Kevane re RCL                0.10   1,995.00       $199.50
                             Agreement.

10/26/2023 IMP       CO      Review materials re RCL Agreement.                  0.20   1,995.00       $399.00
10/26/2023 IMP       CO      Review additional background materials re           0.40   1,995.00       $798.00
                             RCL agreement.

10/27/2023 GIG       CO      Call with H. Kevane re Lavvan secured claim         0.50   1,325.00       $662.50
10/27/2023 GIG       CO      Call with O. Wright, H. Kevane re Lavvan            0.50   1,325.00       $662.50
                             claim
10/27/2023 GIG       CO      Review Lavvan post-arbitration brief.               0.40   1,325.00       $530.00
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 68 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 67
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/27/2023 GIG       CO      Prepare email to H. Kevane, D. Grassgreen re        0.20   1,325.00       $265.00
                             Lavvan claims.

10/27/2023 GIG       CO      Exchange emails with K. Matevish re Lavvan          0.20   1,325.00       $265.00
                             discovery access.

10/27/2023 GIG       CO      Review Gibson discovery site re Lavvan.             0.20   1,325.00       $265.00
10/27/2023 HCK       CO      Memos to / from K. Matevish and G. Glazer           0.20   1,550.00       $310.00
                             re Lavvan documents and review share file.

10/27/2023 HCK       CO      Telephone call with G. Glazer re Lavvan claim       0.50   1,550.00       $775.00
                             determination.

10/27/2023 HCK       CO      Memos to / from O. Wright re Lavvan SDNY            0.10   1,550.00       $155.00
                             claims.
10/27/2023 HCK       CO      Telephone call with O. Wright re Lavvan             0.10   1,550.00       $155.00
                             claims.
10/27/2023 HCK       CO      Conference call with O. Wright and G. Glazer        0.60   1,550.00       $930.00
                             re Lavvan analysis and follow-up re same.
10/27/2023 HCK       CO      Further memos to / from G. Glazer and I.            0.20   1,550.00       $310.00
                             Pachulski re Lavvan claim analysis.
10/27/2023 HCK       CO      Further research / analysis re Lavvan security      0.70   1,550.00     $1,085.00
                             interest and claim.
10/27/2023 IMP       CO      Review e-mail re Lavvan issue.                      0.10   1,995.00       $199.50
10/27/2023 IMP       CO      Review e-mail from G. Glazer re Lavvan lien         0.10   1,995.00       $199.50
                             issue.
10/27/2023 MSP       CO      Email exchange with H. Kevane, G. Glazer, I.        0.10   1,295.00       $129.50
                             Pachulski, et al. regarding Lavvan claims.
10/30/2023 GIG       CO      Review email production re Lavvan security          1.20   1,325.00     $1,590.00
                             interest negotiations.
10/30/2023 GIG       CO      Exchange emails with H. Kevane re Lavvan            0.50   1,325.00       $662.50
                             security interest negotiations.

10/30/2023 GIG       CO      Research re scope of Lavvan security interest.      3.30   1,325.00     $4,372.50
10/30/2023 GIG       CO      Call with O. Wright, M. Cielo re Lavvan IP          0.70   1,325.00       $927.50
                             claims.

10/30/2023 GIG       CO      Review emails from M. Dorf re Lavvan                0.10   1,325.00       $132.50
                             license negotiations.

10/30/2023 GIG       CO      Review multiple drafts of Lavvan license            0.60   1,325.00       $795.00
                             agreement.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 69 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 68
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/30/2023 HCK       CO      Prepare for conference call with M. Celio re        0.50   1,550.00       $775.00
                             Lavvan claims and SDNY status.

10/30/2023 HCK       CO      Memos to/from G. Glazer re Lavvan                   0.20   1,550.00       $310.00
                             document review.

10/30/2023 HCK       CO      Conference call with M. Celio, O. Wright and        0.60   1,550.00       $930.00
                             G. Glazer re Lavvan SDNY proceding..

10/30/2023 HCK       CO      Memos to/from M. Dorf re Lavvan                     0.80   1,550.00     $1,240.00
                             negotiation history and review documents.

10/30/2023 HCK       CO      Continue to research/analyze Lavvan claim           0.70   1,550.00     $1,085.00
                             dispute.
10/30/2023 HCK       CO      Memos to/from G. Glazer re document review          0.70   1,550.00     $1,085.00
                             re Lavvan negotiation history and review
                             memos.
10/31/2023 DG        CO      Call with M. Pagay, G. Glazer and H. Kevane         1.80   1,550.00     $2,790.00
                             re: Lavvan analysis.
10/31/2023 DG        CO      Review and respond to emails from G. Glazer         0.90   1,550.00     $1,395.00
                             re: Lavvan research and historical emails from
                             Gibson Dunn and Sherman and Sterling (.7);
                             emails to and from S. Tan re: IP transfer for
                             Lavvan analysis (.2).
10/31/2023 GIG       CO      Review emails re delay in Lavvan arbitration        0.10   1,325.00       $132.50
                             ruling.
10/31/2023 GIG       CO      Exchange emails with D. Grassgreen, H.              0.20   1,325.00       $265.00
                             Kevane re Lavvan claim analysis.
10/31/2023 GIG       CO      Research re scope of Lavvan security interest.      0.50   1,325.00       $662.50
10/31/2023 GIG       CO      Call with D. Grassgreen, H. Kevane re Lavvan        1.90   1,325.00     $2,517.50
                             claim objections.
10/31/2023 GIG       CO      Exchange multiple emails with D. Grassgreen         0.20   1,325.00       $265.00
                             re Lavvan claim discovery.
10/31/2023 GIG       CO      Consider Lavvan claim matters.                      0.50   1,325.00       $662.50
10/31/2023 GIG       CO      Prepare email to O. Wright re Lavvan claim          0.30   1,325.00       $397.50
                             matters.
10/31/2023 GIG       CO      Exchange multiple emails with D. Grassgreen,        0.20   1,325.00       $265.00
                             S. Tan re intellectual property (Lavvan).
10/31/2023 HCK       CO      Memos to/from D. Grassgreen et al. re Lavvan        0.10   1,550.00       $155.00
                             ICC award.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 70 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 69
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/31/2023 HCK       CO      Memos to/from D. Grassgreen re Lavvan               0.60   1,550.00       $930.00
                             claim and security analysis and follow-up with
                             G. Glazer.
10/31/2023 HCK       CO      Continued research re Lavvan claim and              1.30   1,550.00     $2,015.00
                             subordination reallocation.
10/31/2023 HCK       CO      Conference call with D. Grassgreen, G. Glazer       1.70   1,550.00     $2,635.00
                             and M. Pagay re Lavvan claim and strategy.
10/31/2023 HCK       CO      Memos to/from G. Glazer et al. re Lavvan            0.20   1,550.00       $310.00
                             research/pleadings.
10/31/2023 HCK       CO      Memos to/from D. Grassgreen and S. Tan re           0.30   1,550.00       $465.00
                             AMRS/Lavvan collateral and IP transfers.
10/31/2023 MSP       CO      Meeting with G. Glazer, H. Kevane, D.               4.80   1,295.00     $6,216.00
                             Grassgreen regarding Lavvan claim and lien
                             issues and litigation strategy (1.80); email
                             exchange with G. Glazer, D. Grassgreen, A.
                             Kornfeld, H. Kevane, J. Lathrop, S. Golden, S.
                             Tan, et al. regarding same (.90); attention to
                             items needed for Lavvan next steps.

                                                                               116.90              $165,679.50

PSZJ Compensation
10/13/2023 PJJ       CP      Prepare form monthly fee statement.                 0.80    545.00        $436.00
10/20/2023 DG        CP      Work on fee application.                            0.50   1,550.00       $775.00
10/24/2023 DG        CP      Fee application preparation.                        1.00   1,550.00     $1,550.00
10/24/2023 PJJ       CP      Review and revise August invoices in                4.00    545.00      $2,180.00
                             preparation for first monthly fee statement.

10/25/2023 PJJ       CP      Incorporate D. Grassgreen comments to               0.20    545.00        $109.00
                             invoice edits.

10/26/2023 PJJ       CP      Draft first monthly fee statement.                  0.50    545.00        $272.50
10/27/2023 DG        CP      Fee Application Prep.                               0.80   1,550.00     $1,240.00
10/27/2023 PJJ       CP      Draft first monthly fee statement.                  3.40    545.00      $1,853.00
10/29/2023 PJJ       CP      Draft first monthly fee statement.                  3.40    545.00      $1,853.00
10/30/2023 SWG       CP      Review and edit first monthly fee statement         1.10    895.00        $984.50
                             and invoice.

                                                                                15.70               $11,253.00
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 71 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 70
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount

Other Professional Compensation
10/04/2023 JEO       CPO     Review and finalize Monthly Application for         0.60   1,275.00       $765.00
                             Compensation [First] and Reimbursement of
                             Expenses of KTBS Law LLP as Special
                             Counsel for the Debtors on Behalf of and at
                             the Sole Direction of the Independent Director

10/13/2023 JHR       CPO     Analyze motion to continue hearing on               0.40    995.00        $398.00
                             Jefferies retention application.
10/18/2023 PJJ       CPO     Review/revise Intrepid fee statement.               0.30    545.00        $163.50
10/19/2023 JEO       CPO     Review Intrepid fee statement                       0.60   1,275.00       $765.00
10/19/2023 LHP       CPO     Draft CNO regarding first application for           0.90    545.00        $490.50
                             compensation of KTBS Law and email
                             communications regarding same.
10/19/2023 PJJ       CPO     Review/revise CNO regarding KBTS note               0.40    545.00        $218.00
                             production.

10/20/2023 JEO       CPO     Emails with KTBS re payment for first fee app       0.40   1,275.00       $510.00
10/20/2023 JEO       CPO     Review and finalize second monthly fee              0.40   1,275.00       $510.00
                             application for KTBS Law

10/20/2023 PJJ       CPO     Prepare for and file KTBS September fee             0.30    545.00        $163.50
                             statement.

10/23/2023 PJJ       CPO     Coordinate professional fee payments (.2);          0.60    545.00        $327.00
                             update log (.4).

10/25/2023 PJJ       CPO     Revise/revise Intrepid monthly statement.           0.70    545.00        $381.50
10/26/2023 PJJ       CPO     Review/revise Intrepid monthly fee statement.       0.50    545.00        $272.50
10/26/2023 PJJ       CPO     Draft notice of filing Intrepid monthly fee         0.50    545.00        $272.50
                             statement.
10/27/2023 JEO       CPO     Review and finalize Intrepid first monthly fee      0.40   1,275.00       $510.00
                             app
10/27/2023 LHP       CPO     Revise Intrepid first monthly fee statement         2.20    545.00      $1,199.00
                             and notice, prepare notice and fee statement
                             for filing and enter into court record,
                             coordinate service of notice, and email
                             communications regarding same.
10/27/2023 PJJ       CPO     Revise Intrepid monthly fee statement and           0.20    545.00        $109.00
                             circulate.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23     Page 72 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 71
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/27/2023 PJJ       CPO     Prepare Intrepid monthly fee statement for          0.20    545.00        $109.00
                             filing.

10/30/2023 GNB       CPO     Email C. Wischusen regarding GRSM                   0.10    975.00            $97.50
                             monthly billing.

10/30/2023 JEO       CPO     Review and finalize Monthly Application for         0.40   1,275.00       $510.00
                             Compensation [First] and Reimbursment of
                             Expenses of Shearman & Sterling LLP as
                             Special Counsel for the Debtors for the period
                             from August 9, 2023 to September 30, 2023
                                                                                10.10                $7,771.50

Contract and Lease Matters
10/02/2023 PJJ       EC      Review/revise draft 365(d)(4) extension             0.80    545.00        $436.00
                             motion.
10/03/2023 PJJ       EC      Revise 365(d)(4) extension motion.                  0.20    545.00        $109.00
10/04/2023 DG        EC      Call with John Weber re: 2004 request for           0.10   1,550.00       $155.00
                             DSM contract.
10/04/2023 HCK       EC      Memos to / from J. Rosell re Givaudan               0.20   1,550.00       $310.00
                             correspondence.
10/04/2023 HCK       EC      Review memo from DSM counsel re 365(n)              0.70   1,550.00     $1,085.00
                             motion and review draft.
10/04/2023 HCK       EC      Memos to / from K. Novotny and J. Rosell re         0.20   1,550.00       $310.00
                             DSM and Givaudan.
10/05/2023 DG        EC      Correspond from F. Merola re: DSM Motion            1.20   1,550.00     $1,860.00
                             (0.1); email to J. Constentino re: same (0.1);
                             email with both Merola and Celestino re: same
                             and forward bondholder NDA (0.1); review
                             DSM two motions regarding 365 rights and
                             adequate protection (.8); email with S. Golden
                             re: response to same (0.1).

10/05/2023 GIG       EC      Review emails from H. Kevane, S. Golden re          0.10   1,325.00       $132.50
                             deadline to oppose DSM motion.

10/05/2023 HCK       EC      Memos to / from D. Grassgreen, et al. re            0.50   1,550.00       $775.00
                             response to DSM 365(n) motion.
10/05/2023 HCK       EC      Memos to / from S. Golden and D. Grassgreen         0.20   1,550.00       $310.00
                             re Committee inquiry re DSM.
10/05/2023 HCK       EC      Continue to review / analyze DSM 365(n)             1.60   1,550.00     $2,480.00
                             motion and background documents.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23      Page 73 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 72
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/05/2023 HCK       EC      Memos to / from G. Glazer re DSM analysis             0.40   1,550.00       $620.00
                             and reply to 365(n) motion.

10/05/2023 HCK       EC      Telephone call with G. Glazer re response to          0.50   1,550.00       $775.00
                             DSM section 365(n) motion.

10/05/2023 HCK       EC      Memos to / from K. Novotny and C. Johnson             0.30   1,550.00       $465.00
                             re DSM section 365(n) motion.

10/05/2023 HCK       EC      Further review GIV Rule 2004 motion and               0.70   1,550.00     $1,085.00
                             DSM transaction documents for confidential
                             information.
10/05/2023 HCK       EC      Further review / analyze response to DSM              0.30   1,550.00       $465.00
                             section 365(n) motion.
10/05/2023 HCK       EC      Research re DSM LDRA and strain escrow                0.60   1,550.00       $930.00
                             release condition.
10/05/2023 IDK       EC      E-mails with D. Grassgreen re Emeryville              1.20   1,645.00     $1,974.00
                             lease issues and related correspondence on
                             same on economic analyses of leases and
                             related options (.5); e-mails with S. Golden re
                             same with copies of leases (.2); brief review of
                             such leases (.3); Office conference with R.
                             Pachulski re general status on same (.2).

10/05/2023 JE        EC      Quick review 363n motion filed by DSM and             0.50   1,450.00       $725.00
                             correspondence with Mr. Kevane to set up
                             client call.
10/05/2023 LHP       EC      Draft COC on motion to extend deadline to             1.30    545.00        $708.50
                             assume or reject unexpired leases, prepare
                             exhibits, and email communications regarding
                             same.
10/05/2023 SWG       EC      Perform contract review for cure schedules.           0.30    895.00        $268.50
10/05/2023 SWG       EC      Call with client re: dispute with contract            0.20    895.00        $179.00
                             counterparty
10/06/2023 GIG       EC      Exchange emails with H. Kevane re deadline            0.10   1,325.00       $132.50
                             to respond to DSM motion.
10/06/2023 GIG       EC      Call with client, H. Kevane re DSM motion             1.10   1,325.00     $1,457.50
                             under section 365(n).
10/06/2023 GIG       EC      Review and consider DSM license agreement.            1.60   1,325.00     $2,120.00
10/06/2023 GIG       EC      Exchange multiple emails with H. Kevane, J.           0.80   1,325.00     $1,060.00
                             Elkin re DSM agreement.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23   Page 74 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 73
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                                                              Hours      Rate        Amount
10/06/2023 GIG       EC      Call with H. Kevane re DSM motion.                0.10   1,325.00       $132.50
10/06/2023 GIG       EC      Review emails from D. Choi, J. Rosell, H.         0.20   1,325.00       $265.00
                             Kevane re DSM motion.

10/06/2023 GIG       EC      Review emails from C. Johnson, K. Novotny         0.30   1,325.00       $397.50
                             re correspondence with DSM.

10/06/2023 HCK       EC      Memos to / from D. Grassgreen, et al. re DSM      0.10   1,550.00       $155.00
                             refusal to grant extension.

10/06/2023 HCK       EC      Follow-up with D. Grassgreen, et al. re DSM       0.30   1,550.00       $465.00
                             Section 365(n) response.

10/06/2023 HCK       EC      Memos to / from J. Rosell and D. Choi re          0.20   1,550.00       $310.00
                             DSM / GIV status.
10/06/2023 HCK       EC      Memos to / from A. Skorotensky re Lavvan          0.20   1,550.00       $310.00
                             RCLA license analysis.
10/06/2023 HCK       EC      Memos to / from D. Grassgreen re DSM              0.10   1,550.00       $155.00
                             standstill extension.
10/06/2023 HCK       EC      Further review / outline response to DSM          1.30   1,550.00     $2,015.00
                             Section 365(n) motion.
10/06/2023 HCK       EC      Memos to / from PSZJ internal team re DSM         0.60   1,550.00       $930.00
                             Section 365(n) analysis.
10/06/2023 HCK       EC      Further review / analyze GIV / FIR strain         1.10   1,550.00     $1,705.00
                             escrow agreements and DSM exhibits.
10/06/2023 HCK       EC      Memos to / from G. Glazer re DSM response.        0.10   1,550.00       $155.00
10/06/2023 HCK       EC      Prepare for conference call with K. Novotny       0.20   1,550.00       $310.00
                             and C. Johnson re DSM motion.
10/06/2023 HCK       EC      Conference call with G. Glazer, J. Elkin, K.      1.00   1,550.00     $1,550.00
                             Novotny and C. Johnson re DSM motion and
                             AMRS response.
10/06/2023 HCK       EC      Follow-up with C. Johnson re strain escrow        0.70   1,550.00     $1,085.00
                             reports and JSC / JTC summaries and review
                             molecule chart.
10/06/2023 HCK       EC      Memos to / from K. Novotny re DSM / GIV           0.30   1,550.00       $465.00
                             strain escrow provisions.

10/06/2023 HCK       EC      Memos to / from G. Glazer re Section 365(n)       0.30   1,550.00       $465.00
                             analysis.

10/06/2023 HCK       EC      Telephone call with G. Glazer re Section          0.20   1,550.00       $310.00
                             365(n) analysis for DSM response.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 75 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 74
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/06/2023 HCK       EC      Memos to / from J. Elkin re DSM response            0.30   1,550.00       $465.00
                             and escrow release.

10/06/2023 HCK       EC      Telephone call with J. Rosell re DSM Section        0.10   1,550.00       $155.00
                             365(n) motion.

10/06/2023 IDK       EC      E-mails with D. Grassgreen, others on issues        0.40   1,645.00       $658.00
                             on Emeryville lease, further correspondence
                             from client on economic analysis re same, and
                             need for call tomorrow to discuss options.

10/06/2023 JE        EC      Review 365(n) motion of DSM and certain             1.30   1,450.00     $1,885.00
                             attachments.

10/06/2023 JE        EC      Correspondence with Mr. Kevane regarding            0.20   1,450.00       $290.00
                             DSM issues.

10/06/2023 JE        EC      Review prior research on 365(n) to prepare for      0.70   1,450.00     $1,015.00
                             call.

10/06/2023 JE        EC      Call with Mr. Kevane, Mr. Glazer, Mr.               1.00   1,450.00     $1,450.00
                             Johnson and Ms. Novotny regarding DSM
                             motion.
10/06/2023 JE        EC      Various correspondence with Mr. Kevane and          0.50   1,450.00       $725.00
                             Mr. Glazer regarding interpretation of certain
                             contract provisions.
10/06/2023 JE        EC      Review all contracts attached to DSM motion         3.60   1,450.00     $5,220.00
                             and reread letters and motion to annotate for
                             response.
10/06/2023 RMP       EC      Review and respond to DSM-related issues            0.60   1,895.00     $1,137.00
                             and e-mails.
10/07/2023 GIG       EC      Review multiple emails from H. Kevane, J.           0.50   1,325.00       $662.50
                             Elkin re DSM motion.

10/07/2023 HCK       EC      Further review / analyze DSM Section 365(n)         1.20   1,550.00     $1,860.00
                             motion and research re response and outline
                             issues.
10/07/2023 HCK       EC      Memos to / from J. Elkin re DSM response            0.80   1,550.00     $1,240.00
                             arguments.
10/07/2023 HCK       EC      Memos to / from C. Johnson re molecule chart        0.50   1,550.00       $775.00
                             and edits.
10/07/2023 HCK       EC      Memos to / from D. Grassgreen re DSM                0.10   1,550.00       $155.00
                             response and hearing.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 76 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 75
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/07/2023 HCK       EC      Further memos to / from J. Elkin re DSM              0.30   1,550.00       $465.00
                             response.

10/07/2023 HCK       EC      Memos to / from Committee counsel re DSM             0.10   1,550.00       $155.00
                             Section 365(n) motion.

10/07/2023 IDK       EC      E-mails with R. Pachulski , others re                2.10   1,645.00     $3,454.50
                             upcoming call on lease issues (.1); attend
                             conference call with all professional groups re
                             same (2.0).

10/07/2023 IDK       EC      E-mails with D. Grassgreen re various lease          0.30   1,645.00       $493.50
                             issues re Emeryville (.3).

10/07/2023 JE        EC      Research NY law issues relating to DSM               2.60   1,450.00     $3,770.00
                             365(n) motion.

10/07/2023 JE        EC      Work on draft Objection.                             2.40   1,450.00     $3,480.00
10/07/2023 JE        EC      Miscellaneous correspondence with Mr.                1.00   1,450.00     $1,450.00
                             Kevane, Mr. Johnson and Mr. Glazer
                             regarding section 2.6 of LDRA with DSM.
10/07/2023 JE        EC      Review correspondence from Mr. Johnson and           1.20   1,450.00     $1,740.00
                             Ms. Novotny, including emails from DSM,
                             regarding escrow process and status,
                             negotiations with Givaudan with contract
                             excerpts and Collaboration Agreement.

10/08/2023 GIG       EC      Review emails from H. Kevane, J. Elkin re            0.20   1,325.00       $265.00
                             objection to DSM motion.

10/08/2023 GIG       EC      Review and revise objection to DSM motion.           0.70   1,325.00       $927.50
10/08/2023 GIG       EC      Review multiple emails re johnson                    0.20   1,325.00       $265.00
                             declaration.

10/08/2023 HCK       EC      Memos to / from K. Novotny re GIV revised            0.10   1,550.00       $155.00
                             term sheet.
10/08/2023 HCK       EC      Memos to / from J. Elkin and J. Rosell re            0.30   1,550.00       $465.00
                             DSM response and molecule chart.
10/08/2023 HCK       EC      Conference call with C. Johnson, K. Novotny,         1.00   1,550.00     $1,550.00
                             J. Elkin and J. Rosell re DSM response.
10/08/2023 HCK       EC      Telephone call with J. Rosell re DSM                 0.10   1,550.00       $155.00
                             response.
10/08/2023 HCK       EC      Draft outline of C. Johnson declaration for          0.30   1,550.00       $465.00
                             DSM response.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23      Page 77 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 76
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/08/2023 HCK       EC      Review further memos from C. Johnson re               0.30   1,550.00       $465.00
                             DSM escrow requests.

10/08/2023 HCK       EC      Memos to / from J. Rosell re C. Johnson               0.10   1,550.00       $155.00
                             declaration insert.

10/08/2023 HCK       EC      Memos to / from D. Grassgreen and J. Weber            0.10   1,550.00       $155.00
                             re GIV Rule 2004 request.

10/08/2023 HCK       EC      Draft / revise insert for C. Johnson declaration      1.60   1,550.00     $2,480.00
                             in support of DSM Section 365(n) response.

10/08/2023 HCK       EC      Further follow-up to / from K. Novotny re             0.40   1,550.00       $620.00
                             collaboration agreement terms and GIV
                             escrow amendment.
10/08/2023 HCK       EC      Follow-up with J. Rosell and D. Grassgreen re         0.20   1,550.00       $310.00
                             GIV Section 365(n) demand letter.
10/08/2023 JE        EC      Work on Objection to DSM 365(n) motion.               8.30   1,450.00    $12,035.00
10/08/2023 JE        EC      Call with Mr. Rosell, Mr. Kevane, Mr.                 1.00   1,450.00     $1,450.00
                             Johnson and Ms. Novotny to review factual
                             background of contracts and operations under
                             contract.
10/08/2023 JE        EC      Review draft of Johnson declaration inserts           0.70   1,450.00     $1,015.00
                             and comment on same to Mr. Kevane.
10/08/2023 JE        EC      Correspondence with Ms. Grassgreen                    0.10   1,450.00       $145.00
                             regarding status of DSM standstill agreement.

10/08/2023 JHR       EC      Analyze DSM 365 correspondence                        0.50    995.00        $497.50
10/08/2023 JHR       EC      Conference call with client re: DSM 365               1.00    995.00        $995.00
                             motion

10/08/2023 JHR       EC      Draft Corbin declaration in support of                1.70    995.00      $1,691.50
                             objection to DSM 365 motion

10/09/2023 DG        EC      Review and comment on Givuadan escrow                 0.40   1,550.00       $620.00
                             letter (0.2); review response from C. Johnson
                             re: same (0.2).
10/09/2023 GIG       EC      Review and revise draft objection to DSM              3.40   1,325.00     $4,505.00
                             motion.
10/09/2023 GIG       EC      Exchange multiple emails with J. Elkin, H.            0.20   1,325.00       $265.00
                             Kevane re objection to DSM motion.
10/09/2023 GIG       EC      Review emails from J. Elkin, C. Johnson re            0.10   1,325.00       $132.50
                             declaration in support of DSM objection.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23      Page 78 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 77
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/09/2023 GIG       EC      Review comments from H. Kevane to DSM                 0.30   1,325.00       $397.50
                             objection.

10/09/2023 HCK       EC      Follow-up with Committee re DSM update.               0.10   1,550.00       $155.00
10/09/2023 HCK       EC      Memos to / from J. Elkin, et al. re motion to         0.20   1,550.00       $310.00
                             seal for DSM response.

10/09/2023 HCK       EC      Memos to / from J. Rosell, et al. re draft of C.      0.60   1,550.00       $930.00
                             Johnson markup / comments.

10/09/2023 HCK       EC      Review / revise J. Elkin draft of response to         1.30   1,550.00     $2,015.00
                             DSM motion and circulate markup,

10/09/2023 HCK       EC      Memos to / from D. Grassgreen and J. Rosell           0.10   1,550.00       $155.00
                             re GIV Section 365(n) letter.
10/09/2023 HCK       EC      Memos to / from K. Novotny re timeline for            0.20   1,550.00       $310.00
                             DSM / GIV escrow amendment.
10/09/2023 HCK       EC      Confer with J. Rosell re Committee call re            0.10   1,550.00       $155.00
                             DSM.
10/09/2023 HCK       EC      Confer with J. Rosell re DSM hearing on               0.10   1,550.00       $155.00
                             10/18.
10/09/2023 HCK       EC      Follow-up with J. Elkin re DSM draft                  0.10   1,550.00       $155.00
                             response.
10/09/2023 HCK       EC      Review / edit chart to C. Johnson declaration         0.60   1,550.00       $930.00
                             (molecules) and discuss with J. Rosell.
10/09/2023 HCK       EC      Review K. Novotny timeline re DSM-GIV                 0.80   1,550.00     $1,240.00
                             escrow amendment and draft insert to DSM
                             response.

10/09/2023 HCK       EC      Proof insert to DSM response re GIV escrow            0.10   1,550.00       $155.00
                             amendment.
10/09/2023 HCK       EC      Follow-up with C. Johnson re DSM response.            0.10   1,550.00       $155.00
10/09/2023 HCK       EC      Review K. Novotny comments to DSM insert              0.10   1,550.00       $155.00
                             re GIV escrow amendment.
10/09/2023 HCK       EC      Confer with J. Rosell re his conversation with        0.20   1,550.00       $310.00
                             J. Celentino (DSM).
10/09/2023 HCK       EC      Conference call with J. Rosell and Committee          0.40   1,550.00       $620.00
                             counsel re status of various DSM / GIV
                             matters.

10/09/2023 HCK       EC      Review latest redline of DSM / GIV amended            0.40   1,550.00       $620.00
                             escrow agreement from K. Novotny.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23    Page 79 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 78
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/09/2023 HCK       EC      Revise / edit J. Rosell redraft of C. Johnson       0.80   1,550.00     $1,240.00
                             declaration and circulate to Mr. Johnson for
                             review.
10/09/2023 HCK       EC      Memo from J. Rosell re DSM update.                  0.10   1,550.00       $155.00
10/09/2023 HCK       EC      Memos to / from M. Goldstein re GIV term            0.10   1,550.00       $155.00
                             sheet.
10/09/2023 HCK       EC      Memos to / from H. Kieftenbeld and J.               0.40   1,550.00       $620.00
                             Rosell / D. Grassgreen re DSM / GIV contract
                             discussions.

10/09/2023 HCK       EC      Review C. Johnson edits to revised declaration      0.10   1,550.00       $155.00
                             for DSM.

10/09/2023 HCK       EC      Review G. Glazer comments to draft of DSM           0.20   1,550.00       $310.00
                             365(n) objection.

10/09/2023 JE        EC      Review and comment on draft Johnson                 0.80   1,450.00     $1,160.00
                             Declaration.

10/09/2023 JE        EC      Correspondence with Mr. Corma regarding             0.20   1,450.00       $290.00
                             need for sealing motion.
10/09/2023 JE        EC      Review various correspondence with Mr.              0.50   1,450.00       $725.00
                             Rosell and Mr. Johnson and Ms. Novotny
                             regarding revisions to Johnson Declaration
                             and escrow issue.
10/09/2023 JE        EC      Review comments of Mr. Kevane to draft              0.50   1,450.00       $725.00
                             Objection.
10/09/2023 JE        EC      Review comments of Mr. Glazer on draft              0.40   1,450.00       $580.00
                             Objection.
10/09/2023 JE        EC      Revise objection and redistribute new draft.        5.80   1,450.00     $8,410.00
10/09/2023 JHR       EC      Revise declaration in support of objection to       1.30    995.00      $1,293.50
                             DSM 365 motion
10/09/2023 JHR       EC      Revise molecule chart for objection to DSM          0.50    995.00        $497.50
                             365 motion
10/09/2023 JHR       EC      Call with DSM re: 365(n) motion                     0.50    995.00        $497.50
10/09/2023 JHR       EC      Conference call with H. Kevane and                  0.50    995.00        $497.50
                             Committee re: DSM update
10/09/2023 JHR       EC      Revise declaration ISO objection to DSM 365         0.80    995.00        $796.00
                             motion
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 80 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 79
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/09/2023 JHR       EC      Revise declaration ISO objection to DSM 365          0.40    995.00        $398.00
                             motion and related correspondence with client

10/09/2023 JHR       EC      Analyze revised Givaudan term sheet.                 0.30    995.00        $298.50
10/09/2023 JHR       EC      Analyze DSM 365(n) motion.                           0.70    995.00        $696.50
10/09/2023 SWG       EC      Call with counsel to contract counterparty re:       0.20    895.00        $179.00
                             contract/lease procedures.

10/09/2023 SWG       EC      Call with counsel to WisBio re: termination of       0.30    895.00        $268.50
                             contract

10/10/2023 DG        EC      Review 365 motion response.                          0.70   1,550.00     $1,085.00
10/10/2023 ECO       EC      E-mails with Judith Elkin re 365(n)                  0.20    725.00        $145.00
                             objection/confidential information.

10/10/2023 ECO       EC      Review pleadings/prepare notes re motion to          0.40    725.00        $290.00
                             seal.
10/10/2023 ECO       EC      Prepare motion to seal re Debtors' objection to      1.20    725.00        $870.00
                             365(n) motion by DSM.
10/10/2023 GIG       EC      Review emails from H. Kevane, J. Elkin re            0.20   1,325.00       $265.00
                             objection to DSM motion.
10/10/2023 GIG       EC      Review and revise objection to DSM motion.           2.30   1,325.00     $3,047.50
10/10/2023 GIG       EC      Exchange multiple emails with J. Elkin re            0.40   1,325.00       $530.00
                             objection to DSM motion.
10/10/2023 GIG       EC      Call with J. Rosell re DSM motion.                   0.40   1,325.00       $530.00
10/10/2023 GIG       EC      Review and revise further revised objection to       3.40   1,325.00     $4,505.00
                             DSM motion.
10/10/2023 GIG       EC      Research re section 365(n).                          1.30   1,325.00     $1,722.50
10/10/2023 GIG       EC      Exchange multiple emails with J. Elkin re            0.20   1,325.00       $265.00
                             objection to DSM motion.
10/10/2023 HCK       EC      Memos to / from M. Goldstein, H. Kieftenbeld         0.40   1,550.00       $620.00
                             and K. Novotny re GIV term sheet.
10/10/2023 HCK       EC      Memos to / from J. Elkin re further revised          0.70   1,550.00     $1,085.00
                             draft of DSM objection and briefly review
                             same.
10/10/2023 HCK       EC      Memos to / from J. Rosell and K. Novotny re          0.40   1,550.00       $620.00
                             GIV / DSM escrow arrangements and review
                             markups.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 81 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 80
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/10/2023 HCK       EC      Memos to / from S. Golden re Lavvan RCLA             0.10   1,550.00       $155.00
                             questions to Foris.

10/10/2023 HCK       EC      Memos to / from O. Wright re DSM hearing /           0.10   1,550.00       $155.00
                             testimony.

10/10/2023 HCK       EC      Memos to / from C. Johnson and K. Novotny            0.30   1,550.00       $465.00
                             re edits to Johnson declaration and review.

10/10/2023 HCK       EC      Telephone call with J. Rosell re redraft of          0.40   1,550.00       $620.00
                             DSM response from J. Elkin and follow-up
                             with J. Elkin re markup.
10/10/2023 HCK       EC      Follow-up with J. Rosell / P. Gond re GIV            0.10   1,550.00       $155.00
                             term sheet.
10/10/2023 HCK       EC      Follow-up with J. Rosell re DSM business call        0.30   1,550.00       $465.00
                             (various).
10/10/2023 HCK       EC      Further draft, revise and edit C. Johnson            0.80   1,550.00     $1,240.00
                             declaration in support of DSM response and
                             follow-up with J. Rosell re redline.
10/10/2023 HCK       EC      Review C. Johnson revised markup to                  1.10   1,550.00     $1,705.00
                             declaration and further edit / update same and
                             memos to / from C. Johnson re changes.
10/10/2023 HCK       EC      Memos to / from H. Kieftenbeld re DSM                0.10   1,550.00       $155.00
                             Section 365(n) motion.

10/10/2023 HCK       EC      Further memos to / from J. Elkin, J. Rosell and      0.60   1,550.00       $930.00
                             G. Glazer re further edits to DSM Section
                             365(n) response and review markups.
10/10/2023 HCK       EC      Further review memos from C. Johnson re              0.20   1,550.00       $310.00
                             10/10 JTC meeting with Firmenich.
10/10/2023 JE        EC      Review revised Johnson Declaration.                  0.70   1,450.00     $1,015.00
10/10/2023 JE        EC      Review various correspondence between Mr.            0.20   1,450.00       $290.00
                             Kevane and Ms. Novotny regarding Givaudan
                             issues.

10/10/2023 JE        EC      Correspondence with Mr. Glazer regarding             0.40   1,450.00       $580.00
                             certain issues raised in 365(n) briefing.

10/10/2023 JE        EC      Review and revise Objection to DSM Motion.           3.20   1,450.00     $4,640.00
10/10/2023 JE        EC      Review Collaboration Agreement and escrow            0.80   1,450.00     $1,160.00
                             agreements.
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23    Page 82 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 81
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                                                              Hours      Rate        Amount
10/10/2023 JE        EC      Correspondence with Mr. Kevane, Mr. Glazer        0.50   1,450.00       $725.00
                             and Mr. Rosell regarding language in
                             Collaboration Agreement and escrow
                             agreements.
10/10/2023 JE        EC      Correspondence with Mr. Corma regarding           0.10   1,450.00       $145.00
                             sealing motion.
10/10/2023 JE        EC      Correspondence with Mr. Glazer regarding          0.40   1,450.00       $580.00
                             import of legislative history.

10/10/2023 JHR       EC      Correspondence with client re: DSM 365(n)         0.20    995.00        $199.00
                             motion

10/10/2023 JHR       EC      Conference call with S. Fleming and P. Gund       0.30    995.00        $298.50
                             re: Givaudan issues

10/10/2023 JHR       EC      Correspondence with DSM re: escrow issues         0.30    995.00        $298.50
10/10/2023 JHR       EC      Call with DSM re: 365 motion                      0.20    995.00        $199.00
10/10/2023 JHR       EC      Revise declaration ISO objection to DSM 365       0.30    995.00        $298.50
                             motion

10/10/2023 JHR       EC      Correspondence with PSZJ re: objection to         0.40    995.00        $398.00
                             DSM motion.
10/10/2023 JHR       EC      Analyze draft objection to DSM motion.            0.40    995.00        $398.00
10/10/2023 JHR       EC      Call with Goodwin re: Givaudan term sheet.        0.20    995.00        $199.00
10/10/2023 JHR       EC      Call with G. Glazer re: DSM motion.               0.40    995.00        $398.00
10/10/2023 LHP       EC      Draft COC re motion on assumption,                0.90    545.00        $490.50
                             assumption and assignment, or transfer of
                             contracts and leases and email
                             communication.
10/10/2023 LHP       EC      Draft COC re third omnibus motion re              0.90    545.00        $490.50
                             rejection of contracts and email
                             communication.
10/11/2023 ECO       EC      Review and revise motion to seal and forward      0.20    725.00        $145.00
                             to Judith Elkin.
10/11/2023 ECO       EC      Review third omibus rejection order and           0.20    725.00        $145.00
                             committee comments; revise order and
                             circulate.
10/11/2023 GIG       EC      Review email from S. Golden re deadline to        0.10   1,325.00       $132.50
                             respond to DSM motion.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23    Page 83 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 82
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/11/2023 HCK       EC      Memos to / from J. Elkin, et al. re DSM             0.30   1,550.00       $465.00
                             response and collaboration agreement terms.

10/11/2023 HCK       EC      Review G. Glazer markup to Section 365(n)           0.40   1,550.00       $620.00
                             objection.

10/11/2023 HCK       EC      Follow-up with C. Johnson and H. Keiftenbeld        0.20   1,550.00       $310.00
                             re protocol for escrow materials.

10/11/2023 HCK       EC      Conference call with DSM-Firmenich and              0.80   1,550.00     $1,240.00
                             counsel re Section 365(n) response and
                             molecule escrow update.
10/11/2023 HCK       EC      Debrief call with K. Novotny, J. Rosell and C.      0.30   1,550.00       $465.00
                             Johnson re DSM-Firmench conference call.
10/11/2023 HCK       EC      Memos to / from K. Novotny, et al. re GIV           0.20   1,550.00       $310.00
                             escrow agreement for review of amendments.
10/11/2023 HCK       EC      Memos to / from M. Goldstein, et al. re GIV         0.10   1,550.00       $155.00
                             term sheet.
10/11/2023 HCK       EC      Memos to / from J. Elkin re DSM Section             0.20   1,550.00       $310.00
                             365(n) objection.

10/11/2023 HCK       EC      Memos to / from C. Johnson, et al. re further       0.30   1,550.00       $465.00
                             edits / revisions to declaration in support of
                             DSM response.
10/11/2023 HCK       EC      Follow-up with C. Johnson re strain escrow          0.50   1,550.00       $775.00
                             deposit timing and GIV escrowed strains.
10/11/2023 HCK       EC      Follow-up with Committee counsel re DSM             0.10   1,550.00       $155.00
                             update.
10/11/2023 JE        EC      Review revised Corbin declaration.                  0.30   1,450.00       $435.00
10/11/2023 JE        EC      Review and revise Objection to DSM motion.          3.10   1,450.00     $4,495.00
10/11/2023 JE        EC      Review certain related agreements to                0.50   1,450.00       $725.00
                             incorporate in motion.
10/11/2023 JHR       EC      Prepare for call with DSM.                          0.40    995.00        $398.00
10/11/2023 JHR       EC      Call with DSM re: 365(n) motion.                    0.80    995.00        $796.00
10/11/2023 JHR       EC      Follow-up call with client re: DSM 365(n)           0.30    995.00        $298.50
                             motion.
10/11/2023 JHR       EC      Call with Foris re: Givaudan business issues.       0.20    995.00        $199.00
10/11/2023 JHR       EC      Analyze draft amendment to Givaudan escrow          0.30    995.00        $298.50
                             agreement.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 84 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 83
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/11/2023 JHR       EC      Analyze revised objection to DSM 365(n)              0.70    995.00        $696.50
                             motion.

10/11/2023 JHR       EC      Correspondence with DSM.                             0.30    995.00        $298.50
10/11/2023 JHR       EC      Call with DSM re: 365 motion.                        0.30    995.00        $298.50
10/11/2023 LHP       EC      Prepare COC re contract and procedures               1.00    545.00        $545.00
                             motion and email communications.

10/11/2023 PJJ       EC      Review/revise CNO regarding 3rd rejection            0.30    545.00        $163.50
                             motion.

10/11/2023 PJJ       EC      Review COC regarding contract/lease                  0.30    545.00        $163.50
                             procedures motion.

10/12/2023 DG        EC      Review draft of response to DSM motion to            0.90   1,550.00     $1,395.00
                             compel and provide comments thereto (0.4);
                             emails with J. Rosell and C. Johnson re: same
                             (0.2); call with J. Rosell re: same (0.3).

10/12/2023 GIG       EC      Review further revised objection to DSM              0.20   1,325.00       $265.00
                             motion.

10/12/2023 GIG       EC      Exchange emails with J. Elkin, J. Rosell,            0.30   1,325.00       $397.50
                             client re objection to DSM motion.
10/12/2023 HCK       EC      Review / edit draft of DSM consent stipulation       0.70   1,550.00     $1,085.00
                             from J. Celentino and follow-up re deadlines.
10/12/2023 HCK       EC      Review further comments to DSM response              0.30   1,550.00       $465.00
                             from G. Glazer and J. Elkin.
10/12/2023 HCK       EC      Memos to / from J. Rosell and J. Weber re            0.40   1,550.00       $620.00
                             amendment to GIV escrow agreement and
                             GIV strain deposits.

10/12/2023 HCK       EC      Memos to / from M. Goldstein, et al. re              0.20   1,550.00       $310.00
                             comments to DSM response papers.

10/12/2023 HCK       EC      Follow-up with J. Celentino, et al. re exhibits      0.20   1,550.00       $310.00
                             to proposed DSM stipulation.

10/12/2023 HCK       EC      Numerous memos to / from DSM / GIV                   1.20   1,550.00     $1,860.00
                             counsel and J. Rosell, C. Johnson and K.
                             Novotny re DSM consent order and 10/13
                             filing and review revised drafts / markups.

10/12/2023 JE        EC      Distribute draft objection and declaration to        0.20   1,450.00       $290.00
                             Goodwin.

10/12/2023 JE        EC      Review and revise draft sealing motion.              1.20   1,450.00     $1,740.00
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 85 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 84
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/12/2023 JE        EC      Correspondence with Mr. Rosell regarding             0.20   1,450.00       $290.00
                             sealing motion and discussions with DSM.

10/12/2023 JE        EC      Miscellaneous correspondence with Mr.                0.30   1,450.00       $435.00
                             Rosell and Ms. Grassgreen regarding revisions
                             to Objection to DSM motion and finalization
                             of declaration.
10/12/2023 JE        EC      Review and revise objection and distribute.          2.10   1,450.00     $3,045.00
10/12/2023 JEO       EC      Review revised order and finalize Certification      0.50   1,275.00       $637.50
                             of Counsel Regarding Motion for an Order
                             (A) Approving Procedures Related to the
                             Assumption, Assumption and Assignment, or
                             Transfer of Executory Contracts and
                             Unexpired Leases; and (B) Granting Related
                             Relief

10/12/2023 JHR       EC      Correspondence with DSM and Givaudan re:             0.30    995.00        $298.50
                             escrow agreements.

10/12/2023 JHR       EC      Revise objection to DSM 365(n) motion.               1.10    995.00      $1,094.50
10/12/2023 JHR       EC      Revise Givaudan term sheet and related               0.50    995.00        $497.50
                             correspondence.
10/12/2023 JHR       EC      Revise objection to DSM 365(n) motion.               2.10    995.00      $2,089.50
10/12/2023 LHP       EC      Prepare and file COC on third omnibus                1.50    545.00        $817.50
                             motion re rejection of contracts, present order
                             to court for consideration, and email
                             communications re same.
10/12/2023 LHP       EC      Prepare and file COC on motion to approve            1.50    545.00        $817.50
                             procedures related to contracts and leases,
                             present order to court for consideration, and
                             email communications re same.

10/12/2023 PJJ       EC      Review COCs regarding rejection motion and           0.60    545.00        $327.00
                             rejection procedures motion.
10/12/2023 SWG       EC      Call re: cure schedules with PwC team.               0.30    895.00        $268.50
10/12/2023 SWG       EC      Begin drafting stipulation to reject WisBio          0.30    895.00        $268.50
                             agreement.
10/13/2023 GIG       EC      Review and revise further revised objection to       0.60   1,325.00       $795.00
                             DSM motion.
10/13/2023 GIG       EC      Exchange multiple emails with J. Elkin, J.           0.50   1,325.00       $662.50
                             Rosell, D. Grassgreen, H. Kevane, client re
                             objection to DSM motion.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23      Page 86 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 85
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/13/2023 HCK       EC      Review further revised draft of DSM objection         0.40   1,550.00       $620.00
                             from J. Rosell (10/12 redline).

10/13/2023 HCK       EC      Review / revise latest draft of C. Johnson            0.60   1,550.00       $930.00
                             declaration and memos to / from J. Elkin re
                             revised draft / review markup.
10/13/2023 HCK       EC      Review / edit draft of objection to DSM               1.30   1,550.00     $2,015.00
                             Section 365(n) motion and memos to / from J.
                             Elkin and G. Glazer re comments.

10/13/2023 HCK       EC      Telephone call with J. Rosell re edits to C.          0.20   1,550.00       $310.00
                             Johnson declaration and DSM objection.

10/13/2023 HCK       EC      Further memos to / from J. Rosell, et al. re          0.60   1,550.00       $930.00
                             DSM papers for redaction / filing today.

10/13/2023 HCK       EC      Follow-up with J. Elkin, et al. re further edits      0.60   1,550.00       $930.00
                             to DSM response and C. Johnson declaration.

10/13/2023 HCK       EC      Further review / markup J. Celentino draft of         0.50   1,550.00       $775.00
                             DSM consent order re DSM motion and
                             follow-up with J. Rosell.
10/13/2023 HCK       EC      Memos to / from J. Weber re GIV comments              0.20   1,550.00       $310.00
                             to DSM draft stipulation.
10/13/2023 HCK       EC      Numerous follow-up with C. Johnson re                 0.30   1,550.00       $465.00
                             Firmenich follow-up from 10/10 JTC meeting
                             re strain updates.
10/13/2023 HCK       EC      Numerous memos to / from J. Rosell and J.             0.70   1,550.00     $1,085.00
                             Celentino re DSM response and stipulation.
10/13/2023 JE        EC      Correspondence with Mr. Rosell, Mr. Kevane            0.50   1,450.00       $725.00
                             and Mr. Johnson regarding additional
                             revisions to Objection ad related declaration.

10/13/2023 JE        EC      Review and revise objection and declaration.          2.80   1,450.00     $4,060.00
10/13/2023 JE        EC      Review and revise sealing motion.                     0.30   1,450.00       $435.00
10/13/2023 JE        EC      Correspondence with Mr. O'Neill regarding             0.10   1,450.00       $145.00
                             sealing motion and declaration.

10/13/2023 JE        EC      Review redacted version of objection.                 0.30   1,450.00       $435.00
10/13/2023 JE        EC      Further revisions to Objection, Declaration           3.00   1,450.00     $4,350.00
                             and Sealing Motion based on correspondence
                             with Mr. Johnson, Ms. Grassgreen, Mr. Rosell
                             and Mr. Kevane.

10/13/2023 JE        EC      Prepare redacted Johnson Declaration.                 0.20   1,450.00       $290.00
                Case 23-11131-TMH           Doc 805-2      Filed 12/01/23       Page 87 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 86
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/13/2023 JE        EC      Various correspondence with Mr. O'Neill               0.40   1,450.00       $580.00
                             regarding filing issues.

10/13/2023 JE        EC      Preparation of all pleadings for filing redacted      1.00   1,450.00     $1,450.00
                             and unredacted versions and applicable service
                             versions for counsel for DSM, UCC and
                             Lenders.
10/13/2023 JHR       EC      Revise objection to DSM 365(n) motion.                1.60    995.00      $1,592.00
10/13/2023 JHR       EC      Call with D. Grassgreen re: objection to DSM          0.20    995.00        $199.00
                             365(n) motion.

10/13/2023 JHR       EC      Call with H. Kevane re: objection to DSM              0.30    995.00        $298.50
                             365(n) motion.

10/13/2023 JHR       EC      Analyze proposed revisions to objection to            0.50    995.00        $497.50
                             DSM 365(n) motion.

10/13/2023 JHR       EC      Revise DSM term sheet and related                     0.30    995.00        $298.50
                             correspondence.

10/13/2023 JHR       EC      Analyze revised DSM term sheet and related            0.90    995.00        $895.50
                             correspondence with DSM.
10/13/2023 JHR       EC      Redact objection to DSM 365(n) motion.                1.30    995.00      $1,293.50
10/13/2023 JHR       EC      Correspondence with client and Foris re:              0.50    995.00        $497.50
                             DSM.
10/13/2023 SWG       EC      Draft WisBio rejection stipulation                    0.90    895.00        $805.50
10/14/2023 HCK       EC      Memos to / from J. Celentino and J. Rosell re         0.20   1,550.00       $310.00
                             DSM draft of consent order.
10/14/2023 HCK       EC      Review revised draft of DSM Section 365(n)            0.50   1,550.00       $775.00
                             stipulation from J. Rosell and review
                             comments from C. Johnson.

10/14/2023 HCK       EC      Telephone call with J. Rosell re markup to            0.20   1,550.00       $310.00
                             DSM Section 365(n) stipulation.

10/14/2023 HCK       EC      Review further redline to DSM stipulation             0.10   1,550.00       $155.00
                             from J. Rosell.

10/14/2023 HCK       EC      Review memos to / from J. Celentino, et al. re        0.40   1,550.00       $620.00
                             AMRS markup to DSM stipulation.
10/14/2023 HCK       EC      Memos to / from H. Keiftenbeld, C. Johnson            0.40   1,550.00       $620.00
                             and J. Rosell re DSM strain / molecule escrow
                             and draft stipulation.
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23       Page 88 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 87
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/14/2023 HCK       EC      Follow-up with J. Rosell re DSM conference             0.20   1,550.00       $310.00
                             call re stipulation.

10/14/2023 HCK       EC      Follow-up with C. Johnson re DSM / GIV                 0.10   1,550.00       $155.00
                             escrow deposits.

10/14/2023 HCK       EC      Further review DSM markups / open issues               0.20   1,550.00       $310.00
                             for 10/18 hearing.

10/14/2023 JE        EC      Review proposed stipulation to resolve 365(n)          0.30   1,450.00       $435.00
                             motion of DSM and correspondence regarding
                             revisions to same.
10/14/2023 JHR       EC      Analyze strain escrow requested.                       0.40    995.00        $398.00
10/14/2023 JHR       EC      Revise DSM stipulation.                                1.20    995.00      $1,194.00
10/14/2023 JHR       EC      Revise DSM stipulation and related                     0.50    995.00        $497.50
                             correspondence with H. Kevane and client.
10/14/2023 JHR       EC      Revise DSM stipulation and related                     0.30    995.00        $298.50
                             correspondence with DSM and Givaudan.
10/15/2023 DG        EC      Review and comment on 365(n) stipulation               0.50   1,550.00       $775.00
                             with DSM (0.3); call with J. Rosell re: same
                             (0.2).
10/15/2023 HCK       EC      Memos to / from J. Rosell, et al. re today's call      0.10   1,550.00       $155.00
                             with DSM counsel.
10/15/2023 HCK       EC      Telephone call with J. Rosell re further               0.30   1,550.00       $465.00
                             revisions to Section 365(n) consent order.
10/15/2023 HCK       EC      Memos to / from GIV / DSM counsel re edits             0.30   1,550.00       $465.00
                             to DSM order.
10/15/2023 HCK       EC      Further memos to / from M. Goldstein, et al.           0.80   1,550.00     $1,240.00
                             re DSM consent order re Section 365(n)
                             motion.

10/15/2023 HCK       EC      Memos to / from M. Goldstein, et al. re DSM            0.30   1,550.00       $465.00
                             consent order re Section 365(n) motion.

10/15/2023 HCK       EC      Review further markup to DSM stipulation               0.40   1,550.00       $620.00
                             and follow-up with J. Celentino re same.
10/15/2023 JE        EC      Call with counsel for Givaudan and DSM to              0.50   1,450.00       $725.00
                             discuss resolution of 365(n) motion.
10/15/2023 JE        EC      Review further revisions to stipulation and            0.50   1,450.00       $725.00
                             correspondence regarding revisions.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 89 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 88
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/15/2023 JHR       EC      Call with Givaudan and DSM re: motion to            0.60    995.00        $597.00
                             compel.

10/15/2023 JHR       EC      Correspondence with client and Foris re:            0.20    995.00        $199.00
                             motion to compel.

10/15/2023 JHR       EC      Analyze revised DSM stipulation on motion to        0.50    995.00        $497.50
                             compel and related correspondence with
                             DSM.
10/15/2023 JHR       EC      Call with Kevane re: DSM motion to compel.          0.20    995.00        $199.00
10/15/2023 JHR       EC      Call with Grassgreen re: DSM motion to              0.20    995.00        $199.00
                             compel.
10/15/2023 JHR       EC      Call with DSM counsel re: motion to compel.         0.20    995.00        $199.00
10/15/2023 JHR       EC      Revise stipulation resolving DSM motion to          0.50    995.00        $497.50
                             compel and related correspondence.
10/16/2023 HCK       EC      Memos to / from H. Kieftenbeld, et al. re           0.20   1,550.00       $310.00
                             GIV / DSM ingredients.
10/16/2023 HCK       EC      Conference call with H. Kieftenbeld, C.             0.80   1,550.00     $1,240.00
                             Johnson, M. Goldstein, et al. re DSM
                             stipulation and GIV escrow.
10/16/2023 HCK       EC      Draft / circulate insert to DSM stipulation re      0.70   1,550.00     $1,085.00
                             GIV escrow further amendment and follow-up
                             to / from K. Novotny.
10/16/2023 HCK       EC      Memos to / from J. Rosell and J. Celentino re       0.60   1,550.00       $930.00
                             further edits / revisions to DSM stipulation
                             and review markups.
10/16/2023 HCK       EC      Memos to / from J. O'Neill and J. Elkin re          0.10   1,550.00       $155.00
                             DSM W&E list for 10/18 hearing.
10/16/2023 HCK       EC      Review D. Litz memo re DSM hearing on               0.10   1,550.00       $155.00
                             10/18.
10/16/2023 HCK       EC      Memos to / from J. Celentino and J. Rosell re       0.30   1,550.00       $465.00
                             further insert to stipulation re GIV escrow
                             amendment.

10/16/2023 HCK       EC      Memos to / from C. Johnson and H.                   0.20   1,550.00       $310.00
                             Keiftenbeld re insert to DSM consent order.

10/16/2023 HCK       EC      Review further redline to DSM stipulation and       0.20   1,550.00       $310.00
                             follow-up with C. Johnson re escrow exhibit.

10/16/2023 HCK       EC      Memos to / from J. Weber (GIV) re DSM               0.10   1,550.00       $155.00
                             stipulation and updated molecule deposits.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 90 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 89
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/16/2023 HCK       EC      Follow-up with J. Celentino and J. Weber re          0.30   1,550.00       $465.00
                             final changes to DSM stipulation and order.

10/16/2023 HCK       EC      Finalize escrow deposits exhibit to DSM              0.20   1,550.00       $310.00
                             stipulated order (GIV / DSM TTDs).

10/16/2023 HCK       EC      Follow-up with J. Celentino and J. Weber re          0.40   1,550.00       $620.00
                             DSM stipulated order for signature and filing.

10/16/2023 HCK       EC      Review markups to GIV escrow amendment               0.20   1,550.00       $310.00
                             from K. Novotny.

10/16/2023 JE        EC      Miscellaneous correspondence with counsel            0.30   1,450.00       $435.00
                             for Givaudan and DSM regarding stipulation.
10/16/2023 JE        EC      Correspondence with Mr. O'Neill and Mr.              0.20   1,450.00       $290.00
                             Rosell regarding W&E list.
10/16/2023 JE        EC      Additional correspondence regarding                  0.30   1,450.00       $435.00
                             settlement.
10/16/2023 JE        EC      Review revised stipulation.                          0.20   1,450.00       $290.00
10/16/2023 JHR       EC      Revise DSM stipulation on motion to compel           0.50    995.00        $497.50
                             and related correspondence
10/16/2023 JHR       EC      Revise exhibits to DSM stipulation on motion         0.50    995.00        $497.50
                             to compel
10/16/2023 JHR       EC      Analyze contract assumption procedures               0.30    995.00        $298.50
10/16/2023 JHR       EC      Conference call with client re: DSM motion to        0.90    995.00        $895.50
                             compel.
10/16/2023 JHR       EC      Correspondence with client re: DSM Motion            0.30    995.00        $298.50
                             to compel.
10/16/2023 SWG       EC      Continue drafting WisBio rejection stipulation.      1.20    895.00      $1,074.00
10/17/2023 DG        EC      Call with P. Gund, R. Pachulski, and L. Beers        0.60   1,550.00       $930.00
                             re: contract issues.
10/17/2023 DG        EC      Review final DSM stipulation on escrows.             0.20   1,550.00       $310.00
10/17/2023 HCK       EC      Various memos to / from Committee counsel            0.10   1,550.00       $155.00
                             re DSM update.

10/17/2023 HCK       EC      Memos to / from J. Celentino and J. Rosell re        0.30   1,550.00       $465.00
                             revised form of DSM stipulation and review
                             same.
10/17/2023 HCK       EC      Memos to / from C. Johnson and J. Weber re           0.20   1,550.00       $310.00
                             GIV escrow deposits.
                 Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 91 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 90
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/17/2023 HCK       EC      Memos to / from C. Johnson and J. Rosell re         0.40   1,550.00       $620.00
                             GIV escrow deposits and review memos.

10/17/2023 HCK       EC      Further follow-up with GIV / DSM counsel re         0.50   1,550.00       $775.00
                             final approval and filing of DSM stipulation.

10/17/2023 HCK       EC      Further review GIV escrow agreement                 0.70   1,550.00     $1,085.00
                             markups and collaboration agreement for
                             DSM deliverables.
10/17/2023 HCK       EC      Further memos to / from J. Rosell, et al. re        0.20   1,550.00       $310.00
                             DSM / GIV escrow stipulation.
10/17/2023 HCK       EC      Review latest draft of term sheets for DSM /        0.70   1,550.00     $1,085.00
                             GIV amendment.
10/17/2023 JE        EC      Miscellaneous correspondence with counsel           0.40   1,450.00       $580.00
                             for Givaudan and DSM regarding stipulation
                             and finalization of exhibit B to stipulation.

10/17/2023 JEO       EC      Review and finalize 365 extension motion            0.80   1,275.00     $1,020.00
10/17/2023 JEO       EC      Review emails and work on stipulation               1.70   1,275.00     $2,167.50
                             resolving DSM Motion
10/17/2023 JHR       EC      Revise Exhibit B to DSM stipulation on              0.20    995.00        $199.00
                             motion to compel
10/17/2023 LHP       EC      Work on notice/motion regarding 365                 1.90    545.00      $1,035.50
                             extension, enter motion into court record, and
                             coordinate service.

10/17/2023 PJJ       EC      Review 365(d)(4) extension motion.                  0.20    545.00        $109.00
10/17/2023 RMP       EC      Conference call with PG, D. Grassgreen and          0.60   1,895.00     $1,137.00
                             LB re contract issues.

10/17/2023 SWG       EC      Call with D. Choi, E. Dreyer, and S. Fleming        0.50    895.00        $447.50
                             re: issues with contract counterparty.

10/18/2023 HCK       EC      Review DSM stipulation entered by Court and         0.30   1,550.00       $465.00
                             follow-up with K. Novotny re same.

10/18/2023 HCK       EC      Confer with J. Rosell re GIV / DSM escrow           0.10   1,550.00       $155.00
                             amendments.
10/18/2023 HCK       EC      Memos to / from K. Novotny re GIV / DSM             0.20   1,550.00       $310.00
                             escrow amendments.
10/18/2023 JEO       EC      Call with PWC team to go over contract cures        0.70   1,275.00       $892.50
10/18/2023 JEO       EC      Review contract cure list                           1.40   1,275.00     $1,785.00
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23     Page 92 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 91
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/18/2023 JEO       EC      Review updated cure list                             0.90   1,275.00     $1,147.50
10/18/2023 JHR       EC      Analyze IP escrow release conditions                 0.50    995.00        $497.50
10/18/2023 SWG       EC      Review WeMedia/SuperOrdinary agreements              0.60    895.00        $537.00
10/18/2023 SWG       EC      Call with PSZJ and PwC teams re: Cure List           0.60    895.00        $537.00
10/18/2023 SWG       EC      Review and edit cure schedule.                       0.40    895.00        $358.00
10/19/2023 HCK       EC      Follow-up with K. Novotny, J. Rosell, et al. re      0.30   1,550.00       $465.00
                             DSM/FIR/GIV escrow amendments.

10/19/2023 HCK       EC      Review J. Celentino memo with draft of DSM           0.40   1,550.00       $620.00
                             amendment and review K. Novotny
                             comments.
10/19/2023 JEO       EC      Review and finalize notice of Contract Cures         2.80   1,275.00     $3,570.00
                             and coordinate filing and service
10/19/2023 JHR       EC      Correspondence with client re: status of             0.30    995.00        $298.50
                             escrow agreement amendments
10/19/2023 JHR       EC      Analyze draft amendment to Firmenich                 0.30    995.00        $298.50
                             escrow agreement
10/19/2023 SWG       EC      Comprehensive review of cure schedule.               2.50    895.00      $2,237.50
10/20/2023 HCK       EC      Memos to/from K. Novotny and J. Rosell re            0.60   1,550.00       $930.00
                             amendment to DSM escrow agreement and
                             review markups.

10/20/2023 HCK       EC      Call with J. Rosell re DSM/FIR escrow.               0.10   1,550.00       $155.00
10/20/2023 HCK       EC      Further memos to/from K. Novotny and J.              0.30   1,550.00       $465.00
                             Rosell re DSM/FIR escrow amendment.
10/20/2023 HCK       EC      Memos to/from C. Johnson, et al. re DSM              0.40   1,550.00       $620.00
                             escrow amendment and follow-up with J.
                             Rosell re markup to Mr. Celentino.
10/20/2023 HCK       EC      Further follow-up with J. Rosell, et al. re          0.30   1,550.00       $465.00
                             DSM/FIR/GIV escrow amendments.

10/20/2023 JEO       EC      Review and finalize 4th motion to reject             0.80   1,275.00     $1,020.00
                             executory contracts and coordiante filing and
                             service
10/20/2023 JHR       EC      Revise Firmenich escrow agreement                    0.50    995.00        $497.50
                             amendment
10/20/2023 SWG       EC      Draft fourth omnibus rejection motion.               0.30    895.00        $268.50
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23     Page 93 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 92
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/20/2023 SWG       EC      Edit Fourth Omnibus Contract Rejection             0.40    895.00        $358.00
                             Motion

10/22/2023 HCK       EC      Memos to/from J. Rosell and J. Celentino re        0.60   1,550.00       $930.00
                             further markup to DSM/FIR escrow
                             amendment and follow-up with K. Novotny.
10/22/2023 HCK       EC      Follow-up with H. Kieftenbeld and C. Johnson       0.10   1,550.00       $155.00
                             re DSM markup to FIR escrow amendment.
10/22/2023 JHR       EC      Analyze revised Firmenich escrow agreement.        0.20    995.00        $199.00
10/23/2023 HCK       EC      Review markup to GIV / DSM escrow                  0.20   1,550.00       $310.00
                             agreement from L. Luo.
10/23/2023 HCK       EC      Follow-up with J. Rosell re DSM / FIR escrow       0.10   1,550.00       $155.00
                             amendment.
10/23/2023 HCK       EC      Review K. Novotny comments to DSM / FIR            0.40   1,550.00       $620.00
                             escrow amendment and follow-up with J.
                             Rosell and J. Celentino.

10/23/2023 HCK       EC      Review L. Dominic memos re DSM adequate            0.20   1,550.00       $310.00
                             protection comments and follow-up with J.
                             Celentino.
10/23/2023 HCK       EC      Numerous memos to / from J. Celentino, J.          0.30   1,550.00       $465.00
                             Rosell and M. Goldstein re DSM escrow
                             amendments.
10/23/2023 HCK       EC      Memos to / from M. Goldstein and J. Rosell re      0.20   1,550.00       $310.00
                             DSM / GIV escrow amendment.
10/23/2023 HCK       EC      Memos to / from J. Rosell re DSM / FIR             0.10   1,550.00       $155.00
                             escrow protocols.
10/23/2023 HCK       EC      Numerous memos to / from J. Celentino and J.       0.40   1,550.00       $620.00
                             Rosell re further markup to DSM / FIR escrow
                             amendment.

10/23/2023 JHR       EC      Revise Firmenich escrow agreement and              0.50    995.00        $497.50
                             related correspondence with client and DSM-
                             Firmenich
10/23/2023 JHR       EC      Review Givaudan revisions to escrow                0.30    995.00        $298.50
                             agreement and related correspondence with
                             client

10/23/2023 JHR       EC      Analyze Givaudan collaboration agreement           0.50    995.00        $497.50
                             and related correspondence with Foris

10/23/2023 JHR       EC      Analyze revised Firmenich escrow agreement         0.40    995.00        $398.00
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23    Page 94 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 93
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/23/2023 JHR       EC      Conference call with client re: Firmenich           0.50    995.00        $497.50
                             Escrow Agreement.

10/23/2023 JHR       EC      Conference call with DSM re: Firmenich              0.50    995.00        $497.50
                             Escrow Agreement.

10/23/2023 JHR       EC      Analyze revised Firmenich escrow agreement          0.40    995.00        $398.00
                             and related correspondence with DSM and
                             client
10/23/2023 JHR       EC      Analyze revised Firmenich escrow agreement          0.40    995.00        $398.00
                             and related correspondence with client.
10/24/2023 HCK       EC      Further memos to / from J. Rosell et al. re         0.20   1,550.00       $310.00
                             DSM / FIR / GIV escrow amendments.
10/24/2023 HCK       EC      Review further markup to DSM / FIR escrow           0.10   1,550.00       $155.00
                             amendment from J. Celentino.
10/24/2023 HCK       EC      Memos to / from J. Rosell and J. Celentino          0.20   1,550.00       $310.00
                             with further markup to DSM / FIR escrow
                             amendment.
10/24/2023 JHR       EC      Call with DSM counsel re: Firmenich escrow          0.20    995.00        $199.00
                             agreement
10/24/2023 JHR       EC      Analyze revised Givaudan escrow agreement           0.90    995.00        $895.50
10/24/2023 JHR       EC      Conference call with client re: Givaudan            1.20    995.00      $1,194.00
                             escrow agreement
10/24/2023 JHR       EC      Revise Firmenich escrow agreement and               0.30    995.00        $298.50
                             related correspondence with DSM
10/24/2023 SWG       EC      Participate in contract call with PwC team and      0.30    895.00        $268.50
                             client.
10/25/2023 HCK       EC      Further memos to / from J. Celentino and C.         0.30   1,550.00       $465.00
                             Johnson re final changes to DSM / FIR escrow
                             amendment.

10/25/2023 HCK       EC      Memos to / from C. Johnson re escrow                0.10   1,550.00       $155.00
                             deposits.
10/25/2023 HCK       EC      Memos to / from J. Rosell and K. Novotny re         0.10   1,550.00       $155.00
                             final DSM / FIR escrow amendment for
                             execution.
10/25/2023 HCK       EC      Further memos re DSM / GIV escrow                   0.20   1,550.00       $310.00
                             amendment.
10/25/2023 JHR       EC      Revise Firmenich escrow agreement and               0.40    995.00        $398.00
                             related correspondence with client and Foris
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 95 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 94
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/25/2023 JHR       EC      Call with DSM re: Firmenich escrow                   0.20    995.00        $199.00
                             agreement

10/25/2023 SWG       EC      Call with counsel to WeMedia re: potential           0.50    895.00        $447.50
                             cure objection.

10/25/2023 SWG       EC      Call with contract counterparty re: negotiation      0.50    895.00        $447.50
                             over terms

10/25/2023 SWG       EC      Call with contract counterparty                      0.30    895.00        $268.50
10/26/2023 DG        EC      Review DSM markup of Term Sheet (.3);                0.40   1,550.00       $620.00
                             review emails from Corbin re: same (.1);
                             review response from J. Rosell and K.
                             Novotny re: same (.1); email from H.
                             Kieftenbeld re: comments to same (.1).
10/26/2023 HCK       EC      Memos to/from J. Weber/K. Novotny et al. re          0.20   1,550.00       $310.00
                             DSM/GIV escrow amendment.
10/26/2023 HCK       EC      Review markup to DSM term sheet and                  0.20   1,550.00       $310.00
                             comments from K. Novotny and C. Johnson.
10/26/2023 JHR       EC      Analyze revised DSM-Firmenich term sheet             0.70    995.00        $696.50
10/26/2023 RMP       EC      Review and analyze DSM term sheet.                   0.40   1,895.00       $758.00
10/26/2023 RMP       EC      Review client issues with DSM term sheet.            0.10   1,895.00       $189.50
10/27/2023 DG        EC      Review correspondence from M. Goldstein              0.30   1,550.00       $465.00
                             and C. Johnson re: DSM Term Sheet issues
                             (.2); review H. Kieftenbeld responses to same
                             (.1).
10/27/2023 HCK       EC      Memos to / from group re revised DSM term            0.30   1,550.00       $465.00
                             sheet and comments / markup to same.
10/27/2023 JHR       EC      Call with M. Goldstein re: DSM-Firmenich             0.20    995.00        $199.00
                             discussions
10/27/2023 JHR       EC      Correspondence with client and DSM-                  0.20    995.00        $199.00
                             Firmenich re: term sheet meeting.
10/27/2023 RMP       EC      Review DSM-related e-mails.                          0.20   1,895.00       $379.00
10/27/2023 SWG       EC      Call with counsel to WisBio re: stipulation.         0.30    895.00        $268.50
10/27/2023 SWG       EC      Draft stipulation regarding assumption of            0.40    895.00        $358.00
                             agreement with JCI and Moore.

10/29/2023 JHR       EC      Analyze correspondence with Givaudan re:             0.30    995.00        $298.50
                             business terms
                Case 23-11131-TMH           Doc 805-2       Filed 12/01/23      Page 96 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 95
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/29/2023 JHR       EC      Analyze correspondence with DSM-Firmenich             0.30    995.00        $298.50
                             re: escrowed materials

10/30/2023 HCK       EC      Memos to/from group re DSM/FIR term sheet             0.30   1,550.00       $465.00
                             (various).

10/30/2023 HCK       EC      Follow up with K. Novotny and J. Rosell re            0.20   1,550.00       $310.00
                             DSM/GIV escrow amendments.

10/30/2023 HCK       EC      Briefly review K. Novotny markup to DSM               0.10   1,550.00       $155.00
                             term sheet.

10/30/2023 JEO       EC      Review status of 4th rejection motion and             0.40   1,275.00       $510.00
                             approve CNO for filing
10/30/2023 JHR       EC      Conference call with DSM-Firmenich and                0.20    995.00        $199.00
                             SciSafe
10/30/2023 JHR       EC      Revise Givaudan escrow agreement                      0.60    995.00        $597.00
10/30/2023 JHR       EC      Analyze revised DSM term sheet.                       0.40    995.00        $398.00
10/30/2023 JHR       EC      Analyze stipulation resolving cure amount for         0.20    995.00        $199.00
                             photography services
10/30/2023 LHP       EC      Draft CNO regarding fourth omnibus motion             0.80    545.00        $436.00
                             regarding rejection of executory contracts and
                             email communications regarding same.

10/30/2023 LHP       EC      Enter CNO on fourth omnibus motion re                 0.70    545.00        $381.50
                             rejection of executory contracts into court
                             record, present order to court for
                             consideration, and email communications
                             regarding same.
10/30/2023 SWG       EC      Finalize stipulation to assume agreements re:         0.30    895.00        $268.50
                             JCI
10/30/2023 SWG       EC      Draft and send email to various case parties re:      0.20    895.00        $179.00
                             assumption stipulation
10/30/2023 SWG       EC      Draft and send email to client (including             0.30    895.00        $268.50
                             performing brief research) re: WisBio
                             rejection stipulation and position.

10/30/2023 SWG       EC      Call with counterparty to executory contract.         0.10    895.00            $89.50
10/31/2023 DG        EC      Review correspondence from Doris Choi re:             0.20   1,550.00       $310.00
                             termination of IFF contract and response
                             thereto.
                Case 23-11131-TMH           Doc 805-2        Filed 12/01/23   Page 97 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 96
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/31/2023 ECO       EC      Conference call with Steven Golden/PwC re           0.40    725.00        $290.00
                             discussion of contract cure issues/update on
                             discussions with counterparties.
10/31/2023 HCK       EC      Various follow-up re DSM/GIV escrow                 0.30   1,550.00       $465.00
                             amendment and review K. Novotny markup.
10/31/2023 HCK       EC      Review executed DSM/FIR escrow                      0.10   1,550.00       $155.00
                             amendment.
10/31/2023 HCK       EC      Further memos to/from K. Novotny, J. Rosell         0.40   1,550.00       $620.00
                             and C. Johnson re DSM term sheet and GIV
                             escrow amendment.

10/31/2023 HCK       EC      Memo from D. Choi re IFF notice of                  0.80   1,550.00     $1,240.00
                             termination and review background
                             documents.
10/31/2023 HCK       EC      Follow up with S. Golden and H. Kieftenbeld         0.10   1,550.00       $155.00
                             re IFF notice
10/31/2023 HCK       EC      Memos to/from J. Rosell and J. Weber re             0.20   1,550.00       $310.00
                             DSM/GIV escrow amendment.
10/31/2023 HCK       EC      Review markup to DSM term sheet.                    0.10   1,550.00       $155.00
10/31/2023 JEO       EC      Review and finalize Certification of Counsel        0.80   1,275.00     $1,020.00
                             Regarding Assumption of Executory Contracts
                             with Judy Casey, Inc. and Settlement of
                             Claims with Heather Moore
10/31/2023 JHR       EC      Analyze revisions to DSM-Firmenich term             0.90    995.00        $895.50
                             sheet
10/31/2023 JHR       EC      Conference call with Amyris and Foris re:           0.80    995.00        $796.00
                             DSM-Firmenich term sheet
10/31/2023 JHR       EC      Revise amendment to Givaudan escrow                 0.30    995.00        $298.50
                             agreement and related correspondencen with
                             Givaudan
10/31/2023 LHP       EC      Draft COC on motion to extend deadline to           1.30    545.00        $708.50
                             assume or reject unexpired leases, prepare
                             exhibits, and email communications regarding
                             same.
10/31/2023 SWG       EC      Receive and respond to informal cure                0.20    895.00        $179.00
                             objections
10/31/2023 SWG       EC      Participate in call re: cure objections             0.50    895.00        $447.50
                 Case 23-11131-TMH          Doc 805-2          Filed 12/01/23   Page 98 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 97
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/31/2023 SWG       EC      Receive and respond to informal cure                  0.70    895.00        $626.50
                             objections.

                                                                                 243.60              $315,067.00

Financial Filings
10/02/2023 JEO       FF      Review and finalize amended monthly                   1.50   1,275.00     $1,912.50
                             operating reports

10/02/2023 PJJ       FF      Prepare for and file amended MORs.                    0.60    545.00        $327.00
                                                                                   2.10                $2,239.50

Financing/Cash Collateral/Cash Management
10/01/2023 AJK       FN      Prepare for Gaul deposition.                          5.50   1,675.00     $9,212.50
10/01/2023 BEL       FN      Emails regarding exhibit lists.                       0.40   1,095.00       $438.00
10/01/2023 BEL       FN      Review and revise exhibit lists.                      2.30   1,095.00     $2,518.50
10/01/2023 DG        FN      Call with PSZJ and Foris Team re: Lavvan              0.50   1,550.00       $775.00
                             Prep of brief and hearing slides.

10/01/2023 DG        FN      Review Briefs, research and work on                   3.00   1,550.00     $4,650.00
                             summaries of issues and outlines of hearing
                             evidence, closing and depositions.
10/01/2023 ECO       FN      Telephone conference with Henry Kevane re             0.20    725.00        $145.00
                             issues for research on DIP reply.
10/01/2023 ECO       FN      Followup e-mails with Debra                           0.10    725.00            $72.50
                             Grassgreen/Henry Kevane re research issues.
10/01/2023 ECO       FN      Conduct legal research re issues on                   2.30    725.00      $1,667.50
                             subordination agreements/California law.
10/01/2023 HCK       FN      Draft reply to Lavvan brief and research re           4.60   1,550.00     $7,130.00
                             selected topics.

10/01/2023 HCK       FN      Telephone call with J. Rosell re Lavvan brief         0.10   1,550.00       $155.00
                             and 10/4 hearing preparation.

10/01/2023 HCK       FN      Memos to / from D. Grassgreen re Lavvan               0.40   1,550.00       $620.00
                             reply research and follow-up with J. Elkin.

10/01/2023 HCK       FN      Telephone call with E. Corma re Lavvan                0.20   1,550.00       $310.00
                             research for reply brief.

10/01/2023 HCK       FN      Review draft of motion to quash Doerr                 0.10   1,550.00       $155.00
                             deposition from A. Nicas.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 99 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 98
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/01/2023 HCK       FN      Telephone call with D. Grassgreen re Lavvan          0.10   1,550.00       $155.00
                             adequate protection argument.

10/01/2023 HCK       FN      Memos to / from J. Elkin re model                    0.20   1,550.00       $310.00
                             intercreditor agreement research and insert.

10/01/2023 HCK       FN      Telephone call with A. Skorotensky and               0.20   1,550.00       $310.00
                             follow-up with Mr. Skorotensky re reply brief.

10/01/2023 HCK       FN      Memos to / from D. Grassgreen re reply brief         0.10   1,550.00       $155.00
                             to Lavvan.

10/01/2023 HCK       FN      Further memos to / from J. Elkin and D.              0.40   1,550.00       $620.00
                             Grassgreen re model intercreditor agreement
                             analysis and insert to reply brief.
10/01/2023 HCK       FN      Follow-up with A. Nicas and A. Skorotensky           0.30   1,550.00       $465.00
                             re allocation of reply brief.
10/01/2023 IMP       FN      Review e-mail from D. Grassgreen.                    0.10   1,995.00       $199.50
10/01/2023 IMP       FN      Review and edit draft language for reply brief.      0.40   1,995.00       $798.00
10/01/2023 IMP       FN      Exchange e-mails with D. Grassgreen re issues        0.20   1,995.00       $399.00
                             re adequate protection.
10/01/2023 IMP       FN      Review additional e-mail from D. Grassgreen.         0.10   1,995.00       $199.50
10/01/2023 JE        FN      Correspondence with Mr. Kevane and Ms.               0.40   1,450.00       $580.00
                             Grassgreen regarding response to Lavvan DIP
                             objection.
10/01/2023 JE        FN      Review Lavvan objection and various                  2.60   1,450.00     $3,770.00
                             attachments including subordination
                             agreement, various credit documents and ABA
                             Model Intercreditor Agreement.
10/01/2023 JE        FN      Research issues relating to ABA Model                1.80   1,450.00     $2,610.00
                             Intercreditor Agreement, review certain case
                             law and prepare brief insert.
10/01/2023 JE        FN      Various correspondence with Ms. Grassgreen           0.60   1,450.00       $870.00
                             regarding various provisions of subordination
                             agreement, consent and implied consent and
                             364(d).
10/01/2023 PJJ       FN      Revise W/E list for contested DIP hearing            4.60    545.00      $2,507.00
10/01/2023 PJJ       FN      Draft Agenda for contested DIP hearing.              0.60    545.00        $327.00
10/01/2023 RMP       FN      Conference call with Foris re Lavvan issues.         0.40   1,895.00       $758.00
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 100 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 99
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/01/2023 RMP       FN      Telephone conference with Committee                0.30   1,895.00       $568.50
                             counsel re Lavvan issues.

10/01/2023 SWG       FN      Draft joinder in Motion to Quash Doerr depo        0.70    895.00        $626.50
                             notice

10/01/2023 SWG       FN      Participate in call with DIP Lenders' and          0.50    895.00        $447.50
                             Debtors' counsel re: Lavvan replies.

10/02/2023 AJK       FN      Prepare for Gaul deposition.                       4.20   1,675.00     $7,035.00
10/02/2023 AJK       FN      Conduct Gaul deposition.                           5.00   1,675.00     $8,375.00
10/02/2023 AJK       FN      Prepare for DIP trial.                             8.80   1,675.00    $14,740.00
10/02/2023 BEL       FN      Work on Debtors' exhibit lists.                    3.90   1,095.00     $4,270.50
10/02/2023 BEL       FN      Attend Gaul deposition.                            5.20   1,095.00     $5,694.00
10/02/2023 BEL       FN      Prepare for DIP trial.                             4.50   1,095.00     $4,927.50
10/02/2023 BEL       FN      Draft comments regarding adverse inference         0.40   1,095.00       $438.00
                             section of reply brief.

10/02/2023 CJB       FN      Prepare exhibit binders for contested DIP          1.50    425.00        $637.50
                             hearing.
10/02/2023 DG        FN      Confer with A. Kornfeld re: Gaul Depo (0.7);       7.20   1,550.00    $11,160.00
                             attend Gaul Depo (6.0); confer with A.
                             Kornfeld and T. Martens re: same (0.5).
10/02/2023 DG        FN      Review and provide comments to final joint         7.50   1,550.00    $11,625.00
                             brief (0.7); review and analyze reply brief
                             from Lavvan (2.3); review caselaw and
                             prepare for contested hearing (4.5).
10/02/2023 ECO       FN      Continue research on subordination                 0.90    725.00        $652.50
                             agreements/prepare sections of argument for
                             DIP response.
10/02/2023 ECO       FN      Prepare e-mail to Henry Kevane with research       0.10    725.00            $72.50
                             notes/sections for reply.
10/02/2023 ECO       FN      Followup e-mails with Henry Kevane re              0.20    725.00        $145.00
                             research issues.
10/02/2023 ECO       FN      E-mails with Debra Grassgreen/review and           0.20    725.00        $145.00
                             organize cases for DIP response/argument.
10/02/2023 ECO       FN      Telephone conference with Henry Kevane re          0.20    725.00        $145.00
                             followup discussion on argument for reply.
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23      Page 101 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 100
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/02/2023 ECO       FN      Review case law re subordination issues and           0.60    725.00        $435.00
                             prepare additional section for DIP response.

10/02/2023 ECO       FN      Prepare e-mail to Henry Kevane with                   0.10    725.00            $72.50
                             additional notes/argument on subordination
                             issues.
10/02/2023 GIG       FN      Review Lavvan financing opposition brief.             0.60   1,325.00       $795.00
10/02/2023 HCK       FN      Attend deposition of M. Gaul by A. Kornfeld           0.80   1,550.00     $1,240.00
                             (morning session).
10/02/2023 HCK       FN      Memos to / from B. Levine re W+E list for             0.20   1,550.00       $310.00
                             10/4 hearing and review same.
10/02/2023 HCK       FN      Further draft / revise reply brief for Lavvan         1.60   1,550.00     $2,480.00
                             dispute and circulate for internal review.
10/02/2023 HCK       FN      Memos to / from E. Corma re research inserts          0.30   1,550.00       $465.00
                             to Lavvan reply brief.
10/02/2023 HCK       FN      Telephone call with E. Corma re further               0.20   1,550.00       $310.00
                             research for Lavvan reply.
10/02/2023 HCK       FN      Memos to / from A. Skorostensky re Lavvan             0.10   1,550.00       $155.00
                             joint reply.

10/02/2023 HCK       FN      Attend resumed deposition of M. Gaul                  0.70   1,550.00     $1,085.00
                             (afternoon session).

10/02/2023 HCK       FN      Further draft, revise and edit inserts to Lavvan      1.30   1,550.00     $2,015.00
                             reply brief for Mr. Skorostensky.

10/02/2023 HCK       FN      Memos to / from D. Grassgreen and D. Choi             0.50   1,550.00       $775.00
                             re CSA analysis for Lavvan reply.

10/02/2023 HCK       FN      Review further research for Lavvan reply              0.20   1,550.00       $310.00
                             insert from E. Corma and integrate to Lavvan
                             reply.
10/02/2023 HCK       FN      Continue to draft sections of Lavvan reply            0.60   1,550.00       $930.00
                             brief re adequate protection.
10/02/2023 HCK       FN      Further review AB CSA for Lavvan reply brief          0.40   1,550.00       $620.00
                             and follow-up with D. Grassgreen re footnote.

10/02/2023 HCK       FN      Further memos to / from A. Nicas re                   0.30   1,550.00       $465.00
                             additional research edits to joint reply brief.

10/02/2023 HCK       FN      Review research input from A. Skorostensky            0.50   1,550.00       $775.00
                             and revise reply brief inserts accordingly.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 102 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 101
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/02/2023 HCK       FN      Memos to / from I. Pachulski re comments to         0.90   1,550.00     $1,395.00
                             Lavvan reply brief and revise accordingly.

10/02/2023 HCK       FN      Memos to / from A. Nicas re Debtors' inserts        0.20   1,550.00       $310.00
                             to joint reply brief.

10/02/2023 HCK       FN      Review additional cases for Lavvan reply            0.30   1,550.00       $465.00
                             from J. Elkin and edit brief accordingly.

10/02/2023 HCK       FN      Review consolidated joint reply brief for           0.90   1,550.00     $1,395.00
                             Lavvan from A. Nicas and circulate comments
                             to Mr. Nicas and D. Grassgreen, et al.
10/02/2023 IMP       FN      Review, edit and comment on portions of draft       2.60   1,995.00     $5,187.00
                             Reply Brief.
10/02/2023 IMP       FN      Telephone conference with D. Grassgreen.            0.10   1,995.00       $199.50
10/02/2023 JE        FN      Prepare excerpts from certain cases for             1.00   1,450.00     $1,450.00
                             inclusion in presentation materials for
                             argument on final DIP.

10/02/2023 JE        FN      Research issues relating to waiver, consent         7.40   1,450.00    $10,730.00
                             and adequate protection.
10/02/2023 JE        FN      Various correspondence with Ms. Grassgreen          0.40   1,450.00       $580.00
                             and Mr. Golden regarding hearing on DIP.
10/02/2023 JE        FN      Review briefing of debtor, lenders and Lavvan       1.60   1,450.00     $2,320.00
                             regarding final DIP hearing.
10/02/2023 JEO       FN      Finalize witness and exhibit list for 10/4          0.60   1,275.00       $765.00
                             hearing
10/02/2023 JEO       FN      Review status of matters scheduled for 10/4         2.00   1,275.00     $2,550.00
                             hearing and finalize hearing agenda
10/02/2023 JEO       FN      Review Lavvan Exhibit List                          0.60   1,275.00       $765.00
10/02/2023 LHP       FN      Attend virtual deposition of Michael Gaul           6.70    545.00      $3,651.50
                             (6.3); enter joinder in motion to quash
                             Lavvan's notice of deposition of John Doerr
                             into court record (.2); register for Zoom
                             attendance at hearings set for October 3 and 4
                             (.2)
10/02/2023 MBL       FN      Emails with team re amended second interim          0.20   1,445.00       $289.00
                             DIP order and proposed final DIP order.
10/02/2023 MBL       FN      Review third DIP amendment and revised              0.50   1,445.00       $722.50
                             final DIP order; coordinate with team and
                             client re same; review redlines.
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 103 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 102
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/02/2023 PJJ       FN      Revise W/E list.                                    1.00    545.00        $545.00
10/02/2023 PJJ       FN      Assist at expert deposition (Gaul).                 6.80    545.00      $3,706.00
10/02/2023 PJJ       FN      Prepare Lavvan documents binder.                    2.80    545.00      $1,526.00
10/02/2023 RMP       FN      Prepare for Amyris/Lavvan trial.                    7.30   1,895.00    $13,833.50
10/02/2023 SWG       FN      Begin preparing slides for continued DIP            7.70    895.00      $6,891.50
                             Hearing.

10/02/2023 SWG       FN      Prepare for Final DIP Hearing                       5.90    895.00      $5,280.50
10/03/2023 AJK       FN      Prepare for DIP trial - review of exhibits.         6.50   1,675.00    $10,887.50
10/03/2023 AJK       FN      Prepare for DIP trial - review of transcripts.      5.50   1,675.00     $9,212.50
10/03/2023 AJK       FN      Prepare for DIP trial - witness outlines.           6.70   1,675.00    $11,222.50
10/03/2023 BEL       FN      Prepare for DIP trial.                              0.60   1,095.00       $657.00
10/03/2023 BEL       FN      Attend Zoom hearing on motion to quash.             0.50   1,095.00       $547.50
10/03/2023 BEL       FN      Draft insert for reply brief.                       0.70   1,095.00       $766.50
10/03/2023 BEL       FN      Draft opposition to motion to exclude.              4.80   1,095.00     $5,256.00
10/03/2023 BEL       FN      Review and revise opposition to motion to           1.50   1,095.00     $1,642.50
                             exclude.

10/03/2023 BEL       FN      Prepare outline for Wright direct examination.      1.70   1,095.00     $1,861.50
10/03/2023 BEL       FN      Meet with O. Wright to prepare for trial            1.40   1,095.00     $1,533.00
                             testimony.

10/03/2023 BEL       FN      Revise Wright outine.                               1.30   1,095.00     $1,423.50
10/03/2023 BEL       FN      Prepare for DIP trial.                              2.60   1,095.00     $2,847.00
10/03/2023 CRR       FN      Hearing preparation for DIP dispute including      14.50   1,095.00    $15,877.50
                             evidence binders and hearing materials,
                             meetings with PSZJ team.
10/03/2023 DG        FN      Extended meeting with Foris Team re: hearing        6.00   1,550.00     $9,300.00
                             prep.
10/03/2023 DG        FN      Review caselaw and briefs to incorporate in        10.30   1,550.00    $15,965.00
                             hearing argument (4.3); extended preparation
                             and revision of argument slides (6.0).

10/03/2023 DG        FN      Review papers and analysis for motion to            1.20   1,550.00     $1,860.00
                             quash hearing (.7); attend hearing (.5).
10/03/2023 ECO       FN      Discussions with Steven Golden re hearing           0.40    725.00        $290.00
                             preparations/witness and exhibit list.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 104 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 103
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/03/2023 ECO       FN      Review exhibit/witness list and review all          3.40    725.00      $2,465.00
                             exhibits/make changes and prepare notes for
                             hearing.
10/03/2023 ECO       FN      E-mails with Steven Golden/Colin Robinson           0.30    725.00        $217.50
                             re briefing for DIP hearing and case law.
10/03/2023 ECO       FN      Review briefs filed and case law cited by           1.70    725.00      $1,232.50
                             Lavvan/provide information re case law and
                             exhibits.

10/03/2023 ECO       FN      Followup discussions with Steven                    1.10    725.00        $797.50
                             Golden/review and prepare materials for
                             hearing.
10/03/2023 HCK       FN      Memos to / from A. Nicas, et al. re further         0.80   1,550.00     $1,240.00
                             markups to joint reply and review edits.
10/03/2023 HCK       FN      Further memos to / from M. Goldstein re H.          0.40   1,550.00       $620.00
                             Kevane comments to joint reply and follow-up
                             with D. Grassgreen re changes to brief.

10/03/2023 HCK       FN      Memos to / from B. Levine re further edits to       0.30   1,550.00       $465.00
                             joint reply re discovery section.

10/03/2023 HCK       FN      Revise / edit joint reply re adverse inference      0.70   1,550.00     $1,085.00
                             and circulate comments.
10/03/2023 HCK       FN      Review additional edits to Lavvan joint reply       0.40   1,550.00       $620.00
                             brief.
10/03/2023 HCK       FN      Review / proof final version of joint reply         0.20   1,550.00       $310.00
                             brief for filing today.
10/03/2023 HCK       FN      Confer with J. Rosell re Doerr deposition           0.10   1,550.00       $155.00
                             hearing.
10/03/2023 HCK       FN      Review further memos re markups / edits to          0.30   1,550.00       $465.00
                             joint reply brief.
10/03/2023 HCK       FN      Follow up with S. Golden and D. Grassgreen          0.50   1,550.00       $775.00
                             re tomorrow's Lavvan hearing.
10/03/2023 HCK       FN      Review Lavvan reply filed today.                    0.70   1,550.00     $1,085.00
10/03/2023 HCK       FN      Memos to / from D. Grassgreen, et al. re            0.20   1,550.00       $310.00
                             Lavvan reply arguments and response to same.
10/03/2023 HCK       FN      Memos to / from A. Nicas re tomorrow's DIP          0.10   1,550.00       $155.00
                             final hearing.
10/03/2023 HCK       FN      Memos to / from D. Grassgreen re tomorrow's         0.20   1,550.00       $310.00
                             hearing.
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23       Page 105 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 104
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/03/2023 HCK       FN      Review further research from J. Elkin for            0.70   1,550.00     $1,085.00
                             tomorrow's Lavvan hearing.

10/03/2023 HCK       FN      Further review / edit demonstrative evidence /       0.80   1,550.00     $1,240.00
                             slides for tomorrow's hearing.

10/03/2023 JE        FN      Research various issues to assist with DIP           6.70   1,450.00     $9,715.00
                             hearing argument and prepare potential brief
                             inserts on certain issues.
10/03/2023 JE        FN      Correspondence with Mr. Golden, Mr.                  0.50   1,450.00       $725.00
                             Grassgreen and Mr. Kevane regarding certain
                             case law on DIP issues and expansion of
                             arguments.
10/03/2023 JEO       FN      Review and finalize Joint Reply of Debtors           0.00   1,275.00           N/C
                             and Foris to Lavvan
10/03/2023 JEO       FN      Work on amended agenda for DIP hearing               0.50   1,275.00       $637.50
10/03/2023 JEO       FN      Review and finalize Brief // Joint Reply of the      2.00   1,275.00     $2,550.00
                             Debtors, Euagore, LLC, and the Foris
                             Prepetition Secured Lenders to Opening Brief
                             of Lavvan, Inc. in Opposition to Motion of the
                             Debtors for Interim and Final Orders (I)
                             Authorizing Debtors (A) to Obtain
                             Postpetition Financing and (B) to Utilize Cash
                             Collateral, (II) Granting Adequate Protection
                             to Prepetition Secured Parties, (III) Modifying
                             the Automatic Stay, (IV) Scheduling a Final
                             Hearing, and (V) Granting Related Relief (
10/03/2023 JHR       FN      Attend 10/3 hearing                                  0.50    995.00        $497.50
10/03/2023 JHR       FN      Analyze Lavvan opposition to motion to quash         0.20    995.00        $199.00
10/03/2023 JHR       FN      Conference with H. Kevane re: intercreditor          0.30    995.00        $298.50
                             issues
10/03/2023 JHR       FN      Analyze Lavvan trial exhibits                        1.30    995.00      $1,293.50
10/03/2023 JHR       FN      Review Lavvan opposition to motion to quash          0.20    995.00        $199.00
10/03/2023 LHP       FN      Attend hearing on motion to quash Lavvan's           0.50    545.00        $272.50
                             notice of deposition of Doerr.
10/03/2023 MBL       FN      Revise final DIP order with Goodwin                  0.50   1,445.00       $722.50
                             comments; coordinate with Goodwin, team,
                             and client re same.
10/03/2023 MBL       FN      Revise third DIP amendment; emails with              0.20   1,445.00       $289.00
                             client, team, and lender counsel re same.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 106 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 105
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/03/2023 PEC       FN      Draft Amended Notice of Agenda for 10/4/23           0.60    545.00        $327.00
                             Hearing

10/03/2023 PEC       FN      File Joint Reply Brief to Foris Brief in             0.40    545.00        $218.00
                             Opposition to Cash Collateral Motion

10/03/2023 PEC       FN      Revise and review Amended Notice of Agenda           0.50    545.00        $272.50
                             for 10/4/23 Hearing

10/03/2023 PEC       FN      File and serve Amended Notice of Agenda for          0.40    545.00        $218.00
                             1/4/23 Hearing

10/03/2023 PEC       FN      Review Supplement to 10/4/23 Hearing                 0.20    545.00        $109.00
                             Binders
10/03/2023 PJJ       FN      Attend hearing on motion to quash.                   0.40    545.00        $218.00
10/03/2023 PJJ       FN      Prepare exhibits for Kieftenbeld direct exam.        0.80    545.00        $436.00
10/03/2023 PJJ       FN      Prepare notice of revised DIP.                       1.00    545.00        $545.00
10/03/2023 PJJ       FN      Prepare Martens direct exam exhibits.                0.30    545.00        $163.50
10/03/2023 PJJ       FN      Prepare revised DIP order and exhibits for           0.30    545.00        $163.50
                             filing.
10/03/2023 PJJ       FN      Prepare for and file notice of revised DIP           0.50    545.00        $272.50
                             order.
10/03/2023 PJJ       FN      Prepare witness binders for DIP hearing.             3.50    545.00      $1,907.50
10/03/2023 PJJ       FN      Draft amended agenda.                                0.40    545.00        $218.00
10/03/2023 PJJ       FN      Prepare chart regarding Foris exhibits.              0.20    545.00        $109.00
10/03/2023 RMP       FN      Prepare for Lavvan/Amyris trial, including          13.30   1,895.00    $25,203.50
                             motion to exclude and closing presentation.
10/03/2023 RMP       FN      Attend and prepare for motion to quash               1.40   1,895.00     $2,653.00
                             hearing.
10/03/2023 SWG       FN      Review and edit joint reply brief in support of      1.00    895.00        $895.00
                             DIP Motion
10/03/2023 SWG       FN      Participate in hearing on Motion to Quash            0.50    895.00        $447.50
10/03/2023 SWG       FN      Prepare for hearing on Motion to Quash in            2.00    895.00      $1,790.00
                             connection with DIP Financing dispute
10/03/2023 SWG       FN      Prepare for contested evidentiary DIP hearing.      13.20    895.00     $11,814.00
10/04/2023 AJK       FN      Prepare for DIP trial.                               4.20   1,675.00     $7,035.00
10/04/2023 AJK       FN      DIP trial.                                           8.30   1,675.00    $13,902.50
                Case 23-11131-TMH         Doc 805-2       Filed 12/01/23     Page 107 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 106
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/04/2023 BEL       FN      Prepare for DIP hearing.                           2.60   1,095.00     $2,847.00
10/04/2023 BEL       FN      Attend DIP hearing.                                9.00   1,095.00     $9,855.00
10/04/2023 CRR       FN      Prepare for and attend hearing re DIP dispute     11.50   1,095.00    $12,592.50
                             with PSZJ team.

10/04/2023 CRR       FN      Preparation of amended agenda(s) and               1.70   1,095.00     $1,861.50
                             submissions of materials to chambers, review
                             binders.
10/04/2023 DG        FN      Prepare for contested DIP Hearing (3.0);          11.60   1,550.00    $17,980.00
                             attend evidentiary hearing (8.6).
10/04/2023 DG        FN      Meeting following hearing to go over next          0.50   1,550.00       $775.00
                             steps and sync up.
10/04/2023 ECO       FN      Discussions with Colin Robinson re hearing         1.40    725.00      $1,015.00
                             preparation; review amended agenda/latest
                             filings and exhibits and coordinate with
                             attorneys ahead of hearing.
10/04/2023 ECO       FN      Attend DIP hearing remotely and prepare            3.10    725.00      $2,247.50
                             notes re same/discussions with Steven Golden
                             and Colin Robinson re materials for hearing.

10/04/2023 HCK       FN      Attend morning hearing on Lavvan / DIP final       1.50   1,550.00     $2,325.00
                             approval (adverse interest testimony, H.
                             Kieftenbeld).
10/04/2023 HCK       FN      Attend resumed afternoon session on final DIP      1.50   1,550.00     $2,325.00
                             hearing / Lavvan objection (HK, TM
                             witnesses).

10/04/2023 HCK       FN      Attend resumed afternoon session of final DIP      1.00   1,550.00     $1,550.00
                             hearing (Gaul).

10/04/2023 HCK       FN      Review DSM motion for adequate protection.         0.20   1,550.00       $310.00
10/04/2023 HCK       FN      Attend closing argument at DIP final hearing.      1.20   1,550.00     $1,860.00
10/04/2023 HCK       FN      Memos to / from D. Grassgreen and S. Golden        0.30   1,550.00       $465.00
                             re closing argument rebuttal points and
                             follow-up debrief.
10/04/2023 IMP       FN      Review e-mail from D. Grassgreen re hearing.       0.10   1,995.00       $199.50
10/04/2023 JE        FN      Review briefing of Debtors and Lenders and         2.20   1,450.00     $3,190.00
                             briefing of Lavvan regarding DIP issues.
10/04/2023 JE        FN      Correspondence with Mr. Golden regarding           0.10   1,450.00       $145.00
                             hearing.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23   Page 108 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 107
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                                                              Hours      Rate        Amount
10/04/2023 JE        FN      Review request of DSM for adequate                0.40   1,450.00       $580.00
                             protection.

10/04/2023 JHR       FN      Analyze DSM motion for adequate protection        0.40    995.00        $398.00
10/04/2023 LHP       FN      Attend hearing on DIP financing.                  3.50    545.00      $1,907.50
10/04/2023 MBL       FN      Review 10/3 hearing transcript.                   0.20   1,445.00       $289.00
10/04/2023 MBL       FN      Attention to filed final DIP order and DIP        0.10   1,445.00       $144.50
                             amendment; coordinate same with client.

10/04/2023 MBL       FN      Emails with S. Golden re hearing status.          0.10   1,445.00       $144.50
10/04/2023 MBL       FN      Review committee comments to final DIP            0.10   1,445.00       $144.50
                             order.

10/04/2023 PJJ       FN      Prepare and file amended agenda.                  0.30    545.00        $163.50
10/04/2023 PJJ       FN      Assist with DIP hearing prep.                     0.60    545.00        $327.00
10/04/2023 PJJ       FN      Attend (virtually) DIP hearing.                   7.30    545.00      $3,978.50
10/04/2023 RMP       FN      Preparation for Amyris/Lavvan trial.              2.20   1,895.00     $4,169.00
10/04/2023 RMP       FN      Prepare for trial and attend Lavvan trial.        9.30   1,895.00    $17,623.50
10/04/2023 SWG       FN      Continue preparing for contested evidentiary      5.10    895.00      $4,564.50
                             DIP Hearing.

10/04/2023 SWG       FN      Attend contested evidentiary DIP Hearing          9.00    895.00      $8,055.00
10/05/2023 ECO       FN      Conference call with Steven Golden/PSZJ           0.70    725.00        $507.50
                             team re DIP hearing/next steps and ongoing
                             tasks.
10/05/2023 GIG       FN      Exchange emails with D. Grassgreen, S.            0.10   1,325.00       $132.50
                             Golden re licensing disputes.
10/05/2023 GIG       FN      Call with H. Kevane re licensing agreement        0.50   1,325.00       $662.50
                             disputes.
10/05/2023 HCK       FN      Memos to / from D. Grassgreen, et al. re DSM      0.20   1,550.00       $310.00
                             motion for adequate protection.

10/05/2023 MBL       FN      Emails with committee and lender counsel re       0.10   1,445.00       $144.50
                             final DIP order.

10/05/2023 MBL       FN      Review committee comments to final DIP            0.10   1,445.00       $144.50
                             order.

10/06/2023 HCK       FN      Confer with M. Litvak re outcome of Lavvan        0.20   1,550.00       $310.00
                             final DIP hearing.
                Case 23-11131-TMH           Doc 805-2        Filed 12/01/23      Page 109 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 108
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/06/2023 JEO       FN      Review and finalize notice of continued final          0.80   1,275.00     $1,020.00
                             DIP hearing

10/06/2023 MBL       FN      Confer with H. Kevane re hearing update and            0.20   1,445.00       $289.00
                             financing issues.

10/06/2023 MBL       FN      Emails with team re DSM motions.                       0.10   1,445.00       $144.50
10/09/2023 DG        FN      Review updated DIP budget (.1); review                 0.40   1,550.00       $620.00
                             emails from Bondholders re: DIP Order (0.1)
                             and call with R. Pachulski re: same (0.2).
10/09/2023 HCK       FN      Confer with J. Rosell re DSM adequate                  0.20   1,550.00       $310.00
                             protection motion and discussions with J.
                             Celentino.

10/09/2023 RMP       FN      Review e-mails re DIP order issues.                    0.30   1,895.00       $568.50
10/10/2023 HCK       FN      Memos to / from M. Litvak re Lavvan / Foris            0.10   1,550.00       $155.00
                             ruling.

10/10/2023 JEO       FN      Review and finalize Notice of Hearing                  0.70   1,275.00       $892.50
                             Regarding Ruling on Motion of the Debtors
                             for Interim and Final Orders (I) Authorizing
                             Debtors (A) to Obtain Postpetition Financing
                             and (B) to Utilize Cash Collateral, (II)
                             Granting Adequate Protection to Prepetition
                             Secured Parties, (III) Modifying the Automatic
                             Stay, (IV) Scheduling a Final Hearing, and (V)
                             Granting Related Relief
10/10/2023 JEO       FN      Emails to various parties in interest re ruling        0.70   1,275.00       $892.50
                             on DIP Motion
10/10/2023 KKY       FN      Draft (.3), file (.1), and prepare for filing and      0.60    545.00        $327.00
                             service (.2) notice of hearing re DIP ruling
10/10/2023 KKY       FN      Email to claims agent re service of notice of          0.10    545.00            $54.50
                             hearing re DIP ruling
10/11/2023 AJK       FN      Attend hearing (Zoom) re DIP ruling.                   0.30   1,675.00       $502.50
10/11/2023 BEL       FN      Attend Zoom hearing regarding decision on              0.30   1,095.00       $328.50
                             DIP motion.
10/11/2023 CRR       FN      Attend hearing re Court's ruling on DIP                0.50   1,095.00       $547.50
                             dispute.
10/11/2023 DG        FN      Attend ruling on DIP Financing.                        0.30   1,550.00       $465.00
10/11/2023 GIG       FN      Review transcript of DIP financing hearing.            0.20   1,325.00       $265.00
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 110 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 109
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/11/2023 GIG       FN      Exchange emails with D. Grassgreen re                0.10   1,325.00       $132.50
                             Lavvan DIP objection.

10/11/2023 HCK       FN      Telephone call with J. Rosell re Foris / Lavvan      0.10   1,550.00       $155.00
                             ruling today.

10/11/2023 IMP       FN      Draft e-mail re DIP litigation.                      0.10   1,995.00       $199.50
10/11/2023 IMP       FN      Review e-mail from D. Grassgreen re DIP              0.10   1,995.00       $199.50
                             ruling.

10/11/2023 IMP       FN      Review e-mails from R. Pachulski, D.                 0.10   1,995.00       $199.50
                             Grassgreen re ruling.

10/11/2023 JE        FN      Review analysis of court ruling on final DIP         0.20   1,450.00       $290.00
                             order and discuss with Ms. Hoehne.
10/11/2023 JEO       FN      Prepare for and attend hearing on ruling on          2.00   1,275.00     $2,550.00
                             Final DIP Order.
10/11/2023 JEO       FN      Work on Notice of Filing (I) Revised Proposed        0.90   1,275.00     $1,147.50
                             Final Order (I) Authorizing the Debtors (A) to
                             Obtain Postpetition Financing and (B) to
                             Utilize Cash Collateral, (II) Granting
                             Adequate Protection to Prepetition Secured
                             Parties, (III) Modifying the Automatic Stay,
                             (IV) Scheduling a Final Hearing, and (V)
                             Granting Related Relief and related notice

10/11/2023 JHR       FN      Attend DIP ruling.                                   0.30    995.00        $298.50
10/11/2023 JHR       FN      Review Ad Hoc Group objection to proposed            0.20    995.00        $199.00
                             form of DIP order.

10/11/2023 LHP       FN      Attend hearing on Judge's ruling on DIP              0.30    545.00        $163.50
                             financing.

10/11/2023 MBL       FN      Emails with lender counsel and team re               0.30   1,445.00       $433.50
                             revised final DIP order; review same and
                             notice of filing.
10/11/2023 MBL       FN      Attend hearing on court ruling re Lavvan             0.30   1,445.00       $433.50
                             dispute.
10/11/2023 MBL       FN      Review fourth amendment; coordinate with             0.20   1,445.00       $289.00
                             lender counsel and client re same.

10/11/2023 PJJ       FN      Prepare for and file notice of revised DIP           0.40    545.00        $218.00
                             order.

10/11/2023 PJJ       FN      Attend DIP ruling,                                   0.50    545.00        $272.50
10/11/2023 RMP       FN      Attend DIP ruling.                                   0.40   1,895.00       $758.00
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 111 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 110
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/11/2023 RMP       FN      Review and analyze final DIP.                        0.20   1,895.00       $379.00
10/12/2023 IMP       FN      Review e-mail from D. Grassgreen.                    0.10   1,995.00       $199.50
10/12/2023 IMP       FN      Exchange e-mails with D. Grassgreen.                 0.10   1,995.00       $199.50
10/12/2023 JE        FN      Review OCUC comments on final DIP order              0.30   1,450.00       $435.00
                             and related correspondence.

10/12/2023 JEO       FN      Draft and finalize Notice of Amendment No. 4         0.60   1,275.00       $765.00
                             to the Senior Secured Super Priority Debtor in
                             Possession Loan Agreement
10/12/2023 MBL       FN      Emails with lender counsel, client, and team re      0.20   1,445.00       $289.00
                             fourth amendment.
10/12/2023 MBL       FN      Review committee statement re final DIP              0.20   1,445.00       $289.00
                             order.
10/12/2023 PJJ       FN      Prepare for and file notice of 4th DIP               0.30    545.00        $163.50
                             amendment.
10/13/2023 HCK       FN      Memos to / from M. Goldstein re DSM                  0.20   1,550.00       $310.00
                             adequate protection stipulation.
10/13/2023 HCK       FN      Memos to / from J. Rosell and M. Goldstein re        0.30   1,550.00       $465.00
                             DSM adequate protection stipulation.
10/13/2023 JEO       FN      Review and finalize objection to DSM Motion          2.50   1,275.00     $3,187.50
                             for Adequate Protection and related motion to
                             seal and coordinate filing and service
10/14/2023 HCK       FN      Memos to / from M. Goldstein and J. Rosell re        0.40   1,550.00       $620.00
                             DSM adequate protection stipulation and
                             review further markup.

10/14/2023 JHR       FN      Revise DSM adequate protection stipulation.          0.70    995.00        $696.50
10/15/2023 HCK       FN      Memos to / from M. Goldstein re further              0.20   1,550.00       $310.00
                             comments to DSM adequate protection
                             stipulation.
10/15/2023 JHR       FN      Analyze revised DSM adequate protection              0.20    995.00        $199.00
                             stipulation.
10/16/2023 DG        FN      Call with Foris counsel and UCC counsel re:          0.50   1,550.00       $775.00
                             challenge issues.
10/16/2023 DG        FN      Review AHNG objection to DIP Order.                  0.20   1,550.00       $310.00
10/16/2023 HCK       FN      Review noteholder DIP objection.                     0.10   1,550.00       $155.00
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23    Page 112 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 111
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/16/2023 JEO       FN      Review and finalize Final DIP Order and            0.80   1,275.00     $1,020.00
                             prepare for entry by Court

10/16/2023 JEO       FN      Review and circulate entered Final DIP Order       0.40   1,275.00       $510.00
10/16/2023 JEO       FN      Review and finalize Debtors' Response to the       0.80   1,275.00     $1,020.00
                             Ad Hoc Noteholder Group's Limited
                             Objection to the Debtors Proposed Form of
                             Final DIP Order
10/16/2023 JHR       FN      Attend 10/16 hearing on Jefferies continuance      0.80    995.00        $796.00
                             (partial)

10/16/2023 JHR       FN      Analyze final DIP order                            0.40    995.00        $398.00
10/16/2023 JHR       FN      Analyze objections to final DIP order and          0.60    995.00        $597.00
                             related reply briefing

10/16/2023 MBL       FN      Draft fourth advance request; emails with          0.20   1,445.00       $289.00
                             PwC re same.

10/16/2023 PJJ       FN      Download and circulate pleadings regarding         0.20    545.00        $109.00
                             DIP.

10/16/2023 PJJ       FN      Upload proposed DIP order.                         0.30    545.00        $163.50
10/16/2023 RMP       FN      Conference call with DIP lenders and               0.40   1,895.00       $758.00
                             Committee re challenge period.
10/16/2023 SWG       FN      Review and edit proposed reply in support of       0.80    895.00        $716.00
                             entry of final DIP Order.
10/16/2023 SWG       FN      Call with Committee and DIP Lender re:             0.40    895.00        $358.00
                             challenge deadline.
10/17/2023 JHR       FN      Revise DSM adequate protection stipulation         0.50    995.00        $497.50
                             and related correspondence with client.
10/17/2023 MBL       FN      Coordinate fourth advance request; emails          0.20   1,445.00       $289.00
                             with PwC and lender counsel re same.
10/18/2023 HCK       FN      Memos to / from J. Rosell re further edits to      0.30   1,550.00       $465.00
                             DSM adequate protection stipulation and
                             review markups and follow-up with M.
                             Goldstein.
10/18/2023 HCK       FN      Further memos to / from J. Rosell re DSM           0.30   1,550.00       $465.00
                             adequate protection stipulation and review
                             markup.

10/18/2023 JEO       FN      Review inquiry from JP Morgan re additional        0.90   1,275.00     $1,147.50
                             collateral needed for letter of credit.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 113 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 112
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/18/2023 JHR       FN      Correspondence with DSM re: adequate                 0.20    995.00        $199.00
                             protection stipulation.

10/19/2023 DG        FN      Review and comment on revised adequate               0.50   1,550.00       $775.00
                             protection stipulation.

10/19/2023 DG        FN      Review and provide comments to DIP Budget.           0.40   1,550.00       $620.00
10/19/2023 HCK       FN      Memos to/from J. Weichselbaum and J. Rosell          0.20   1,550.00       $310.00
                             re DSM adequate protection and review drafts.

10/19/2023 HCK       FN      Follow-up with J. Rosell re further edits to         0.30   1,550.00       $465.00
                             adequate protection stipulation for DSM.

10/19/2023 HCK       FN      Memos to/from J. Rosell, et al. re further           0.10   1,550.00       $155.00
                             revisions to DSM adequate protection
                             stipulation.
10/19/2023 HCK       FN      Further review/analyze Lavvan RCLA and               0.80   1,550.00     $1,240.00
                             security agreement re encumbered intellectual
                             property.

10/19/2023 JHR       FN      Analyze DSM loan documents and related               0.70    995.00        $696.50
                             adequate protection stipulation
10/20/2023 DG        FN      Correspond with J. Celentino re: Adequate            0.10   1,550.00       $155.00
                             Protection Stipulation.
10/20/2023 HCK       FN      Memos to/from M. Goldstein and J. Celentino          0.20   1,550.00       $310.00
                             re DSM adequate protection stipulation.
10/20/2023 JEO       FN      Review materials re letters of credit (1.2) and      1.60   1,275.00     $2,040.00
                             call with Bill Schonberg re same (.4)
10/22/2023 HCK       FN      Memos to/from J. Rosell, J. Celentino and M.         0.30   1,550.00       $465.00
                             Goldstein re edits to DSM adequate protection
                             stipulation.

10/22/2023 JHR       FN      Analyze revised DSM adequate protection              0.20    995.00        $199.00
                             stipulation.

10/22/2023 MBL       FN      Follow-up with client and lender counsel re          0.10   1,445.00       $144.50
                             NC mortgage; review client comment.
10/23/2023 DG        FN      Review Adequate Protection Stipulation               0.60   1,550.00       $930.00
                             revisions from DSM (.3); provide comments
                             thereto by email to DSM counsel (.1);
                             correspondence from DSM counsel (.1);
                             further correspondence re: final changes with
                             DSM counsel and J. Rosell (.1).
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23       Page 114 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 113
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                  Hours       Rate        Amount
10/23/2023 DG        FN      Correspond with Committee counsel re: Foris            0.20   1,550.00       $310.00
                             claim amounts (.1); correspond with D. Ihn re:
                             same.
10/23/2023 HCK       FN      Memos to / from J. Celentino re DSM                    0.20   1,550.00       $310.00
                             adequate protection stipulation and final edits.
10/23/2023 HCK       FN      Memos to / from J. Weichselbaum re final               0.20   1,550.00       $310.00
                             DSM adequate protection stipulation.
10/23/2023 JHR       FN      Review Committee comments to DSM-                      0.20    995.00        $199.00
                             Firmenich adequate protection stipulation
10/24/2023 HCK       FN      Various emails to / from DSM and Committee             0.20   1,550.00       $310.00
                             re final edits to adequate protection
                             stipulation.

10/24/2023 JHR       FN      Analyze Committee revisions to DSM                     0.30    995.00        $298.50
                             adequate assurance stipulation

10/24/2023 SWG       FN      Respond to email from UCC re: lien                     0.10    895.00            $89.50
                             investigation question
10/25/2023 DG        FN      Review and respond to emails from J. Rosell            0.30   1,550.00       $465.00
                             and Latham re: adequate protection stipulation
                             (.1); review same (.2).
10/25/2023 HCK       FN      Follow-up re approval of DSM adequate                  0.20   1,550.00       $310.00
                             protection stipulation.

10/25/2023 JEO       FN      Review DSM's Notice of Proposed Stipulation            0.60   1,275.00       $765.00
                             Granting Adequate Protection

10/25/2023 JHR       FN      Analyze DSM-Firmenich notice of adequate               0.20    995.00        $199.00
                             assurance stipulation

10/26/2023 JHR       FN      Analyze variance report                                0.20    995.00        $199.00
                                                                                  423.60              $537,860.00

General Creditors' Committee
10/05/2023 SWG       GC      Review and respond to email from counsel to            0.20    895.00        $179.00
                             UCC

10/05/2023 SWG       GC      Respond to Committee information requests              0.20    895.00        $179.00
10/17/2023 JHR       GC      Attend weekly Debtor / UCC call.                       0.50    995.00        $497.50
10/17/2023 RMP       GC      Participate on Committee call.                         0.40   1,895.00       $758.00
10/17/2023 SWG       GC      Participate in weekly Committee touch point            0.40    895.00        $358.00
                             call.
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 115 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 114
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/24/2023 DG        GC      Team call with Creditors' Committee counsel          0.50   1,550.00       $775.00
                             and financial advisors re: miscellaneous case
                             issues.
10/24/2023 SWG       GC      Participate in weekly call with UCC                  0.50    895.00        $447.50
10/31/2023 DG        GC      Call with Committee and Debtor professionals         0.50   1,550.00       $775.00
                             re: general case and committee issues.
10/31/2023 JHR       GC      Attend weekly Debtor / Committee                     0.30    995.00        $298.50
                             professional WIP call
10/31/2023 MSP       GC      Attend weekly meeting with Committee                 0.30   1,295.00       $388.50
                             professionals.
10/31/2023 RMP       GC      Prepare for and participate on Committee             0.30   1,895.00       $568.50
                             conference call.
10/31/2023 SWG       GC      Participate in weekly call with Committee            0.30    895.00        $268.50
                             professionals.
                                                                                  4.40                $5,493.00

Hearings
10/02/2023 CRR       HE      Confer re hearing technology with S. Golden          0.40   1,095.00       $438.00
                             and D. Grassgreen.
10/02/2023 CRR       HE      Confer with J. O'Neill re hearing logistics,         0.30   1,095.00       $328.50
                             exhibit binders.

10/02/2023 IDD       HE      Revise draft Agenda for hearing on 10/4/2023         1.00    545.00        $545.00
                             (.3); arrange for pleadings binders for same
                             (.1); file same with the Court (.2); review
                             pleadings binders for hearing (.3); arrange for
                             delivery of binders to the Court (.1)
10/03/2023 CRR       HE      Prepare for and attend Zoom hearing re               1.00   1,095.00     $1,095.00
                             motion to quash.
10/05/2023 JEO       HE      Email with court re hearing date changes             0.30   1,275.00       $382.50
10/10/2023 PJJ       HE      Register parties for October 11 DIP ruling and       0.80    545.00        $436.00
                             October 18 hearing.
10/16/2023 JEO       HE      Participate in hearing on Debtors' Motion to         0.60   1,275.00       $765.00
                             Continue Jefferies hearing
                                                                                  4.40                $3,990.00
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23     Page 116 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 115
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount

Insurance Coverage
10/04/2023 JEO       IC      Message from former CLO re D&O Policy               0.30   1,275.00       $382.50
                             Claim

10/08/2023 IAWN IC           Exchange emails with D. Grassgreen re               0.80   1,395.00     $1,116.00
                             investigation and insurance

10/08/2023 IAWN IC           Review file re coverage analysis                    1.00   1,395.00     $1,395.00
10/11/2023 IAWN IC           Review James O'Neill email re director              0.10   1,395.00       $139.50
                             inquiry re insurance

10/11/2023 IAWN IC           Review file and send policies to client             0.20   1,395.00       $279.00
10/11/2023 IAWN IC           Review policies re investigation determination      2.80   1,395.00     $3,906.00
                             and exclusions

10/11/2023 IAWN IC           Exchange emails with client re conclusions          0.30   1,395.00       $418.50
10/19/2023 IAWN IC           Review James O'Neill and director emails re         0.10   1,395.00       $139.50
                             insurance.
10/25/2023 IAWN IC           Exchange emails with D. Grassgreen, R.              0.30   1,395.00       $418.50
                             Pachulski, J. O'neill re disclosure issue
10/27/2023 IAWN IC           Review D. Grassgreen declaration re                 0.10   1,395.00       $139.50
                             disclosure
10/27/2023 IAWN IC           Exchange emails with D. Grassgreen and J.           0.10   1,395.00       $139.50
                             O'neil re declaration re disclosure
10/28/2023 IAWN IC           Review A. Kornfeld comment re declaration.          0.10   1,395.00       $139.50
10/30/2023 IAWN IC           Exchange emails with D. Grassgreen and A.           0.10   1,395.00       $139.50
                             Kornfeld
10/30/2023 IAWN IC           Exchange emails with Gillian Brown and              0.30   1,395.00       $418.50
                             client re relevance of prior policies.
                                                                                 6.60                $9,171.00

Litigation (Non-Bankruptcy)
10/03/2023 PJJ       LN      Review/revise removal extension motion.             0.40    545.00        $218.00
10/05/2023 LHP       LN      Draft COC on motion to extend deadline to           0.80    545.00        $436.00
                             remove certain actions and email
                             communications regarding same.

10/17/2023 JEO       LN      Review and finalize removal extension motion        0.80   1,275.00     $1,020.00
                 Case 23-11131-TMH         Doc 805-2        Filed 12/01/23       Page 117 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 116
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/17/2023 LHP       LN      Work on notice/motion re removal extension,            1.80    545.00        $981.00
                             enter motion into court record, and coordinate
                             service.
10/17/2023 PJJ       LN      Review removal extension motion.                       0.20    545.00        $109.00
10/31/2023 LHP       LN      Draft COC on motion to extend deadline to              0.80    545.00        $436.00
                             remove certain actions and email
                             communications regarding same.
                                                                                    4.80                $3,200.00

Meetings of and Communications with Creditors
10/04/2023 JEO       MC      Emails with client and PWC to prepare for              0.80   1,275.00     $1,020.00
                             341 meeting

10/05/2023 ECO       MC      Conference call with James                             1.10    725.00        $797.50
                             O'Neill/client/PwC re preparation for
                             continued 341 meeting.
10/05/2023 JEO       MC      Attend prepare call with clients and PWC to            1.00   1,275.00     $1,275.00
                             prepare for 341 meeting
10/05/2023 JEO       MC      Review schedules and prepare for 341 meeting           1.00   1,275.00     $1,275.00
10/06/2023 ECO       MC      Attend 341 meeting.                                    1.00    725.00        $725.00
10/06/2023 JEO       MC      Prepare for (1.) and attend (1.) 341 meeting           2.00   1,275.00     $2,550.00
10/06/2023 JEO       MC      Email with committee counsel re meeting of             0.00   1,275.00           N/C
                             creditors
10/06/2023 JEO       MC      Call with Han Kieftenbeld to prepare for 341           0.20   1,275.00       $255.00
                             meeting of creditors
                                                                                    7.10                $7,897.50

Non-Working Travel
10/01/2023 AJK       NT      Non-working travel (billed at 1/2 rate)                1.00    837.50        $837.50
10/01/2023 BEL       NT      Travel to Wilmington (billed at 1/2 rate)              2.10    547.50      $1,149.75
10/01/2023 DG        NT      Nonworking travel for Financing Hearing                2.50    775.00      $1,937.50
                             (billed at 1/2 rate)
10/02/2023 RMP       NT      Travel to Delaware for trial (billed at 1/2 rate)      5.40    947.50      $5,116.50
10/05/2023 AJK       NT      Return travel (billed at 1/2 rate)                     9.70    837.50      $8,123.75
10/05/2023 DG        NT      Return Travel from DIP Financing Hearing               8.50    775.00      $6,587.50
                             (billed at 1/2 rate)
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 118 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 117
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/05/2023 RMP       NT      Return to Los Angeles from Lavvan trial             6.30    947.50      $5,969.25
                             (billed at 1/2 rate)

                                                                                35.50               $29,721.75

Operations
10/05/2023 SWG       OP      Receive and respond to email re: operational        0.20    895.00        $179.00
                             matter

10/06/2023 JHR       OP      Correspondence with client re: open DSM and         0.30    995.00        $298.50
                             Givaudan items

10/09/2023 JHR       OP      Correspondence with client re: status update        0.50    995.00        $497.50
                             with commercial parties

10/09/2023 PJJ       OP      Revise and prepare CV agreement for                 0.20    545.00        $109.00
                             docusign.
10/09/2023 RMP       OP      Telephone conference with DC re certain HR          0.60   1,895.00     $1,137.00
                             issues.
10/10/2023 DG        OP      Call with Doris Choi re: Brazil operations          0.70   1,550.00     $1,085.00
                             (0.3); call with M. Goldstein re: same (0.4).
10/10/2023 PJJ       OP      Prepare Elevation CV agreement for docusign.        0.20    545.00        $109.00
10/10/2023 SWG       OP      Participate in call with client re: critical        0.50    895.00        $447.50
                             vendors.
10/12/2023 SWG       OP      Call with client re: critical vendor                0.40    895.00        $358.00
10/13/2023 SWG       OP      Draft template letter re: customer accounts         0.20    895.00        $179.00
                             receivable.
10/18/2023 RMP       OP      Conference call with SF, PD, LB and PSZJ            0.60   1,895.00     $1,137.00
                             team re operational issues.
10/18/2023 SWG       OP      Draft and send email to client re: timeline of      0.20    895.00        $179.00
                             negotiations with third party logistics vendor
10/18/2023 SWG       OP      Call with P. Gund re: operational matters           0.10    895.00            $89.50
10/18/2023 SWG       OP      Call with client, PSZJ team, S. Fleming, and        0.60    895.00        $537.00
                             L. Beers re: operational matters
10/18/2023 SWG       OP      Participate in call with client re: critical        0.40    895.00        $358.00
                             vendor.

10/20/2023 ECO       OP      Prepare e-mail to Steven Golden re letters to       0.10    725.00            $72.50
                             customers/contract counterparties.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23        Page 119 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 118
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/24/2023 SWG       OP      Call with counsel to creditor re: critical vendor      0.20    895.00        $179.00
                             status

10/27/2023 DG        OP      Correspond with D. Choi re: operational                0.10   1,550.00       $155.00
                             issues.

10/31/2023 SWG       OP      Participate in call with company re: potential         0.40    895.00        $358.00
                             critical vendor agreement.

10/31/2023 SWG       OP      Draft and send email to client following up on         0.20    895.00        $179.00
                             critical vendor call.

                                                                                    6.70                $7,643.50

Plan and Disclosure Statement
09/22/2023 DG        PD      Review further revised plan term sheet.                0.70   1,550.00     $1,085.00
10/01/2023 DG        PD      Extended Conference Call and Meeting re:               4.80   1,550.00     $7,440.00
                             Plan Structure.
10/01/2023 DG        PD      Review updated projections.                            1.00   1,550.00     $1,550.00
10/01/2023 JE        PD      Review Foris revisions to plan and disclosure          1.80   1,450.00     $2,610.00
                             statement.
10/01/2023 JE        PD      Correspondence with PSZJ plan team                     0.30   1,450.00       $435.00
                             regarding issues with plan.
10/01/2023 JE        PD      Work on release provision insert to                    1.00   1,450.00     $1,450.00
                             Solicitation Package.
10/01/2023 JE        PD      Call with PSZJ, and then lender and business           1.70   1,450.00     $2,465.00
                             teams on plan issues.
10/01/2023 JE        PD      Call with PSZJ plan team, various                      0.80   1,450.00     $1,160.00
                             professionals and debtor regarding plan issues
                             and strategy.

10/01/2023 JHR       PD      Conference call with Foris re: plan issues and         3.20    995.00      $3,184.00
                             follow-up with debtors

10/01/2023 JHR       PD      Follow-up call with D. Grassgreen re: plan             0.30    995.00        $298.50
10/01/2023 JJK       PD      Emails D. Grassgreen re plan/UCC; attend               1.80   1,175.00     $2,115.00
                             Company/UCC cll (0.3); review PSZJ team
                             emails; review PSA and term sheet (0.6).
10/01/2023 MSP       PD      Telephone conference with debtors'                     1.30   1,295.00     $1,683.50
                             professionals regarding Plan.
10/01/2023 MSP       PD      Meeting with D. Grassgreen, S. Golden, M.              0.60   1,295.00       $777.00
                             Goldstein, et al. regarding Plan status.
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23      Page 120 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 119
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/01/2023 MSP       PD      All hands call regarding plan/sale status.            0.60   1,295.00       $777.00
10/01/2023 MSP       PD      Work on Disclosure Statement and attention to         6.20   1,295.00     $8,029.00
                             Plan issues; email exchange with R. Pachulski,
                             D. Grassgreen, S. Golden, J. Elkin, J. Kim, M.
                             Goldstein, A. Nicas, D. Hoehne, P. Gund, F.
                             Merola, et al. re. same (.80).

10/01/2023 RMP       PD      Participate on debtor/Foris conference call re        1.80   1,895.00     $3,411.00
                             plan and review documents.
10/01/2023 RMP       PD      Participate on internal conference call re plan       1.00   1,895.00     $1,895.00
                             issues.
10/01/2023 RMP       PD      Participate on Foris-related call.                    0.50   1,895.00       $947.50
10/01/2023 RMP       PD      Participate on bondholder conference call re          0.60   1,895.00     $1,137.00
                             plan.
10/01/2023 RMP       PD      Review and analyze plan revisions.                    1.10   1,895.00     $2,084.50
10/01/2023 SWG       PD      Attention to Plan, Disclosure Statement, and          1.30    895.00      $1,163.50
                             Solicitation Procedures Motion, including
                             review and edit thereof.

10/01/2023 SWG       PD      Participate in call with Debtors and DIP              2.30    895.00      $2,058.50
                             Lenders re: plan terms

10/01/2023 SWG       PD      Participate in call with Debtors professionals        0.80    895.00        $716.00
                             re: plan

10/02/2023 DG        PD      Call with J. Storz re: Plan Term Sheet (0.3);         1.10   1,550.00     $1,705.00
                             correspond with D. Hoehne re: same (0.3)
                             confer with Internal PSZJ team re: same (0.5).
10/02/2023 JE        PD      Review comments of Stretto to master ballot           0.40   1,450.00       $580.00
                             and revise same.
10/02/2023 MSP       PD      Attention to Plan and Disclosure Statement            3.80   1,295.00     $4,921.00
                             issues; email exchange with S. Golden, J.
                             Song, A. O'Neill, et al. regarding same (.20).
10/04/2023 MSP       PD      Work on Disclosure Statement and Plan                 2.80   1,295.00     $3,626.00
                             issues.
10/04/2023 RMP       PD      Meet with PSZJ and Goodwin team re next               1.60   1,895.00     $3,032.00
                             steps on plan.
10/05/2023 DG        PD      Correspond with Goodwin team re: Plan status          0.30   1,550.00       $465.00
                             (0.1); correspond with J. Elkin re: solicitation
                             procedures (0.1); correspond with J. Kim re:
                             plan comments (0.1).
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23      Page 121 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 120
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/05/2023 DG        PD      Correspond with R. Pachulski and J. Rosell re:      0.10   1,550.00       $155.00
                             plan projections.

10/05/2023 DG        PD      Initial review of revised plan documents from       0.80   1,550.00     $1,240.00
                             Goodwin team (0.7); email with D. Choi, S.
                             Fleming and R. Pachulski re: same (0.1).
10/05/2023 HCK       PD      Memos to / from D. Grassgreen, et al. re plan       0.20   1,550.00       $310.00
                             projections.
10/05/2023 JE        PD      Correspondence with Mr. Golden regarding            0.20   1,450.00       $290.00
                             plan/Disclosure Statement schedule for
                             solicitation materials.

10/05/2023 JE        PD      Review and revise schedule for solicitation.        0.20   1,450.00       $290.00
10/05/2023 JE        PD      Correspondence with Stretto regarding               0.20   1,450.00       $290.00
                             schedule for solicitation.

10/05/2023 JE        PD      Review correspondence from Mr. Goldstein            0.20   1,450.00       $290.00
                             and Mr. Skorostensky regarding plan and
                             Disclosure Statement comments and
                             solicitation material comments.

10/05/2023 JE        PD      Review plan and Disclosure Statement                2.40   1,450.00     $3,480.00
                             comments, restructuring agreement comments
                             and plan term sheet revisions.
10/05/2023 JJK       PD      Emails D. Grassgreen on plan matters (0.2);         1.50   1,175.00     $1,762.50
                             PSZJ team call on case issues (0.6); review
                             plan issues (0.7).

10/05/2023 JJK       PD      Review/tend to plan matters; work on Plan.          2.80   1,175.00     $3,290.00
10/05/2023 MSP       PD      Work on Disclosure Statement and review and         5.90   1,295.00     $7,640.50
                             incorporate new comments/mark-up received
                             from lender; email exchange with S. Golden,
                             D. Grassgreen, J. Elkin, A. Skorostensky, J.
                             Kim, M. Goldstein, W. Skinner, et al.
                             regarding same (.80).

10/05/2023 RMP       PD      Review and respond to e-mails re plan and           1.30   1,895.00     $2,463.50
                             related issues.

10/05/2023 RMP       PD      Telephone conferences with D. Grassgreen            0.60   1,895.00     $1,137.00
                             and then F. Reiss re plan issues.

10/06/2023 JE        PD      Revise solicitation materials to conform to         1.00   1,450.00     $1,450.00
                             new dates.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 122 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 121
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/06/2023 JE        PD      Correspondence with Mr. Golden and Mr.             0.20   1,450.00       $290.00
                             O'Neill regarding certain blanks in need of
                             dates and data.
10/06/2023 JJK       PD      Emails S. Golden, M. Pagay re plan,                1.80   1,175.00     $2,115.00
                             Disclosure Statement matters; review/revise
                             plan.
10/06/2023 MSP       PD      Work on Disclosure Statement and incorporate       6.60   1,295.00     $8,547.00
                             new comments/mark-up received from lender
                             (6.4); email exchange with S. Golden, J. Kim,
                             D. Hoehne, et al. regarding same (.20).
10/06/2023 RMP       PD      Conference with M. Tuchin re investigation         0.90   1,895.00     $1,705.50
                             issues and status.

10/06/2023 RMP       PD      Telephone conferences with MG and D.               0.60   1,895.00     $1,137.00
                             Grassgreen re Emeryville lease issues.

10/07/2023 DG        PD      Call with D. Choi, P. Gund, H. Kieftenbeld         1.00   1,550.00     $1,550.00
                             and R. Pachulski re: plan alignment.

10/07/2023 DG        PD      Extended call with M. Goldstein, J Doerr, A.       2.10   1,550.00     $3,255.00
                             Nicas, R. Pachulski, R. Panchadsaram, M.
                             Quinn, H. Kieftenbeld, PWC and CR3 re:
                             issues regarding business plan, tower lease
                             and related matters.
10/07/2023 JE        PD      Revise and distribute red lined solicitation       0.80   1,450.00     $1,160.00
                             materials to PSZJ teak with certain questions
                             as to blanks.

10/07/2023 JE        PD      Various correspondence with Mr. Golden and         0.50   1,450.00       $725.00
                             Goodwin team regarding revised dates,
                             solicitation comments and related matters.
10/07/2023 JE        PD      Review comments on solicitation materials          1.20   1,450.00     $1,740.00
                             from Goodwin and annotate with questions to
                             PSZJ team to get on agenda for plan call.

10/07/2023 JEO       PD      Email with J. Elkin regarding Disclosure           0.20   1,275.00       $255.00
                             Statement hearing

10/07/2023 JJK       PD      Emails D. Grassgreen, Goodwin on plan/case         0.50   1,175.00       $587.50
                             matters.

10/07/2023 MSP       PD      Work on Disclosure Statement and analysis of       7.70   1,295.00     $9,971.50
                             open items; email exchange with D.
                             Grassgreen, J. Kim, J. Elkin, D. Hoehne, A.
                             Nicas, S. Rosenfeld, et al. regarding same
                             (.90).
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 123 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 122
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/07/2023 RMP       PD      Conference call with D. Choi, H. Kevane, Phil       1.00   1,895.00     $1,895.00
                             G. re plan issues.

10/07/2023 RMP       PD      Conference call with Foris team, client, PWC,       2.10   1,895.00     $3,979.50
                             CR3, D. Grassgreen and I. Kharasch re plan
                             and business issues.
10/08/2023 DG        PD      Review plan markup in preparation for call          2.10   1,550.00     $3,255.00
                             (1.1); lengthy conference call with Foris team
                             and PSZJ plan team re: plan comments and
                             solicitation procedures.
10/08/2023 DG        PD      Review and edit revised plan, plan term sheet       1.20   1,550.00     $1,860.00
                             and accompanying presentation (1.1) emails to
                             D. Hoehne re: same (0.1).

10/08/2023 HCK       PD      Review various memos from D. Grassgreen re          0.20   1,550.00       $310.00
                             plan status and development.

10/08/2023 JE        PD      Various correspondence with Mr. Golden and          0.50   1,450.00       $725.00
                             Goodwin team regarding plan issues.

10/08/2023 JE        PD      Participate in call with PSZJ and Goodwin           1.30   1,450.00     $1,885.00
                             plan teams to review plan and solicitation
                             issues.
10/08/2023 JE        PD      Correspondence with Ms. Grassgreen and Mr.          0.40   1,450.00       $580.00
                             Golden regarding issues for solicitation
                             procedures relating to releases.

10/08/2023 JE        PD      Correspondence with Mr. Golden regarding            0.20   1,450.00       $290.00
                             revised milestones.

10/08/2023 JHR       PD      Conference call with Foris re: plan terms           2.00    995.00      $1,990.00
10/08/2023 JJK       PD      Emails D. Grassgreen, et al and review/revise       4.40   1,175.00     $5,170.00
                             Plan/DS and review objections/issues.
10/08/2023 JJK       PD      Emails D. Grassgreen,. S. Golden, et al re          0.50   1,175.00       $587.50
                             revised plan/DS and docs and review.
10/08/2023 MSP       PD      Work on Disclosure Statement; email                 5.80   1,295.00     $7,511.00
                             exchange with D. Grassgreen, S. Fleming, J.
                             Kim, S. Golden, D. Ihn, D. Hoehne, M.
                             Goldstein, et al. regarding information needed
                             for same (.50).
10/08/2023 RMP       PD      Conference call with debtor and Foris               1.30   1,895.00     $2,463.50
                             professionals and clients re plan issues.
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23     Page 124 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 123
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/08/2023 RMP       PD      Conference call with Foris professionals and         1.00   1,895.00     $1,895.00
                             PSZJ plan team re plan comments and
                             solicitation.
10/08/2023 SWG       PD      Participate in call with PSZJ and Goodwin            1.90    895.00      $1,700.50
                             plan teams re: plan and disclosure statement.
10/09/2023 DG        PD      Work on Plan and Disclosure Statement.               3.30   1,550.00     $5,115.00
10/09/2023 JE        PD      Review various correspondence regarding              0.50   1,450.00       $725.00
                             plan revisions with Goodwin and PSZJ teams.
10/09/2023 JE        PD      Review and revise solicitation procedures.           6.60   1,450.00     $9,570.00
10/09/2023 JE        PD      Correspondence with Stretto with procedure           0.20   1,450.00       $290.00
                             for non-voting classes to submit opt outs of
                             releases.

10/09/2023 JHR       PD      Analyze revised plan pages.                          0.30    995.00        $298.50
10/09/2023 JHR       PD      Analyze revised plan documents                       1.90    995.00      $1,890.50
10/09/2023 JJK       PD      Revise plan and review term sheet (2.0);             4.10   1,175.00     $4,817.50
                             further revisions and issues re plan (2.0);
                             emails Goodwin re plan (0.1)
10/09/2023 MSP       PD      Work on Disclosure Statement and Plan                7.50   1,295.00     $9,712.50
                             issues; email exchange with S. Fleming, M.
                             Goldstein, P. Gund, D. Grassgreen, D.
                             Hoehne, R. Pachulski, J. Elkin, J. Kim, F.
                             Reiss, W. Skinner, et al. regarding information
                             needed for same (.80)
10/09/2023 RMP       PD      Review and respond to e-mails re plan issues         1.20   1,895.00     $2,274.00
                             and conference with I. Kharasch re same.
10/09/2023 RMP       PD      Review non-GAAP financial projections and            0.30   1,895.00       $568.50
                             e-mails re same.
10/09/2023 RMP       PD      Review and analyze Term Sheet, Plan Support          1.40   1,895.00     $2,653.00
                             Term, Convertible Noteholder Potential
                             Settlement Framework.

10/09/2023 RMP       PD      Review and analyze present plan draft.               1.60   1,895.00     $3,032.00
10/09/2023 RMP       PD      Review Givaudan e-mail.                              0.10   1,895.00       $189.50
10/09/2023 RMP       PD      Telephone conference with D. Grassgreen re           0.70   1,895.00     $1,326.50
                             plan and related status.

10/09/2023 SWG       PD      Draft and send emails to UCC and AHG re:             0.60    895.00        $537.00
                             plan term sheet and related documents.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23       Page 125 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 124
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/10/2023 DG        PD      Review and analyze Disclosure Statement               6.70   1,550.00    $10,385.00
                             (2.4); review updated solicitation motion and
                             materials (1.3); review revisions to plan (0.5);
                             call with Goldstein re: same (0.3); precall in
                             advance of committee advisor call (0.5); call
                             with Committee advisors, Foris advisors and
                             related parties re: plan (0.8); call with Phil
                             Gund re: plan (0.5); call with Mike
                             Katzenstein re: plan (0.4).

10/10/2023 DG        PD      Emails with D. Hoehne re: further plan                0.10   1,550.00       $155.00
                             changes.

10/10/2023 JE        PD      Review and revise solicitation motion and             3.80   1,450.00     $5,510.00
                             procedures to create release opt out
                             procedures.
10/10/2023 JE        PD      Correspondence with Mr. Golden and Ms.                0.20   1,450.00       $290.00
                             Grassgreen regarding procedures and certain
                             dates.

10/10/2023 JE        PD      Correspondence with Mr. O'Neill and Ms.               0.30   1,450.00       $435.00
                             Jefferies regarding confirmation hearing
                             notice information on remote attendance and
                             revise notice accordingly.

10/10/2023 JE        PD      Correspondence with Mr. Skorostensky                  0.20   1,450.00       $290.00
                             regarding revisions to Solicitation Motion and
                             related documents.
10/10/2023 JE        PD      Correspondence with Ms. Grassgreen and Mr.            0.20   1,450.00       $290.00
                             Pagay regarding Disclosure Statement
                             provisions summarizing solicitation
                             procedures.
10/10/2023 JE        PD      Review and revise Disclosure Statement                0.80   1,450.00     $1,160.00
                             provisions summarizing solicitation
                             procedures.

10/10/2023 JE        PD      Review correspondence from Goodwin team               0.30   1,450.00       $435.00
                             regarding intercompany claims issues.

10/10/2023 JHR       PD      Review status of disclosure statement.                0.30    995.00        $298.50
10/10/2023 JHR       PD      Analyze revised disclosure statement.                 1.10    995.00      $1,094.50
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 126 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 125
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/10/2023 JJK       PD      Emails D. Grassgreen, Goodwin re plan,               5.60   1,175.00     $6,580.00
                             documents, UCC issues, related matters (0.7);
                             review/revise plan (2.1); emails S. Golden on
                             plan (0.1); emails D. Grassgreen, Goodwin
                             and revise plan and review revised plan related
                             docs (2.7).
10/10/2023 LAF       PD      Legal research re: Plan analysis.                    0.80    595.00        $476.00
10/10/2023 MSP       PD      Work on disclosure statement; email exchange        14.20   1,295.00    $18,389.00
                             with D. Grassgreen, S. Golden, J. Kim, S.
                             Fleming, J. Elkin, D. Hoehne, D. Choi, F.
                             Reiss, W. Skinner, S. Rosenfeld, et al.
                             regarding same (.90).

10/10/2023 RMP       PD      Participate on pre-call for UCC plan issues.         0.50   1,895.00       $947.50
10/10/2023 RMP       PD      Participate on UCC Plan call.                        0.60   1,895.00     $1,137.00
10/10/2023 RMP       PD      Review revised plan package.                         0.90   1,895.00     $1,705.50
10/10/2023 SWG       PD      Participate in pre-call to UCC plan discussion.      0.50    895.00        $447.50
10/10/2023 SWG       PD      Participate in Plan call with UCC.                   0.60    895.00        $537.00
10/11/2023 DG        PD      Review revised plan, disclosure statement and        2.30   1,550.00     $3,565.00
                             solicitation procedures and provide comments.

10/11/2023 JE        PD      Two telephone conferences with Ms. Hoehne            0.40   1,450.00       $580.00
                             regarding solicitation materials.

10/11/2023 JE        PD      Review and revise solicitation materials             5.80   1,450.00     $8,410.00
                             consistent with comments received on rolling
                             basis from Stretto, Goodwin team and PSZJ
                             plan team.

10/11/2023 JE        PD      Review various correspondence between                0.50   1,450.00       $725.00
                             Goodwin team and PSZJ plan team on open
                             plan and disclosure statement issues.
10/11/2023 JE        PD      Review revised drafts of plan and disclosure         1.60   1,450.00     $2,320.00
                             statement and make comments for conforming
                             to solicitation materials.

10/11/2023 JHR       PD      Analyze revisions to plan.                           0.20    995.00        $199.00
10/11/2023 JHR       PD      Analyze revisions to disclosure statement.           0.30    995.00        $298.50
10/11/2023 JHR       PD      Analyze revisions to solicitation procedures         0.40    995.00        $398.00
                             motion.
10/11/2023 JJK       PD      PSZJ/Goodwin emails re plan and Disclosure           2.00   1,175.00     $2,350.00
                             Statement; review plan.
                Case 23-11131-TMH          Doc 805-2         Filed 12/01/23   Page 127 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 126
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/11/2023 JJK       PD      Review plan edits and issues.                       1.10   1,175.00     $1,292.50
10/11/2023 LAF       PD      Proof & edit plan.                                  1.10    595.00        $654.50
10/11/2023 LAF       PD      Legal research re: plan.                            0.50    595.00        $297.50
10/11/2023 MSP       PD      Work on Disclosure Statement; email                13.80   1,295.00    $17,871.00
                             exchange with J. Kim, D. Grassgreen, S.
                             Fleming, W. Skinner, S. Rosenfeld, D.
                             Hoehne, J. Elkin, et al. regarding same (.60).
10/11/2023 RMP       PD      Review revised plan.                                0.60   1,895.00     $1,137.00
10/11/2023 RMP       PD      Review and comment on solicitation                  0.70   1,895.00     $1,326.50
                             materials.
10/11/2023 RMP       PD      Review Disclosure Statement projections             0.10   1,895.00       $189.50
                             exhibit.

10/12/2023 DG        PD      Call with Goodwin Team and PSZJ Plan team           1.00   1,550.00     $1,550.00
                             to page turn plan and disclosure statement and
                             review changes.
10/12/2023 DG        PD      Call with Ad Hoc Lender Group and their             0.70   1,550.00     $1,085.00
                             professionals, Foris professionals and R.
                             Pachulski re: plan comments.

10/12/2023 DG        PD      Review, revise and finalize Plan, Disclosure        4.00   1,550.00     $6,200.00
                             Statement and Solicitation Procedures Motion,
                             Plan Term Sheet and Plan Support Agreement.
10/12/2023 DG        PD      Review and edit inserts from D. Ihn and S.          0.50   1,550.00       $775.00
                             Fleming re: disclosure statement.
10/12/2023 DG        PD      Review revised tax analysis (0.3) and emails        0.40   1,550.00       $620.00
                             to W. Skinner re: same (0.1).
10/12/2023 DG        PD      Correspond with O. Wright re: inserts to            0.40   1,550.00       $620.00
                             Disclosure Statement.
10/12/2023 DG        PD      Correspond with J. O'Neill re: Plan and             0.30   1,550.00       $465.00
                             Disclosure Statement filing and attachments.
10/12/2023 JE        PD      Participate in plan review call with Goodwin        1.10   1,450.00     $1,595.00
                             team and PSZJ plan team.

10/12/2023 JE        PD      Review various correspondence between               0.50   1,450.00       $725.00
                             Goodwin team and PSZJ plan team on open
                             plan and disclosure statement issues.
10/12/2023 JE        PD      Review revised drafts of plan and disclosure        0.80   1,450.00     $1,160.00
                             statement and make comments for conforming
                             to solicitation materials.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23    Page 128 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 127
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/12/2023 JE        PD      Review and revise solicitation materials.          2.10   1,450.00     $3,045.00
10/12/2023 JE        PD      Correspondence with Ms. Hoehne regarding           0.30   1,450.00       $435.00
                             finalization of solicitation materials and
                             conforming changes to plan and disclosure
                             statement.
10/12/2023 JE        PD      Correspondence with Stretto and Mr. O'Neill        0.20   1,450.00       $290.00
                             regarding publication date and format and
                             Brazil issue.
10/12/2023 JE        PD      Correspondence with Ms. Rosenfeld regarding        0.20   1,450.00       $290.00
                             additional changes to solicitation materials.
10/12/2023 JE        PD      Prepare additional revisions to solicitation       0.80   1,450.00     $1,160.00
                             materials and distribute.
10/12/2023 JE        PD      Prepare revisions to disclosure statement to       0.80   1,450.00     $1,160.00
                             conform with additional changes to
                             solicitation materials.

10/12/2023 JE        PD      Correspondence with Mr. Pagay regarding            0.30   1,450.00       $435.00
                             conforming changes and correspondence with
                             Mr. Kim regarding need to conform in plan.
10/12/2023 JE        PD      Review various correspondence and change           1.00   1,450.00     $1,450.00
                             pages to plan and disclosure statement.
10/12/2023 JEO       PD      Email with Doris Choi re plan support              0.20   1,275.00       $255.00
                             agreement
10/12/2023 JEO       PD      Finalize plan and disclosure statement and         5.50   1,275.00     $7,012.50
                             solicitation motion and coordinate filing and
                             service

10/12/2023 JEO       PD      Email with Stretto re publication notices          0.60   1,275.00       $765.00
                             required for Disclosure Statement Hearing
10/12/2023 JHR       PD      Conference call with Foris re: plan documents      0.50    995.00        $497.50
                             (partial).
10/12/2023 JJK       PD      PSZJ/Goodwin call on plan (1.0); revise plan       4.50   1,175.00     $5,287.50
                             (2.0); team emails on same (0.5); review
                             Disclosure Statement (1.0).

10/12/2023 MSP       PD      Telephone call with J. O'Neill regarding           0.10   1,295.00       $129.50
                             finalizing disclosure statement

10/12/2023 MSP       PD      Meeting with R. Pachulski, D. Grassgreen, P.       0.80   1,295.00     $1,036.00
                             Gund, S. Fleming et al. regarding Plan and
                             disclosure statement update.
                 Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 129 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 128
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/12/2023 MSP       PD      Meeting with D. Grassgreen, A. Skorostensky,        1.00   1,295.00     $1,295.00
                             M. Goldstein, R. Pachulski, et al. regarding
                             finalizing Plan and disclosure statement.
10/12/2023 MSP       PD      Work on disclosure statement; email exchange       11.90   1,295.00    $15,410.50
                             with S. Fleming, A. Skorotensky, S. Golden,
                             D. Grassgreen, J. Elkin, O. Wright, J. Kim, D.
                             Ihn, D. Hoehne, J. O'Neill, M. Goldstein, W.
                             Skinner, S. Rosenfeld, P. Gund, et al.
                             regarding same (.90) .

10/12/2023 PJJ       PD      Prepare notice of hearing on disclosure             0.30    545.00        $163.50
                             statement.
10/12/2023 RMP       PD      Conference call with Ad Hoc professionals,          0.70   1,895.00     $1,326.50
                             Foris professionals and I. Pachulski re Plan
                             issues.
10/12/2023 RMP       PD      Review revised plan.                                0.20   1,895.00       $379.00
10/12/2023 SWG       PD      Participate in call (partial) re: plan and          0.80    895.00        $716.00
                             Disclosure Statement filing
10/12/2023 SWG       PD      Participate in call with Ad Hoc Noteholder          0.40    895.00        $358.00
                             Group re: plan and disclosure statement

10/12/2023 SWG       PD      Participate in call with Debtors' professional      0.40    895.00        $358.00
                             team re: plan/DS.

10/13/2023 JE        PD      Correspondence with Stretto regarding service       0.20   1,450.00       $290.00
                             of Solicitation Motion notices.

10/13/2023 JEO       PD      Review and revise notice of disclosure              0.80   1,275.00     $1,020.00
                             statement hearing

10/13/2023 PJJ       PD      Draft notice of hearing on disclosure               0.40    545.00        $218.00
                             statement.
10/15/2023 DG        PD      Correspond with W. Skinner re: tax section of       0.10   1,550.00       $155.00
                             disclosure statement.
10/15/2023 DG        PD      Correspond with M. Pagay re: Lavvan and             0.10   1,550.00       $155.00
                             confirmation issues.
10/15/2023 JEO       PD      Work on noticing for disclosure statement           3.50   1,275.00     $4,462.50
                             hearing and coordinate service and publication
                             with Stretto

10/15/2023 MSP       PD      Email exchange with W. Skinner, D.                  0.10   1,295.00       $129.50
                             Grassgreen, et al. regarding Disclosure
                             Statement tax analysis.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 130 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 129
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/16/2023 DG        PD      Call with M. Goldstein re: plan issues.              0.50   1,550.00       $775.00
10/16/2023 MSP       PD      Work on Disclosure Statement and Plan open           1.10   1,295.00     $1,424.50
                             issues compilation; email exchange with A.
                             Skorostenky, S. Golden, W. Skinner, D. Choi,
                             D. Grassgreen, J. Kim, et al. regarding same
                             (.40).

10/17/2023 DG        PD      Call with R. Pachulski re: plan strategy.            0.70   1,550.00     $1,085.00
10/17/2023 JEO       PD      Review solicitation issues and email to Stretto      0.80   1,275.00     $1,020.00
                             re same
10/17/2023 JHR       PD      Call with Grassgreen re: confirmation                0.50    995.00        $497.50
                             schedule.
10/17/2023 JJK       PD      Prepare plan issues list and notes.                  1.10   1,175.00     $1,292.50
10/17/2023 MSP       PD      Attention to disclosure statement and plan           2.10   1,295.00     $2,719.50
                             open items; email exchange with J. Kim, et al.
                             regarding same (.10).

10/17/2023 RMP       PD      Call with D. Grassgreen re plan strategy.            0.70   1,895.00     $1,326.50
10/17/2023 RMP       PD      Telephone conference with M. Goldstein re            0.40   1,895.00       $758.00
                             plan issues.

10/18/2023 DG        PD      Call with R. Pachulski, G. Pesce, and A.             0.70   1,550.00     $1,085.00
                             O'Neill re: plan issues.

10/18/2023 JJK       PD      Prepare plan issues chart and review and             2.00   1,175.00     $2,350.00
                             emails M. Pagay (1.0); plan review/revisions
                             (1.0).
10/18/2023 LAF       PD      Legal research re: Sample confirmation               1.00    595.00        $595.00
                             schedules.
10/18/2023 MSP       PD      Meeting with Foris counsel regarding Plan            2.00   1,295.00     $2,590.00
                             issues.
10/18/2023 MSP       PD      Work on Disclosure Statement and analysis of         2.60   1,295.00     $3,367.00
                             outstanding Plan and Disclosure Statement
                             issues; email exchange with J. Kim, D.
                             Grassgreen, A. Skorotensky, W. Skinner, et al.
                             regarding same (.10).

10/18/2023 RMP       PD      Participate on conference call with lender           1.00   1,895.00     $1,895.00
                             professionals.
10/18/2023 RMP       PD      Conference call with Committee counsel and           0.70   1,895.00     $1,326.50
                             D. Grassgreen re plan issues.
                Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 131 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 130
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/19/2023 DG        PD      Confer with Fenwick counsel re: tax                 0.30   1,550.00       $465.00
                             disclosure in disclosure statement.

10/19/2023 JEO       PD      Response to OTC inquiry on timing on plan           0.30   1,275.00       $382.50
                             confirmation

10/19/2023 MSP       PD      Attention to open Plan and Disclosure               1.80   1,295.00     $2,331.00
                             Statement issues; email exchange with D.
                             Grassgreen, W. Skinner, E. Dreyer, et al.
                             regarding same (.10).

10/19/2023 RMP       PD      Prepare for and attend debtor/lender                1.00   1,895.00     $1,895.00
                             conference call.

10/19/2023 RMP       PD      Review and respond to e-mails re common             0.60   1,895.00     $1,137.00
                             interest issues and telephone conference with
                             Stern re same.
10/19/2023 RMP       PD      Telephone conference with Hartnett re               0.30   1,895.00       $568.50
                             investigation.
10/20/2023 RMP       PD      Review plan discovery outline and telephone         0.40   1,895.00       $758.00
                             conferences re same.
10/20/2023 RMP       PD      Telephone conferences with Merola re status.        0.30   1,895.00       $568.50
10/20/2023 RMP       PD      Telephone conferences with D. Grassgreen re         0.30   1,895.00       $568.50
                             Committee issues.
10/21/2023 MSP       PD      Attention to disclosure and related litigation      1.00   1,295.00     $1,295.00
                             issues; email exchange with D. Grassgreen, G.
                             Brown, et al. regarding same (.10).
10/22/2023 MSP       PD      Email exchange with G. Brown, M. Goldstein,         0.20   1,295.00       $259.00
                             S. Golden, et al. regarding Plan discovery.
10/22/2023 MSP       PD      Analysis of remaining open Plan issues.             3.90   1,295.00     $5,050.50
10/22/2023 RMP       PD      Conference call with PSZJ team and Fenwick          1.60   1,895.00     $3,032.00
                             team re D&O issues and follow-up with D.
                             Grassgreen re same.

10/22/2023 RMP       PD      Review proposed plan and discovery outline          0.20   1,895.00       $379.00
                             and comment on same.

10/23/2023 JJK       PD      Review plan/DS issues.                              0.30   1,175.00       $352.50
10/23/2023 MSP       PD      Telephone call with A. Kornfeld regarding           0.20   1,295.00       $259.00
                             Plan litigation.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 132 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 131
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/23/2023 MSP       PD      Work on Plan and Disclosure Statement; email         7.70   1,295.00     $9,971.50
                             exchange with J. Rosell, S. Fleming, D.
                             Grassgreen, S. Golden, et al. regarding same
                             (.10).
10/23/2023 MSP       PD      Analysis of documents needed to complete             1.60   1,295.00     $2,072.00
                             and consummate Plan; email exchange with
                             D. Grassgreen, J. Kim, et al. regarding same
                             (.10).
10/23/2023 RMP       PD      Telephone conference with M. Goldstein re            0.40   1,895.00       $758.00
                             plan issues.
10/24/2023 DG        PD      Call with A. Kornfeld re: valuation issues.          0.50   1,550.00       $775.00
10/24/2023 JJK       PD      Emails M. M. Pagay, Goodwin on plan issues.          0.30   1,175.00       $352.50
10/24/2023 MSP       PD      Work on Plan open issues and litigation              3.80   1,295.00     $4,921.00
                             matters; email exchange with S. Golden, A.
                             Kornfeld, R. Pachulski, D. Grassgreen, et al.
                             regarding same (.20).
10/25/2023 DG        PD      Review bondholder plan offer (.1); emails            0.90   1,550.00     $1,395.00
                             with R. Pachulski and S. Golden re: same (.2);
                             call with R. Pachulski re: overall plan issues
                             (.6).
10/25/2023 DG        PD      Call with R. Pachulski re: overall plan issues.      1.20   1,550.00     $1,860.00
10/25/2023 DG        PD      Call with A. Kornfeld re: valuation issues.          0.40   1,550.00       $620.00
10/25/2023 DG        PD      Review email from SEC counsel re: disclosure         0.10   1,550.00       $155.00
                             questions.
10/25/2023 DG        PD      Call with PSZJ Plan team (M. Pagay, R.               1.00   1,550.00     $1,550.00
                             Pachulski, S. Golden) and Goodwin Plan team
                             (D. Hoehne, A. Nicas) re: Plan discovery
                             timeline.
10/25/2023 JJK       PD      Emails M. Pagay re plan issues.                      0.20   1,175.00       $235.00
10/25/2023 MSP       PD      Telephone call with A. Maza regarding Plan           0.40   1,295.00       $518.00
                             and disclosure statement SEC follow-up.
10/25/2023 MSP       PD      Meeting with Foris counsel regarding Plan            0.90   1,295.00     $1,165.50
                             discovery timeline.
                Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 133 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 132
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/25/2023 MSP       PD      Work on Plan and Disclosure Statement,              7.90   1,295.00    $10,230.50
                             litigation issues, resolution discussions, and
                             analysis of ancillary documents needed to
                             consummate Plan; email exchange with S.
                             Golden, P. Jeffries, R. Pachulski, D.
                             Grassgreen, A. Kornfeld, D. Hoehne, G.
                             Brown, A. Skorostensky, et al. regarding same
                             (.90).
10/25/2023 MSP       PD      Email exchange with A. Maza, D. Grassgreen,         0.30   1,295.00       $388.50
                             R. Pachulski, et al. regarding SEC questions
                             regarding Plan.

10/25/2023 MSP       PD      Meeting with R. Pachulski, A. Kornfeld, H.          0.80   1,295.00     $1,036.00
                             Kevane, S. Fleming, D. Choi, et al. regarding
                             Plan, Lavvan issues, etc.
10/25/2023 MSP       PD      Attention to Plan open items and litigation,        3.90   1,295.00     $5,050.50
                             SEC questions, etc.; email exchange with R.
                             Pachulski, D. Hoehne, D. Choi, D.
                             Grassgreen, S. Golden, et al. regarding same
                             (.50).

10/25/2023 MSP       PD      Email exchange with D. Grassgreen, D. Choi,         0.10   1,295.00       $129.50
                             et al. regarding SEC questions regarding Plan.

10/25/2023 RMP       PD      Conference call with Goodwin team and PSZJ          0.80   1,895.00     $1,516.00
                             team re plan discovery schedules.

10/25/2023 RMP       PD      Review SEC plan issues and review and               0.30   1,895.00       $568.50
                             respond to e-mails re same.

10/25/2023 RMP       PD      Review and analyze outstanding plan issues          0.60   1,895.00     $1,137.00
                             and telephone conference with D. Grassgreen
                             re same.
10/25/2023 RMP       PD      Review AHG counter-proposal and review and          0.80   1,895.00     $1,516.00
                             respond to e-mails re same and telephone
                             conferences with D. Grassgreen and A.
                             Kornfeld re same.
10/26/2023 AJK       PD      Call with S. Fleming and D. Grassgreen re           0.70   1,675.00     $1,172.50
                             valuation issues.
10/26/2023 AJK       PD      Call with PSZJ, PWC and Intrepid re case and        0.80   1,675.00     $1,340.00
                             litigation strategy.
10/26/2023 AJK       PD      Call with Goodwin, P. Gund, PWC, PSZJ re            1.00   1,675.00     $1,675.00
                             plan issues.

10/26/2023 DG        PD      Call with S. Fleming and A. Kornfeld re: plan       0.50   1,550.00       $775.00
                             valuation.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23      Page 134 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 133
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/26/2023 DG        PD      Review and respond to summary of SEC call            0.30   1,550.00       $465.00
                             on plan issues from M. Pagay and D.Choi
                             response (.2); review D. Hoehne response to
                             Plan issues raised by SEC (.1).
10/26/2023 DG        PD      Call with R. Pachulski and A. Kornfeld re: call      0.40   1,550.00       $620.00
                             with AHG and UCC and response to AHG.
10/26/2023 DG        PD      Review revised plan timeline.                        0.20   1,550.00       $310.00
10/26/2023 JJK       PD      Emails M. Pagay, D. Grassgreen on SEC /              0.40   1,175.00       $470.00
                             plan issues.

10/26/2023 LAF       PD      Legal research re: Sample confirmation               2.30    595.00      $1,368.50
                             schedules.

10/26/2023 RMP       PD      Separate telephone conferences with                  1.30   1,895.00     $2,463.50
                             Goldstein, Pesce and Merola re next steps re
                             plan and litigation.
10/26/2023 RMP       PD      Draft correspondence to Merola and telephone         0.80   1,895.00     $1,516.00
                             conference with A. Kornfeld and D.
                             Grassgreen re same.

10/26/2023 RMP       PD      Review and consider plan open items chart.           0.40   1,895.00       $758.00
10/26/2023 RMP       PD      Review and analyze SEC inquiry.                      0.30   1,895.00       $568.50
10/27/2023 DG        PD      Review list of entities to be                        0.10   1,550.00       $155.00
                             dissolved/maintained under proposed Plan.

10/27/2023 MSP       PD      Attention to Plan and Disclosure Statement           1.00   1,295.00     $1,295.00
                             open items; email exchange with D.
                             Grassgreen, S. Golden, et al. regarding same
                             (.10).

10/27/2023 MSP       PD      Attention to SEC question follow up; email           1.20   1,295.00     $1,554.00
                             exchange with D. Grassgreen, S. Golden, A.
                             Maza, et al. regarding same (.10).
10/27/2023 RMP       PD      Telephone conferences with MG re case                0.40   1,895.00       $758.00
                             issues.
10/28/2023 AJK       PD      Call with Foris counsel, PWC and P. Gund and         1.60   1,675.00     $2,680.00
                             PSZJ teams re litigation and plan strategy.
10/28/2023 DG        PD      All hands call with Goodwin, CR3, P. Gund,           1.60   1,550.00     $2,480.00
                             PWC, and PSZJ re: plan issues.

10/28/2023 HCK       PD      All-hands conference call with M. Goldstein,         1.00   1,550.00     $1,550.00
                             D. Grassgreen, S. Golden, et al. re plan tasks
                             and deadlines, other matters.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23       Page 135 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 134
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/28/2023 MSP       PD      Telephone call with D. Hoehne regarding               0.40   1,295.00       $518.00
                             Plan and disclosure statement open items.

10/28/2023 MSP       PD      Meeting with lender's counsel regarding Plan          1.60   1,295.00     $2,072.00
                             status.

10/28/2023 MSP       PD      Address open issues regarding Plan and                3.60   1,295.00     $4,662.00
                             Disclosure Statement and Plan litigation;
                             email exchange with A. Kornfeld, D.
                             Grassgreen, D. Hoehne, A. Maza, S. Golden,
                             et al. regarding same (.20).
10/28/2023 RMP       PD      Conference call with Foris professionals and          1.60   1,895.00     $3,032.00
                             Debtor professionals re plan issues.
10/28/2023 RMP       PD      Review discussion of investigation in sample          0.40   1,895.00       $758.00
                             Disclosure Statement.
10/29/2023 JHR       PD      Analyze list of plan / disclosure statement           0.30    995.00        $298.50
                             ancillary agreements
10/29/2023 MSP       PD      Email exchange with M. Goldstein, D.                  0.20   1,295.00       $259.00
                             Grassgreen, S. Fleming, J. Rosell, et al.
                             regarding Plan provisions.

10/30/2023 AJK       PD      Call with Goodwin team, S. Golden and M.              0.80   1,675.00     $1,340.00
                             Pagay re plan litigation issues.
10/30/2023 MSP       PD      Meeting with lender's counsel regarding               0.90   1,295.00     $1,165.50
                             confirmation discovery protocol, Plan
                             litigation, etc.
10/30/2023 MSP       PD      Email exchange with D. Hoehne, A. Maza, et            0.30   1,295.00       $388.50
                             al. regarding SEC follow-up questions.
10/30/2023 MSP       PD      Attention to Plan and related litigation issues;      3.90   1,295.00     $5,050.50
                             email exchange with S. Golden, D. Hoehne,
                             G. Brown, O. Wright, M. Spillane, et al.
                             regarding same (.30).
10/30/2023 RMP       PD      Participate on conference call with S. Golden         0.80   1,895.00     $1,516.00
                             and Goodwin team re plan litigation.

10/30/2023 RMP       PD      Review motion re confirmation protocols draft         0.40   1,895.00       $758.00
                             and review e-mail re same.

10/30/2023 RMP       PD      Telephone conference with MG re next steps.           0.40   1,895.00       $758.00
10/30/2023 SWG       PD      Update Confirmation Discovery Motion (.1);            0.20    895.00        $179.00
                             draft and send email attaching same (.1)
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23       Page 136 of 179


Pachulski Stang Ziehl & Jones LLP                                                           Page: 135
Amyris Inc.                                                                                 Invoice 135121
Client 03703.00004                                                                          October 31, 2023


                                                                                   Hours       Rate        Amount
10/30/2023 SWG       PD      Participate in call with Goodwin team re: plan          0.80    895.00        $716.00
                             litigation.

10/31/2023 AJK       PD      Call with D. Choi, D. Grassgreen re valuation           0.10   1,675.00       $167.50
                             expert.

10/31/2023 DG        PD      Call with M. Goldstein and R. Pachulski re:             0.70   1,550.00     $1,085.00
                             plan issues (.6); emails to and from D. Hoehne
                             and M. Pagay re: same (.1).
10/31/2023 MSP       PD      Work on Plan and Disclosure Statement open              2.90   1,295.00     $3,755.50
                             items; email exchange with D. Grassgreen, D.
                             Hoehne, TCF, JEO, LDJ, et al. regarding
                             same (.40).
10/31/2023 RMP       PD      Telephone conference with A. Kornfeld re                0.30   1,895.00       $568.50
                             confirmation discovery protocol.
10/31/2023 RMP       PD      Telephone conference with Goldstein re case             0.60   1,895.00     $1,137.00
                             and plan issues.
10/31/2023 RMP       PD      Review issues re independent director                   0.70   1,895.00     $1,326.50
                             disclosure in Disclosure Statement.
                                                                                   364.50              $502,494.50

PSZJ Retention
10/01/2023 DG        RP      Review employment application.                          0.50   1,550.00       $775.00
10/17/2023 JEO       RP      Draft Supplemental Declaration for PSZJ                 0.80   1,275.00     $1,020.00
                             Retention and Amended 2016 Statement
10/19/2023 JEO       RP      Review and finalize Supplemental Declaration            3.80   1,275.00     $4,845.00
                             of D. Grassgreen and 2016 Statement in
                             support of PSZJ retention
10/25/2023 DG        RP      Emails with J. Storz (.1) and I. Nasatir (.1) re:       0.20   1,550.00       $310.00
                             bondholder disclosure.
10/25/2023 JEO       RP      Emails re supplemental disclosures                      0.30   1,275.00       $382.50
10/26/2023 JEO       RP      Call with D. Grassgreen re supplemental                 0.30   1,275.00       $382.50
                             disclosures
10/27/2023 DG        RP      Review supplemental declaration and provide             0.30   1,550.00       $465.00
                             comments (.2) ; review bondholder 2019 re:
                             same (.1).

10/27/2023 JEO       RP      Draft disclosure                                        1.80   1,275.00     $2,295.00
                 Case 23-11131-TMH         Doc 805-2        Filed 12/01/23   Page 137 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 136
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/31/2023 DG        RP      Correspond with D. Choi re: supplemental           0.20   1,550.00       $310.00
                             disclosure and finalize same.

10/31/2023 JEO       RP      Review and revise D. Grassgreen                    0.80   1,275.00     $1,020.00
                             supplemental declaration

                                                                                9.00               $11,805.00

Other Professional Retention
10/02/2023 HDH       RPO     Review and respond to correspondence               0.10   1,350.00       $135.00
                             regarding Jefferies objection.

10/02/2023 HDH       RPO     Review and revise objection.                       0.60   1,350.00       $810.00
10/02/2023 JEO       RPO     Follow up with clients re OCP declarations         0.60   1,275.00       $765.00
10/03/2023 HDH       RPO     Review Goodwin draft and Troutman                  0.30   1,350.00       $405.00
                             comments.

10/03/2023 HDH       RPO     Revise Jefferies objection.                        0.80   1,350.00     $1,080.00
10/04/2023 HDH       RPO     Final review of revised Jefferies objection.       0.20   1,350.00       $270.00
10/04/2023 JEO       RPO     Review and finalize objection to Jefferies         2.00   1,275.00     $2,550.00
                             Retention
10/04/2023 PJJ       RPO     Prepare for and file objection to Jefferies        0.20    545.00        $109.00
                             retention.
10/05/2023 JEO       RPO     Finalize Fenwick retention order and related       0.50   1,275.00       $637.50
                             certification of counsel
10/05/2023 PJJ       RPO     Prepare COC regarding Fenwick employment           0.40    545.00        $218.00
                             application (.2); prepare for and file (.2).
10/06/2023 IDD       RPO     File Declaration of Ordinary Course                0.30    545.00        $163.50
                             Professional Patentree Lda
10/06/2023 IDD       RPO     File Declaration of Ordinary Course                0.30    545.00        $163.50
                             Professional Dentons US LLP
10/06/2023 IDD       RPO     File Declaration of Ordinary Course                0.30    545.00        $163.50
                             Professional Gordon Rees Scully Mansukhani
                             LLP

10/06/2023 IDD       RPO     File updated Declaration of Ordinary Course        0.30    545.00        $163.50
                             Professional Allen & Overy LLP
10/06/2023 IDD       RPO     File Declaration of Ordinary Course                0.30    545.00        $163.50
                             Professional Mewburn Ellis LLP
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23   Page 138 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 137
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/06/2023 IDD       RPO     Draft chart of Ordinary Course Professional        0.60    545.00        $327.00
                             Declarations filed to date

10/06/2023 JEO       RPO     Review and finalize Motion to Continue             2.50   1,275.00     $3,187.50
                             hearing on Jefferies and related motion to
                             shorten and coordinate filing and service
10/06/2023 JEO       RPO     Emails with PSZJ team to prepare for hearing       0.90   1,275.00     $1,147.50
                             on motion to continue
10/06/2023 JEO       RPO     Review and file various OCP declarations.          1.20   1,275.00     $1,530.00
10/06/2023 JEO       RPO     Call with UST regarding Deloitte retention         0.30   1,275.00       $382.50
10/06/2023 JEO       RPO     Emails with Meryl Rothchild re UST request         0.20   1,275.00       $255.00
                             for supplemental declaration
10/06/2023 RMP       RPO     Review Jefferies retention pleadings and May       0.80   1,895.00     $1,516.00
                             presentation and telephone conference with
                             client re same.

10/07/2023 RMP       RPO     Telephone conference with G. Pesce re              0.20   1,895.00       $379.00
                             Jefferies issues.

10/08/2023 GNB       RPO     Revise engagement letter with Ted Martens.         1.10    975.00      $1,072.50
10/09/2023 GNB       RPO     Emails J. O'Neill regarding T. Martens'            0.10    975.00            $97.50
                             retention agreement.
10/09/2023 GNB       RPO     Revise engagement letter with T. Martens.          0.10    975.00            $97.50
10/09/2023 JEO       RPO     Email with G. Brown regarding engagement           0.20   1,275.00       $255.00
                             of expert
10/10/2023 AJK       RPO     Review e-mails re Jeffries retention.              0.30   1,675.00       $502.50
10/10/2023 AJK       RPO     Analysis of Jeffries issues.                       1.70   1,675.00     $2,847.50
10/10/2023 GNB       RPO     Emails PSZJ team regarding Jeffries retention      0.10    975.00            $97.50
                             application.
10/10/2023 JEO       RPO     Review Declaration in Support of                   0.20   1,275.00       $255.00
                             Employment of Graham Adair SA
                             Professional Utilized in the Ordinary Course
                             of Business
10/10/2023 JEO       RPO     Review Declaration in Support of                   0.30   1,275.00       $382.50
                             Employment of Keller & Heckman LLP as
                             Professionals Utilized in the Ordinary Course
                             of Business
                 Case 23-11131-TMH         Doc 805-2      Filed 12/01/23     Page 139 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 138
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


                                                                               Hours      Rate        Amount
10/10/2023 JEO       RPO     Review Declaration Declaration in Support of       0.30   1,275.00       $382.50
                             Employment of Gibson, Dunn & Crutcher
                             LLP as Professional Utilized in the Ordinary
                             Course of Business
10/10/2023 JEO       RPO     Emails with Elizabeth Dreyer re OCP                0.60   1,275.00       $765.00
                             procedures
10/10/2023 JEO       RPO     Review OCP tracking chart and email to P.          0.30   1,275.00       $382.50
                             Jeffries re same.

10/10/2023 LHP       RPO     Update OCP declarations chart and check            1.30    545.00        $708.50
                             motion for remaining declarations needed for
                             filing and email communications.
10/10/2023 PJJ       RPO     Prepare for and file Gibson Dunn and Keller        0.40    545.00        $218.00
                             Heckman OCP Declarations.
10/10/2023 RMP       RPO     Review and respond to e-mails re Jefferies         1.30   1,895.00     $2,463.50
                             issues and review retention issues and
                             telephone conferences with client re same.

10/11/2023 JEO       RPO     Review and finalize Supplemental Declaration       0.60   1,275.00       $765.00
                             in Support of Employment of Deloitte Tax
                             LLP as Professional Utilized in the Ordinary
                             Course of Business

10/11/2023 JEO       RPO     Review and finalize Declaration in Support of      0.30   1,275.00       $382.50
                             Employment of NLO NV as Professional
                             Utilized in the Ordinary Course of Business
10/11/2023 JEO       RPO     Review draft motion to continue Jefferies          0.40   1,275.00       $510.00
                             Objection hearing
10/11/2023 JEO       RPO     Email with Elizabeth Dreyer and review OCP         0.90   1,275.00     $1,147.50
                             issues
10/11/2023 JEO       RPO     Email with UST re OCP of Graham Adair (.2)         0.40   1,275.00       $510.00
                             and follow up with client (.2)
10/11/2023 LHP       RPO     File OCP declaration of NLO NV and update          0.80    545.00        $436.00
                             chart of OCP declarations.

10/11/2023 LHP       RPO     File supplemental OCP declaration of Deloitte      0.40    545.00        $218.00
                             Tax LLP and email communications.

10/11/2023 RMP       RPO     Telephone conference with A. Kornfeld and          0.40   1,895.00       $758.00
                             D. Grassgreen re Jefferies' issues.

10/11/2023 RMP       RPO     Work through Jefferies' retention issues and       0.90   1,895.00     $1,705.50
                             telephone conference with MG and AN re
                             same.
                Case 23-11131-TMH          Doc 805-2       Filed 12/01/23     Page 140 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 139
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/12/2023 AJK       RPO     Review motion to continue.                          0.30   1,675.00       $502.50
10/12/2023 ECO       RPO     E-mails with James O'Neill re hearing on            0.10    725.00            $72.50
                             objection to Jefferies retention application.

10/12/2023 ECO       RPO     Preparation of motion to shorten notice re          0.40    725.00        $290.00
                             motion to continue hearing on Jefferies
                             retention objection.
10/12/2023 HDH       RPO     conference with R. Pachulski regarding              0.30   1,350.00       $405.00
                             Jefferies objection.
10/12/2023 HDH       RPO     Review pleadings and correspondence                 0.30   1,350.00       $405.00
                             regarding Jefferies.
10/12/2023 HDH       RPO     Draft motion to continue Jefferies hearing.         1.50   1,350.00     $2,025.00
10/12/2023 HDH       RPO     Edit motion to continue Jefferies hearing.          0.20   1,350.00       $270.00
10/12/2023 JEO       RPO     Email with UST re motion to continue hearing        0.20   1,275.00       $255.00
                             on Jefferies retention and related motion to
                             shorten

10/12/2023 JEO       RPO     Email with committee counsel re motion to           0.40   1,275.00       $510.00
                             continue and motion to shorten re Jefferies

10/12/2023 JEO       RPO     Call with Elizabeth Dreyer to review OCP            0.60   1,275.00       $765.00
                             issues and procedures
10/12/2023 RMP       RPO     Review and respond to e-mails re Jefferies and      1.60   1,895.00     $3,032.00
                             review documents, e-mails and pleadings re
                             same.
10/13/2023 AJK       RPO     Review motion to continue.                          0.40   1,675.00       $670.00
10/13/2023 DG        RPO     Review Replies to Jeffries Objections from          0.60   1,550.00       $930.00
                             Committee, Noteholders and Ad Hoc
                             Crossover Group.
10/13/2023 ECO       RPO     Preparation of motion to shorten re                 0.70    725.00        $507.50
                             continuance of Jefferies objection and
                             proposed order.
10/13/2023 ECO       RPO     Prepare e-mail to James O'Neill forwarding          0.10    725.00            $72.50
                             motion to shorten.

10/13/2023 HDH       RPO     Review new declaration and respond to               0.30   1,350.00       $405.00
                             correspondence regarding same.

10/13/2023 HDH       RPO     Revise motion to continue.                          0.70   1,350.00       $945.00
10/13/2023 HDH       RPO     Review and respond to correspondence                0.20   1,350.00       $270.00
                             regarding Jefferies objection.
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23     Page 141 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 140
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/13/2023 JEO       RPO     Review and finalize Debtors' Motion to               1.80   1,275.00     $2,295.00
                             Continue Hearing on the Application of the
                             Official Committee of Unsecured Creditors for
                             Entry of an Order (I) Authorizing the
                             Retention and Employment of Jefferies LLC
                             as Investment Banker Pursuant to 11 U.S.C.
                             §§ 328(a) and 1103(a)

10/13/2023 JHR       RPO     Analyze Committee reply ISO Jefferies                0.40    995.00        $398.00
                             retention application.

10/13/2023 RMP       RPO     Review various replies to objection to               0.90   1,895.00     $1,705.50
                             Jefferies and telephone conference with A.
                             Kornfeld re same.
10/13/2023 RMP       RPO     Draft and revise declaration of R. Pachulski         1.80   1,895.00     $3,411.00
                             and revise motion to continue and telephone
                             conferences with A. Kornfeld and D.
                             Grassgreen re same.
10/14/2023 DG        RPO     Call with R. Pachulski re: Jeffries application      0.60   1,550.00       $930.00
                             and dispute (0.3); review and respond to
                             emails re: Jeffries materials for discovery
                             requests (0.3).
10/14/2023 RMP       RPO     Deal with Jefferies issues and e-mails with          0.60   1,895.00     $1,137.00
                             Pesce re same.
10/15/2023 RMP       RPO     Telephone conference with MG re Jefferies            0.60   1,895.00     $1,137.00
                             and case issues.
10/16/2023 AJK       RPO     Attend hearing re Jefferies.                         0.70   1,675.00     $1,172.50
10/16/2023 DG        RPO     Motion to continue Jeffries employment (1);          1.70   1,550.00     $2,635.00
                             confer with R. Pachulski re: same (.3) confer
                             with A. Kornfeld re: discovery re: Jeffries and
                             briefing (.4).
10/16/2023 JEO       RPO     Review and finalize agenda for 10/16 hearing         0.90   1,275.00     $1,147.50
                             on motion to continue Jefferies hearing.
10/16/2023 JEO       RPO     Call with T. Flanagan and S. Golden re               0.20   1,275.00       $255.00
                             discovery to be propounded re Jefferies

10/16/2023 JEO       RPO     Review and finalize deposition notices for           0.80   1,275.00     $1,020.00
                             Jefferies retention

10/16/2023 JEO       RPO     Review and finalize deposition notices re            0.60   1,275.00       $765.00
                             Jefferies Retention

10/16/2023 JHR       RPO     Review Committee witness and exhibit list for        0.20    995.00        $199.00
                             Jefferies retention application hearing
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23       Page 142 of 179


Pachulski Stang Ziehl & Jones LLP                                                         Page: 141
Amyris Inc.                                                                               Invoice 135121
Client 03703.00004                                                                        October 31, 2023


                                                                                  Hours      Rate        Amount
10/16/2023 PJJ       RPO     Attend hearing on Jefferies retention extension       0.80    545.00        $436.00
                             motion.

10/16/2023 RMP       RPO     Prepare for and participate on conference call        1.70   1,895.00     $3,221.50
                             re Jefferies retention.

10/16/2023 RMP       RPO     Review e-mails and conflict issues re Jefferies.      0.80   1,895.00     $1,516.00
10/16/2023 SWG       RPO     Perform research re: retention requirements           1.80    895.00      $1,611.00
                             under 1103 and 328 re: Jefferies.

10/16/2023 SWG       RPO     Review documents related to Jefferies                 0.30    895.00        $268.50
                             retention

10/16/2023 SWG       RPO     Attend hearing on motion to continue Jefferies        0.70    895.00        $626.50
                             retention.
10/16/2023 TCF       RPO     Work on discovery requests and deposition             2.80   1,075.00     $3,010.00
                             notices (Jefferies).
10/17/2023 AJK       RPO     Review documents re Jefferies' issues.                4.10   1,675.00     $6,867.50
10/17/2023 GNB       RPO     Call with T. Flanagan regarding preparation           0.70    975.00        $682.50
                             for deposition of Jefferies' 30(b)(6) (.6);
                             Communications with PSZJ team regarding
                             same (.1).
10/17/2023 JEO       RPO     Review Notice of Service re Discovery                 0.30   1,275.00       $382.50
                             Requests to the Committee re Jefferies
                             Retention Application
10/17/2023 JEO       RPO     Review and finalize 30(b)(6) Notice for               0.50   1,275.00       $637.50
                             Jefferies Retention

10/17/2023 JEO       RPO     Review and revise amended depo notices for            0.60   1,275.00       $765.00
                             Jefferies retention

10/17/2023 JEO       RPO     Call with UST re retention issues                     0.30   1,275.00       $382.50
10/17/2023 PJJ       RPO     Telephone conference with A. Kornfeld                 0.30    545.00        $163.50
                             regarding Jefferies deposition preparation.

10/17/2023 PJJ       RPO     Coordinate court reporter for Jeffries                0.30    545.00        $163.50
                             deposition.

10/17/2023 PJJ       RPO     Process Jefferies document production.                0.50    545.00        $272.50
10/17/2023 RMP       RPO     Various telephone conferences with A.                 1.40   1,895.00     $2,653.00
                             Kornfeld and D. Grassgreen and e-mails re
                             Jefferies issues.
10/17/2023 SWG       RPO     Continue research re: standards for retention         4.40    895.00      $3,938.00
                             of Committee professionals.
                 Case 23-11131-TMH         Doc 805-2        Filed 12/01/23     Page 143 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 142
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/17/2023 TCF       RPO     Preparation for deposition (Jefferies).              6.40   1,075.00     $6,880.00
10/17/2023 TCF       RPO     Document review (Jefferies).                         3.20   1,075.00     $3,440.00
10/17/2023 TCF       RPO     Conference with G. Brown regarding                   0.70   1,075.00       $752.50
                             preparation for deposition (Jefferies).

10/18/2023 AJK       RPO     Call with S. Fleming re Jefferies issues.            0.50   1,675.00       $837.50
10/18/2023 AJK       RPO     Prepare for Jefferies' deposition (review of         5.20   1,675.00     $8,710.00
                             agreements, background materials and
                             documents).
10/18/2023 GNB       RPO     Call with T. Flanagan regarding preparation          0.50    975.00        $487.50
                             for deposition of Jefferies' 30(b)(6) (.3);
                             Communications with PSZJ team re same (.2).

10/18/2023 GNB       RPO     Review facts and documents for deposition of         2.40    975.00      $2,340.00
                             Jefferies' 30(b)(6).

10/18/2023 GNB       RPO     Draft email for KL Discovery regarding               0.20    975.00        $195.00
                             additional email searches for Jefferies
                             deposition preparation.
10/18/2023 JEO       RPO     Draft motion to seal for Jefferies presentation      1.80   1,275.00     $2,295.00
10/18/2023 JEO       RPO     Finalize Jefferies seal motion and coordinate        1.00   1,275.00     $1,275.00
                             filing and service
10/18/2023 KKY       RPO     Draft notice re Debtors' Motion for Entry of an      0.20    545.00        $109.00
                             Order Authorizing Exhibit A to the Official
                             Committee of Unsecured Creditors' Objection
                             to the Debtors' Motion to Continue the
                             Hearing on the Committee's Application to
                             Retain Jefferies LLC as Investment Banker to
                             Be Maintained Under Seal

10/18/2023 PJJ       RPO     Email regarding Jefferies deposition logistics       0.20    545.00        $109.00
                             and login.

10/18/2023 PJJ       RPO     Prepare Jefferies deposition binder.                 1.50    545.00        $817.50
10/18/2023 PJJ       RPO     Process Jefferies and Foris document                 0.40    545.00        $218.00
                             productions.

10/18/2023 SWG       RPO     Call with T. Flanagan re: document                   0.10    895.00            $89.50
                             productions in response to Jefferies retention
                             dispute
10/18/2023 TCF       RPO     Conference with G. Brown regarding                   0.40   1,075.00       $430.00
                             preparation for deposition and document
                             production (Jefferies).
                 Case 23-11131-TMH         Doc 805-2        Filed 12/01/23    Page 144 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 143
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023


                                                                                Hours      Rate        Amount
10/18/2023 TCF       RPO     Document review (Jefferies).                        6.20   1,075.00     $6,665.00
10/18/2023 TCF       RPO     Preparation of Merkt deposition outline             6.60   1,075.00     $7,095.00
                             (Jefferies).

10/19/2023 AJK       RPO     Prepare for Merkt deposition.                       4.70   1,675.00     $7,872.50
10/19/2023 DG        RPO     Correspond with H. Hochman re: Jefferies            0.30   1,550.00       $465.00
                             Brief; pull documents in connection therewith.

10/19/2023 HDH       RPO     Review documents regarding Jefferies                0.50   1,350.00       $675.00
                             objection.

10/19/2023 HDH       RPO     Telephone conference with R. Pachulski              0.30   1,350.00       $405.00
                             regarding supplemental Jefferies objection.

10/19/2023 HDH       RPO     Telephone conference with A. Kornfeld               0.30   1,350.00       $405.00
                             regarding supplemental Jefferies objection.
10/19/2023 JEO       RPO     Review status of OCP declarations and follow        0.60   1,275.00       $765.00
                             up with clients
10/19/2023 JEO       RPO     Review retention issues/status                      0.60   1,275.00       $765.00
10/19/2023 PJJ       RPO     Update OCP tracker.                                 0.20    545.00        $109.00
10/19/2023 PJJ       RPO     Prepare deposition exhibits.                        3.50    545.00      $1,907.50
10/19/2023 RMP       RPO     Telephone conference with H. Hochman re             0.30   1,895.00       $568.50
                             Jefferies brief.
10/19/2023 TCF       RPO     Preparation of Merkt deposition outline and         6.80   1,075.00     $7,310.00
                             prepare for deposition (Jefferies).
10/19/2023 TCF       RPO     Conference with A. Kornfeld regarding               0.20   1,075.00       $215.00
                             deposition preparation (Jefferies).
10/19/2023 TCF       RPO     Deposition preparation (Jefferies).                 1.20   1,075.00     $1,290.00
10/20/2023 AJK       RPO     Prepare for deposition (Merkt).                     3.70   1,675.00     $6,197.50
10/20/2023 AJK       RPO     Attend discovery meet and confer (partial).         0.50   1,675.00       $837.50
10/20/2023 AJK       RPO     Merkt deposition.                                   2.60   1,675.00     $4,355.00
10/20/2023 AJK       RPO     Call with J. Torosian re Jefferies issues.          0.30   1,675.00       $502.50
10/20/2023 AJK       RPO     Work on supplemental objection to Jefferies         1.30   1,675.00     $2,177.50
                             retention.
10/20/2023 AJK       RPO     Review Merkt transcript.                            0.70   1,675.00     $1,172.50
10/20/2023 AJK       RPO     Analysis of issues re Jefferies.                    2.20   1,675.00     $3,685.00
                 Case 23-11131-TMH         Doc 805-2       Filed 12/01/23      Page 145 of 179


Pachulski Stang Ziehl & Jones LLP                                                        Page: 144
Amyris Inc.                                                                              Invoice 135121
Client 03703.00004                                                                       October 31, 2023


                                                                                 Hours      Rate        Amount
10/20/2023 HDH       RPO     Review documents in preparation for Merkt            1.00   1,350.00     $1,350.00
                             deposition.

10/20/2023 HDH       RPO     Zoom attendance at Merkt deposition.                 2.50   1,350.00     $3,375.00
10/20/2023 HDH       RPO     Telephone conference with A. Kornfeld and            0.30   1,350.00       $405.00
                             T. Flanagan regarding deposition.

10/20/2023 HDH       RPO     Begin drafting supplemental objection.               0.50   1,350.00       $675.00
10/20/2023 JEO       RPO     Email with Elizabeth Dreyer and review OCP           0.60   1,275.00       $765.00
                             issues

10/20/2023 JEO       RPO     Review, revise and finalize supplemental             0.80   1,275.00     $1,020.00
                             declaration of Phil Gund in support of Ankura
                             Retention
10/20/2023 PJJ       RPO     Prepare for Merkt deposition.                        1.00    545.00        $545.00
10/20/2023 PJJ       RPO     Attend Merkt deposition.                             2.80    545.00      $1,526.00
10/20/2023 RMP       RPO     Review Merkt deposition and telephone                0.90   1,895.00     $1,705.50
                             conference with A. Kornfeld re same.
10/20/2023 RMP       RPO     Telephone conferences with HH, MG and                0.90   1,895.00     $1,705.50
                             review and respond to e-mails re Jefferies.
10/20/2023 TCF       RPO     Preparation for Merkt deposition (Jefferies).        0.50   1,075.00       $537.50
10/20/2023 TCF       RPO     Attend Merkt deposition (Jefferies).                 2.50   1,075.00     $2,687.50
10/20/2023 TCF       RPO     Conference with A. Kornfeld regarding Merkt          0.40   1,075.00       $430.00
                             deposition (Jefferies).
10/21/2023 AJK       RPO     Work on supplemental objection to Jefferies          3.20   1,675.00     $5,360.00
                             retention.

10/21/2023 AJK       RPO     Prepare for Jefferies retention hearing.             2.10   1,675.00     $3,517.50
10/21/2023 HDH       RPO     Draft supplemental Jefferies objection.              5.80   1,350.00     $7,830.00
10/21/2023 HDH       RPO     Review and analyze comments/revisions to             0.40   1,350.00       $540.00
                             objection.

10/21/2023 RMP       RPO     Telephone conferences with AN re Jefferies           0.30   1,895.00       $568.50
                             update.

10/21/2023 RMP       RPO     Review draft supplemental reply, draft edits to      1.20   1,895.00     $2,274.00
                             same and telephone conference with A.
                             Kornfeld re same.
10/21/2023 RMP       RPO     Review research re IB retention.                     0.20   1,895.00       $379.00
10/21/2023 SWG       RPO     Call with A. Nicas re: retention of Jefferies.       0.20    895.00        $179.00
                Case 23-11131-TMH          Doc 805-2          Filed 12/01/23     Page 146 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 145
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/21/2023 TCF       RPO     Draft witness and exhibit list (Jefferies).            0.50   1,075.00       $537.50
10/21/2023 TCF       RPO     Draft examination of Merkt (Jefferies).                4.20   1,075.00     $4,515.00
10/22/2023 AJK       RPO     Work on supplemental opposition.                       2.70   1,675.00     $4,522.50
10/22/2023 AJK       RPO     Prepare for Jefferies hearing.                         3.30   1,675.00     $5,527.50
10/22/2023 DG        RPO     Call with A. Kornfeld re: Jeffries (.3); review        2.70   1,550.00     $4,185.00
                             draft supplemental objection (.4); call with G.
                             Pesce (3x)(.7); call with A. Nicas (3x)(.6); call
                             with R. Pachulski (4x)(.7); re: working
                             through possible settlement of disputed
                             retention.
10/22/2023 HDH       RPO     Revise supplemental objection to Jefferies.            3.30   1,350.00     $4,455.00
10/22/2023 HDH       RPO     Review and revise objection.                           0.50   1,350.00       $675.00
10/22/2023 HDH       RPO     Review revised drafts.                                 0.30   1,350.00       $405.00
10/22/2023 HDH       RPO     Review and respond to extensive                        0.50   1,350.00       $675.00
                             correspondence regarding objection.
10/22/2023 JEO       RPO     Work on Supplemental Objection to Jefferies            4.00   1,275.00     $5,100.00
                             Retention and related Motion to Seal Merkt
                             transcript
10/22/2023 RMP       RPO     Continuous telephone conferences with AN,              3.60   1,895.00     $6,822.00
                             D. Grassgreen, A. Kornfeld , MG and CP and
                             e-mails re same re Jefferies application.
10/22/2023 RMP       RPO     Review, edit and respond to e-mails re                 1.10   1,895.00     $2,084.50
                             supplemental objection and telephone
                             conferences with A. Kornfeld and D.
                             Grassgreen re same.
10/22/2023 RMP       RPO     Telephone conference with AN re reply issues           0.30   1,895.00       $568.50
                             associated with Jefferies application.
10/22/2023 TCF       RPO     Review and analyze evidentiary matters                 0.80   1,075.00       $860.00
                             regarding supplemental objection to
                             employment (Jefferies).
10/23/2023 AJK       RPO     Prepare for retention hearing.                         3.70   1,675.00     $6,197.50
10/23/2023 DG        RPO     Review emails to and from G. Pesce and R.              0.50   1,550.00       $775.00
                             Pachulski re: Jeffries retention settlement.
10/23/2023 JEO       RPO     Work on resolution of Jefferies retention              2.50   1,275.00     $3,187.50
                             application
                  Case 23-11131-TMH        Doc 805-2       Filed 12/01/23       Page 147 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 146
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                  Hours       Rate        Amount
10/23/2023 RMP       RPO     Various continuous e-mails and telephone               2.30   1,895.00     $4,358.50
                             conferences with GP and AN re Jefferies
                             issues and resolution of same.
10/23/2023 RMP       RPO     Review final drafts of Jefferies supplemental          0.70   1,895.00     $1,326.50
                             objection.
10/23/2023 TCF       RPO     Revise and finalize supplemental objection             0.80   1,075.00       $860.00
                             (.40); motion to seal (.30); witness and exhibit
                             list (.10) (Jefferies).

10/23/2023 TCF       RPO     Coordination for filing supplemental                   0.40   1,075.00       $430.00
                             objection; motion to seal; witness and exhibit
                             list (Jefferies).
10/24/2023 RMP       RPO     Review Jefferies proposed order and e-mails            0.20   1,895.00       $379.00
                             re same.
10/25/2023 RMP       RPO     Review Jefferies order and e-mails re same.            0.30   1,895.00       $568.50
10/26/2023 RMP       RPO     Review revised Jefferies order.                        0.20   1,895.00       $379.00
10/30/2023 JEO       RPO     Review status of OCP matters.                          0.80   1,275.00     $1,020.00
10/30/2023 LHP       RPO     Review OCP declaration of CFGI and email               0.30    545.00        $163.50
                             communications with James O'Neill regarding
                             same.

10/30/2023 LHP       RPO     Email communications with James O'Neill                0.20    545.00        $109.00
                             regarding OCP declarations.

                                                                                  207.40              $274,105.50

Stay Litigation
10/17/2023 ECO       SL      Review correspondence re Leonard                       0.60    725.00        $435.00
                             Brown/class action claim and prepare letter to
                             Brown's counsel.
10/17/2023 ECO       SL      Review contracts/correspondence re customers           0.80    725.00        $580.00
                             and non-payment and prepare notes for
                             correspondence to be sent.

10/18/2023 ECO       SL      Prepare letter to Target re open                       0.40    725.00        $290.00
                             invoices/nonpayment.
10/18/2023 ECO       SL      Prepare letter to THG Group/Cult Beauty re             0.20    725.00        $145.00
                             open invoices/nonpayment.
10/18/2023 ECO       SL      Prepare letter to Yoox/Net-A-Porter re open            0.20    725.00        $145.00
                             invoices/nonpayment.
                Case 23-11131-TMH          Doc 805-2        Filed 12/01/23       Page 148 of 179


Pachulski Stang Ziehl & Jones LLP                                                          Page: 147
Amyris Inc.                                                                                Invoice 135121
Client 03703.00004                                                                         October 31, 2023


                                                                                   Hours      Rate        Amount
10/18/2023 ECO       SL      Prepare letter to Bergdorf Goodman re open             0.20    725.00        $145.00
                             invoices/nonpayment.

10/18/2023 ECO       SL      Review e-mails and contracts re ongoing                0.50    725.00        $362.50
                             disputes with Linde Gas and Thermo
                             Electron/prepare notes for correspondence.
10/18/2023 ECO       SL      Prepare letter to Linde Gas & Electric re              0.40    725.00        $290.00
                             performance obligations under contract and
                             relationship to the bankruptcy filing.

10/18/2023 ECO       SL      Prepare letter to Thermo Electron re                   0.30    725.00        $217.50
                             performance obligations under contract and
                             relationship to the bankruptcy filing.
10/18/2023 SWG       SL      Research issues re: violations of automatic            0.90    895.00        $805.50
                             stay and IP law issues.
10/19/2023 SWG       SL      Begin drafting response letter to A. Gibson re:        2.30    895.00      $2,058.50
                             demand letter.
10/23/2023 SWG       SL      Finalize stay violation letter to A. Gibson            0.30    895.00        $268.50
10/24/2023 SWG       SL      Finalize and transmit stay violation letter to A.      0.20    895.00        $179.00
                             Gibson.
                                                                                    7.30                $5,921.50

Travel
10/01/2023 AJK       TR      Working travel - prepare for Gaul deposition.          9.50   1,675.00    $15,912.50
                                                                                    9.50               $15,912.50

   TOTAL SERVICES FOR THIS MATTER:                                                              $3,102,586.75
                Case 23-11131-TMH         Doc 805-2     Filed 12/01/23        Page 149 of 179


Pachulski Stang Ziehl & Jones LLP                                                       Page: 148
Amyris Inc.                                                                             Invoice 135121
Client 03703.00004                                                                      October 31, 2023



Expenses
09/13/2023 AF        Full Coach from LAX/DE/LAX on 9/13-9/14 for hearing on             2,159.79
                     DIP motion - RMP

09/13/2023 HT        Dupont Hotel - RMP (1 night)                                        360.90
09/14/2023 AT        UBER - Dupont Hotel to JFK - RMP                                     94.75
09/21/2023 AF        American Airlines, Tkt 00180564040086, full refundable             1,827.80
                     coach airfare, LAX/DE 10/2 - 10/5, for hearing, RMP

09/30/2023 TR        Reliable Companies, Inv. WL112924, LDJ                              211.75
10/01/2023 AF        Air Fare [E110]. American Airlines, Tkt 00180564040311,            1,827.80
                     Full fare refundable coach airfare from LAX/DE on 10/1 -
                     10/5/2023 for DIP hearing, AJK
10/01/2023 AT        KLS - Home to LAX - AJK                                             158.00
10/01/2023 AT        KLS - PHL to Hotel DuPont - AJK                                     259.52
10/01/2023 LN        03703.00004 Lexis Charges for 10-01-23                               22.73
10/01/2023 LN        03703.00004 Lexis Charges for 10-01-23                               32.72
10/01/2023 RE2       ( 1 @0.10 PER PG)                                                      0.10
10/01/2023 RE2       ( 16 @0.10 PER PG)                                                     1.60
10/01/2023 RE2       ( 17 @0.10 PER PG)                                                     1.70
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                            0.10
10/01/2023 RE2       SCAN/COPY ( 278 @0.10 PER PG)                                        27.80
10/01/2023 RE2       SCAN/COPY ( 84 @0.10 PER PG)                                           8.40
10/01/2023 RE2       SCAN/COPY ( 480 @0.10 PER PG)                                        48.00
10/01/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                            0.60
10/01/2023 RE2       SCAN/COPY ( 185 @0.10 PER PG)                                        18.50
10/01/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                            0.20
10/01/2023 RE2       SCAN/COPY ( 60 @0.10 PER PG)                                           6.00
10/01/2023 RE2       SCAN/COPY ( 90 @0.10 PER PG)                                           9.00
10/01/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                           1.80
10/01/2023 RE2       SCAN/COPY ( 63 @0.10 PER PG)                                           6.30
10/01/2023 RE2       SCAN/COPY ( 294 @0.10 PER PG)                                        29.40
10/01/2023 RE2       SCAN/COPY ( 594 @0.10 PER PG)                                        59.40
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 150 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 149
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/01/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/01/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/01/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
10/01/2023 RE2       SCAN/COPY ( 132 @0.10 PER PG)                                13.20
10/01/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/01/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/01/2023 RE2       SCAN/COPY ( 51 @0.10 PER PG)                                  5.10
10/01/2023 RE2       SCAN/COPY ( 36 @0.10 PER PG)                                  3.60
10/01/2023 RE2       SCAN/COPY ( 1167 @0.10 PER PG)                              116.70
10/01/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/01/2023 RE2       SCAN/COPY ( 198 @0.10 PER PG)                                19.80
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/01/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/01/2023 RE2       SCAN/COPY ( 75 @0.10 PER PG)                                  7.50
10/01/2023 RE2       SCAN/COPY ( 212 @0.10 PER PG)                                21.20
10/01/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/01/2023 RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40
10/01/2023 RE2       SCAN/COPY ( 93 @0.10 PER PG)                                  9.30
10/01/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/01/2023 RE2       SCAN/COPY ( 27 @0.10 PER PG)                                  2.70
10/01/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/01/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/01/2023 RE2       SCAN/COPY ( 396 @0.10 PER PG)                                39.60
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
                Case 23-11131-TMH         Doc 805-2    Filed 12/01/23   Page 151 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 150
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/01/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                     0.30
10/01/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/01/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                     0.70
10/01/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                    4.00
10/02/2023 AT        KLS - Home to LAX - RMP                                       251.24
10/02/2023 AT        KLS - PHL to Hotel DuPont - RMP                               259.52
10/02/2023 AT        A&H Transportation, DIG                                       357.50
10/02/2023 DC        3703.00004 Advita Charges for 10-02-23                         28.05
10/02/2023 DC        3703.00004 Advita Charges for 10-02-23                         32.67
10/02/2023 DC        3703.00004 Advita Charges for 10-02-23                         97.35
10/02/2023 LN        03703.00004 Lexis Charges for 10-02-23                         22.73
10/02/2023 LN        03703.00004 Lexis Charges for 10-02-23                          6.09
10/02/2023 LN        03703.00004 Lexis Charges for 10-02-23                        103.11
10/02/2023 LN        03703.00004 Lexis Charges for 10-02-23                         11.58
10/02/2023 LN        03703.00004 Lexis Charges for 10-02-23                         10.69
10/02/2023 RE2       ( 12 @0.10 PER PG)                                              1.20
10/02/2023 RE2       ( 14 @0.10 PER PG)                                              1.40
10/02/2023 RE2       ( 12 @0.10 PER PG)                                              1.20
10/02/2023 RE2       ( 10 @0.10 PER PG)                                              1.00
10/02/2023 RE2       ( 33 @0.10 PER PG)                                              3.30
10/02/2023 RE2       ( 10 @0.10 PER PG)                                              1.00
10/02/2023 RE2       ( 12 @0.10 PER PG)                                              1.20
10/02/2023 RE2       ( 21 @0.10 PER PG)                                              2.00
10/02/2023 RE2       ( 2 @0.10 PER PG)                                               0.20
10/02/2023 RE2       ( 10 @0.10 PER PG)                                              1.00
10/02/2023 RE2       ( 96 @0.10 PER PG)                                              9.60
10/02/2023 RE2       ( 58 @0.10 PER PG)                                              5.80
10/02/2023 RE2       ( 2 @0.10 PER PG)                                               0.20
10/02/2023 RE2       ( 66 @0.10 PER PG)                                              6.60
                Case 23-11131-TMH         Doc 805-2   Filed 12/01/23   Page 152 of 179


Pachulski Stang Ziehl & Jones LLP                                                Page: 151
Amyris Inc.                                                                      Invoice 135121
Client 03703.00004                                                               October 31, 2023


10/02/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/02/2023 RE2       ( 8 @0.10 PER PG)                                              0.80
10/02/2023 RE2       ( 80 @0.10 PER PG)                                             8.00
10/02/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/02/2023 RE2       ( 2186 @0.10 PER PG)                                         218.60
10/02/2023 RE2       ( 52 @0.10 PER PG)                                             5.00
10/02/2023 RE2       ( 17 @0.10 PER PG)                                             1.70
10/02/2023 RE2       ( 84 @0.10 PER PG)                                             8.40
10/02/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/02/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/02/2023 RE2       ( 6 @0.10 PER PG)                                              0.60
10/02/2023 RE2       ( 62 @0.10 PER PG)                                             6.20
10/02/2023 RE2       ( 108 @0.10 PER PG)                                           10.80
10/02/2023 RE2       ( 78 @0.10 PER PG)                                             7.80
10/02/2023 RE2       ( 12 @0.10 PER PG)                                             1.20
10/02/2023 RE2       ( 48 @0.10 PER PG)                                             4.80
10/02/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/02/2023 RE2       ( 34 @0.10 PER PG)                                             3.40
10/02/2023 RE2       ( 20 @0.10 PER PG)                                             2.00
10/02/2023 RE2       ( 16 @0.10 PER PG)                                             1.60
10/02/2023 RE2       ( 10 @0.10 PER PG)                                             1.00
10/02/2023 RE2       ( 164 @0.10 PER PG)                                           16.40
10/02/2023 RE2       ( 1 @0.10 PER PG)                                              0.10
10/02/2023 RE2       ( 164 @0.10 PER PG)                                           16.40
10/02/2023 RE2       ( 28 @0.10 PER PG)                                             2.80
10/02/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/02/2023 RE2       ( 24 @0.10 PER PG)                                             2.40
10/02/2023 RE2       ( 5520 @0.10 PER PG)                                         552.00
10/02/2023 RE2       ( 62 @0.10 PER PG)                                             6.20
                Case 23-11131-TMH         Doc 805-2   Filed 12/01/23   Page 153 of 179


Pachulski Stang Ziehl & Jones LLP                                                Page: 152
Amyris Inc.                                                                      Invoice 135121
Client 03703.00004                                                               October 31, 2023


10/02/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/02/2023 RE2       ( 50 @0.10 PER PG)                                             5.00
10/02/2023 RE2       ( 6 @0.10 PER PG)                                              0.60
10/02/2023 RE2       ( 12 @0.10 PER PG)                                             1.20
10/02/2023 RE2       ( 156 @0.10 PER PG)                                           15.60
10/02/2023 RE2       ( 20 @0.10 PER PG)                                             2.00
10/02/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/02/2023 RE2       ( 46 @0.10 PER PG)                                             4.60
10/02/2023 RE2       ( 60 @0.10 PER PG)                                             6.00
10/02/2023 RE2       ( 28 @0.10 PER PG)                                             2.80
10/02/2023 RE2       ( 10 @0.10 PER PG)                                             1.00
10/02/2023 RE2       ( 134 @0.10 PER PG)                                           13.40
10/02/2023 RE2       ( 24 @0.10 PER PG)                                             2.40
10/02/2023 RE2       ( 66 @0.10 PER PG)                                             6.60
10/02/2023 RE2       ( 80 @0.10 PER PG)                                             8.00
10/02/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/02/2023 RE2       ( 10 @0.10 PER PG)                                             1.00
10/02/2023 RE2       ( 12 @0.10 PER PG)                                             1.20
10/02/2023 RE2       ( 46 @0.10 PER PG)                                             4.60
10/02/2023 RE2       ( 78 @0.10 PER PG)                                             7.80
10/02/2023 RE2       ( 48 @0.10 PER PG)                                             4.80
10/02/2023 RE2       ( 60 @0.10 PER PG)                                             6.00
10/02/2023 RE2       ( 34 @0.10 PER PG)                                             3.40
10/02/2023 RE2       ( 10 @0.10 PER PG)                                             1.00
10/02/2023 RE2       ( 6 @0.10 PER PG)                                              0.60
10/02/2023 RE2       SCAN/COPY ( 185 @0.10 PER PG)                                 18.50
10/02/2023 RE2       SCAN/COPY ( 42 @0.10 PER PG)                                   4.20
10/02/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                    0.30
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                    0.90
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 154 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 153
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 23 @0.10 PER PG)                                  2.30
10/02/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/02/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
10/02/2023 RE2       SCAN/COPY ( 98 @0.10 PER PG)                                  9.80
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/02/2023 RE2       SCAN/COPY ( 198 @0.10 PER PG)                                19.80
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/02/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/02/2023 RE2       SCAN/COPY ( 135 @0.10 PER PG)                                13.50
10/02/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/02/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/02/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/02/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/02/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/02/2023 RE2       SCAN/COPY ( 137 @0.10 PER PG)                                13.70
10/02/2023 RE2       SCAN/COPY ( 31 @0.10 PER PG)                                  3.10
10/02/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 155 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 154
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 33 @0.10 PER PG)                                  3.30
10/02/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
10/02/2023 RE2       SCAN/COPY ( 27 @0.10 PER PG)                                  2.70
10/02/2023 RE2       SCAN/COPY ( 36 @0.10 PER PG)                                  3.60
10/02/2023 RE2       SCAN/COPY ( 102 @0.10 PER PG)                                10.20
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 160 @0.10 PER PG)                                16.00
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/02/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/02/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/02/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                  4.50
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/02/2023 RE2       SCAN/COPY ( 89 @0.10 PER PG)                                  8.90
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/02/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/02/2023 RE2       SCAN/COPY ( 1080 @0.10 PER PG)                              108.00
10/02/2023 RE2       SCAN/COPY ( 540 @0.10 PER PG)                                54.00
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 156 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 155
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/02/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
10/02/2023 RE2       SCAN/COPY ( 556 @0.10 PER PG)                                55.60
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/02/2023 RE2       SCAN/COPY ( 560 @0.10 PER PG)                                56.00
10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 23 @0.10 PER PG)                                  2.30
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 150 @0.10 PER PG)                                15.00
10/02/2023 RE2       SCAN/COPY ( 17 @0.10 PER PG)                                  1.70
10/02/2023 RE2       SCAN/COPY ( 27 @0.10 PER PG)                                  2.70
10/02/2023 RE2       SCAN/COPY ( 33 @0.10 PER PG)                                  3.30
10/02/2023 RE2       SCAN/COPY ( 138 @0.10 PER PG)                                13.80
10/02/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/02/2023 RE2       SCAN/COPY ( 180 @0.10 PER PG)                                18.00
10/02/2023 RE2       SCAN/COPY ( 84 @0.10 PER PG)                                  8.40
10/02/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/02/2023 RE2       SCAN/COPY ( 1020 @0.10 PER PG)                              102.00
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 31 @0.10 PER PG)                                  3.10
10/02/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 157 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 156
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/02/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/02/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/02/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/02/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 137 @0.10 PER PG)                                13.70
10/02/2023 RE2       SCAN/COPY ( 185 @0.10 PER PG)                                18.50
10/02/2023 RE2       SCAN/COPY ( 28 @0.10 PER PG)                                  2.80
10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 158 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 157
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/02/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 1620 @0.10 PER PG)                              162.00
10/02/2023 RE2       SCAN/COPY ( 39 @0.10 PER PG)                                  3.90
10/02/2023 RE2       SCAN/COPY ( 39 @0.10 PER PG)                                  3.90
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/02/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/02/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/02/2023 RE2       SCAN/COPY ( 231 @0.10 PER PG)                                23.10
10/02/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/02/2023 RE2       SCAN/COPY ( 759 @0.10 PER PG)                                75.90
10/02/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/02/2023 RE2       SCAN/COPY ( 50 @0.10 PER PG)                                  5.00
10/02/2023 RE2       SCAN/COPY ( 71 @0.10 PER PG)                                  7.10
10/02/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/02/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
                Case 23-11131-TMH         Doc 805-2    Filed 12/01/23   Page 159 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 158
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/02/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/02/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/02/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
10/02/2023 RE2       SCAN/COPY ( 280 @0.10 PER PG)                                  28.00
10/02/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                    4.00
10/02/2023 RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
10/02/2023 RE2       SCAN/COPY ( 116 @0.10 PER PG)                                  11.60
10/02/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
10/02/2023 RE2       SCAN/COPY ( 252 @0.10 PER PG)                                  25.20
10/02/2023 RE2       SCAN/COPY ( 38 @0.10 PER PG)                                    3.80
10/02/2023 RE2       SCAN/COPY ( 232 @0.10 PER PG)                                  23.20
10/03/2023 BM        Hotel DuPont, DE, AJK                                          99.16
10/03/2023 BM        Starbucks, AJK                                                 11.40
10/03/2023 DC        3703.00004 Advita Charges for 10-03-23                         52.00
10/03/2023 DC        3703.00004 Advita Charges for 10-03-23                        278.18
10/03/2023 DC        3703.00004 Advita Charges for 10-03-23                          7.50
10/03/2023 DC        3703.00004 Advita Charges for 10-03-23                         56.50
10/03/2023 DC        3703.00004 Advita Charges for 10-03-23                        726.50
10/03/2023 LN        03703.00004 Lexis Charges for 10-03-23                         22.73
10/03/2023 LN        03703.00004 Lexis Charges for 10-03-23                         68.74
10/03/2023 LN        03703.00004 Lexis Charges for 10-03-23                         11.00
10/03/2023 LN        03703.00004 Lexis Charges for 10-03-23                         55.23
10/03/2023 LN        03703.00004 Lexis Charges for 10-03-23                         57.28
10/03/2023 RE2       ( 6 @0.10 PER PG)                                               0.60
10/03/2023 RE2       ( 156 @0.10 PER PG)                                            15.60
10/03/2023 RE2       ( 6 @0.10 PER PG)                                               0.60
10/03/2023 RE2       ( 16 @0.10 PER PG)                                              1.60
10/03/2023 RE2       ( 192 @0.10 PER PG)                                            19.20
                Case 23-11131-TMH         Doc 805-2   Filed 12/01/23   Page 160 of 179


Pachulski Stang Ziehl & Jones LLP                                                Page: 159
Amyris Inc.                                                                      Invoice 135121
Client 03703.00004                                                               October 31, 2023


10/03/2023 RE2       ( 40 @0.10 PER PG)                                             4.00
10/03/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/03/2023 RE2       ( 62 @0.10 PER PG)                                             6.20
10/03/2023 RE2       ( 50 @0.10 PER PG)                                             5.00
10/03/2023 RE2       ( 96 @0.10 PER PG)                                             9.60
10/03/2023 RE2       ( 8 @0.10 PER PG)                                              0.80
10/03/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/03/2023 RE2       ( 108 @0.10 PER PG)                                           10.80
10/03/2023 RE2       ( 14 @0.10 PER PG)                                             1.40
10/03/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/03/2023 RE2       ( 10 @0.10 PER PG)                                             1.00
10/03/2023 RE2       ( 8 @0.10 PER PG)                                              0.80
10/03/2023 RE2       ( 58 @0.10 PER PG)                                             5.80
10/03/2023 RE2       ( 1 @0.10 PER PG)                                              0.10
10/03/2023 RE2       ( 58 @0.10 PER PG)                                             5.80
10/03/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/03/2023 RE2       ( 12 @0.10 PER PG)                                             1.20
10/03/2023 RE2       ( 20 @0.10 PER PG)                                             2.00
10/03/2023 RE2       ( 8 @0.10 PER PG)                                              0.80
10/03/2023 RE2       ( 8 @0.10 PER PG)                                              0.80
10/03/2023 RE2       ( 130 @0.10 PER PG)                                           13.00
10/03/2023 RE2       ( 42 @0.10 PER PG)                                             4.20
10/03/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/03/2023 RE2       ( 12 @0.10 PER PG)                                             1.20
10/03/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/03/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
10/03/2023 RE2       ( 2 @0.10 PER PG)                                              0.20
10/03/2023 RE2       ( 6 @0.10 PER PG)                                              0.60
10/03/2023 RE2       ( 4 @0.10 PER PG)                                              0.40
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 161 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 160
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 33 @0.10 PER PG)                                  3.30
10/03/2023 RE2       SCAN/COPY ( 26 @0.10 PER PG)                                  2.60
10/03/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20
10/03/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 33 @0.10 PER PG)                                  3.30
10/03/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/03/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 960 @0.10 PER PG)                                96.00
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
10/03/2023 RE2       SCAN/COPY ( 31 @0.10 PER PG)                                  3.10
10/03/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 17 @0.10 PER PG)                                  1.70
10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 80 @0.10 PER PG)                                  8.00
10/03/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/03/2023 RE2       SCAN/COPY ( 56 @0.10 PER PG)                                  5.60
10/03/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
10/03/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/03/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 162 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 161
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 26 @0.10 PER PG)                                  2.60
10/03/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/03/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/03/2023 RE2       SCAN/COPY ( 52 @0.10 PER PG)                                  5.20
10/03/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                  2.20
10/03/2023 RE2       SCAN/COPY ( 89 @0.10 PER PG)                                  8.90
10/03/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/03/2023 RE2       SCAN/COPY ( 89 @0.10 PER PG)                                  8.90
10/03/2023 RE2       SCAN/COPY ( 54 @0.10 PER PG)                                  5.40
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/03/2023 RE2       SCAN/COPY ( 89 @0.10 PER PG)                                  8.90
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
10/03/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/03/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/03/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20
10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/03/2023 RE2       SCAN/COPY ( 42 @0.10 PER PG)                                  4.20
10/03/2023 RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40
10/03/2023 RE2       SCAN/COPY ( 695 @0.10 PER PG)                                69.50
10/03/2023 RE2       SCAN/COPY ( 304 @0.10 PER PG)                                30.40
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 163 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 162
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 90 @0.10 PER PG)                                  9.00
10/03/2023 RE2       SCAN/COPY ( 190 @0.10 PER PG)                                19.00
10/03/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/03/2023 RE2       SCAN/COPY ( 179 @0.10 PER PG)                                17.90
10/03/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/03/2023 RE2       SCAN/COPY ( 160 @0.10 PER PG)                                16.00
10/03/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
10/03/2023 RE2       SCAN/COPY ( 31 @0.10 PER PG)                                  3.10
10/03/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
10/03/2023 RE2       SCAN/COPY ( 150 @0.10 PER PG)                                15.00
10/03/2023 RE2       SCAN/COPY ( 17 @0.10 PER PG)                                  1.70
10/03/2023 RE2       SCAN/COPY ( 142 @0.10 PER PG)                                14.20
10/03/2023 RE2       SCAN/COPY ( 46 @0.10 PER PG)                                  4.60
10/03/2023 RE2       SCAN/COPY ( 28 @0.10 PER PG)                                  2.80
10/03/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20
10/03/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/03/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/03/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                   0.30
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 56 @0.10 PER PG)                                  5.60
10/03/2023 RE2       SCAN/COPY ( 21 @0.10 PER PG)                                  2.10
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 164 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 163
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
10/03/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/03/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/03/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/03/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/03/2023 RE2       SCAN/COPY ( 21 @0.10 PER PG)                                  2.10
10/03/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
10/03/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
10/03/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
10/03/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/03/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
10/03/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 26 @0.10 PER PG)                                  2.60
10/03/2023 RE2       SCAN/COPY ( 120 @0.10 PER PG)                                12.00
10/03/2023 RE2       SCAN/COPY ( 75 @0.10 PER PG)                                  7.50
10/03/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/03/2023 RE2       SCAN/COPY ( 420 @0.10 PER PG)                                42.00
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 274 @0.10 PER PG)                                27.40
10/03/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/03/2023 RE2       SCAN/COPY ( 76 @0.10 PER PG)                                  7.60
10/03/2023 RE2       SCAN/COPY ( 117 @0.10 PER PG)                                11.70
10/03/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/03/2023 RE2       SCAN/COPY ( 117 @0.10 PER PG)                                11.70
10/03/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
10/03/2023 RE2       SCAN/COPY ( 31 @0.10 PER PG)                                  3.10
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 165 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 164
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/03/2023 RE2       SCAN/COPY ( 150 @0.10 PER PG)                                15.00
10/03/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/03/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/03/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 110 @0.10 PER PG)                                11.00
10/03/2023 RE2       SCAN/COPY ( 66 @0.10 PER PG)                                  6.60
10/03/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/03/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/03/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/03/2023 RE2       SCAN/COPY ( 29 @0.10 PER PG)                                  2.90
10/03/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                   0.80
10/03/2023 RE2       SCAN/COPY ( 36 @0.10 PER PG)                                  3.60
10/03/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                   0.50
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 56 @0.10 PER PG)                                  5.60
10/03/2023 RE2       SCAN/COPY ( 71 @0.10 PER PG)                                  7.10
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
10/03/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/03/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 166 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 165
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
10/03/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/03/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/03/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/03/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/03/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/03/2023 RE2       SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
10/03/2023 RE2       SCAN/COPY ( 160 @0.10 PER PG)                                16.00
10/03/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                  4.50
10/03/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
10/03/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
10/03/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                  4.50
10/03/2023 RE2       SCAN/COPY ( 320 @0.10 PER PG)                                32.00
10/03/2023 RE2       SCAN/COPY ( 142 @0.10 PER PG)                                14.20
10/03/2023 RE2       SCAN/COPY ( 196 @0.10 PER PG)                                19.60
10/03/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
10/03/2023 RE2       SCAN/COPY ( 388 @0.10 PER PG)                                38.80
10/03/2023 RE2       SCAN/COPY ( 60 @0.10 PER PG)                                  6.00
10/03/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/03/2023 RE2       SCAN/COPY ( 550 @0.10 PER PG)                                55.00
10/03/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/03/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/03/2023 RE2       SCAN/COPY ( 117 @0.10 PER PG)                                11.70
10/03/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                14.40
10/03/2023 RE2       SCAN/COPY ( 76 @0.10 PER PG)                                  7.60
                Case 23-11131-TMH          Doc 805-2      Filed 12/01/23   Page 167 of 179


Pachulski Stang Ziehl & Jones LLP                                                    Page: 166
Amyris Inc.                                                                          Invoice 135121
Client 03703.00004                                                                   October 31, 2023


10/03/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                        1.80
10/03/2023 RE2       SCAN/COPY ( 26 @0.10 PER PG)                                        2.60
10/03/2023 RE2       SCAN/COPY ( 43 @0.10 PER PG)                                        4.30
10/03/2023 TR        Transcript. Veritext, 6878996 - PJ                              4,976.60
10/04/2023 AT        KLS Worldwide Transportation, DG                                 259.52
10/04/2023 BM        Starbucks, AJK                                                    11.40
10/04/2023 BM        Bardea Garden Restaurant, RMP                                   2,260.06
10/04/2023 DC        Parcel, Inv. 1044806, PEC                                        169.00
10/04/2023 DC        3703.00004 Advita Charges for 10-04-23                           120.00
10/04/2023 DC        3703.00004 Advita Charges for 10-04-23                           471.50
10/04/2023 DC        3703.00004 Advita Charges for 10-04-23                           100.10
10/04/2023 DC        3703.00004 Advita Charges for 10-04-23                            12.50
10/04/2023 HT        DuPont Hotel, 3 Nights, RMP                                      986.70
10/04/2023 LN        03703.00004 Lexis Charges for 10-04-23                            34.08
10/04/2023 LN        03703.00004 Lexis Charges for 10-04-23                            22.95
10/04/2023 LN        03703.00004 Lexis Charges for 10-04-23                            11.47
10/04/2023 RE2       ( 492 @0.10 PER PG)                                               49.20
10/04/2023 TR        Reliable Companies, Inv. WL112975, LDJ                          1,905.90
10/04/2023 TR        Reliable Companies, Inv. WL 112986, LDJ                           50.00
10/04/2023 TR        Reliable Companies, Inv. WL113002, LDJ                          2,687.04
10/05/2023 AT        DE Limo Service, BEL                                             165.00
10/05/2023 AT        KLS - Hotel DuPont to PHL - RMP                                  247.52
10/05/2023 AT        KLS - LAX to Home - RMP                                          203.00
10/05/2023 AT        KLS - LAX to Home - AJK                                          279.02
10/05/2023 AT        KLS - Hotel DuPont to PHL - AJK                                  247.52
10/05/2023 BM        Starbucks, AJK                                                    11.10
10/05/2023 BM        Mezzogiorno Lunch, RMP                                            27.51
10/05/2023 DC        3703.00004 Advita Charges for 10-05-23                            45.77
10/05/2023 FE        03703.00004 FedEx Charges for 10-05-23                           111.03
                Case 23-11131-TMH         Doc 805-2       Filed 12/01/23   Page 168 of 179


Pachulski Stang Ziehl & Jones LLP                                                    Page: 167
Amyris Inc.                                                                          Invoice 135121
Client 03703.00004                                                                   October 31, 2023


10/05/2023 FE        03703.00004 FedEx Charges for 10-05-23                            61.30
10/05/2023 HT        Hotel Dupont DE, 4 nights, DG                                   1,315.60
10/05/2023 TR        Transcript. Veritext, 6880057, PJJ                              3,725.50
10/05/2023 TR        Reliable Companies, Inv. WL113015, LDJ                           145.60
10/06/2023 AT        Lyft Car Service, BEL                                             53.84
10/06/2023 BM        Chickies & Petes, AJK                                             86.10
10/06/2023 BM        Starbucks, AJK                                                    24.40
10/06/2023 HT        Hotel DuPont, 4 nights, BEL                                     1,325.60
10/06/2023 HT        Hotel DuPont, DE, 4 nights, AJK                                 1,315.60
10/06/2023 LN        03703.00004 Lexis Charges for 10-06-23                            21.36
10/06/2023 LN        03703.00004 Lexis Charges for 10-06-23                            10.26
10/07/2023 AT        KLS Worldwide Transportation, DG                                 275.05
10/07/2023 LN        03703.00004 Lexis Charges for 10-07-23                            34.37
10/08/2023 LN        03703.00004 Lexis Charges for 10-08-23                            11.47
10/09/2023 TR        Reliable Companies, Inv. WL113061, LDJ                           140.70
10/09/2023 TR        Reliable Companies, Inv. WL113079, LDJ                           394.20
10/10/2023 TR        Veritext, 6883435, PJJ                                          7,109.10
10/11/2023 AT        Uber trip, JHR                                                   124.06
10/11/2023 LN        03703.00004 Lexis Charges for 10-11-23                            10.69
10/11/2023 TE        Wifi on Board, SWG                                                19.00
10/12/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
10/12/2023 RE2       SCAN/COPY ( 375 @0.10 PER PG)                                     37.50
10/12/2023 RE2       SCAN/COPY ( 55 @0.10 PER PG)                                        5.50
10/12/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                        2.50
10/12/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                        1.50
10/12/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                        2.00
10/12/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
10/12/2023 RE2       SCAN/COPY ( 350 @0.10 PER PG)                                     35.00
10/12/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                        1.00
                Case 23-11131-TMH         Doc 805-2    Filed 12/01/23   Page 169 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 168
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/12/2023 TR        Escribers, Inv 810338, B. Dassa                                96.30
10/13/2023 FE        03703.00004 FedEx Charges for 10-13-23                         50.20
10/13/2023 LN        03703.00004 Lexis Charges for 10-13-23                         11.02
10/13/2023 RE2       SCAN/COPY ( 160 @0.10 PER PG)                                  16.00
10/13/2023 RE2       SCAN/COPY ( 144 @0.10 PER PG)                                  14.40
10/13/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/13/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
10/13/2023 RE2       SCAN/COPY ( 100 @0.10 PER PG)                                  10.00
10/13/2023 RE2       SCAN/COPY ( 860 @0.10 PER PG)                                  86.00
10/13/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 100 @0.10 PER PG)                                  10.00
10/13/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00
10/13/2023 RE2       SCAN/COPY ( 510 @0.10 PER PG)                                  51.00
10/13/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/13/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/13/2023 RE2       SCAN/COPY ( 115 @0.10 PER PG)                                  11.50
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 60 @0.10 PER PG)                                    6.00
10/13/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
10/13/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
10/13/2023 RE2       SCAN/COPY ( 405 @0.10 PER PG)                                  40.50
10/13/2023 RE2       SCAN/COPY ( 172 @0.10 PER PG)                                  17.20
                Case 23-11131-TMH         Doc 805-2    Filed 12/01/23   Page 170 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 169
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/13/2023 RE2       SCAN/COPY ( 28 @0.10 PER PG)                                    2.80
10/13/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
10/13/2023 RE2       SCAN/COPY ( 100 @0.10 PER PG)                                  10.00
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/13/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
10/13/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
10/13/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00
10/13/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
10/13/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
10/13/2023 RE2       SCAN/COPY ( 102 @0.10 PER PG)                                  10.20
10/13/2023 RE2       SCAN/COPY ( 102 @0.10 PER PG)                                  10.20
10/13/2023 RE2       SCAN/COPY ( 82 @0.10 PER PG)                                    8.20
10/13/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
10/13/2023 RE2       SCAN/COPY ( 81 @0.10 PER PG)                                    8.10
10/13/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/13/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
10/14/2023 TE        Wifi On Board, SWG                                             19.00
10/16/2023 DC        3703.00004 Advita Charges for 10-16-23                          7.50
10/16/2023 DC        3703.00004 Advita Charges for 10-16-23                          7.50
10/16/2023 DC        3703.00004 Advita Charges for 10-16-23                          7.50
10/16/2023 LN        03703.00004 Lexis Charges for 10-16-23                         22.92
10/16/2023 LN        03703.00004 Lexis Charges for 10-16-23                         11.00
10/16/2023 LN        03703.00004 Lexis Charges for 10-16-23                         15.78
10/16/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
10/16/2023 RE2       SCAN/COPY ( 98 @0.10 PER PG)                                    9.80
10/16/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                    4.00
10/16/2023 RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
10/16/2023 RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
                Case 23-11131-TMH        Doc 805-2     Filed 12/01/23   Page 171 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 170
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/16/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
10/16/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                    2.50
10/16/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/16/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
10/16/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
10/16/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                    1.60
10/16/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
10/16/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/16/2023 RE2       SCAN/COPY ( 495 @0.10 PER PG)                                  49.50
10/16/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/16/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/17/2023 LN        03703.00001 Lexis Charges for 10-17-23                         11.00
10/17/2023 LN        03703.00004 Lexis Charges for 10-17-23                        103.11
10/17/2023 LN        03703.00004 Lexis Charges for 10-17-23                         22.92
10/17/2023 LN        03703.00004 Lexis Charges for 10-17-23                          6.15
10/17/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/17/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/17/2023 RE2       SCAN/COPY ( 156 @0.10 PER PG)                                  15.60
10/17/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
10/17/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
10/17/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                     0.60
10/17/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/17/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
10/17/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
10/17/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
10/17/2023 RE2       SCAN/COPY ( 21 @0.10 PER PG)                                    2.10
10/17/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
10/17/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
10/17/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
                Case 23-11131-TMH         Doc 805-2     Filed 12/01/23       Page 172 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 171
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


10/17/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                          2.00
10/17/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                          1.80
10/17/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                           0.40
10/17/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                           0.90
10/17/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/17/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/17/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                          2.00
10/17/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
10/17/2023 RE2       SCAN/COPY ( 75 @0.10 PER PG)                                          7.50
10/17/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/17/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/17/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                           0.10
10/17/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                          1.10
10/18/2023 AF        United Airlines, Tkt 01680564044353, SF/PA, Full fare             1,587.00
                     refundable coach, Nov 27th - 30th hearing, DG

10/18/2023 FE        03703.00004 FedEx Charges for 10-18-23                              73.80
10/18/2023 LN        03703.00004 Lexis Charges for 10-18-23                              11.36
10/18/2023 LN        03703.00004 Lexis Charges for 10-18-23                              68.74
10/18/2023 LN        03703.00004 Lexis Charges for 10-18-23                              76.95
10/18/2023 LN        03703.00004 Lexis Charges for 10-18-23                              10.69
10/18/2023 LN        03703.00004 Lexis Charges for 10-18-23                              45.83
10/18/2023 LN        03703.00004 Lexis Charges for 10-18-23                              18.40
10/18/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                           0.50
10/18/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                           0.50
10/18/2023 RE2       SCAN/COPY ( 23 @0.10 PER PG)                                          2.30
10/18/2023 RE2       SCAN/COPY ( 23 @0.10 PER PG)                                          2.30
10/18/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                           0.20
10/18/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                           0.60
10/18/2023 RE2       SCAN/COPY ( 24 @0.10 PER PG)                                          2.40
10/18/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                          2.50
                Case 23-11131-TMH         Doc 805-2    Filed 12/01/23       Page 173 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 172
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


10/18/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                         4.00
10/18/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
10/18/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
10/18/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                         4.50
10/18/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                         2.00
10/18/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                         1.50
10/18/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                         2.00
10/18/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                         1.50
10/18/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
10/18/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                         2.00
10/18/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                         1.50
10/18/2023 RE2       SCAN/COPY ( 23 @0.10 PER PG)                                         2.30
10/18/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
10/18/2023 RE2       SCAN/COPY ( 56 @0.10 PER PG)                                         5.60
10/18/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
10/18/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
10/18/2023 RE2       ( 590 @0.10 PER PG)                                                59.00
10/19/2023 HT        Hotel DuPont DE, 11/27/23 - 12/1/2024, SWG (Auction)             6,000.00
10/19/2023 LN        03703.00004 Lexis Charges for 10-19-23                             65.99
10/19/2023 LN        03703.00004 Lexis Charges for 10-19-23                             74.77
10/19/2023 LN        03703.00004 Lexis Charges for 10-19-23                             11.47
10/19/2023 RE2       ( 10 @0.10 PER PG)                                                   1.00
10/19/2023 RE2       ( 10 @0.10 PER PG)                                                   1.00
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
10/19/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
10/19/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                         4.50
10/19/2023 RE2       SCAN/COPY ( 120 @0.10 PER PG)                                      12.00
10/19/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                         1.50
                Case 23-11131-TMH     Doc 805-2      Filed 12/01/23   Page 174 of 179


Pachulski Stang Ziehl & Jones LLP                                               Page: 173
Amyris Inc.                                                                     Invoice 135121
Client 03703.00004                                                              October 31, 2023


10/19/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/19/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
10/19/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                  4.00
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/19/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/19/2023 RE2       SCAN/COPY ( 94 @0.10 PER PG)                                  9.40
10/19/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
10/19/2023 RE2       SCAN/COPY ( 19 @0.10 PER PG)                                  1.90
10/19/2023 RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
10/19/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
10/19/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/19/2023 RE2       SCAN/COPY ( 44 @0.10 PER PG)                                  4.40
10/19/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                   0.60
10/19/2023 RE2       SCAN/COPY ( 245 @0.10 PER PG)                                24.50
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/19/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                  4.50
10/19/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/19/2023 RE2       SCAN/COPY ( 170 @0.10 PER PG)                                17.00
10/19/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
10/19/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                  4.50
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/19/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                  1.00
10/19/2023 RE2       SCAN/COPY ( 23 @0.10 PER PG)                                  2.30
10/19/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                  1.20
10/19/2023 RE2       SCAN/COPY ( 55 @0.10 PER PG)                                  5.50
10/19/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
                Case 23-11131-TMH         Doc 805-2    Filed 12/01/23   Page 175 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 174
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/19/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
10/19/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40
10/19/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
10/19/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10
10/19/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                      0.10
10/19/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00
10/19/2023 TR        Veritext, Inv. 6919050, AJK                                  1,685.00
10/20/2023 DC        3703.00004 Advita Charges for 10-20-23                           7.50
10/20/2023 LN        03703.00004 Lexis Charges for 10-20-23                         22.92
10/20/2023 LN        03703.00004 Lexis Charges for 10-20-23                         10.69
10/20/2023 LN        03703.00004 Lexis Charges for 10-20-23                         32.04
10/20/2023 LN        03703.00004 Lexis Charges for 10-20-23                         15.99
10/20/2023 LN        03703.00004 Lexis Charges for 10-20-23                         11.47
10/20/2023 LN        03703.00004 Lexis Charges for 10-20-23                         95.27
10/20/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
10/20/2023 RE2       SCAN/COPY ( 3 @0.10 PER PG)                                      0.30
10/20/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00
10/20/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50
10/20/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50
10/20/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00
10/20/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00
10/20/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                     1.50
10/20/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                      0.40
10/20/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                     1.80
10/20/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                      0.80
10/20/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                     1.20
10/20/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                     1.00
10/21/2023 LN        03703.00004 Lexis Charges for 10-21-23                         52.93
10/23/2023 LN        03703.00004 Lexis Charges for 10-23-23                         11.47
                Case 23-11131-TMH        Doc 805-2     Filed 12/01/23   Page 176 of 179


Pachulski Stang Ziehl & Jones LLP                                                 Page: 175
Amyris Inc.                                                                       Invoice 135121
Client 03703.00004                                                                October 31, 2023


10/23/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/23/2023 RE2       SCAN/COPY ( 50 @0.10 PER PG)                                    5.00
10/23/2023 RE2       SCAN/COPY ( 61 @0.10 PER PG)                                    6.10
10/24/2023 LN        03703.00004 Lexis Charges for 10-24-23                         22.73
10/24/2023 LN        03703.00004 Lexis Charges for 10-24-23                          6.09
10/24/2023 LN        03703.00004 Lexis Charges for 10-24-23                         21.36
10/24/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50
10/24/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50
10/24/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/24/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
10/24/2023 RE2       SCAN/COPY ( 33 @0.10 PER PG)                                    3.30
10/24/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
10/24/2023 RE2       SCAN/COPY ( 36 @0.10 PER PG)                                    3.60
10/24/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/24/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
10/24/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
10/24/2023 RE2       SCAN/COPY ( 13 @0.10 PER PG)                                    1.30
10/24/2023 RE2       SCAN/COPY ( 5 @0.10 PER PG)                                     0.50
10/24/2023 RE2       SCAN/COPY ( 8 @0.10 PER PG)                                     0.80
10/24/2023 RE2       SCAN/COPY ( 4 @0.10 PER PG)                                     0.40
10/24/2023 RE2       SCAN/COPY ( 14 @0.10 PER PG)                                    1.40
10/24/2023 RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
10/25/2023 LN        03703.00004 Lexis Charges for 10-25-23                         34.08
10/25/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
10/25/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50
10/25/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/25/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/25/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/25/2023 RE2       SCAN/COPY ( 70 @0.10 PER PG)                                    7.00
                Case 23-11131-TMH         Doc 805-2      Filed 12/01/23      Page 177 of 179


Pachulski Stang Ziehl & Jones LLP                                                      Page: 176
Amyris Inc.                                                                            Invoice 135121
Client 03703.00004                                                                     October 31, 2023


10/25/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                          3.00
10/25/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/25/2023 RE2       SCAN/COPY ( 60 @0.10 PER PG)                                          6.00
10/25/2023 RE2       SCAN/COPY ( 256 @0.10 PER PG)                                       25.60
10/26/2023 AF        United Airlines, Tkt 01680564044342, Full fare refundable          850.00
                     coach, SF/PA (rt), Nov 19-21st hearing, DG

10/26/2023 BB        03703.00003 Bloomberg Charges through 10-26-23                     237.70
10/26/2023 OS        Clas Information Services, Inv. 476382-0000, NLH                   728.00
10/26/2023 RE2       SCAN/COPY ( 30 @0.10 PER PG)                                          3.00
10/26/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/26/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                           0.60
10/26/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                          4.50
10/26/2023 RE2       SCAN/COPY ( 85 @0.10 PER PG)                                          8.50
10/26/2023 RE2       SCAN/COPY ( 100 @0.10 PER PG)                                       10.00
10/26/2023 RE2       SCAN/COPY ( 17 @0.10 PER PG)                                          1.70
10/26/2023 RE2       SCAN/COPY ( 24 @0.10 PER PG)                                          2.40
10/26/2023 TE        Travel Expense. United Airlines Wifi, DG                              8.00
10/28/2023 LN        03703.00004 Lexis Charges for 10-28-23                              22.92
10/30/2023 LN        03703.00004 Lexis Charges for 10-30-23                              42.73
10/30/2023 LN        03703.00004 Lexis Charges for 10-30-23                              11.47
10/30/2023 OS        Theodore F. Martens, (expert witness, testimony in connection    56,640.90
                     with DIP Objection, AJK

10/30/2023 RE2       SCAN/COPY ( 91 @0.10 PER PG)                                          9.10
10/30/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/30/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/30/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                          1.50
10/31/2023 DC        3703.00004 Advita Charges for 10-31-23                                7.50
10/31/2023 LN        03703.00004 Lexis Charges for 10-31-23                              10.69
10/31/2023 OS        EVERLAW, INC.-95709                                               1,848.00
10/31/2023 OS        KLDiscovery, Inv. 10010000003280, SWG                            21,070.53
                Case 23-11131-TMH         Doc 805-2   Filed 12/01/23   Page 178 of 179


Pachulski Stang Ziehl & Jones LLP                                                Page: 177
Amyris Inc.                                                                      Invoice 135121
Client 03703.00004                                                               October 31, 2023


10/31/2023 RE2       SCAN/COPY ( 2 @0.10 PER PG)                                     0.20
10/31/2023 RE2       SCAN/COPY ( 1 @0.10 PER PG)                                     0.10
10/31/2023 RE2       SCAN/COPY ( 91 @0.10 PER PG)                                    9.10
10/31/2023 RE2       SCAN/COPY ( 91 @0.10 PER PG)                                    9.10
10/31/2023 RE2       SCAN/COPY ( 22 @0.10 PER PG)                                    2.20
10/31/2023 RE2       SCAN/COPY ( 9 @0.10 PER PG)                                     0.90
10/31/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
10/31/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50
10/31/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
10/31/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                    1.20
10/31/2023 RE2       SCAN/COPY ( 35 @0.10 PER PG)                                    3.50
10/31/2023 RE2       SCAN/COPY ( 634 @0.10 PER PG)                                 63.40
10/31/2023 RE2       SCAN/COPY ( 40 @0.10 PER PG)                                    4.00
10/31/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                    1.80
10/31/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/31/2023 RE2       SCAN/COPY ( 48 @0.10 PER PG)                                    4.80
10/31/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
10/31/2023 RE2       SCAN/COPY ( 1585 @0.10 PER PG)                               158.50
10/31/2023 RE2       SCAN/COPY ( 50 @0.10 PER PG)                                    5.00
10/31/2023 RE2       SCAN/COPY ( 350 @0.10 PER PG)                                 35.00
10/31/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
10/31/2023 RE2       SCAN/COPY ( 45 @0.10 PER PG)                                    4.50
10/31/2023 RE2       SCAN/COPY ( 80 @0.10 PER PG)                                    8.00
10/31/2023 RE2       SCAN/COPY ( 10 @0.10 PER PG)                                    1.00
10/31/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/31/2023 RE2       SCAN/COPY ( 20 @0.10 PER PG)                                    2.00
10/31/2023 RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
10/31/2023 PAC       Pacer - Court Research                                      1,917.10

   Total Expenses for this Matter                                         $140,123.28
                Case 23-11131-TMH        Doc 805-2     Filed 12/01/23     Page 179 of 179


Pachulski Stang Ziehl & Jones LLP                                                     Page: 178
Amyris Inc.                                                                           Invoice 135121
Client 03703.00004                                                                    October 31, 2023


                                            A/R STATEMENT

   Outstanding Balance from prior invoices as of 10/31/2023             (May not include recent payments)
A/R Bill Number           Invoice Date                 Fee Billed       Expenses Billed         Balance Due

134061                     08/31/2023             $1,275,515.75            $10,533.41         $1,286,049.16
134981                     09/30/2023             $2,256,529.50            $14,211.62         $2,270,741.12

           Total Amount Due on Current and Prior Invoices:                                     $6,799,500.31
